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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




  JOHNSON & JOHNSON HEALTH CARE                Civil Action No. 22-2632 (JMV) (CLW)
  SYSTEMS INC.,
                                                 NON-PARTY TRIALCARD, INC.’S
                        Plaintiff,              RESPONSES AND OBJECTIONS TO
                                               DEFENDANT’S FIRST REQUEST FOR
                 v.                              PRODUCTION OF DOCUMENTS

  SAVE ON SP, LLC,

                        Defendant.




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                                   GENERAL OBJECTIONS

       TrialCard Incorporated (“TrialCard”) incorporates each of the General Objections below

into its specific objections to each Request, whether or not each such General Objection is

expressly referred to in TrialCard objections to a specific Request.

       TrialCard reserves the right to supplement, amend, modify, or correct its responses under

Rule 26(e) should it discover additional information or grounds for objections at any time prior

to the conclusion of this Action. The following responses and objections are based upon

information known at this time.

       1.      TrialCard is not a party to the above-captioned litigation pending in the District

of New Jersey (the “Action”) and objects to the Subpoena’s imposition of significant burden on

it because the vast majority of Requests in the Subpoena can be satisfied by obtaining

documents directly from Johnson & Johnson Health Care Systems, Inc. (“JJHCS”), a party to

the Action. TrialCard notes that the requests in the Subpoena are nearly identical to document

requests made by SaveOnSP to JJHCS in the Action, and JJHCS has already agreed to facilitate

a production of TrialCard documents in response to those requests in party discovery.

TrialCard objects to producing any documents unless and until SaveOnSP can demonstrate that

it has not been able to obtain these documents in party discovery.

       2.      TrialCard objects to the Requests to the extent that they seek documents or

information protected from disclosure by a privilege including, without limitation, the First

Amendment privilege, the attorney-client privilege, the work-product doctrine, the joint defense

privilege, the common interest privilege, the Federal Rules of Civil Procedure, the Local Rules

of the Court, and relevant case law. The inadvertent production by TrialCard of information,

documents, materials, or things covered by any privilege or doctrine shall not constitute a

waiver of any applicable privilege or doctrine, including but not limited to, objections on the

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basis of competency, confidentiality, relevancy, materiality, work-product, privilege, and/or

admissibility as evidence, as such objections may apply at trial or otherwise in this Action.

       3.      TrialCard objects to the Requests to the extent that they seek documents or

information that are not relevant to a claim or defense or to the subject matter of this litigation.

Any response TrialCard makes to any Request shall not be deemed an admission that the

response, information, document, or thing produced is relevant to a claim or defense or to the

subject matter of this litigation, is reasonably calculated to lead to the discovery of admissible

evidence, is material, or is admissible as evidence.

       4.      TrialCard objects to the Requests to the extent that they impose obligations

beyond or inconsistent with those imposed by the Federal Rules of Civil Procedure, the Local

Rules of the Court, the Court’s orders, the discovery schedule entered in this Action, or any

other applicable rule, order, or source of law.

       5.      TrialCard objects to the Requests to the extent that they seek the production of

documents or things that are equally available to or already in SaveOnSP’s possession, custody,

or control. To the extent that TrialCard agrees in these responses to produce certain documents,

information, or things, these responses shall not be construed as conceding that the documents,

information, or things exist and/or are in the possession, custody, or control of TrialCard.

Instead, it means that TrialCard will perform a reasonable search for documents in its

possession and produce such documents, information, or things to the extent any responsive

documents, information, or things exist and are not otherwise protected from disclosure.

       6.      TrialCard objects to the Requests to the extent that they seek information that is

obtainable from sources other than TrialCard in a manner that is more convenient, less

burdensome, or less expensive.



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       7.      TrialCard objects to the Requests to the extent that they seek production of

documents, records, tangible things, or other materials to the extent that such disclosure would

violate a confidentiality agreement, court order, or applicable law.

       8.      TrialCard objects to the Requests to the extent that they are vague and/or

ambiguous.

       9.      TrialCard objects to the Requests to the extent that they require interpretation by

it in providing a response. TrialCard responds to the Requests as it interprets and understands

each Request as set forth. If SaveOnSP subsequently asserts an interpretation of any Request

that differs from TrialCard’s understanding of that Request, TrialCard reserves the right to

modify or supplement its objections and responses.

       10.     TrialCard objects to the Requests to the extent that they are duplicative of other

document requests, interrogatories, and/or other discovery requests.

       11.     TrialCard objects to the Requests to the extent that they are argumentative, lack

foundation, or incorporate assertions that are disputed, erroneous, or irrelevant to the Action.

TrialCard further objects to the Requests to the extent that they assume facts that do not exist or

the occurrence of events that did not take place.

       12.     TrialCard objects to the Requests to the extent that they seek documents and

information relating to any business affairs other than those that are the subject of the Action.

       13.     TrialCard objects to the Requests as overbroad and unduly burdensome to the

extent they purport to require production of “all” or “any” documents where a subset of

documents would be sufficient to provide the relevant information.

       14.     TrialCard objects to the Requests to the extent that they seek the production of

documents that are not in TrialCard’s possession, custody, or control.



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                                OBJECTIONS TO DEFINITIONS

        1.        TrialCard objects to the definition of the term “Janssen” as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it purports to include

“any and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, committees,

attorneys, accountants, and all persons or entities acting or purporting to act on behalf” of those

entities.

        2.        TrialCard objects to the definition of the term “Janssen Drug” as irrelevant to

the extent it purports to include drugs that are not covered by CarePath.

        3.        TrialCard objects to the definition of the term “JJHCS” as overbroad, unduly

burdensome, and not proportional to the needs of the case to extent it purports to include “any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, . . .

agents, [or] representatives” or purports to include entities and persons acting or purporting to

act on behalf of or under the control of entities other than Johnson & Johnson Healthcare

Systems, Inc., including Centocor, Inc., Ortho Biotech Products LP, McNeil Pharmaceutical,

Ortho-McNeil Pharmaceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Scios Inc.,

Janssen Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development, LLC, Janssen

Pharmaceuticals, Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc., Janssen

BioPharma LLC, and Janssen Research & Development LLC.

        4.        TrialCard objects to the definition of the term “JJHCS Hub Entity” as vague

and as irrelevant to the extent it purports to include entities other than those responsible for

administering CarePath during the relevant Time Period. TrialCard further objects to the

definition as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it includes “any and all predecessors and successors in interest, assignees, parents,

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subsidiaries, affiliates, divisions or departments, agents, representatives, directors, officers,

employees, committees, attorneys, accountants and all persons or entities acting or purporting to

act on behalf” of those entities. TrialCard further objects to the extent the term is used to seek

documents and communications concerning entities other than JJHCS.

       5.        TrialCard objects to the definition of the term “Lash Group” as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it includes “any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, committees,

attorneys, accountants and all persons or entities acting or purporting to act on behalf or under

the control of The Lash Group, Inc.”

       6.        TrialCard objects to the definition of the term “TrialCard” as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it includes “any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, committees,

attorneys, accountants and all persons or entities acting or purporting to act on behalf or under

the control of TrialCard Inc.” TrialCard further objects to the extent the term is used to seek

documents and communications in the possession of entities other than TrialCard.

                              OBJECTIONS TO INSTRUCTIONS

            1.   TrialCard objects to the Instructions to the extent that they impose

requirements on TrialCard beyond those required by the Federal Rules of Civil Procedure.

            2.   TrialCard objects to Instruction No. 14 to the extent that SaveOnSP attempts to

impose requirements on TrialCard beyond those required by the Federal Rules of Civil

Procedure or ordered by the Court. Rule 34, which contains a duty to supplement responses,



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does not apply to requests for production directed to a non-party, and Rule 45 contains no duty

to supplement.

                OBJECTIONS TO THE TIME PERIOD FOR SPECIFIC REQUESTS

           1.          TrialCard objects to SaveOnSP’s Requests as overbroad, unduly burdensome,

and not relevant to the subject matter of this Action to the extent they call for documents from

before January 1, 2017 or after July 1, 2022.1

                               SPECIFIC RESPONSES AND OBJECTIONS

Request No. 1

               From January 1, 2009 through the present, Documents sufficient to show the
organizational structure of TrialCard.

Response to Request No. 1

                    In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as irrelevant to any claim or defense in this Action to the extent it seeks

documents unrelated to the JJHCS groups responsible for the administration of CarePath.

TrialCard further objects to this Request as overbroad, unduly burdensome, and not proportional

to the needs of the case to the extent it seeks documents outside of the relevant Time Period.

                    TrialCard has already agreed to produce through JJHCS certain responsive

documents, subject to JJHCS’s objections and to those presented here, from the relevant Time

Period. TrialCard will not search for or produce documents in response to the Request.


Request No. 2

               From January 1, 2009 through the present, Documents sufficient to show the
organizational structure of any group or division within TrialCard involved in developing,
managing, marketing, or administering CarePath and to identify their employees.




1
    For convenience, TrialCard refers to the period of January 1, 2017 to July 1, 2022 as the “Time Period.”

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Response to Request No. 2

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request to the extent it seeks the production of documents and information that are

available from parties to the Action. TrialCard further objects to this Request insofar as it seeks

the production of documents and communications outside of TrialCard’s possession, custody,

and/or control. TrialCard further objects to this request as overbroad, unduly burdensome, and

not proportional to the needs of the case to the extent it seeks documents outside of the relevant

Time Period.

                TrialCard has already agreed to produce through JJHCS certain responsive

documents, subject to JJHCS’s objections and to those presented here, from the relevant Time

Period. TrialCard will not search for or produce documents responsive to this Request.

Request No. 3

              All Documents and Communications with or regarding SaveOnSP, including
those between You and JJHCS, You and any patients, and You and any other Hub Entity.

Response to Request No. 3

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks “all” documents and communications regarding a broad subject matter. TrialCard

further objects to this Request to the extent it seeks information that is exempt from discovery

and protected from disclosure by any privilege including, without limitation, the attorney-client


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privilege, the work-product doctrine, the joint defense privilege, the common interest privilege,

the Federal Rules of Civil Procedure, the Local Rules of the Court, and relevant case law.

       TrialCard has already agreed to produce through JJHCS certain responsive documents,

subject to JJHCS’s objections and to those presented here, from the relevant Time Period.

TrialCard will not further search for or produce documents or communications in response to this

Request.

Request No. 4

               From January 1, 2009 through the present, all Documents and Communications
regarding the development, management, and marketing of CarePath or any other copay
assistance program offered for Janssen Drugs, including Documents and Communications
regarding JJHCS’s allegations in Complaint ¶¶ 6-7, 36-49.

Response to Request No. 4

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. TrialCard further objects to this Request

on the ground that the phrase “any other copay assistance program offered for Janssen Drugs” is

vague and ambiguous. TrialCard further objects to this Request as irrelevant to any claim or

defense in this Action to the extent it seeks documents unrelated to CarePath.


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                TrialCard will not search for or produce documents or communications

responsive to this Request.

Request No. 5

               From January 1, 2009 through the present, all Documents and Communications
regarding CarePath’s terms and conditions, including Documents and Communications regarding
(a) JJHCS’s allegations in Complaint ¶¶ 3, 8, 18-26, 102-103, 108; (b) all CarePath terms and
conditions for each Janssen Drug; (c) revisions to any of the CarePath terms and conditions for
any Janssen Drug; and (d) Your understanding of the term “offer” or “health plan” as used in
CarePath’s terms and conditions.

Response to Request No. 5

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as irrelevant to any claim or defense in this

Action to the extent it calls for information beyond the final CarePath terms and conditions at

issue. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period.

                TrialCard will not search for or produce documents or communications

responsive to this Request.




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Request No. 6

              From January 1, 2009 through the present, all Documents and Communications
regarding CarePath’s requirement that Patients enrolled in CarePath make any payments towards
Janssen Drugs, including Documents and Communications regarding JJHCS’s basis for setting
the amounts of those payments and JJHCS’s allegations in Complaint ¶¶ 48-49, 70, 89.

Response to Request No. 6

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as irrelevant to any claim or defense in this

Action to the extent it calls for information beyond the final CarePath terms and conditions at

issue. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. TrialCard further objects to this Request to

the extent it seeks documents and communications in the possession of entities other than

TrialCard.

                TrialCard will not search for or produce documents or communications

responsive to this Request.


Request No. 7

               From January 1, 2015 through the present, all Documents and Communications
regarding Your understanding of commercial health plans’ ability to designate specialty drugs as
Essential Health Benefits or Non-Essential Health Benefits under the Affordable Care Act and its

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regulations, including Documents and Communications regarding JJHCS’s allegations in
Complaint ¶¶ 9-10, 43, 53-59, 71, 79.

Response to Request No. 7

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request to the extent it calls for views on a legal

question. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period.

                TrialCard will not search for or produce documents or communications

responsive to this Request.


Request No. 8

                All Documents and Communications regarding SaveOnSP’s communications
with Patients regarding CarePath, including allegedly misleading or confusing communications
and JJHCS’s allegations in Complaint ¶¶ 60-67, 109, ¶¶ 13, 75-77, 85-88.

Response to Request No. 8

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

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production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request to the extent it seeks

“misleading or confusing communications,” as those terms are vague and ambiguous.

                TrialCard will not search for or produce documents or communications

responsive to this Request.


Request No. 9

                All Documents and Communications regarding SaveOnSP’s provision of services
to qualified high deductible or health savings account plans, including JJHCS’s allegations in
Complaint ¶ 72.

Response to Request No. 9

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request on the ground that the

phrase “SaveOnSP’s provision of services to qualified high deductible or health savings account

plans” is vague and ambiguous.

                TrialCard will not search for or produce documents or communications

responsive to this Request.


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Request No. 10

               All Documents and Communications regarding JJHCS’s payment of copay
assistance funds to or on behalf of Patients enrolled in qualified high deductible or health savings
account plans.

Response to Request No. 10

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 11

              All Documents and Communications regarding any alleged stress or confusion
caused by SaveOnSP to any member of the public, including JJHCS’s allegations in Complaint
¶ 114.

Response to Request No. 11

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

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regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 12

              All Documents and Communications regarding any alleged harm caused by
SaveOnSP to any Patient by allegedly making their healthcare more expensive, including
JJHCS’s allegations in Complaint ¶ 114.

Response to Request No. 12

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 13

                All Documents and Communications regarding how SaveOnSP directly or
indirectly affects or threatens the financial viability of CarePath, including Documents and
Communications regarding JJHCS’s allegations in Complaint ¶ 114.

Response to Request No. 13

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

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burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 14

                All Documents and Communications regarding how SaveOnSP directly or
indirectly affects or threatens the financial viability of any Copay Assistance Program other than
CarePath, including Documents and Communications regarding JJHCS’s allegations in
Complaint ¶ 114.

Response to Request No. 14

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as irrelevant to any claim or defense in this

Action to the extent it seeks information about any Copay Assistance Program other than

CarePath. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.


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Request No. 15

              All Documents and Communications regarding any alleged harm caused by
SaveOnSP to JJHCS, including Documents and Communications regarding JJHCS’s allegations
in Complaint ¶ 110, 115.

Response to Request No. 15

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request on the ground that the

phrase “any alleged harm” is vague and ambiguous.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 16

               All Documents and Communications regarding JJHCS’s, Janssen’s, or any JJHCS
Hub Entity’s payment of any Patient’s costs, including those that accumulate towards the
Patient’s deductible or out-of-pocket maximum.

Response to Request No. 16

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

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Request on the ground that the phrase “payment of any Patient’s costs including those that

accumulate towards the Patient’s deductible or out-of-pocket maximum” is vague and

ambiguous. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 17

              All Documents and Communications regarding the “internal JJHCS data”
discussed in Complaint ¶¶ 92-101, including the complete databases from which that data was
drawn.

Response to Request No. 17

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter and seeks “complete databases from which [ ] data was drawn.”

               TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 18

             From January 1, 2009 through the present, for each Janssen Drug for each year,
Documents sufficient to show:

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       a.      all Patients receiving the Janssen Drug;

       b.      the number of fills of the Janssen Drug received by each such Patient;

       c.      the dosage of the Janssen Drug received by each such Patient for each fill;

       d.      the projected number of Patients, average number of fills, and average dosage for
               the Janssen Drug;

       e.      the cost to manufacture the Janssen Drug;

       f.      the sales and marketing budget for the Janssen Drug;

       g.      the price of the Janssen Drug;

       h.      the revenue received by JJHCS from the Janssen Drug;

       i.      all Patients enrolled in the CarePath program for the Janssen Drug;

       j.      the dates on which each Patient was enrolled in CarePath;

       k.      the amounts of copay assistance funds that JJHCS offered to each Patient enrolled
               in CarePath;

       l.      the Janssen Drugs for which each Patient enrolled in CarePath received copay
               assistance; and

       m.      all copay assistance payments that JJHCS made to or on behalf each Patient
               enrolled in CarePath.

Response to Request No. 18

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it seeks information

unrelated to SaveOnSP’s conduct at issue, including information relating to Patient fills, the cost

of manufacturing Janssen Drugs, the sales and marketing budgets for Janssen Drugs, and pricing



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and revenue generated by Janssen Drugs. TrialCard further objects to this Request on the ground

that the phrases “the projected number of Patients, average number of fills, and average dosage

for the Janssen Drug,” “the cost to manufacture the Janssen Drug,” and “the price of the Janssen

Drug” are vague and ambiguous. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period.

               TrialCard has already agreed to produce through JJHCS certain responsive

documents, subject to JJHCS’s objections and to those presented here, from the relevant Time

Period. TrialCard will not further search for or produce documents or communications in

response to this Request.


Request No. 19

              From January 1, 2009 through the present, for each Janssen Drug for each year,
all Documents and Communications regarding:

       a.      JJHCS’s determination of the amounts of copay assistance funds that JJHCS
               offered to Patients enrolled in CarePath, including the determination of the
               maximum program benefit per calendar year for the Janssen Drug;

       b.      JJHCS’s budget for CarePath, including the sales and marketing budget;

       c.      JJHCS’s actual and projected annual costs for CarePath;

       d.      JJHCS’s use of or accounting for unused CarePath funds;

       e.      the impact of the Affordable Care Act on JJHCS’s CarePath budget or funding,
               including the impact of laws and regulations regarding out-of pocket maximums;

       f.      JJHCS’s and Janssen’s revenue and revenue projections from fills by Patients
               enrolled in CarePath;

       g.      the impact of CarePath on Janssen’s sales of any Janssen Drug;

       h.      the impact of CarePath on JJHCS’s or Janssen’s gross to net calculations;

       i.      JJHCS’s or Janssen’s actual and projected return on investment for CarePath; and


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       j.      any analysis of the adherence rates of Patients enrolled in CarePath to Janssen
               Drugs, including such Patients enrolled in plans advised by SaveOnSP.

Response to Request No. 19

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it seeks information

unrelated to SaveOnSP’s conduct at issue, including information relating to the sales and

marketing budget for CarePath, JJHCS’s uses of or accounting for unused CarePath funds, the

impact of the Affordable Care Act or other laws and regulations on CarePath’s budget or

funding, JJHCS’s and Janssen’s revenue and revenue projections from fills by patients enrolled

in CarePath, the impact of CarePath on Janssen sales of any Janssen Drug, the impact of

CarePath on JJHCS’s or Janssen’s gross to net calculations, JJHCS’s or Janssen’s actual or

projected return on investment for CarePath, and the adherence rates of Patients enrolled in

CarePath to Janssen Drugs. TrialCard further objects to this Request on the ground that the

phrases “the projected number of Patients, average number of fills, and average dosage for the

Janssen Drug,” “JJHCS’s or Janssen’s gross to net calculations,” and “JJHCS’s or Janssen’s

actual and projected return on investment for CarePath” are vague and ambiguous. TrialCard

further objects to this Request as overbroad, unduly burdensome, and not proportional to the

needs of the case to the extent it seeks “all” documents and communications regarding a variety

of broad subject matters. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and


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communications outside of the relevant Time Period.

               TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 20

                All Documents and Communications regarding JJHCS’s attempts to limit or
eliminate the amount of CarePath copay assistance funds available to Patients using Stelara or
Tremfya based on whether the Patients’ plans allegedly reduce or eliminate Patients’ out-of-
pocket costs, including Documents and Communications regarding JJHCS’s attempts to limit or
eliminate the availability of CarePath copay assistance funds available to Patients enrolled in
health plans advised by SaveOnSP.

Response to Request No. 20

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it seeks information

beyond the final CarePath terms and conditions at issue. TrialCard further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks “all” documents and communications regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 21

                All Documents and Communications regarding any offer by JJHCS to provide to
any Patient any CarePath funds greater than the amounts that JJHCS generally offers to CarePath
Patients or to waive any limitation on or elimination of the amount of CarePath copay assistance
funds available to a Patient.

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Response to Request No. 21

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it calls for information

beyond the extent to which SaveOnSP has caused JJHCS to pay more in copay assistance than it

otherwise would have. TrialCard further objects to this Request on the ground that the phrases

“CarePath funds greater than the amounts that JJHCS generally offers CarePath Patients” and “to

waive any limitation on or elimination of the amount of CarePath copay assistance funds

available” are vague and ambiguous. TrialCard further objects to this Request as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “all”

documents and communications regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 22

               All Documents and Communications regarding JJHCS’s attempts to identify
health plans advised by SaveOnSP or Patients enrolled in such plans.

Response to Request No. 22

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

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outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it calls for information

unrelated to SaveOnSP’s conduct at issue. TrialCard further objects to this request as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “all”

documents and communications regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 23

               From any time, all Documents and Communications regarding TrialCard’s
negotiations or agreements regarding the potential use of any Copay Maximizer Service or
Copay Accumulator Service, for TrialCard’s Employee Health Plans, including any
abandonment of those negotiations or agreements.

Response to Request No. 23

               In addition to the foregoing objections, TrialCard, as a third party, objects to this

Request as irrelevant to any claim or defense in this Action to the extent it seeks information

about “the potential use of any Copay Maximizer Service or Copay Accumulator Service,”

which is unrelated to SaveOnSP’s conduct at issue. TrialCard further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents and communications outside of the relevant Time Period. TrialCard

further objects to this Request to the extent it seeks information that is exempt from discovery

and protected from disclosure by a privilege including, without limitation, the attorney-client


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privilege, the work-product doctrine, the joint defense privilege, the common interest privilege,

the Federal Rules of Civil Procedure, the Local Rules of the Court and relevant case law.

                TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 24

                Documents sufficient to identify all JJHCS Hub Entities and CarePath Care
Coordinators.

Response to Request No. 24

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

request as irrelevant to any claim or defense in this Action to the extent it calls for information

about “JJHCS Hub Entities” or “CarePath Care Coordinators” that are not implicated in this

litigation. TrialCard further objects to this Request to the extent it uses the term “JJHCS Hub

Entity” for the reasons stated in TrialCard’s Objections to Definitions.

                TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 25

               From January 1, 2009 through the present, Documents sufficient to show the
economic terms of JJHCS’s retention of or agreements with You, including any assessment of
the fair market value of those services.

Response to Request No. 25

                In addition to the foregoing general objections, TrialCard, as a third party, objects

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to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request on the ground that “any assessment of the fair market value of those services” is

irrelevant. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks documents and communications

outside of the relevant Time Period. TrialCard further objects to this Request to the extent it

seeks information that is exempt from discovery and protected from disclosure by a privilege

including, without limitation, the attorney-client privilege, the work product doctrine, the joint

defense privilege, the common interest privilege, the Federal Rules of Civil Procedure, the Local

Rules of the Court, and relevant case law.

               TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 26

               From January 1, 2009 through the present, documents sufficient to show the
percentage of Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any
JJHCS Hub Entity, or any other third party authorized to advertise or market CarePath or Janssen
Drugs.

Response to Request No. 26

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

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Request as irrelevant to any claim or defense in this Action to the extent it calls for information

unrelated to SaveOnSP’s misconduct, including information about JJHCS’s advertising or

marketing of CarePath or Janssen Drugs. TrialCard further objects to this Request on the ground

that the phrase “Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any

JJHCS Hub Entity, or any other third party authorized to advertise or market CarePath or Janssen

Drugs” is vague and ambiguous. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. TrialCard further objects to this Request to

the extent it uses the terms “JJHCS Hub Entity” for the reasons stated in TrialCard’s Objections

to Definitions.

                  TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 27

               From January 1, 2015 through the present, all Documents and Communications
relating to Copay Accumulator Services and Copay Maximizer Services and their effect on
JJHCS’s return on investment for copay assistance dollars.

Response to Request No. 27

                  In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it calls for information

about other “Copay Accumulator Services and Copay Maximizer Services” other than

SaveOnSP. TrialCard further objects to this Request on the ground that the phrase “JJHCS’s

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return on investment for copay assistance dollars” is vague and ambiguous. TrialCard further

objects to this Request as overbroad, unduly burdensome, and not proportional to the needs of

the case to the extent it seeks “all” documents and communications regarding a broad subject

matter. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks documents and communications

outside of the relevant Time Period.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 28

               From January 1, 2015 through the present, all Documents and Communications
relating to Your understanding of the terms “copay accumulator” and “copay maximizer.”

Response to Request No. 28

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as irrelevant to any claim or defense in this Action to the extent it calls for

information unrelated to SaveOnSP’s conduct at issue. TrialCard further objects to this Request

as overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. TrialCard further

objects to this Request as unduly burdensome to the extent it seeks documents and

communications outside of the relevant Time Period. TrialCard further objects to this Request to

the extent it seeks information that is exempt from discovery and protected from disclosure by a

privilege including, without limitation, the attorney-client privilege, the work-product doctrine,

the joint defense privilege, the common interest privilege, the Federal Rules of Civil Procedure,

the Local Rules of the Court, and relevant case law.

               TrialCard will not search for or produce documents and communications


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responsive to this Request.


Request No. 29

                All Documents and Communications concerning non-medical switching by
participants of plans that implement SaveOnSP’s services, a Copay Accumulator Service, or a
Copay Maximizer Service.

Response to Request No. 29

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks “all” documents and communications regarding a broad subject matter.

               TrialCard will not search for or produce documents or communications

responsive to this Request.


Request No. 30

               Your document retention policies.

Response to Request No. 30

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are not relevant to

the Action. TrialCard further objects to this Request to the extent it seeks information that is

exempt from discovery and protected from disclosure by a privilege including, without

limitation, the attorney-client privilege, the work-product doctrine, the joint defense privilege,




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the common interest privilege, the Federal Rules of Civil Procedure, the Local Rules of the

Court, and relevant case law.

               TrialCard will through JJHCS produce documents responsive to this Request for

the relevant Time Period.


Request No. 31

               Complete data dictionaries for any data that You produce.

Response to Request No. 31

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are not relevant to

the Action. TrialCard further objects to this Request on the ground that “data dictionaries for

any data that You produce” is vague and ambiguous. JJHCS further objects to this Request to

the extent that it purports to require the creation of any document or record in a format not kept

by TrialCard or seeks to impose production obligations that exceed those required by the Rules

of Federal Procedure, the Local Rules of the Court, this Court’s or with any applicable

agreement among the parties.

               TrialCard will not search for or produce documents responsive to this Request.


Request No. 32

              From any time, all Documents and Communications regarding this Action
provided to you by any person or entity other than SaveOnSP, including in response to
subpoenas served in this Action.

Response to Request No. 32

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further


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objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request on the ground that the phrase “all Documents and Communications regarding this

Action provided to you by any person or entity other than SaveOnSP” is vague and ambiguous.

TrialCard further objects to this Request as overbroad, unduly burdensome, and not proportional

to the needs of the case to the extent it seeks “all” documents and communications regarding a

broad subject matter. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. TrialCard further objects to this Request to

the extent it seeks information that is exempt from discovery and protected from disclosure by a

privilege including, without limitation, the attorney-client privilege, the work-product doctrine,

the joint defense privilege, the common interest privilege, the Federal Rules of Civil Procedure,

the Local Rules of Court, and relevant case law.

               TrialCard will not search for or produce documents or communications

responsive to this Request.




       Dated: March 6, 2023


                                              By:     /s/DRAFT

                                              Adeel A. Mangi
                                              Harry Sandick (admitted pro hac vice)
                                              George LoBiondo
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June 7, 2023                                                                           Katherine Brisson
                                                                                       (212) 336-2552


Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (ES) (CLW)

Dear Emma:

               We write in response to your May 31, 2023 letter regarding the subpoena issued to
TrialCard, Inc. (“TrialCard”) and TrialCard’s April 24, 2023 document production.

I.       Requests for Which TrialCard Agreed to Produce Documents

               RFP No. 3: TrialCard confirms that it has filtered its case and task notes by the
Janssen drugs at issue in this litigation: Balversa, Darzalex, Darzalex Faspro, Erleada,
Imbruvica, Opsumit, Prezcobix, Remicade, Rybrevant, Simponi, Stelara, Symtuza, Tracleer,
Tremfya, Uptravi, Ventavis, and Zytiga.1 The case and task notes that TrialCard anticipates
producing will include patients who receive Janssen CarePath copay assistance for at least one
Janssen drug at issue in this litigation, regardless of whether that is the only Janssen drug for
which they receive copay assistance. TrialCard anticipates producing over 19,000 call notes
based on the application of the previously agreed-upon twelve search terms.

                Despite TrialCard’s extensive efforts to identify and produce responsive
documents, SaveOnSP now proposes that TrialCard supplement its already broad search
parameters to include two additional terms: “out-of-pocket” and “OOP.” TrialCard declines to do
so. These terms are overinclusive, and their application would present a substantial burden, which
is particularly pronounced for a third-party like TrialCard. Nearly every call with TrialCard
relating to the CarePath program likely involves some mention or reference to the terms “out-of-
pocket” or “OOP.” Indeed, providing financial assistance to enable patients to meet their out-of-
pocket obligations is a primary service that the CarePath program provides. SaveOnSP is not



1
 As we have noted several times, e.g., Ltr. from H. Sandick (for JJCHS) to A. Dunlap dated Apr. 11,
2023, Valchlor is not a Janssen drug.



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entitled to every call concerning out-of-pocket costs without some reasonable subject matter
limitation, which is precisely what TrialCard’s existing search terms already establish.

               SaveOnSP also asks TrialCard to confirm that it “has investigated whether it
possesses documents responses to RFP No. 3 beyond the above-described patient calls and the
results of that investigation.” TrialCard has conducted a reasonable investigation and has
determined that it possesses no additional responsive materials beyond what it understands has
been or will be produced through JJHCS.

II.    TrialCard’s Investigation and Responses Regarding Other RFPs

               RFP Nos. 5, 6, 8, 10–17, 20–22, 24–25, and 32: Following a reasonable
investigation, we confirm that TrialCard does not have any documents responsive to these RFPs
other than what it has already agreed to produce. If TrialCard becomes aware of any responsive
documents in its possession that are not also in the possession of JJHCS, it will notify SaveOnSP.

               RFP Nos. 7, 9, and 29: These requests each seek documents that improperly go
beyond TrialCard’s implementation of the Janssen CarePath program. In particular, RFP No. 7
seeks documents concerning TrialCard’s “understanding” of commercial insurers’ designation of
specialty drugs; RFP No. 9 seeks TrialCard’s documents concerning SaveOnSP’s provision of
services to qualified high deductible or health savings account plans; and RFP No. 29 seeks
TrialCard’s documents concerning the non-medical switching of patients who are subject to
SaveOnSP’s services or other accumulators or maximizers besides SaveOnSP. None of these
requests have anything to do with TrialCard’s provision of services to JJHCS. TrialCard’s
understanding of the health insurance market and its participants in the abstract is irrelevant to its
actual implementation of the Janssen CarePath program and, thus, is immaterial to the claims at
issue. Accordingly, TrialCard will limit its responses to these requests as previously described in
its May 12 letter.

                 However, as also previously noted in our May 12 letter, TrialCard has published
various written materials encompassing the subject of copay accumulator and maximizer programs
generally, some of which may touch on the requests at issue. Without conceding the
responsiveness or relevance of these documents, we note that they are publicly available at
https://corp.trialcard.com/resources/.

                RFP Nos. 13–15, 17, 20, and 22: As we explained in our May 12 letter, TrialCard’s
contributions to any analyses responsive to these requests would have been provided at the request
of, or in consultation with, JJHCS. Accordingly, TrialCard would have furnished any such
deliverables to JJHCS, which, in turn, would be captured by JJHCS’s document productions (since
SaveOnSP has served virtually identical requests on JJHCS).

             TrialCard understands that, to date, JJHCS has produced more than 4,000
communications between JJHCS and TrialCard and related documents. This includes work orders
for the Cost Adjustment Program (“CAP”) referenced in your May 31 letter, e.g.,
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JJHCS_00001497, JJHCS_00037297; the CAP project requirements and business rules that
JJHCS provided to TrialCard, e.g., JJHCS_00077384, JJHCS_00077393; and over 1,000
documents and communications regarding the implementation of CAP. These materials are more
than sufficient for SaveOnSP to understand the scope and nature of the work that TrialCard
performed at JJHCS’s direction.

                SaveOnSP nevertheless seeks discovery into TrialCard’s documents generated
outside of its relationship with JJHCS or not furnished to JJHCS. Such documents are entirely
irrelevant to the claims and defenses at issues, and as a third-party, TrialCard need not produce
such materials. Accordingly, TrialCard will not produce documents in response to these requests.

                RFP No. 26: Following a reasonable investigation, TrialCard does not possess any
data, analyses, or other information about patient enrollment in CarePath responsive to this RFP.

III.   TrialCard’s April 24, 2023 Production

              RFP Nos. 1–2:        TrialCard will produce additional organizational charts in a
forthcoming production.

                RFP No. 3: TrialCard has produced all responsive patient letters to SaveOnSP in
its April 24 production. It has no additional materials to produce in response to RFP No. 3.

               RFP No. 18(i)–(m): TrialCard anticipates producing additional medical benefit
claims data responsive to this request in a forthcoming production.

               RFP No. 30: In its April 24 production, TrialCard produced its only Company-
wide document retention policy, which was published in 2023. See TRIALCARD_00000125. It
has no additional materials to produce in response to RFP No. 30.

               Identification of Custodians: TrialCard has conducted a reasonable investigation
to respond to SaveOnSP’s document requests and has produced documents from a variety of non-
custodial repositories. TrialCard will not further identify the specific non-custodial source for each
document it has produced.

                                                          Very truly yours,




                                                          /s/Katherine Brisson
                                                          Katherine Brisson
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August 24, 2023                                                                        Katherine Brisson
                                                                                       (212) 336-2552


By Email



Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the America
New York, NY 10104

                  Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC
                           (Case No. 2:22-cv-02632-ES-CLW)

Dear Emma:

              On behalf of TrialCard, we write further to our letter of August 3, 2023, and in
response to your August 16, 2023 letter regarding the third party subpoena issued to TrialCard in
the above-captioned action. We note that several of the issues you raise in your August 16 letter
have been addressed at length in our prior correspondence, which we incorporate by reference as
appropriate.

                Request No. 3. As you know, we have already produced over 19,000 call notes
based on the application of twelve existing search terms. This search methodology—which
already includes the very broad term “Save*”—was designed to be quite expansive in yielding
potentially responsive documents. We believe that the application of this methodology represents
a good faith effort to identify documents responsive to Request No. 3. Nevertheless, in the interest
of avoiding an unnecessary dispute, we are continuing to explore the feasibility of adding the
“OOP” terms you have proposed and will revert when we have additional information.

                Scope of Custodial Searches. TrialCard and SaveOnSP have met and conferred
multiple times and exchanged extensive discovery correspondence addressing the scope of the
searches it will conduct to satisfy its discovery obligations, and, as relevant here, why TrialCard
believes custodial discovery is unnecessary as to certain Requests for Production. Custodial
discovery is unlikely to yield non-duplicative information that JJHCS has not already produced.
Nevertheless, we have agreed to perform custodial searches in an effort to resolve SaveOnSP’s
concerns about the sufficiency of TrialCard’s productions and to avoid unnecessary recourse to
motion practice.




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                To address the questions you have raised concerning the specific RFPs you identify
in your letter, we direct you to our May 12 letter, which describes at length the reasons why
SaveOnSP’s RFP Nos. 5–7, 10, 16, 17, 20–22, 24, 25, 27, 29, and 32 do not require additional
collection and production of documents. By way of summary, we reiterate the following:

          Based on our reasonable investigation, TrialCard does not believe that it possesses
           documents responsive to RFP Nos. 5, 6, 10, 17, 20–22, 27, and 32 that are not also in
           the possession of JJHCS.

          TrialCard does not believe it has any documents responsive to RFP Nos. 7 and 29 that
           relate to TrialCard’s implementation of the CarePath program.

          TrialCard has already produced call notes for patient calls using search criteria
           designed to capture relevant communications concerning SaveOnSP. After a
           reasonable investigation, TrialCard does not believe it has additional documents
           responsive to RFP No. 16.

          In response to RFP No. 24, TrialCard has produced organization charts for the portions
           of its business that oversee the administration of CarePath. Based on a reasonable
           investigation, TrialCard does not believe it has other documents responsive to RFP No.
           24 that are not also in the possession of JJHCS.

          JJHCS has agreed to produce its agreements, work orders, and associated documents
           with TrialCard. These documents are responsive to RFP No. 25. TrialCard does not
           believe it has other documents responsive to RFP No. 25 that are not also in the
           possession of JJHCS.

              Documents Produced by JJHCS. TrialCard will not produce documents that it
believes to be in the possession of JJHCS because such documents are duplicative of party
discovery. As we already explained at length our August 3 letter, SaveOnSP’s reliance on Wyeth
v. Abbott Laboratories—which SaveOnSP first cited in its July 26 letter—squarely supports
TrialCard’s position that a third-party is not required to duplicate party productions. See Wyeth v.
Abbott Laby’s, 2011 WL 2429318, at *8 (D.N.J. June 13, 2011) (“To the extent Plaintiffs seek to
compel Novartis to produce documents already produced by Abbott, Plaintiffs motions to enforce
their subpoenas are denied as duplicative.”). As counsel to both JJHCS and TrialCard, we state
that both JJHCS and TrialCard are complying with their respective discovery obligations and
conducting searches as agreed upon with SaveOnSP. Further, as we have previously explained,
JJHCS has produced over 4,000 communications and related documents between JJHCS and
TrialCard.

                Additional Custodians and Custodial Search Terms. As you know, TrialCard has
designated four custodians to address SaveOnSP’s concerns and avoid an unnecessary dispute.
Despite TrialCard’s reasonable efforts to reach compromise, you persist in your unreasonable
request for sixteen custodians. Once again, this is disproportionate given TrialCard’s very narrow
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role in the events relevant to this litigation, and we will not add the twelve additional custodians
you have requested.

                 You have also asked us to substantiate the burden of adding these additional
custodians. TrialCard has run a hit report across its existing four custodians (Holly Weischedel,
Sini Abraham, Paul Esterline, and Rick Fry) for the search terms proposed in Appendix A of
SaveOnSP’s July 26 letter. This report resulted in over 128,000 documents, inclusive of families.
Given that tens of thousands of documents hit on these search terms for just these four custodians,
it is self-evident that there will be a significant, undue burden associated with engaging in custodial
discovery for all sixteen custodians you have requested. As such, we decline to designate the
additional twelve TrialCard custodians you have proposed. We also suggest that you review the
documents TrialCard produces from these four custodians in order to make an assessment about
whether the additional proposed review is warranted.1

                Retention Policy. TrialCard has produced all retention documents that it has been
able to identify based on reasonable investigation for the applicable time frame.2

                                                           Very truly yours,




                                                           /s/ Katherine Brisson
                                                           Katherine Brisson




1
  In our letter of August 3, we stated that we would provide an evaluation of the search terms you
proposed in Appendix A to your July 26 letter (“Appendix A”). TrialCard does not understand
SaveOnSP to be disputing JJHCS’s proposed Search Terms Nos. 2, 3, and 4 contained in Appendix
A. Accordingly, we will run these mutually-agreed upon terms over the files of Weischedel,
Abraham, Esterline, and Fry. TrialCard has run a hit report for SaveOnSP’s proposed Search Term
No. 1 (SaveOnSP OR SaveOn OR “Save On SP” OR “Save On” OR SOSP OR “Save OnSP” OR
Maximize* OR (“Express Scripts” OR ESI) OR Accredo OR CAP*), and has concluded that the
term is overinclusive, yielding over 91,000 search hits, family inclusive, for just the existing four
custodians. As such, we decline to add it to our existing custodial search methodology. We will,
however, run TrialCard’s Search Term No. 1 (SaveOnSP OR SaveOn OR “Save On SP” OR “Save
On” OR SOSP).
2
 For this reason, we also decline to run SaveOnSP’s proposed Search Term No. 5 in Appendix A.
Nevertheless, in the interest of avoiding a dispute and to ensure that there are no other responsive
documents from the four existing custodians, we will include the term “retention policy” as
proposed in Search Terms Nos. 2, 3, and 4.
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April 7, 2023                                                                          Harry Sandick
                                                                                       (212) 336-2723


VIA EMAIL

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                  Re:      TrialCard’s Responses and Objections to SaveOnSP’s Subpoena
                           Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
                           No. 22 Civ. 2632 (ES) (CLW)

Dear Andrew:

              We write on behalf of TrialCard in response to your March 15, 2023 letter regarding
TrialCard’s Responses and Objections to SaveOnSP’s Third Party Subpoena.

               First, SaveOnSP requests information as to whether “TrialCard is withholding any
documents on the basis that it believes that they are available in party discovery” with regard to
SaveOnSP’s RFP Nos. 2-22, 24-27, 29, and 32. As an initial matter, TrialCard will not produce
materials responsive to SaveOnSP’s RFP Nos. 4, 18 (a)-(h), and 19, because the Court sustained
JJHCS’s objections to the documents and communications sought by these requests in the March
17, 2023 discovery conference. With respect to SaveOnSP’s RFPs 2, 3, 18 (i)-(m), and 30, JJHCS
has already agreed to produce responsive documents on TrialCard’s behalf.

              With respect to the other RFPs, TrialCard is objecting to these requests because,
among other things, these requests are targeted at issues that are logically explored only through
party discovery and not through discovery from TrialCard. SaveOnSP’s “cut-and-paste”
document requests to TrialCard ignore the fact that while JJHCS’s understanding of various issues
may be relevant to the case, TrialCard’s independent understanding of these issues will not be
relevant, absent some reason to believe otherwise based on documents produced in party
discovery. For this reason, the production of documents by TrialCard on these issues is not
appropriate. This position is consistent with TrialCard’s general and/or specific objections to all
of SaveOnSP’s requests based on relevance.




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               We provide further explanation of the nature of our objections below:

                RFP 5: This request seeks all documents and communications regarding CarePath
terms and conditions. While JJHCS is making a production of such documents, TrialCard was not
involved in any decisions regarding the drafting or revision terms and conditions. Nor is its
interpretation of those terms relevant. As a result, TrialCard will have no independent, relevant
information about the terms and conditions, such as the terms “offer” or “health plan,” and its
understanding of those terms (if any) is irrelevant to this case.

               RFP 6: This request seeks information about CarePath’s requirement that patients
make some payment toward their copay. TrialCard does not set the patient copay amounts.
TrialCard is not a party to the contract at issue in this case.

              RFP 7: This request seeks documents relating to how specialty drugs are designated
under the Affordable Care Act. JJHCS has agreed to produce certain documents that concern this
issue. There is no reason to believe that TrialCard would have documents relevant to JJHCS’s
understanding of these issues that are not available from JJHCS, and TrialCard’s own
understanding of these issues is irrelevant to this lawsuit.

               RFPs 13 and 14: These requests seek documents and communications about
SaveOnSP’s direct or indirect impact on the financial viability of CarePath. TrialCard is not
responsible for the financing of CarePath in any respect. Moreover, JJHCS has already agreed to
produce certain documents in response to these requests, and those documents will be produced in
the coming weeks.

                 RFP 15: This request seeks materials “regarding any alleged harm caused by
SaveOnSP to JJHCS.” JJHCS is already producing documents that are responsive to a similar
request. This is not an appropriate subject for third-party discovery, as TrialCard’s understanding
of this issue, to the extent it even has one, is not relevant.

               RFP 22: This request seeks documents “regarding JJHCS’s attempts to identify
health plans advised by SaveOnSP or Patients enrolled in such plans.” To the extent that TrialCard
may have been involved in the efforts to identify these patients and health plans, JJHCS’s
production will capture such documents and communications in the first instance.

               The same is true for the other RFPs identified in SaveOnSP’s letter: RFP 8
(SaveOnSP’s misleading communications); RFPs 9-10 (payments to patients in high deductible or
health savings account plans), RFP 11-12 (harm caused to patients in the SaveOnSP program),
RFP 16 (payment of patient costs), RFP 17 (documents relating to internal JJHCS data), RFP 20
(Stelara and Tremfya program changes), RFP 21 (payments in excess of program caps), RFP 22
(efforts by JJHCS to identify patients in health plans advised by SaveOnSP), and RFP 32
(TrialCard’s communications about the action). TrialCard’s understanding on the issues raised by
these requests is not relevant to the lawsuit, and TrialCard should not be required to produce




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documents in response to them unless party discovery demonstrates that TrialCard would have
documents that bear on JJHCS’s understanding of these issues.

               Second, SaveOnSP seeks additional information for RFP Nos. 1-3 and 18 to which
TrialCard responded that it had already agreed to produce responsive documents through JJHCS,
subject to objections already lodged by JJHCS. TrialCard will address each RFP below.

              RFPs 1 and 2: TrialCard confirms that it will produce its organization charts for
TrialCard between 2016 and 2022 through JJHCS.

                RFP 3: This request seeks all documents and communications “with or regarding
SaveOnSP, including those between You and JJHCS, You and any patients, and You and any other
Hub Entity.” TrialCard is available to meet and confer to discuss issues related to the collection
of call notes, recording and related records to determine an appropriate approach given issues
specific to the format in which those materials are maintained. Other responsive materials should
be pursued through party discovery.

               RFP 18: TrialCard will produce through JJHCS documents responsive to
SaveOnSP’s RFP 18 subparts (i) through (m), which seeks CarePath enrollment and claims data.
Pursuant to the Court’s order, TrialCard will not produce through JJHCS or otherwise documents
responsive to SaveOnSP’s RFP 18 subparts (a) through (h).

                 Bates-stamp identifier: TrialCard confirms that we will use a unique Bates-stamp
identifier to distinguish its document production from those documents produced by JJHCS.

              Third, SaveOnSP raises concerns about TrialCard’s relevance objections to
SaveOnSP’s RFPs 5, 6, 18 (i)-(m), 19, 20, 22, and 26. As you observe, in some cases TrialCard’s
relevance objections are broader than JJHCS’s relevance objections. This is for the same reason
noted above: while JJHCS’s understanding of various issues presented in this lawsuit may support
valid document requests, TrialCard’s understanding of these same issues will often be irrelevant.
We have discussed the nature of TrialCard’s objections to these requests earlier in this letter, except
for RFP 26. TrialCard will not produce documents responsive to this request due to its vague and
ambiguous nature, and the undue burden presented by the request as we understand it.

                Fourth, TrialCard confirms that it intends for its objections to the Time Period
applicable to SaveOnSP’s RFP Nos. 1, 2, 5-6, 18, 19, and 25-28 to be consistent with JJHCS’s
objections that request similar information. TrialCard will comply with any court order applicable
to those RFPs.

              Fifth, as SaveOnSP has explained, TrialCard has lodged a specific objection to the
vague and ambiguous nature of SaveOnSP’s RFP 4, 8, 9, 15, 16, 18, 19, 21, 26, 27, 31, and 32.
Many of these requests are also the subject of other objections. To the extent that TrialCard makes
a production in response to these RFPs, it will construe any vague or ambiguous terms in
accordance with TrialCard’s reasonable understanding of such terms and produce the responsive



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documents. If SaveOnSP wishes to clarify any of its requests, please advise us of any such
clarifications.

               Sixth, SaveOnSP asks whether TrialCard is withholding documents responsive to
RFP 7 based on our objection that it calls for views on a legal question. As noted, TrialCard’s
understanding of health plans’ ability to designate specialty drugs as Essential Health Benefits or
Non-Essential Health Benefits is irrelevant. TrialCard is a third-party with no insight into how
these designations are made and it has no influence over these designations—which of course are
not made by anyone at TrialCard. These are the grounds for TrialCard’s refusal to produce
documents at the present time, and not the fact that the request calls for legal interpretation.

            TrialCard is available to meet and confer on its responses and objections to
SaveOnSP’s RFPs.

                                                         Very truly yours,




                                                         Harry Sandick




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  April 28, 2023



  Via E-mail

  George Carotenuto
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  1133 Avenue of the Americas
  New York, NY 10036
  gcarotenuto@pbwt.com

  Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
           LLC (Case No. 2:22-cv-02632-JMV-CLW)

  Dear George,

         We write to follow up on our April 25 and 26 meet and confers regarding
  TrialCard, Inc.’s (“TrialCard”) responses and objections to Save On SP LLC’s
  (“SaveOnSP”) Requests for Production.

  I.       RFP Nos. 4, 18 (a)-(h), and 19

         In its April 7, 2023 letter, TrialCard stated that it will not produce materials
  responsive to RFP Nos. 4, 18(a)-(h), and 19 because the Court sustained Johnson
  & Johnson Health Care Systems Inc.’s (“JJHCS”) objections to the documents and
  communications sought by these requests in the March 17, 2023 conference. We
  explained that the court dismissed certain of SaveOnSP’s motions to compel with-
  out prejudice and SaveOnSP may renew its motion. As such, we asked whether
  TrialCard would produce responsive documents if JJHCS was ordered to produce
  documents responsive on the same topic. You stated that TrialCard will generally
  produce documents to the same extent as JJHCS and will inform us if it does not.

  II.      Time Period

         We asked whether TrialCard would adjust the time period for all responsive
  documents to date back to April 2016. You answered that that TrialCard would do
  so. You also stated that TrialCard’s first production on April 24, 2023 would in-
  clude documents dated back to April 2016 and, if not, the next production would.
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  George Carotenuto
  April 28, 2023



  III.     Requests for which TrialCard Agreed to Produce Responsive
           Documents

          We noted that TrialCard, in its responses and objections (“R&Os”), stated
  that it would produce “certain responsive documents” through JJHCS for several
  requests. We asked whether, for those requests, TrialCard is withholding any re-
  sponsive documents. You stated that, with regard to one part of RFP No. 3, Trial-
  Card’s communications with patients regarding SaveOnSP, TrialCard is attempt-
  ing to identify responsive audio recordings by running search terms similar to
  JJHCS’s proposed search terms over call center notes. You stated that you would
  provide further information about this search next week, including the search
  terms that TrialCard is using. You otherwise confirmed that for RFP Nos. 2, 3,
  18(i)-(m) and 30, TrialCard is not withholding any responsive documents.

       Please also confirm that TrialCard will produce all documents responsive to
  RFP No. 1.

  IV.      Vague and Ambiguous Objections

         In your R&Os you objected to portions of RFP Nos. 4, 8, 9, 15, 16, 18, 19, 21,
  26, 27, 31 and 32 as vague and ambiguous.

         RFP No. 26 seeks documents sufficient to show the percentage of patients
  who enroll in CarePath after being contacted by JJHCS, Janssen, any JJHCS Hub
  Entity, or any other third party authorized to advertise or market CarePath or
  Janssen Drugs. We explained that it seeks records that show how many patients,
  after JJHCS (or its vendors, like TrialCard) encourage them to enroll in CarePath,
  do enroll in CarePath and how many do not. You stated that you would let us know
  if JJHCS still maintained that this request was vague or ambiguous. You also stated
  that you do not believe that TrialCard would have documents responsive to RFP
  No. 26 because you believe that JJHCS entities typically do not contact patients to
  get them to enroll in CarePath and that TrialCard conducts no such analysis to de-
  termine how many patients sign up after contact with JJHCS entities. We asked if
  you had investigated to reach this conclusion. You stated that you would investi-
  gate and let us know if JJHCS still maintains that TrialCard has no documents re-
  sponsive to RFP No. 26.

          For RFP Nos. 4, 8, 9, 15, 16, 18, 19, 21, 27, 31 and 32, we noted that in your
  April 7, 2023 letter, you said that, to the extent TrialCard makes a production in
  response to those requests, it will construe any vague or ambiguous terms in ac-
  cordance with TrialCard’s reasonable understanding of such terms. You agreed to
  tell us how TrialCard interprets any terms in those RFPs that it maintains are vague
  or ambiguous.

  V.       RFP Nos. 5, 6, and 7

       SaveOnSP’s RFP Nos. 5 and 6 seek, respectively, all documents and com-
  munications regarding CarePath’s terms and conditions, and all documents and


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  communications regarding CarePath’s requirement that patients enrolled in Care-
  Path make any payments towards Janssen Drugs. TrialCard has refused to produce
  documents responsive to these requests. During our meet and confer, we explained
  that gathering information on JJHCS’s terms and conditions is key to the case be-
  cause of JJHCS’s tortious interference claim. You stated that TrialCard’s under-
  standing of JJHCS’s terms and conditions is not relevant to the case because Trial-
  Card had no role in the drafting the terms and conditions. You confirmed that
  TrialCard communicates with patients regarding JJHCS’s terms and conditions,
  following JJHCS’s direction. We explained that TrialCard documents or commu-
  nications about JJHCS’s instructions on explaining terms to patients, or showing
  how TrialCard implements those terms is relevant to the meaning of those terms.
  You stated that you would let us know if JJHCS still maintains that TrialCard’s
  documents on this topic are irrelevant.

          SaveOnSP’s RFP No. 7 seeks all documents and communications regarding
  TrialCard’s understanding of commercial health plans’ ability to designate spe-
  cialty drugs as Essential Health Benefits or Non-Essential Health Benefits under
  the Affordable Care Act (“ACA”) and its regulations. During our meet and confer,
  we explained that, to the extent that JJHCS agrees that its understanding of this
  issue is relevant, TrialCard’s understanding is relevant as well. We explained that
  if TrialCard’s understanding of the ACA is different from JJHCS, that would go to
  the credibility of JJHCS’s allegations. You stated that you think TrialCard’s under-
  standing of this issue is not relevant.

  VI.      RFP Nos. 5-17, 20-22, 24-27, 29, and 32

         During our meet and confer, you agreed to investigate and tell us whether
  TrialCard has any documents responsive to RFP Nos. 5-17, 20-22, 24-27, 29, and
  32 that are not also in the possession of JJHCS.

                                         ***

        We request your response by Friday, May 5 and are available to continue to
  meet and confer.



           Sincerely,



           /s/ Andrew Dunlap

           Andrew Dunlap
           Partner




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          EXHIBITS 29-30
  CONFIDENTIAL – FILED UNDER SEAL
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                   Exhibit 31
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                                                                                                            www.pbwt.com




January 26, 2024                                                                       Caroline Zielinski
                                                                                       (212) 336-2206


By Email

Taylor Stone, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Taylor,

               We write in response to your January 2, 2024 letter concerning JJHCS’s privilege
log and further to related correspondence.1

                After reviewing the documents that you identified in your letter, we no longer seek
to fully withhold or maintain all of the redactions in the documents listed in Appendix A to this
letter. Accordingly, JJHCS will produce these documents either in full or with more limited
redactions in a forthcoming production.

               With respect to the documents you identified that are not listed in Appendix A, we
disagree with the assertions raised in your letter. These documents were properly withheld
pursuant to applicable privileges, including the attorney-client and/or the work product privileges.
To address your contentions, JJHCS provides additional information about those documents
below.

               Exhibit 1 Documents. SaveOnSP first asserts that approximately 160 documents
on Exhibit 1 were improperly withheld based on attorney-client privilege “without indicating that
they involve communications with counsel.” Contrary to SaveOnSP’s assertion, JJHCS’s
privilege log indicates that an attorney was the author or recipient of multiple of the identified
documents in this category. See PL000002020 (email in which S. Harris is the author);
PL000002021 (email in which S. Harris is the recipient); and PL000001630 (email in which
C. Bosch is copied). In addition, Exhibit 1 includes draft documents properly withheld pursuant


1
  We have separately addressed SaveOnSP’s request for an updated privilege log and a log of all partially
redacted documents. See Jan. 11, 2024 Ltr. from J. Long to E. Snow.



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to the attorney-client privilege because they include comments from JJHCS’s in-house attorneys
reflecting legal advice related to the operation of JJHCS’s copay assistance programs, including
training modules, work orders, and terms and conditions. See, e.g., PL000000049 (comments from
J. De Camara), PL000002012 (comments from C. Bosch); PL000002762 (comments from M.
Shea). Assertion of the attorney-client privilege in this circumstance is based on well-established
law. See, e.g., In re Johnson & Johnson Talcum Powder Prods. Mtking, Sales Practices, & Prods.
Liability Litig., 2021 WL 3144945, at *6 (D.N.J. July 26, 2021) (sustaining attorney-client
privilege assertions with respect to “draft documents containing [an in-house attorney’s]
comments” as they “reflect [their] legal input and analysis”).

                Moreover, whether an attorney is listed as an author or recipient of a document does
not determine whether a document is properly withheld pursuant to the attorney-client privilege.
The attorney-client privilege extends to communications comprising a discussion of legal analysis
regardless of whether an attorney is included on the communication. See, e.g., Engage Health
Comms., LLC v. Intellisphere, LLC, 2017 WL 10259770, at *3 (D.N.J. Sept. 12, 2017), report &
recommendation adopted 2017 WL 10259774 (Nov. 21, 2017) (explaining that a document comes
within the attorney-client privilege even if it reflects a “communication between two non-
attorneys” as long as it “reflect[s] the [provision of] legal advice”). JJHCS has properly withheld
documents included in Exhibit 1 that reflect legal analysis and incorporate requests for legal advice
pertaining to the design and implementation of JJHCS’s copay assistance programs. See, e.g.,
PL000000256; PL000000226; PL000000244; PL000000246; PL000000227. See also In re
Johnson & Johnson, 2021 WL 3144945, at *10 (explaining that the “absence of an attorney on a
document is not necessarily determinative” as “[c]ommunications remain privileged if they assist
[an] attorney to formulate and render legal advice” (internal quotation marks and citation
omitted)).

               Exhibit 2 Documents. SaveOnSP next argues that JJHCS improperly withheld
information in approximately 90 documents on Exhibit 2, because the documents “do not appear
privileged based on their descriptions.” SaveOnSP provides no legal authority for its suggestion
that the provision of legal advice must be apparent from the document’s description. To the
contrary, the privilege determination depends on an assessment of whether the underlying
document includes disclosures “necessary to obtain informed legal advice.” In re Riddell
Concussion Reduction Litig., 2016 WL 7108455, at *4 (D.N.J. Dec. 5, 2016), on reconsideration
in part, 2017 WL 11633446 (D.N.J. Jan. 5, 2017) (quoting Westinghouse Elec. Corp. v. Republic
of the Philippines, 951 F.2d 1414, 1423-24 (3d Cir. 1991)). As with Exhibit 1, many of the
documents on Exhibit 2 were properly withheld because they convey legal advice from JJHCS’s
in-house attorneys, see, e.g., PL000001075 (reflecting legal advice from J. Williams on draft
presentation); PL000000424 (conveying legal advice from J. De Camara); PL000000097
(reflecting J. De Camara’s legal advice), or reflect requests for legal advice, see, e.g.,
PL000000097 (identifying areas for which legal advice was required); PL000000427 (same);
PL000000414 (same). In addition, as JJHCS’s privilege log indicates, PL000002242 was properly
withheld pursuant to the attorney-client and work product privileges as it reflects an attorney-client
communication relating to litigation strategy.



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                Exhibit 3 Documents. SaveOnSP contests that JJHCS improperly withheld
approximately 130 “calendar invites” included in Exhibit 3. Although neither the attorney-client
nor the work product privilege applies to “the facts underlying any given communication,” a
“communication concerning that fact is entirely different.” La. Mun. Police Employees Retirement
Sys. v. Sealed Air Corp., 253 F.R.D. 300, 305 (D.N.J. 2008); In re Johnson & Johnson, 2021 WL
3144945, at *4. Email communications accompanying the calendar invitations at issue in Exhibit
3 were properly withheld when they reflect discussions with JJHCS’s legal team regarding
strategies for this litigation. See PL000001253 (email communication with S. Harris regarding
strategy for current litigation); PL000001257 (same); PL000002117 (email from S. Harris
explaining purpose of meeting tied to litigation strategy); PL000001913 (same); PL000001919
(same); PL000001920 (same). Likewise, information underlying requests for legal advice, to be
discussed at upcoming meetings with counsel, was also properly withheld. See, e.g., PL000000398
(email reflecting areas for legal input for discussion at meeting with in-house counsel);
PL000001217 (email explaining topics for discussion at upcoming meeting with S. Harris);
PL000000820 (same); PL000000821 (same); PL000001938 (email explaining purpose of call
regarding legal questions for S. Harris). That said, after further review, JJHCS will be producing
certain calendar invitations previously withheld in redacted form.

               Exhibit 4 Documents. SaveOnSP identifies approximately 60 documents on
Exhibit 4 that it contends were improperly withheld pursuant to the work product privilege. As
indicated in JJHCS’s privilege log, however, Exhibit 4 includes documents prepared in
anticipation of JJHCS’s litigation against SaveOnSP. See, e.g., PL000001086 (Oct. 2021 email
communication with S. Harris discussing litigation strategy); PL000001108 (same); PL000001088
(October 2021 email communication between S. Harris and outside counsel discussing litigation
strategy). Furthermore, contrary to SaveOnSP’s description that Exhibit 4 “contains a list of
documents withheld solely on the basis of the work product privilege,” JJHCS’s privilege log
indicates that many documents included in Exhibit 4 were also withheld based on application of
the attorney-client privilege. These documents include communications with JJHCS’s counsel
that reflect requests for legal advice or convey counsel’s legal analysis regarding the
implementation of JJHCS’s patient assistance programs. See, e.g., PL000000224 (email with J.
De Camara requesting legal advice); PL000001045 (email with J. De Camara reflecting legal
analysis).

               Exhibit 5 Documents. SaveOnSP argues that JJHCS has improperly withheld or
redacted approximately 240 documents on Exhibit 5 because the attorney-client privilege was
waived through disclosure of these documents to third parties. As an initial matter, Exhibit 5
contains many emails in which no third parties are included on the latest-in-time communications.
In those instances, JJHCS employees have forwarded a communication with a third party to
JJHCS’s in-house counsel to request their legal analysis. See, e.g., PL000001869 (email
communication with third party forwarded to S. Harris requesting legal analysis); PL000001854
(same). These documents were properly withheld, as the attorney-client privilege extends to
emails which “forward[] [to counsel] prior non-privileged emails” that underlie the request for
legal advice and assist the attorney in providing their analysis. Engage Health, 2017 WL
10259770, at *3 (“[E]ven though one email is not privileged, a subsequent and privileged email


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which forwards that prior non-privileged email, will allow the privilege to attach to the entire email
chain, including the non-privileged prior email messages.” (quoting Rhoads Indus. Inc. v. Building
Materials Corp. of Am., 254 F.R.D. 238, 240 (E.D. Pa. 2008)).

                With respect to documents shared with third parties, the attorney-client privilege is
maintained when an independent consultant acts as the “functional equivalent” of the party’s
employee and the communication with the third party was “kept confidential and made for the
purpose of obtaining or providing legal advice.” In re Johnson & Johnson, 2021 WL 3144945, at
*9 (citing In re Flonase Antitrust Litig., 879 F. Supp. 2d 454, 460 (E.D. Pa. 2012)); see id.
(explaining that communications between Johnson & Johnson and its consultants, “even in the
absence of an attorney . . . may be privileged if they are necessary for the client to obtain[] informed
legal advice”); In re Riddell Concussion Reduction Litig., 2016 WL 7108455, at *6, *8 (applying
functional equivalent doctrine to documents between party and public relations and
communications consultants).

                This legal principle recognizes that “in-house counsel should be able to
communicate freely with consultants about legal issues without being chilled by the prospect that
their communications will be produced to an adversary in discovery.” In re Johnson & Johnson,
2021 WL 3144945, at *9. Documents listed in Exhibit 5 were appropriately withheld pursuant to
this standard because they include confidential communications between JJHCS and third parties
relating to information requested by or provided to JJHCS’s attorneys to assist in their analysis of
legal issues. See, e.g., PL000002658 (email in which third party provides information requested
by JJHCS’s counsel to assist in the provision of legal advice); PL000002370 (same);
PL000002292 (email in which JJHCS’s counsel requests information necessary to provision of
legal advice); see also In re Riddell Concussion Reduction Litig., 2016 WL 7108455, at *9 (holding
that information provided by third party “needed by [party’s] attorneys to render legal advice” is
privileged). Exhibit 5 also includes documents protected by the attorney-client privilege because
they convey the legal analysis of JJHCS’s attorneys. See, e.g., PL000001908 (email conveying
legal advice); PL000001750 (draft document reflecting legal advice); PL000001751 (same). See
also In re Riddell Concussion Reduction Litig., 2016 WL 7108455, at *10 (finding documents
shared with third party were privileged where the “documents indicate[d] actual legal advice was
conveyed” including an “email asking for legal insight” or an “email referring to attorney advice”);
In re Johnson & Johnson, 2021 WL 3144945, at *7 (finding documents shared with third party
privileged where they were reviewed by counsel “with a view towards legal issues”).

                                           *       *       *

               Finally, based on our review of SaveOnSP’s revised privilege log dated October
10, 2023, we have identified several areas of concern, where it appears that SaveOnSP has
inappropriately redacted or withheld certain documents that should have been produced. For
example, the following documents appear on SaveOnSP’s privilege log:

           •   Emails that were sent to or from third parties. See, e.g., SOSP_0817331 (an
               email fully withheld for privilege from an individual with a “RideMetro.Org”


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               domain to Claudia Dunbar, Ron Krawczyk, Jill Stearns, and two individuals at
               Express Scripts Inc. (“ESI”)); SOSP_0827911 (an email redacted for privilege
               including Michael Kirchhoff with an ESI domain); SOSP_0828613 (an email
               redacted for privilege including Aaron Mallin with an ESI domain);

           •   Inconsistent privilege calls. See SOSP_0832627, which is an attachment titled
               “JnJ letter page 2.pdf.” This document was withheld as privileged even though
               “page 1” of this same attachment was produced; and

              We have identified similar issues for the following documents that have not yet
been logged on SaveOnSP’s privilege log:

           •   SOSP_0940021, which is a spreadsheet reflecting notes on SaveOnSP calls with
               external parties, including Allina Health System, International Association of Heat
               and Frost Insulators Local 17 Welfare Fund, SKC, Inc., AmerisourceBergen
               Corporation, and HealthSmart; and

           •   SOSP_1034728, which is text message exchange involving no lawyers that was
               sent to and from a third party.

             Please explain by February 2, 2024 why you have withheld or redacted the specific
documents identified above. In the event you no longer wish to assert privilege over any of the
documents identified herein, please promptly produce them.

                Finally, in response to your SaveOnSP’s January 25, 2024 letter, we can confirm
that JJHCS has included, and will continue to include, all thread participants on emails included
on its privilege logs. Thank you for confirming that SaveOnSP will correct its privilege log to
address this issue and to adopt this practice moving forward. See Jan. 25, 2024 Ltr. from E. Snow
to J. Long. Please confirm that you will provide the corrected version of your privilege log by
February 13, 2024.


                                                        Very truly yours,


                                                        /s/Caroline Zielinski
                                                        Caroline Zielinski




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                   Exhibit 32
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June 16, 2023                                                                          Katherine Brisson
                                                                                       (212) 336-2552


VIA EMAIL

Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104


                  Re:      Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC
                           No. 2:22-cv-02632 (ES) (CLW)

Dear Emma:

              On behalf of TrialCard, we write in response to your June 14, 2023 letter
concerning TrialCard’s productions in the above-captioned matter.

    I.       Non-Custodial Documents

                In your May 31, 2023 letter, SaveOnSP requested that TrialCard identify the
individual custodian or the specific noncustodial source for each document it has produced. In
response to that request, TrialCard explained that it would not identify the specific sources for
noncustodial documents—an approach entirely consistent with the parties’ practices in this
litigation. See Ltr. from K. Brisson to E. Holland dated June 7, 2023. Indeed, SaveOnSP has not
identified the specific sources for any non-custodial document it has produced in this litigation.
SaveOnSP can hardly place demands on a third party for format requirements that it has not even
complied with itself in party discovery.

                The documents that TrialCard has produced in this matter consist of, among other
things: (1) organizational charts, (2) CarePath claims and enrollment data, (3) template letters and
related communications to patients; (4) patient call notes; and (5) a document retention policy. To
identify and collect such documents, we worked closely with our client to identify responsive
materials and the repositories in which they are maintained. For example, we worked with the
Chief Compliance Officer and General Counsel to identify organizational charts and the document
retention policy. Similarly, we worked with Quality Assurance and Quality Control personnel to
source call data from a dedicated database and with appropriate client service representatives to
retrieve enrollment and claims data from a centralized location. We can discern no basis for
SaveOnSP’s request for additional information about the specific sources for these documents.
Nevertheless, we are willing to consider a reasoned request for additional source information on a
case-by-case basis.




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   II.     Custodial Documents

               TrialCard has engaged in substantial efforts to identify and produce documents
responsive to the SaveOnSP’s subpoena, including producing over 19,000 call notes and over 100
responsive non-custodial documents. See, e.g., Ltr. from K. Brisson to E. Holland dated June 7,
2023. JJHCS has also produced a substantial number of documents, including more than 4,000
communications (and related materials) between JJHCS and TrialCard, that are responsive to
SaveOnSP’s subpoena to TrialCard. As we have repeatedly explained, TrialCard, as a third party,
need not produce documents duplicative of those JJHCS has produced—a position SaveOnSP has
fully embraced in ongoing third-party motion practice.

                Indeed, as you know, JJHCS served third party subpoenas on SaveOnSP’s business
partners, Express Scripts Inc. (“ESI”) and Accredo Health Group, Inc. (“Accredo”). In stark
contrast to TrialCard, neither ESI nor Accredo have produced any documents in response to those
subpoenas, arguing in part that third parties need not duplicate party productions. SaveOnSP has
even gone out of its way to support ESI and Accredo’s efforts to resist discovery, including by
submitting its own affidavits detailing the number of documents SaveOnSP has produced in this
litigation. See Dunlap Aff., Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
No. 4:23-mc-527-SEP (E.D. Mo.), D.E. 13-10 (declaration from SaveOnSP’s lead trial counsel in
support of ESI’s Opposition to JJHCS’s Motion to Compel); Dunlap Aff., Johnson & Johnson
Health Care Systems, Inc. v. Save On SP, LLC, No. 2:23-mc-00019-JTF-tmp (W.D. Tenn.), D.E.
19 (same in support of Accredo). SaveOnSP nevertheless expects TrialCard to bear far more
burdensome discovery than its own business partners are willing to undertake.

                Despite TrialCard’s considerable efforts to comply with the subpoena (and
SaveOnSP’s business partners’ complete failure to do the same), SaveOnSP now apparently
wishes to move to compel additional custodial documents from TrialCard. Any such motion would
be grossly unripe and meritless. SaveOnSP has not identified any gaps in TrialCard’s productions,
nor has it identified specific documents that it seeks from any specific custodian. While TrialCard
is willing to consider targeted custodial collections, it cannot do so entirely in the abstract and
without any direction whatsoever as to which of SaveOnSP’s thirty-two document requests
purportedly warrants a custodian.

               TrialCard has carefully reviewed the subpoena, delineated its objections and scope
of production, and produced responsive documents. If SaveOnSP believes some particular
document request still requires a supplemental TrialCard custodial production despite the party
and non-party productions to date, please identify those requests, why they purportedly require
custodial production, and which custodians you seek. We will then consider any such request.

   III.    Request for Consent to File Joint Letter

                Finally, SaveOnSP has asked for TrialCard’s consent to submit a joint letter on
these issues before Magistrate Judge Waldor in the District of New Jersey. As you are well aware,
TrialCard, which is headquartered in North Carolina, is a nonparty in this case. While TrialCard
is willing to consider a request to proceed before Judge Waldor rather than in North Carolina, it
cannot do so without additional information concerning the scope of a dispute, once ripe, and the
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June 16, 2023
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specific relief SaveOnSP intends to seek. This is particularly so given your acknowledgement in
the June 14 letter that you are still reviewing our May 31 letter.

                                                      Very truly yours,

                                                      /s/ Katherine Brisson
                                                      Katherine Brisson
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June 30, 2023                                                                          Katherine Brisson
                                                                                       (212) 336-2552


Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (ES) (CLW)

Dear Emma:

                On behalf of TrialCard, Inc. (“TrialCard”), we write in response to your June 29,
2023 letter regarding our June 28, 2023 meet and confer concerning TrialCard’s responses to Save
On SP, LLC’s (SaveOnSP) subpoena.

                As a preliminary matter, we disagree with several of the assertions made in your
June 29 letter. First, we did not categorically state that “the only relevant materials” in TrialCard’s
possession are “communications that it provides to JJHCS [Johnson & Johnson Health Care
Systems, Inc.] during the normal course of business.” Rather, we explained that because TrialCard
is a vendor tasked with administering CarePath at the direction of JJHCS, responsive documents
that it would possess would largely be in the possession of JJHCS as well. Indeed, as we have
stated in our correspondence, TrialCard does not independently interpret the CarePath terms and
conditions without direction from JJHCS, nor does it independently analyze the harm SaveOnSP
has caused to JJHCS. See Ltr. from G. Carotenuto to A. Dunlap dated May 12, 2023 at 3–4.

                Relatedly, as we explained at length previously and during the meet and confer,
purely internal communications concerning issues that do not relate to TrialCard’s implementation
of the CarePath program are not relevant to the claims and defenses in the litigation. See, e.g., Ltr.
from K. Brisson to E. Holland dated June 7, 2023 at 2. Thus, for example, the documents sought
by RFP Nos. 7, 9, and 29—which seek documents entirely unrelated to TrialCard’s provision of
services to JJHCS—are immaterial to the claims at issue. TrialCard should not be forced to search
for them in any format, custodial or non-custodial.

               In addition, you mischaracterize TrialCard’s willingness to search for or produce
custodial documents, stating inaccurately that we “refuse[]” to do so. Rather, we repeatedly stated
that following reasonable investigation, we had concluded that such custodial discovery was
unnecessary to fulfill our obligations under the subpoena. This is especially so in light of the
substantial productions made to date, including the production of over 19,000 patient call notes,



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numerous patient form letters, and voluminous spreadsheets containing enrollment and claims
data. In any event, we also repeatedly reiterated our willingness to search for and produce custodial
documents, but noted that we could not do so entirely in the abstract, without any direction
whatsoever as to which of your thirty-two requests merit custodial discovery. You refused to
identify any purported gaps in our productions thus far, and you similarly refused to identify any
specific requests that you believe merit a custodial production.

                 Your letter also fails to memorialize the discussion we had concerning the ongoing
third-party motion practice involving JJHCS and Express Scripts Inc. (“ESI”) and Accredo Health
Group, Inc. (“Accredo”). During the meet and confer, we asked if you were willing to memorialize
your apparent position that a third-party must always produce custodial documents to comply with
its third-party subpoena obligations. You stated that despite submitting an affidavit in support of
ESI’s and Accredo’s opposition to JJHCS’s motions to compel, you had not read the oppositions
in those cases, and you had no position on whether ESI or Accredo should be required to produce
any discovery at all. Given your submission of affidavits in support of ESI and Accredo, we find
it less than plausible that you do not endorse their positions. Regardless, however, we reiterate
that SaveOnSP’s position in relation to the instant TrialCard subpoena is inconsistent with the
positions taken by its own business partners. See Ltr. from K. Brisson to E. Holland dated June
16, 2023 at 2.

                All else aside, we have conveyed your position to our client and, in an effort to seek
compromise, we are diligently working to determine whether there is anything more to be done to
satisfy the concerns raised in your letter. We will provide an update as soon as possible.

                 Finally, you have requested information concerning who is paying for TrialCard’s
costs in connection with responding to the subpoena. This is a remarkable request given that
SaveOnSP itself has refused to provide this information, absent Court order, in the context of the
ongoing litigation. See, e.g., Joint Ltr. to Judge Waldor dated Apr. 11, 2023 at 5 (memorializing
SaveOnSP’s refusal to respond to JJHCS’s Interrogatory No. 14 requesting information
concerning the payment of SaveOnSP’s legal fees). SaveOnSP can hardly place demands on a
third party for information that it itself has refused to provide in party discovery.

                                                          Very truly yours,




                                                          /s/ Katherine Brisson
                                                          Katherine Brisson
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August 3, 2023                                                                         Katherine Brisson
                                                                                       (212) 336-2552


Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (ES) (CLW)

Dear Emma:

               On behalf of TrialCard, we write in response to your July 26, 2023 letter concerning
TrialCard’s response to the third-party subpoena served by SaveOnSP.

               Request No. 3. You appear to misunderstand how we will be responding to Request
No. 3. As we have explained, we have already agreed to search custodial files for documents
responsive to this Request. See July 13 Ltr. from K. Brisson to E. Holland. The specific search
terms we intend to apply to custodial data are addressed more fully below.

                As to non-custodial documents, we decline your invitation to add the proposed
terms to our collection of case and tasks notes for the reasons already explained. See June 7, 2023
Ltr. from K. Brisson to E. Holland. Specifically, we have already produced 19,933 records from
TrialCard’s centralized database that hit on 12 existing search terms. The limitations you have
proposed with respect to the “out of pocket” term (specifically adding the terms “no” and “zero”)
are insufficient to address the substantial burden we have already identified in our June 7 letter.
Indeed, as we have already explained, nearly every single call to TrialCard relating to the CarePath
program likely involves some mention or reference to the terms “out-of-pocket” or “OOP,” and
SaveOnSP is not entitled to every call concerning out-of-pocket costs without some reasonable
subject matter limitation. Your proposed terms do not represent such a reasonable limitation.

               Scope of Custodial Searches. TrialCard confirms that it will perform a custodial
search for documents responsive to Request Nos. 8–9 and 11–15, as well as Request Nos. 1, 2, 3,
18(i)-(m), and 30 (which are the requests to which it previously agreed to produce non-custodial
documents). TrialCard will not produce custodial documents responsive to the remainder of the
Requests.

               Request No. 22/Documents in JJHCS’s Possession. Regarding Request No. 22
specifically, we have previously explained that TrialCard will not produce documents that are




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already in the possession of JJHCS. See, e.g., May 12, 2023 Ltr. from G. Carotenuto to A. Dunlap.
Your own cited authority is in accord. See Wyeth v. Abbott Lab’ys, 2011 WL 2429318, at *8
(D.N.J. June 13, 2011) (“To the extent Plaintiffs seek to compel Novartis to produce documents
already produced by Abbott, Plaintiffs’ motions to enforce their subpoenas are denied as
duplicative.”). Moreover, as we have also previously explained at length, this is consistent with
the position that SaveOnSP has endorsed with respect to its own business partners, ESI and
Accredo, for which it has suggested that third-parties need not duplicate party productions. See
generally Ltr. from K. Brisson to E. Holland dated June 16, 2023.

               Nothing about JJHCS’s Responses and Objections to SaveOnSP’s Second Set of
Interrogatories alters this position. TrialCard has already produced enrollment and claims data,
and to the extent JJHCS received analyses or other deliverables concerning this data, these
documents would be in JJHCS’s possession. Indeed, as we have already explained, analysis of
such data would have been done at the request of, or in consultation with, JJHCS. Further, as
explained in its Responses and Objections to SaveOnSP’s Second Set of Interrogatories, JJHCS
intends to produce documents sufficient to show the analyses at issue.

                Finally, you ask TrialCard to confirm that JJHCS has produced all documents in
the possession of both JJHCS and TrialCard. TrialCard has no reason to question JJHCS’s
assertion that JJHCS has produced such documents to the extent necessary to satisfy JJHCS’s
discovery obligations and as negotiated by the parties.

                Additional Custodians and Custodial Search Terms. We reiterate that while we still
do not believe custodial collections are necessary at all, we have undertaken such collections to
moot the concerns you have expressed and to avoid an unnecessary dispute. See July 6, 2023 Ltr.
from K. Brisson to E. Holland. In addition to the two custodians we have already proposed, you
now request the addition of sixteen document custodians. This is grossly disproportionate to
TrialCard’s status as a third-party and would present a significant burden. Nevertheless, in the
interest of reaching compromise, we will agree to add Rick Fry1 and Paul Esterline2 as additional
custodians if that will resolve this dispute. We are in the process of collecting these custodians’
file. Once we have done so, we will revert to address the issues you have raised with respect to
additional search terms, including those proposed in Appendix A to your letter.

               TRIALCARD_00000200. TrialCard is investigating the legibility issue you have
identified and will reproduce a replacement version to the extent feasible.

          Document Retention Policy. The document retention policy produced as
TRIALCARD_00000125 has been in effect since December 16, 2020 and was modified on

1
  Mr. Fry served as Senior Vice President, Client Solutions from February 2020 to August 2022. Prior to
that, he served in various roles in Operations and Client Services for nearly seven years.
2
 Mr. Esterline is currently Director of Reporting and Analytics and has held several prior roles in
analytics and strategic accounts.
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January 31, 2023 to include the “TC Script Records Portion” in Appendix A. Based on reasonable
investigation, TrialCard does not have any other responsive retention documents.

                Data Dictionary. In the event you have a specific question concerning the meaning
of a particular data field, we are open to addressing it on a case-by-case basis.

                                                       Very truly yours,




                                                       /s/ Katherine Brisson
                                                       Katherine Brisson
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                   Exhibit 35
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                                                                                                        www.pbwt.com




December 22, 2023                                                                      Sara A. Arrow
                                                                                       (212) 336-2031




By Email

Elizabeth Snow, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (ES) (CLW)

Dear Elizabeth:

              On behalf of TrialCard, we write in response to your December 14, 2023 letter
concerning the relevant time period for JJHCS’s productions in response to the February 17, 2023
subpoena (the “Subpoena”) served on TrialCard.

                As you know, TrialCard, a non-party, and SaveOnSP have been engaged for several
months in extensive negotiations related to the scope of TrialCard’s response to the Subpoena.
The Subpoena sought the production of documents for the period from January 1, 2017 through
the date of the subpoena. TrialCard timely raised relevance, breadth, and burden objections,
agreeing to produce documents only for the period January 1, 2017 to July 1, 2022. See TrialCard
Responses and Objections dated March 6, 2023.1 Following negotiation, TrialCard subsequently
agreed to expand the Relevant Time Period to cover April 1, 2016 through July 1, 2022. See May
12, 2023 Ltr. from G. Carotenuto to A. Dunlap.

               Throughout the course of our negotiations, TrialCard consistently reiterated that it
would only produce documents from this time period. See, e.g., July 13, 2023 Ltr. from K. Brisson
to E. Holland (identifying April 1, 2016 to July 1, 2022 as the Relevant Time Period for custodial
productions); Sept. 8, 2023 Ltr. from K. Brisson to E. Holland (reiterating the Relevant Time
Period). SaveOnSP raised no objections whatsoever and accepted this as the Relevant Time Period


1
 You assert in the December 14 letter that TrialCard has articulated no relevance or burden objections to
extending the applicable time period. Not so. Referencing our original Responses and Objections, we
expressly preserved such objections during the December 12, 2023 meet and confer, and we maintain those
objections for the reasons stated during our conferral and in this letter.



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December 22, 2023
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at least twice. See May 31, 2023 Ltr. from E. Holland to G. Carotenuto at 1 (referring to April 1,
2016 to July 1, 2022 as the “Relevant Time Period”); July 26, 2023 Ltr. from E. Holland to K.
Brisson at 7 n.1 (proposing search terms for the “Relevant Time Period” defined as April 1, 2016
to July 1, 2022).

              More than six months after TrialCard first identified the Relevant Time Period and
several months after SaveOnSP accepted it, SaveOnSP now is attempting to rewrite the above
history and demands that TrialCard supplement its productions through November 7, 2023.
SaveOnSP’s request is improper for several reasons, including the following:

          First, the Subpoena was issued on February 17, 2023. TrialCard seeks to extend the
           scope of the subpoena at least nine months beyond the service date. This is plainly
           improper and contrary to the Federal Rules of Civil Procedure. Neither Rule 45 nor
           any other authority supports the notion that a subpoena may seek the production of
           documents that were not created until after the subpoena was propounded.

          Second, as we have explained at length, nothing in the Court’s November 7, 2023 Order
           directs TrialCard, as a non-party, to update its discovery responses. That Order only
           directs “both parties” to “supplement their discovery responses in accordance with the
           Federal Rules of Civil Procedure”—which, as noted, above, do not impose on
           TrialCard, a non-party, an obligation to supplement. See Johnson & Johnson
           Healthcare Sys., Inc. v. Save On SP, LLC, ECF No. 173 (“ECF No. 173”). Nor are we
           aware of any other third party (including your business partners, Express Scripts Inc.
           or Accredo Health Group, Inc.) who have made a comparable production pursuant to
           the November 7 Order.

          Third, citing to an April 7 letter, you claim that TrialCard purportedly confirmed that
           it would comply with any court order applicable to RFP Nos. 1, 2, 5–6, 18, 19, and 25–
           28, which contain requests similar to those in scope and substance as several requests
           directed to JJHCS. This ignores and mischaracterizes the relevant context surrounding
           the April 7 letter. As you know, RFP Nos. 1, 2, 5–6, 18, and 19 sought documents for
           the period January 1, 2009 to the present, and RFP Nos. 25–28 sought documents for
           the period January 1, 2015 to the present. The parties—JJHCS and SaveOnSP—have
           long disputed the proprietary of requiring collections beginning as early as 2009 or
           2015, as applicable, and have engaged in extended motion practice related to those
           parallel requests served on JJHCS. To date, the Court has not endorsed SaveOnSP’s
           requests for discovery prior to April 1, 2016 for any of the comparable RFPs as they
           relate to JJHCS. Nothing within Judge Waldor’s November 7 Order addresses the
           earlier time period; to the contrary, Judge Waldor made clear that several of
           SaveOnSP’s requests seeking pre-2016 documents should be narrowed, both as to time
           period and substance. See e.g., ECF No. 173 at 1 (requiring SaveOnSP to “narrow” the
           scope of its requests for information relating to CarePath Terms and Conditions and
           financial information—two categories of information that overlap with several of the
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           Requests for Production referenced in TrialCard’s April 7 letter).2 Thus, contrary to
           your assertion, TrialCard’s representations in its April 7 letter do not alter its consistent
           position that the relevant time period is April 1, 2016 to July 1, 2022—a period that
           SaveOnSP has repeatedly accepted over months of negotiation.

                For these and all of the other reasons we provided during our meet and confer,
TrialCard will not update its response to the Subpoena beyond July 1, 2022. TrialCard reserves
all rights, and we remain available to meet and confer.

                                                           Very truly yours,


                                                           /s/ Sara A. Arrow
                                                           Sara A. Arrow




2
 For example, RFP No. 5 seeks documents concerning CarePath Terms and Conditions. SaveOnSP’s RFP
No. 27 seeks documents concerning JJHCS’s purported return on investment for copay assistance dollars.
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                   Exhibit 36
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AO 88B (Rev _ 0 V 14) Subpoena to Produce Documents, Information, or Objects or to Pennit Inspection of Premises in a Civil Action




                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                                District of New Jersey

     Johnson & Johnson Health Care Systems Inc.
                                                                                )
                               Plaintiff                                        )
                                   V.                                           )       Civil Action No. 22-2632
                                                                                                         22-2632 (JMV)
                                                                                                                 (JMV) (CLW)
                                                                                                                       (CLW)
                        Save
                        Save On
                             On SP,
                                SP, LLC
                                    LLC                                         )
                                                                                )
                              Defendant                                         )

                        SUBPOE A TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTIO OF PREMISES IN A CIVIL ACTION

 To:                                                              TrialCard
                                                                  TrialCard Inc.
                                                                              Inc.
                                                2250
                                                2250 Perimeter
                                                     Perimeter Park
                                                               Park Dr.,
                                                                    Dr. , #300,
                                                                          #300 , Morrisville,
                                                                                 Morrisville, NC
                                                                                              NC 27560
                                                                                                 27560
                                                        (Name ofperson to whom this subpoena is directed)

       ✔
       ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set f01i:h below the following
documents, electronically stored inf01mation, or objects, and to permit inspection, copying, testing, or sampling of the
mate1ial:See
         See attached
             attached requests  for production.
                      requests for  production.



  Place: Robinson & Cole LLP                                                              Date and Time:
           666 Third Avenue, 20th Floor                                                                        12/15/2023
                                                                                                               12/15/2023 5:00
                                                                                                                          5:00 pm
                                                                                                                               pm
           New
           New York,
                York, NY
                      NY 10017-4132

     □ Inspection of Premises: YOU ARE COMMANDED to pen.nit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set fo1th below, so that the requesting paity
may inspect, measure, survey, photograph, test, or sample the prope1ty or any designated object or operation on it.

 I Place                                                                                I Date and Time:




       The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date:        12/01/2023
             12/01/2023

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                 /s/
                                                                                                                 /s/ E.
                                                                                                                     E. Evans Wohlforth, Jr.
                                                                                                                        Evans Wohlfarth, Jr.
                                           Signahtre of Clerk or Deputy Clerk                                          Attorney's signature


 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)      Defendant
                                                                                                          Defendant
Save On SP,
        SP LLC                                                           , who issues or requests this subpoena, are:
E.
E. Evans Wohlforth, Jr.,
   Evans Wohlfarth, Jr., Gibbons
                         Gibbons P.C.,
                                 P.C., One
                                       One Gateway
                                           Gateway Center,
                                                   Center, Newark,
                                                           Newark, NY
                                                                   NY 07102-5310
                                                                      07102-5310

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored info1mation, or tangible things or the
inspection of premises before tiial, a notice and a copy of the subpoena must be se1ved on each paity in this case before
it is se1ved on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
            Case 2:22-cv-02632-CCC-CLW                           Document 360-4                 Filed 08/27/24              Page 96 of 683
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Pennit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 22-2632
                 22-2632 (JMV)
                         (JMV) (CLW)
                               (CLW)


                                                               PROOF OF SERVICE
                      (This section should not be filed with tile court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day 's attendance, and the mileage allowed by law, in the amount of
            $


My fees are$                                       for travel and $                             for se1vices, for a total of$                 0.00



            I declare under penalty ofpe1jmy that this info1mation is tiue.


Date:
                                                                                                   Server 's signature



                                                                                                 Printed name and title




                                                                                                    Server 's address


Additional infonnation regarding attempted se1vice, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Infonnation, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or infonnation that does
                                                                                  not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, H eari11g, or Depositio11. A subpoena may command a            study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an A lternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party' s officer; or                                    otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) F or Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (1) Producing Documents or E/.ectronically Stored I 11formatio11. These
tangible things at a place within l 00 miles of where the person resides, is      procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          infonnation:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) P t"Otecting a Person Subject to a Subpoena; Enfo1·cement.                    must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specif ied.
 (1) A voiding Undue Burde11 or Expense; Sa11ctio11s. A party or attorney         If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena lllllSt take reasonable steps      information, the person responding must produce it in a form or foilllS in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or fonns.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Fonn. The
enforce this duty and impose an appropriate sanction- which may include           person responding need not produce the same electronically stored
lost earnings and reasonable attorney' s fees---on a party or attorney who        information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored infonnation
 (2) Command to P roduce M~aterials or P ermit I11Spectio11.                      from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) O aiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises---or to          (A) Infonnation Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or foilllS requested.     under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following mies apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If infomiation produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party' s officer from    trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quaslti11g or Modifying a S11bpoena.                                         information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      infonnation if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required--and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R Civ. P. 45(a) Committee Note (2013).
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                                    PageID: 31449



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212-451-2954
ewohlforth@rc.com

Attorneys for Defendant Save On SP, LLC


                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



 JOHNSON & JOHNSON HEALTH CARE                 Civil Action No. 22-2632 (ES) (CLW)
 SYSTEMS INC.,
                                               NOTICE OF SUBPOENA FOR THE
                     Plaintiff,                 PRODUCTION OF DOCUMENTS

              V.

 SAVE ON SP, LLC,

                     Defendant.




      PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure 26,

34, and 45 Defendant Save On SP, LLC ("SaveOnSP") requests TrialCard Inc. ("Trial-

Card"), to produce for inspection and copying the documents listed in these Request s, to
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the office of the undersigned on December 15, 2023 or at a time and place mutually agreed

by the parties or ordered by the Comt.

      PLEASE TAKE FURTHER NOTICE that this demand for production of docu-

ments shall be deemed continuing in nature to require supplemental responses if Plaintiff

or Plaintiffs counsel obtain or locate further or additional documents subsequent to the

time Plaintiffs responses are served.



Dated: December 1, 2023                  By:   J,..:S::..,..__ _ _ _ _ _ _ _ __

                                               E. Evans Wohlfarth, Jr.
                                               ROBINSON & COLE LLP
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                                               New York, NY 10017-4132
                                               212-451-2954
                                               ewohlforth@rc.com

                                               David Elsberg
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                                               1290 Avenue of the Americas
                                               New York, NY 10104
                                               212-390-9000
                                               deslberg@selendygay.com
                                               adunlap@selendygay.com
                                               mnelson@selendygay.com

                                               Attorneys for Def endant Save On SP, LLC




                                           2
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                                      DEFINITIONS

       1.     The singular form of a word includes the plural, and vice versa.

       2.     Any tense of a verb includes all tenses.

       3.     Any natural person includes that person's agents, assigns, attorneys, em-

ployees, representatives, and successors.

       4.     Any entity other than a natural person includes (a) that entity's present and

former agents, affiliates (foreign or domestic), assigns, attorneys, consultants, directors,

divisions, employees, officers, parents, predecessors, representatives, servants, subsidi-

aries, and successors; (b) any person or entity, directly or indirectly, wholly or in part,

associated with, controlled by, or owned by that entity; (c) and any other person or entity

acting or purp01ting to act on behalf of (a) or (b).

       5.     "Action" means this litigation styled as "Johnson & Johnson Health Care

Systems Inc. v. Save On SP, LLC" currently pending in the United States District Court

for the Dishict of New Jersey, No. 22-2632 (ES) (CLW).

       6.     "Affordable Care Act" means the Patient Protection and Affordable Care

Act, Pub. L. 148, 124 Stat. 119.

       7.     "All," "any." and "each" niean any and all.

       8.     "And" and "Qr" are construed both conjunctively and disjunctively.

       9.     "Benefits Investigation" means any process by which TrialCard, or any en-

tity acting on its behalf, receives information regarding the pharmacy benefits provided

by a health plan, including information regarding prior authorization costs, Essential

Health Benefits status, patient eligibility, and related information.

       10.    "CarePath" means the Janssen copay assistance program marketed under

the nan1e CarePath that provides financial support services for patients using specialty
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drugs researched, developed, and marketed by the phannaceutical companies of Johnson

& Johnson, including Janssen (as defined herein).

           11.     "CarePath Care Coordinator" means any person or entity encompassed by

that term as used on CarePath's "Contact Us" webpage, 1 as well as any person responsible

for communicating with patients who contact CarePath via an advertised help number

(e.g., 877-CarePath).

           12.     "Communication" means the transmittal of information in the form of facts,

ideas, inquiries, or otherwise.

           13.     "Complaint" means JJHCS's May 4, 2022 Complaint [ECF No. 1] or any

subsequently amended Complaint in this Action.

           14.     "Copav Accumulator Service" means (a) any service provided by Pharmacy

Benefit Mangers or insurance companies, or any third party providing services to the

same, to manage the cost of specialty drugs by preventing manufacturer copay assistance

from counting towards a patient's deductible and out-of-pocket maximum and under

which members remain responsible for all or most of their plans' copays, co-insurance

requirements, and deductibles once copay assistance has been exhausted; and (b) any

definition JJHCS ascribes to the term "copay accumulator."

           15.     "Copay Assistance" means any type of patient support that allows a drug

manufacturer to pay all or some of a patient's prescription drug cost for that manufac-

turer's drug.




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     See Contact Us, https: / /www.janssencarepath.com/ patient/ contact-us Oast visited November 20, 2023).


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          16.      "Copay Maximizer Service" means (a) any service provided by Pharmacy

Benefit Managers or insurance companies, or any third pa1ty providing services to the

same, to manage the cost of specialty drugs by preventing manufacturer copay assistance

from counting towards a patient's deductible and out-of-pocket maximum and under

which members do not remain responsible for all or most of their plans' copays, co-insur-

ance requirements, and deductibles once copay assistance has been exhausted; and (b)

any definition JJHCS ascribes to the term "copay maximizer."

          17.      "Document" means "document" and "electronically stored information" as

defined in the Federal Rules of Civil Procedure. A draft or non-identical copy is a separate

document within the meaning of this term.

          18.      "Essential Health Benefit: means, in the context of prescription drug bene-

fits at issue in this case, (a) a prescription drug benefit that satisfies the requirement for

a plan to provide essential presc1iption d1ug benefits under the Affordable Care Act or

that is treated as such by a plan;2 and (b) any definition JJHCS ascribes to the term "es-

sential health benefit" as used in the Complaint.

          19.      "Identify" means (a) with respect to persons, to give, to the extent known,

the person's full name, present or last known address, and when referring to a natural

person, additionally, the present or last known place of employment; (b) with respect to

documents, either (i) to give, to the extent known, the (A) type of document; (B) general

subject matter; (C) date of the document; and (D) author(s), addressee(s) and recipi-

ent(s); or (ii) to produce the documents, together with sufficient identifying information

sufficient to satisfy Federal Rule of Civil Procedure 33(d).



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    45 C.F.R. §§ 156.122, 156.115
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       20.    "Including" means including but not limited to.

       21.    "Janssen" means Janssen Biotech, Inc., Janssen Pharmaceuticals, Inc.,

Janssen Products, LP, and Actelion Pharmaceuticals U.S., Inc., as well as any and all pre-

decessors and successors in interest, assignees, parents, subsidiaiies, affiliates, divisions

or departments, agents, representatives, directors, officers, employees, committees, at-

torneys, accountants, and all persons or entities acting or purp01ting to act on behalf or

under the control of Janssen Biotech, Inc., Janssen Pharmaceuticals, Inc., Janssen Prod-

ucts, LP, or Actelion Pharmaceuticals U.S., Inc.

       22.    "Janssen Drug" means any Specialty Drug manufactured or sold by Janssen

from any time for which patients may receive copay assistance, including BALVERSA,

DARZELEX, DARZELEX FASPRO, ERLEADA, IMBRUVICA, OPSUMIT, PREZCOBIX,

REMICADE, RYBREVANT, SIMPONI, STELARA, SYMTUZA, TRACLEER, TREMFYA,

UPTRAVI, VENTAVIS, 2YTIGA, as well as any other specialty drugs that JJHCS asserts

are at issue in this Action.

       23.    "JJHCS" means Johnson & Johnson Health Care Systems Inc. and any and

all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, di-

visions or departments, agents, representatives, directors, officers, employees, commit-

tees, attorneys, accountants, and all persons or entities acting or purporting to act on be-

half or under the control of Johnson & Johnson Health Cai·e Systems Inc., including

Centocor, Inc., Ortho Biotech Products LP, McNeil Pharmaceutical, Ortho-McNeil Phar-

maceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Scios Inc., Janssen Bio-

tech, Inc., Janssen Oncology, Inc., Janssen Research & Development, LLC, Janssen Phar-

maceuticals, Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc., Janssen Bi-

oPhai·ma LLC, and Janssen Research & Development LLC.
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        24.     "JJHCS Hub Entity" means any entity retained or utilized by JJHCS to ad-

minister, in whole or in part, CarePath (including Lash Group and TrialCard), and any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or depa1tments, agents, representatives, directors, officers, employees, commit-

tees, attorneys, accountants, and all persons or entities acting or purporting to act on be-

half of such an entity.

        25.     "Lash Group" means The Lash Group, Inc. and any and all predecessors and

successors in interest, assignees, parents, subsidia1ies, affiliates, divisions or depa1t-

ments, agents, representatives, directors, officers, employees, committees, attorneys, ac-

countants, and all persons or entities acting or purporting to act on behalf or under the

control of The Lash Group, Inc.

        26 .    "Non-Essential Health Benefits" means, in the context of prescription drug

benefits at issue in this case, (a) any presc1iption drug benefit covered by a plan in excess

of those necessary for a plan to satisfy the requirements for providing essential presc1ip-

tion drug health benefits under the Affordable Care Act3 and designated by the plan as a

non-essential health benefit; and (b) any definition JJHCS asc1ibes to the term "non-es-

sential health benefits" as used in the Complaint.

        27.     "Patient" means a natural person prescribed or eligible to be presc1ibed any

Janssen Drug, whether or not they use CarePath or are a participant in a health plan ad-

vised by SaveOnSP.

        28.     "Person" means a natural person or legal entity including any business or

governmental entity or association.



3 See 45 C.F.R. §§ 156.122, 15.115

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       29.    "Regarding" means (directly or indirectly, partially or wholly) about, allud-

ing to, assessing, bearing upon, commenting upon, comprising, concerning, confirming,

connected to, considering, containing, contradicting, dealing with, discussing, embody-

ing, evaluating, evidencing, identifying, in connection with, indicating, in respect of, in-

volving, memorializing, mentioning, noting, pertaining to, probative of, proving, record-

ing, refening to, reflecting, relating to, reporting on, reviewing, setting forth, showing,

stating, suggesting, summarizing, supporting, touching upon a subject, or having been

created, generated, or maintained in connection with or as a result of that subject.

       30.    "Request" means any of these Requests for Production.

       31.    "SaveOnSP" means Save On SP, LLC, and any and all predecessors and suc-

cessors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments,

agents, representatives, directors, officers, employees, committees, attorneys, account-

ants, and all persons or entities acting or purporting to act on behalf or under the control

of Save On SP, LLC.

       32.    "Specialty Drug" means any specialty pharmaceutical, medication, biologic,

or other therapy treated as a pharmaceutical for purposes of health plan benefit coverage.

       33.    "Stelara" means the Janssen Drugs sold under that name.

       34.    "Tremfya" means the Janssen Drug sold under that name.

       35.    "T1ialCard" means T1ialCard Inc. and any and all predecessors and succes-

sors in interest, assignees, parents, subsidiaries, affiliates, divisions or deprutments,

agents, representatives, directors, officers, employees, committees, attorneys, account-

ants, and all persons or entities acting or purporting to act on behalf or under the control

of T1ialCard Inc.


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       36.    "TrialCard's Employee Health Plans" means any health plans offered by

TrialCard to its employees.

       37.    "You" and "Your" means TrialCard.

                                     INSTRUCTIONS

       1.     These Requests seek production of material in Your possession, custody, or

control. Fed. R. Civ. P. 45(a)(1)(A)(iii).

       2.     These Requests seek production of nonprivileged material. Fed. R. Civ. P.

26(b)(1).

       3.     These Requests seek production of material that is proportional to the needs

of this case. Fed. R. Civ. P. 26(b)(1).

       4.     For each Request, either state that you will produce the requested material

or state with specificity the grounds for objecting to the Request, including the reasons.

Fed. R. Civ. P. 45(d)(2)(B).

       5.     An objection must be served before the earlier of the time specified for com-

pliance or 14 days after the subpoena is served. Fed. R. Civ. P. 45(d)(2)(B).

       6.     If you object to all or part of a Request, state whether you are withholding

any responsive material based on that objection.

       7.     If you object to part of a Request, specify the part and state that you will

produce documents responsive to the rest.

       8.     If you withhold responsive information by claiming that the information is

privileged or subject to protection as tlial-preparation material, expressly make the claim

and describe the nature of the information privileged or protected in a manner that, with-

out revealing information itself privileged or protected, will enable SaveOnSP to assess

the claim, Fed. R. Civ. P. 45(e)(2)(A), including by indicating whether any document
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exists regarding the information re- quested and stating, to the extent the privilege is be-

ing asserted in connection with a claim or defense governed by state law, the state privi-

lege rule being invoked, Local Rule 34.1.

       9.     If a document responsive to a Request was once in your possession, custody,

or control and has since been lost or destroyed, provide (a) a detailed description of the

document; (b) the name of the author; (c) the names of all persons to whom the document

was sent; (d) the date on which the document was prepared or initially received; (e) the

date on which the document was lost or destroyed; and (f) if the document was destroyed,

the manner of its destruction, the reason for its destruction, the name of the person who

requested or authorized its destruction, and the name of the person who destroyed it.

       10.    Produce documents as they are kept in the usual course of business or in a

form specified in this subpoena. Fed. R. Civ. P. 45(e)(1)(b). For each document, identify

the file or location from which it was taken and the name, affiliation, and position of the

producing custodian or non-custodial source.

       11.    Produce electronically stored information in the form and manner required

by any agreed-upon or comt-ordered protocols. In the absence of any such protocol at the

time of production, consult SaveOnSP for further instruction.

       12.    Produce each document in its entirety, without abbreviation or redaction,

including all attachments or mate1ials attached thereto.

       13.    Produce all versions of each document that are not identical to the original

document (including all drafts) whether due to handwiitten notations, revisions, enclo-

sures, attachments, underlining, highlighting, or othe1wise.




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       14.    These Requests are deemed continuing. If after responding to any Request

you learn that your response is in some material respect incomplete or incorrect, supple-

ment or correct your response in a timely manner.

                                     TIME PERIOD
       Unless otherwise specified, these Requests cover from and including April 1, 2016,

through the present.

                                          REQUESTS
       1.     Documents sufficient to show the identity of all drug makers for which

TrialCard performs Benefits Investigations.

       2.     Documents sufficient to show the identity of all drug makers for which

TrialCard has performed investigations, including but not limited to Benefits Investiga-

tions, that identify or attempt to identify if patients are members of plans advised by Save-

OnSP, any Copay Accumulator Service, and/or any Copay Maximizer Service.

       3.     Documents sufficient to show the methods by which T1ialCard identifies or

attempts to identify if patients are members of plans advised by SaveOnSP, any Copay

Accumulator Service, and/or any Copay Maximizer Service.

       4.     All Documents and Communications between TrialCard and JJHCS regard-

ing identification or attempts to identify patients who are members of plans advised by

SaveOnSP, any Copay Accumulator Service, and/or any Copay Maximizer Service, includ-

ing without limitation proposals to perform such work.

       5.     All Communications with patients receiving Stelara or Tremfya, including

without limitation recordings of calls.

       6.     Documents sufficient to show the methods by which TrialCard responded

to Benefits Investigations that revealed or suggested that a patient was a member of a plan
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advised by SaveOnSP, any Copay Accumulator Service, and/or any Copay Maximizer Ser-

vice, including without limitation regarding the criteria by which TrialCard determined

to send the letter previously produced at TRIALCARD_oooooo74-77.

       7.     All Communications between TrialCard and SaveOnSP, including without

limitation recordings of calls.

       8.     All Documents and Communications regarding the creation or attempted

creation of a response to SaveOnSP, Copay Accumulator Services, and/or Copay Maxi-

mizer Services, including without limitation the creation or attempted creation of a



                                                                                   , see,

e.g., TRIALCARD_oooo1815

                                                 );   TRIALCARD_oooo2256;        TRIAL-

CARD_oooo2725, as well as Documents and Communications regarding the sale or at-

tempted sale of such a program to drug makers.




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                   Exhibit 37
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




  JOHNSON & JOHNSON HEALTH CARE                 Civil Action No. 22-2632 (ES) (CLW)
  SYSTEMS INC.,
                                                  NON-PARTY TRIALCARD INC.’S
                        Plaintiff,               RESPONSES AND OBJECTIONS TO
                                                 DEFENDANT’S SECOND REQUEST
                 v.                             FOR PRODUCTION OF DOCUMENTS

  SAVE ON SP, LLC,

                        Defendant.
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                                   GENERAL OBJECTIONS

       TrialCard Incorporated (“TrialCard”) incorporates each of the General Objections below

into its specific objections to each Request, whether or not each such General Objection is

expressly referred to in TrialCard objections to a specific Request.

       TrialCard reserves the right to supplement, amend, modify, or correct its responses under

Rule 26(e) should it discover additional information or grounds for objections at any time prior to

the conclusion of this Action. The following responses and objections are based upon information

known at this time.

       1.      TrialCard is not a party to the above-captioned litigation pending in the District of

New Jersey (the “Action”) and objects to the Subpoena’s imposition of significant burden on it

because the vast majority of Requests in the Subpoena can be satisfied by obtaining documents

directly from Johnson & Johnson Health Care Systems, Inc. (“JJHCS”), a party to the Action.

TrialCard notes that several of the requests in the Subpoena are nearly identical to document

requests made by SaveOnSP to JJHCS in the Action. TrialCard objects to producing any

documents unless and until SaveOnSP can demonstrate that it has not been able to obtain these

documents in party discovery.

       2.      TrialCard objects to the Requests to the extent that they seek documents or

information protected from disclosure by a privilege including, without limitation, the attorney-

client privilege, the work-product doctrine, the joint defense privilege, the common interest

privilege, the First Amendment privilege, the Federal Rules of Civil Procedure, the Local Rules

of the Court, and relevant case law. The inadvertent production by TrialCard of information,

documents, materials, or things covered by any privilege or doctrine shall not constitute a waiver

of any applicable privilege or doctrine, including but not limited to, objections on the basis of
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competency, confidentiality, relevancy, materiality, work-product, privilege, and/or admissibility

as evidence, as such objections may apply at trial or otherwise in this Action.

       3.      TrialCard objects to the Requests to the extent that they seek documents or

information that are not relevant to a claim or defense or to the subject matter of this litigation.

Any response TrialCard makes to any Request shall not be deemed an admission that the

response, information, document, or thing produced is relevant to a claim or defense or to the

subject matter of this litigation, is reasonably calculated to lead to the discovery of admissible

evidence, is material, or is admissible as evidence.

       4.      TrialCard objects to the Requests to the extent that they impose obligations

beyond or inconsistent with those imposed by the Federal Rules of Civil Procedure, the Local

Rules of the Court, the Court’s orders, the discovery schedule entered in this Action, or any other

applicable rule, order, or source of law.

       5.      TrialCard objects to the Requests to the extent that they seek the production of

documents or things that are equally available to or already in SaveOnSP’s possession, custody,

or control. To the extent that TrialCard agrees in these responses to produce certain documents,

information, or things, these responses shall not be construed as conceding that the documents,

information, or things exist and/or are in the possession, custody, or control of TrialCard. Instead,

it means that TrialCard will perform a reasonable search for documents in its possession and

produce such documents, information, or things to the extent any responsive documents,

information, or things exist and are not otherwise protected from disclosure.

       6.      TrialCard objects to the Requests to the extent that they seek information that is

obtainable from sources other than TrialCard in a manner that is more convenient, less

burdensome, or less expensive.



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       7.      TrialCard objects to the Requests to the extent that they seek production of

documents, records, tangible things, or other materials to the extent that such disclosure would

violate a confidentiality agreement, court order, or applicable law.

       8.      TrialCard objects to the Requests to the extent that they are vague and/or

ambiguous.

       9.      TrialCard objects to the Requests to the extent that they require interpretation by

it in providing a response. TrialCard responds to the Requests as it interprets and understands

each Request as set forth. If SaveOnSP subsequently asserts an interpretation of any Request that

differs from TrialCard’s understanding of that Request, TrialCard reserves the right to modify or

supplement its objections and responses.

       10.     TrialCard objects to the Requests to the extent that they are duplicative of other

document requests, interrogatories, and/or other discovery requests, including the requests

contained within the subpoena served on TrialCard dated February 17, 2023 (the “February 2023

Subpoena”).

       11.     TrialCard objects to the Requests to the extent that they are argumentative, lack

foundation, or incorporate assertions that are disputed, erroneous, or irrelevant to the Action.

TrialCard further objects to the Requests to the extent that they assume facts that do not exist or

the occurrence of events that did not take place.

       12.     TrialCard objects to the Requests to the extent that they seek documents and

information relating to any business affairs other than those that are the subject of the Action.

       13.     TrialCard objects to the Requests as overbroad and unduly burdensome to the

extent they purport to require production of “all” or “any” documents where a subset of

documents would be sufficient to provide the relevant information.



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        14.      TrialCard objects to the Requests to the extent that they seek the production of

documents that are not in TrialCard’s possession, custody, or control.

                                OBJECTIONS TO DEFINITIONS

        1.         TrialCard objects to the definition of the term “Benefits Investigation” as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

purports to include “any means by which TrialCard, or any entity acting on its behalf, receives

information regarding the pharmacy benefits provided by a health plan, including information

regarding prior authorization costs, Essential Health Benefits status, patient eligibility, and related

information” or purports to include entities and persons acting or purporting to act on behalf of

or under the control of TrialCard.

        2.         TrialCard objects to the definition of the term “Janssen” as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it purports to include “any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, committees,

attorneys, accountants, and all persons or entities acting or purporting to act on behalf” of those

entities.

        3.         TrialCard objects to the definition of the term “JJHCS” as overbroad, unduly

burdensome, and not proportional to the needs of the case to extent it purports to include “any

and    all    predecessors   and   successors    in       interest,   assignees,   parents,   subsidiaries,

affiliates, . . . agents, [or] representatives” or purports to include entities and persons acting or

purporting to act on behalf of or under the control of entities other than Johnson & Johnson

Healthcare Systems, Inc., including Centocor, Inc., Ortho Biotech Products LP, McNeil

Pharmaceutical, Ortho-McNeil Pharmaceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals,

Inc., Scios Inc., Janssen Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development,
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LLC, Janssen Pharmaceuticals, Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc.,

Janssen BioPharma LLC, and Janssen Research & Development LLC.

       4.        TrialCard objects to the definition of the term “JJHCS Hub Entity” as vague and

as irrelevant to the extent it purports to include entities other than those responsible for

administering CarePath during the Relevant Time Period. TrialCard further objects to the

definition as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it includes “any and all predecessors and successors in interest, assignees, parents,

subsidiaries, affiliates, divisions or departments, agents, representatives, directors, officers,

employees, committees, attorneys, accountants and all persons or entities acting or purporting to

act on behalf” of those entities. TrialCard further objects to the extent the term is used to seek

documents and communications concerning entities other than JJHCS.

       5.        TrialCard objects to the definition of the term “Lash Group” as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it includes “any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, committees,

attorneys, accountants and all persons or entities acting or purporting to act on behalf or under

the control of The Lash Group, Inc.”

       6.        TrialCard objects to the definition of the term “TrialCard” as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it includes “any and all

predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or

departments, agents, representatives, directors, officers, employees, committees, attorneys,

accountants and all persons or entities acting or purporting to act on behalf or under the control




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of TrialCard Inc.” TrialCard further objects to the extent the term is used to seek documents and

communications in the possession of entities other than TrialCard.

                             OBJECTIONS TO INSTRUCTIONS

           1.    TrialCard objects to the Instructions to the extent that they impose requirements

on TrialCard beyond those required by the Federal Rules of Civil Procedure.

           2.    TrialCard objects to Instruction No. 14 to the extent that SaveOnSP attempts to

impose requirements on TrialCard beyond those required by the Federal Rules of Civil Procedure

or ordered by the Court. Rule 34, which contains a duty to supplement responses, does not apply

to requests for production directed to a non-party, and Rule 45 contains no duty to supplement.

          OBJECTIONS TO THE TIME PERIOD FOR SPECIFIC REQUESTS

           1.     TrialCard objects to SaveOnSP’s Requests as overbroad, unduly burdensome,

and not relevant to the subject matter of this Action to the extent they call for documents from

before April 1, 2016 or after July 1, 2022. Except where expressly noted, TrialCard will only

produce documents for the period April 1, 2016 to July 1, 2022 (the “Relevant Time Period”).

                        SPECIFIC RESPONSES AND OBJECTIONS

Request No. 1

       Documents sufficient to show the identity of all drug makers for which TrialCard

performed Benefits Investigations.

Response to Request No. 1

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad and irrelevant to any claim or defense in this Action. TrialCard further

objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by any privilege. TrialCard further objects to this Request to the extent

it uses the terms “Benefits Investigations” and “TrialCard” for the reasons stated in TrialCard’s

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Objections to Definitions. TrialCard further objects to this Request on the grounds that the term

“drug makers” is undefined. TrialCard further objects to this Request because it would require the

disclosure of confidential business information, including information about other TrialCard

clients, that has no relevance to this Action and is subject to confidentiality agreements between

TrialCard and its other clients.

       TrialCard will not search for or produce documents in response to this Request.

Request No. 2

       Documents sufficient to show the identity of all drug makers for which TrialCard has

performed investigations, including but not limited to Benefits Investigations, that identify or

attempt to identify if patients are members of plans advised by SaveOnSP, any Copay Accumulator

Service, and/or any Copay Maximizer Service.

Response to Request No. 2

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad and irrelevant to any claim or defense in this Action, insofar as it seeks

documents related to efforts to identify or attempt to identify patients unaffiliated with SaveOnSP.

TrialCard further objects to this Request to the extent it seeks information that is exempt from

discovery and protected from disclosure by any privilege. TrialCard further objects to this Request

to the extent it uses the terms “Benefits Investigations” and “TrialCard” for the reasons stated in

TrialCard’s Objections to Definitions. TrialCard further objects to this Request on grounds that

the terms “investigations” and “drug makers” are undefined and/or vague and ambiguous.

TrialCard further objects to this Request because it would require the disclosure of confidential

business information, including information about other TrialCard clients, that has no relevance to

this Action and is subject to confidentiality agreements between TrialCard and its other clients.



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       TrialCard will not search for or produce documents responsive to this Request.

Request No. 3

       Documents sufficient to show the methods by which TrialCard identifies or attempts to

identify if patients are members of plans advised by SaveOnSP, any Copay Accumulator Service,

and/or any Copay Maximizer Service.

Response to Request No. 3

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks information about services that TrialCard

provides to clients other than JJHCS and in relation to patients unaffiliated with SaveOnSP.

TrialCard further objects to this Request to the extent it seeks information that is exempt from

discovery and protected from disclosure by any privilege. TrialCard further objects to this Request

to the extent it seeks the production of documents and information that are available from parties

to the Action and, therefore, is unduly burdensome to TrialCard. TrialCard further objects to this

Request to the extent it uses the term “TrialCard” for the reasons stated in TrialCard’s Objections

to Definitions.

       Subject to the foregoing objections and without prejudice to those objections, to the extent

that documents responsive to this Request are also arguably responsive to existing Requests for

Production Numbers 20 and 22 in the February 2023 Subpoena, TrialCard has already agreed to

produce certain documents subject to TrialCard’s prior objections. Specifically, to the extent such

documents have not already been produced by JJHCS, TrialCard has agreed to produce (1) non-

privileged documents from certain agreed-upon TrialCard custodians that are responsive to

Requests for Production Numbers 20 and 22 for the Relevant Time Period; and (2) Benefits



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Investigations performed for JJHCS that sought to determine whether Stelara or Tremfya patients

were in a SaveOnSP-advised plan, a maximizer plan, or an accumulator plan, to the extent such

non-privileged documents exist for the period January 1, 2022 to November 7, 2023. TrialCard

will not otherwise search for or produce documents or communications responsive to this Request.

Request No. 4

       All Documents and Communications between TrialCard and JJHCS regarding

identification or attempts to identify patients who are members of plans advised by SaveOnSP,

any Copay Accumulator Service, and/or any Copay Maximizer Service, including without

limitation proposals to perform such work.

Response to Request No. 4

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks documents unrelated to SaveOnSP.

TrialCard further objects to this Request to the extent it seeks the production of documents and

communications that are available from parties to the Action and, therefore, is unduly burdensome

to TrialCard. TrialCard further objects to this Request to the extent it seeks “all” documents and

communications regarding a broad subject matter. TrialCard further objects to this Request to the

extent it seeks information that is exempt from discovery and protected from disclosure by any

privilege. TrialCard further objects to this Request to the extent it uses the terms “TrialCard” and

“JJHCS” for the reasons stated in TrialCard’s Objections to Definitions.

       Subject to the foregoing objections and without prejudice to those objections, to the extent

that documents responsive to this Request are also arguably responsive to existing Requests for

Production Numbers 20 and 22 in the February 2023 Subpoena, TrialCard has already agreed to



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produce certain documents subject to TrialCard’s prior objections. Specifically, to the extent such

documents have not already been produced by JJHCS, TrialCard has agreed to produce (1) certain

non-privileged documents from certain agreed-upon TrialCard custodians that are responsive to

Requests for Production Numbers 20 and 22 for the Relevant Time Period; and (2) Benefits

Investigations performed for JJHCS that sought to determine whether Stelara or Tremfya patients

were in a SaveOnSP-advised plan, a maximizer plan, or an accumulator plan, to the extent such

non-privileged documents exist for the period January 1, 2022 to November 7, 2023. TrialCard

will not otherwise search for or produce documents responsive to this Request.

Request No. 5

       All Communications with patients receiving Stelara and Tremfya, including without

limitation recordings of calls.

Response to Request No. 5

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks communications unrelated to the CarePath

program (and the “withMe” programs) and/or with patients unaffiliated with SaveOnSP. TrialCard

further objects to this Request as overbroad, unduly burdensome, and not proportional to the needs

of the case to the extent it seeks “all” communications regarding a broad subject matter. TrialCard

further objects to this Request to the extent that it seeks the production of communications that are

available from parties to the Action (specifically, SaveOnSP) and, therefore, is unduly burdensome

to TrialCard.

       Subject to the foregoing objections and without prejudice to those objections, to the extent

that documents responsive to this Request are also arguably responsive to existing Request for



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Production Number 3 in the February 2023 Subpoena, TrialCard has already agreed to produce

certain documents subject to TrialCard’s prior objections.       Specifically, to the extent such

documents have not already been produced by JJHCS, TrialCard has agreed to produce (1) case

and task notes reflecting communications between TrialCard and patients taking at least one

Janssen Drug for the Relevant Time Period; and (2) for the period January 1, 2022 to November

7, 2023, certain documents sufficient to show written communications to patients receiving Stelara

or Tremfya to the extent such communications concern whether those patients were in a

SaveOnSP-advised plan, a maximizer plan, or an accumulator plan. TrialCard will not otherwise

search for or produce communications responsive to this Request.

Request No. 6

       Documents sufficient to show the methods by which TrialCard responded to Benefits

Investigations that revealed or suggested that a patient was a member of a plan advised by

SaveOnSP, any Copay Accumulator Service, and/or any Copay Maximizer Service, including

without limitation regarding the criteria by which TrialCard determined to send the letter

previously produced at TRIALCARD_00000074–77.

Response to Request No. 6

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks documents unrelated to SaveOnSP.

TrialCard further objects to this Request to the extent it seeks the production of documents and

information that are available from parties to the Action and, therefore, is unduly burdensome to

TrialCard. TrialCard further objects to this Request on the ground that the phrase “methods by

which TrialCard responded to Benefits Investigations” is vague and ambiguous. TrialCard further



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objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by any privilege. TrialCard further objects to this Request to the extent

it uses the terms “Benefits Investigations” and “TrialCard” for the reasons stated in TrialCard’s

Objections to Definitions.

       Subject to the foregoing objections and without prejudice to those objections, to the extent

that documents responsive to this Request are also arguably responsive to existing Requests for

Production Numbers 20 and 22 in the February 2023 Subpoena, TrialCard has already agreed to

produce certain documents subject to TrialCard’s prior objections. Specifically, to the extent such

documents have not already been produced by JJHCS, TrialCard has agreed to produce (1) certain

non-privileged documents from certain agreed-upon TrialCard custodians that are responsive to

Requests for Production Numbers 20 and 22 for the Relevant Time Period; and (2) for the period

January 1, 2022 to November 7, 2023, certain documents sufficient to show written

communications to patients receiving Stelara or Tremfya to the extent such communications

concern whether those patients were in a SaveOnSP-advised plan, a maximizer plan, or an

accumulator plan. TrialCard will not further search for or produce documents in response to this

Request.

Request No. 7

       All Communications between TrialCard and SaveOnSP, including without limitation

recordings of calls.

Response to Request No. 7

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks communications unrelated to any Janssen



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Drug or to the CarePath (and the “withMe” programs). TrialCard further objects to the extent this

Request seeks the production of documents and communications that are available from parties to

the Action, in particular from SaveOnSP. TrialCard further objects to this Request to the extent it

seeks documents and communications in the possession of entities other than TrialCard or outside

of TrialCard’s possession, custody, and/or control. TrialCard further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it seeks

“all” communications regarding a broad subject matter. TrialCard further objects to this Request

to the extent it uses the term “TrialCard” for the reasons stated in TrialCard’s Objections to

Definitions.

       TrialCard further objects to this Request as unduly burdensome because it requires

TrialCard to identify recordings of calls without the benefit of identifying information—

specifically, all names and phone numbers used by SaveOnSP employees who communicated with

TrialCard and its affiliates—that SaveOnSP has not provided. TrialCard further objects to this

Request as duplicative of Request No. 5 to the extent communications between TrialCard and

SaveOnSP included patients.

       Subject to the foregoing objections, TrialCard will produce certain responsive call

recordings as requested by JJHCS. TrialCard will not otherwise search for or produce documents

or communications responsive to this Request.

Request No. 8

       All Documents and Communications regarding the creation or attempted creation of a

response to SaveOnSP, Copay Accumulator Services, and/or Copay Maximizer Services,

including without limitation the creation or attempted creation of a




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                                                      , see, e.g., TRIALCARD_00001815 (

                                                                                                   );

TRIALCARD_00002256; TRIALCARD_00002725, as well as Documents and Communications

regarding the sale or attempted sale of such a program to drug makers.

Response to Request No. 8

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks information about services that TrialCard

provides to clients other than JJHCS and/or in relation to patients unaffiliated with SaveOnSP.

TrialCard further objects to this Request as it seeks the production of documents and information

that are available to parties to the Action and, therefore, is unduly burdensome to TrialCard.

TrialCard further objects to this Request to the extent it seeks information that is exempt from

discovery and protected from disclosure by any privilege. TrialCard further objects to this Request

as overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter.

       TrialCard will not search for or produce documents responsive to this Request.

Dated: December 15, 2023


                                              By:     /s/ Harry Sandick

                                              Adeel A. Mangi
                                              Harry Sandick (admitted pro hac vice)
                                              George LoBiondo
                                              Sara A. Arrow
                                              PATTERSON BELKNAP WEBB
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                                              Attorneys for TrialCard Inc.

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March 1, 2024                                                                          Sara Arrow
                                                                                       (212) 336-2031


By Email

Hannah Miles, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      TrialCard’s December 1, 2023 Subpoena
                           Johnson & Johnson Health Care Services, Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632 (JKS) (CLW)
Dear Hannah:

                On behalf of TrialCard, we write in response to SaveOnSP’s February 16, 2024
letter regarding the December 1, 2023 Subpoena issued to TrialCard.

                     I.    General Objections

                Time Period. SaveOnSP continues to insist that TrialCard produce documents
beyond July 1, 2022, the parties’ agreed-upon cut-off date for discovery. However, nothing in
Judge Waldor’s November 7, 2023 Order directs third parties, such as TrialCard, to update its
discovery responses. That Order only directs “both parties” to “supplement their discovery
responses in accordance with the Federal Rules of Civil Procedure.” See Johnson & Johnson
Health Care Sys., Inc. v. Save On SP, LLC, ECF No. 173. This does not obligate TrialCard to
update its discovery responses, as TrialCard is not a party to the underlying litigation. It certainly
does not provide any basis for TrialCard to produce documents beyond the cutoff date for party
discovery (November 7, 2023), as SaveOnSP now insists.

                SaveOnSP also states that “TrialCard has not raised any valid burden objection” to
extending the time period beyond July 1, 2022. That is not accurate. In its Responses and
Objections to the December 1, 2023 Subpoena, TrialCard did so, objecting to SaveOnSP’s
Requests as “overbroad, unduly burdensome, and not relevant to the subject matter of this Action
to the extent they call for documents from before April 1, 2016 or after July 1, 2022” (emphasis
supplied). Furthermore, TrialCard reiterated its burden objection during the January 12, 2024 meet
and confer. For the avoidance of doubt, TrialCard asserts relevance, breadth, and burden
objections to SaveOnSP’s demand that TrialCard produce documents beyond July 1, 2022.




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               SaveOnSP next suggests that TrialCard should be required to produce documents
beyond July 1, 2022 because it “is central to the litigation.” However, TrialCard is a third party,
and is far more removed from the SaveOnSP scheme at issue than SaveOnSP’s own business
partners, ESI and Accredo—yet SaveOnSP apparently does not believe that ESI and Accredo
should update their productions. See Jan. 11, 2024 Email from H. Miles to S. Arrow. TrialCard’s
role in administering the CarePath program, at the direction of JJCHS, does not impose on it unique
obligations that are different than those applicable to other third parties.

             Nevertheless, in the interest of compromise, TrialCard has agreed to produce,
through November 7, 2023, thousands of benefits investigations

                                                             . See TRIALCARD_00008931. In
addition, TrialCard agrees to “refresh” certain CarePath claims data through November 7, 2023.
We are currently investigating the full scope of this data “refresh” and will revert when we have
additional information.

              General References to Accumulators and Maximizers. SaveOnSP also seeks
documents that relate generally to copay accumulators and maximizers without any reference to
SaveOnSP. SaveOnSP has failed to justify its insistence that TrialCard must produce documents
that do not mention SaveOnSP, and TrialCard declines to engage in an overbroad, unduly
burdensome review of them.1

                 II.   TrialCard’s Ability to Identify Patients

                Request Nos. 1 and 2. Requests Nos. 1 and 2 seek documents sufficient to show
the identity of all drug makers for which TrialCard performed investigations, including benefits
investigations, that identify or attempt to identify if a patient is on a health plan affiliated with a
copay maximizer, accumulator, or SaveOnSP. SaveOnSP’s reference to general investigations
(beyond benefits investigations) is vague and ambiguous. In any event, TrialCard’s purported
actions with respect to clients other than JJHCS are irrelevant to the underlying litigation, which
only concerns the administration of CarePath, and not copay assistance programs offered by other
pharmaceutical manufacturers. SaveOnSP has failed to articulate the relevance of documents
sought by this request, and has similarly failed to explain how TrialCard’s work performed for


1
  As you know, Judge Waldor’s November 7, 2023 Order imposed a limitation that documents
related to JJHCS’s CAP Program must also mention SaveOnSP. See Dkt. No. 173 at 2–3
(“Plaintiff shall run custodial document searches fashioning a search designed to capture
documents wherein the terms ‘CAP A’, ‘CAP M’, or ‘adjustment program,’ (or reasonable
variations of those terms) are found in the same documents as the term ‘SaveOn’ (or reasonable
variations / abbreviations).” (emphasis supplied)). While this Order is only applicable to party
discovery, it suggests that expanding third party discovery to documents that do not mention or
refer to SaveOnSP is improper and disproportionate to the needs of the case.
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March 1, 2024
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clients other than SaveOnSP has any relevance whatsoever to JJHCS or CarePath. TrialCard will
not search for or produce documents responsive to Requests 1 or 2.

                Request No. 3. Request No. 3 seeks documents sufficient to show the methods by
which TrialCard identifies or attempts to identify if patients are members of health plans affiliated
with copay accumulators, maximizers, or SaveOnSP. As you know, TrialCard produced thousands
of benefits investigations on January 12, 2024. See TRIALCARD_00008931. As we have
discussed, TrialCard is also in the process of identifying whether additional data fields exist for
these benefits investigations.

               SaveOnSP nevertheless asserts that the benefits investigations do not satisfy this
Request because “this request seeks ‘methods,’ plural.” Feb. 16, 2024 Ltr. from H. Miles to S.
Arrow at 3. SaveOnSP identifies two documents wherein TrialCard employees discuss potential
methods for identifying patients on a copay accumulator, maximizer, or SaveOnSP and claims that
it “needs to know if those, or other methods, were ever used to identify or attempt to identify if
patients are members of plans advised by SaveOn, accumulators, or maximizers.” However, as
SaveOnSP acknowledges, the documents that SaveOnSP cites reflect
                                                                                          See id.;
TRIALCARD_00003417. As we have explained, to the extent such
                  , they are only relevant to the extent they were provided to JJHCS. Accordingly,
such documents are more properly obtained through party discovery.

               Accordingly, we decline to review documents to identify general identification
“methods” of SaveOnSP patients that TrialCard may have considered. To the extent SaveOnSP
seeks to propose a more narrowly tailored request concerning other methods of identification that
TrialCard may have developed with respect to CarePath, we remain open to considering such a
request.

               Request No. 4. Request No. 4 seeks documents and communications between
TrialCard and JJHCS regarding the identification or attempted identification of patients who are
members of plans affiliated with copay accumulators, maximizers, or SaveOnSP. As we have
explained repeatedly, documents and communications between TrialCard and JJHCS are more
appropriately sought through party discovery. TrialCard makes no representations as to the
contents of JJHCS’s productions, and further takes no position as to whether these documents
would be relevant.

               III.    TrialCard’s Responses to Patients Once Identified

               Request No. 6. Request No. 6 seeks documents sufficient to show the methods by
which TrialCard responded to benefits investigations that revealed or suggested that a patient was
a member of a health plan that was affiliated with a copay accumulator, maximizer, or SaveOnSP.
SaveOnSP asserts that TrialCard has not satisfied this Request. This is incorrect. TrialCard has
produced multiple letter templates that it has sent to patients in connection with the benefits
investigation process, including following identification of a patient as affiliated with a copay
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March 1, 2024
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accumulator, maximizer, or SaveOnSP. TrialCard has further satisfied this Request by providing
the CarePath IDs of the patient recipients of these letters and the dates on which those letters were
sent. See TRIALCARD_00008931 (“Tasks”). Because Request No. 6 seeks “documents
sufficient to show,” these documents satisfy this request.

               Request No. 8. Request No. 8 seeks documents and communications regarding
TrialCard’s creation or attempted creation of a response to SaveOnSP and/or copay accumulators
or maximizers. This overbroad request seeks documents and communications that are irrelevant
to any claim or defense in the underlying litigation. SaveOnSP is not entitled to go on a fishing
expedition of all efforts TrialCard contemplated or took with respect to copay maximizers,
accumulators, or even SaveOnSP. TrialCard is a vendor for JJHCS, and only the work that
TrialCard work performed for JJHCS is relevant to this litigation. Further, documents regarding
what responses or solutions TrialCard purportedly offered to JJHCS, to the extent they exist, are
more appropriately sought through party discovery.

                Further, SaveOnSP has not shown how any responses or solutions that TrialCard
may have contemplated or developed for copay assistance programs other than CarePath have any
applicability to CarePath. Once again, we remain open to considering a request that concerns
TrialCard’s responses to SaveOnSP with respect to JJHCS and the CarePath Program, but absent
such a request, we decline to produce documents in response to this Request.

               IV.     Communications Between TrialCard and SaveOnSP

               Request No. 7 seeks all communications between TrialCard and SaveOnSP. To the
extent these communications occurred, SaveOnSP can search its own records to locate them.
SaveOnSP has not explained why it needs a third party to search for and produce documents that
should be within its own files. Accordingly, TrialCard declines to undertake the undue burden of
searching for and producing communications sought by Request No. 7.

                                      *       *      *       *

              Finally, for avoidance of doubt, TrialCard does not agree that the parties are at
impasse with respect to the December 1, 2023 Subpoena. We reserve all rights and are available
to meet and confer.

                                                          Very truly yours,




                                                          /s/ Sara A. Arrow
                                                          Sara A. Arrow
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March 22, 2024                                                                         Sara A. Arrow
                                                                                       (212) 336-2031


By Email

Hannah Miles, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      December 1, 2023 Subpoena to TrialCard
                           Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Hannah:

               On behalf of TrialCard, we write in response to SaveOnSP’s March 8, 2024 letter
regarding the subpoena dated December 1, 2023 (the “Second Subpoena”).

                     I.    Time Period

                SaveOnSP asserts that TrialCard has provided “no reasoned basis” to justify a July
1, 2022 cutoff date. Not so: we have explained our position on this issue repeatedly in written
correspondence and during meet and confers. See, e.g., Mar. 1, 2024 Ltr. from S. Arrow to H.
Miles; Jan. 12, 2024 Ltr. from S. Arrow to H. Miles; see also Dec. 22, 2023 Ltr. from S. Arrow to
H. Miles. Specifically, as it relates to the February 17, 2023 subpoena (the “First Subpoena”),
SaveOnSP agreed to July 1, 2022 as the cut-off date. See May 31, 2023 Ltr. from E. Holland to
G. Carotenuto at 1 (referring to April 1, 2016 to July 1, 2022 as the “Relevant Time Period”); July
26, 2023 Ltr. from E. Holland to K. Brisson at 7 n.1 (proposing search terms for the “Relevant
Time Period” defined as April 1, 2016 to July 1, 2022).

               Belatedly disappointed with the agreement it struck, SaveOnSP then sought to
circumvent this agreed-upon time period by propounding the Second Subpoena—containing
several requests that overlapped with those in the First Subpoena and imposing a new “refresh”
time period to partially match the “refresh” time period to which the parties are bound. But as
SaveOnSP acknowledges, TrialCard, as a third party, is not bound by Judge Waldor’s November
7, 2023 Order extending party discovery. See Jan. 11, 2024 Email from H. Miles to S. Arrow.
Nor has SaveOnSP explained why TrialCard, as a third party, should be subject to such expansive
discovery far beyond the initial agreed-upon cut-off date. SaveOnSP has already refused to say
whether its own co-conspirators and business partners—Express Scripts, Inc. and Accredo Health



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Group—should be required to update its third-party productions through November 7, 2023. See
id. And perhaps most egregious, SaveOnSP has provided no basis whatsoever for why TrialCard
must produce documents even beyond the cutoff date for party discovery (November 7, 2023), as
SaveOnSP now insists.

                Despite these objections, TrialCard has nevertheless agreed to produce multiple
categories of documents through November 7, 2023 in the interest of compromise. See, e.g., Mar.
1, 2024 Ltr. from S. Arrow to H. Miles at 1–2. For example, TrialCard has agreed to produce the
results of thousands of benefits investigations to comply with the First and Second Subpoenas.
See Mar. 12, 2024 Ltr. from S. Arrow to H. Miles at 1 n.1; Oct. 20, 2023 Ltr. from S. Arrow to E.
Holland at 1. Further, as discussed in greater detail below, TrialCard has agreed to refresh its
production of CarePath enrollment data1 and case and task notes for Stelara and Tremfya patients
through November 7, 2023. These productions, which are voluminous, represent a good-faith
effort to comply with SaveOnSP’s subpoenas in a manner proportional to its role as a third party.

               Finally, if there are specific, targeted categories of documents that you seek through
November 7, 2023, please so advise so that we can evaluate that request. If you present a
reasonable proposal, we are certainly willing to consider it—but we cannot agree to a wholesale
expansion of the discovery cutoff without any justification or reasonable limitation.

                II.    TrialCard’s Ability to Identify Patients

                Request Nos. 1 and 2 seek documents sufficient to show the identities of all drug
makers for which TrialCard performed investigations, including benefits investigations, that
identify or attempt to identify if a patient is on a health plan affiliated with a copay maximizer,
accumulator, or SaveOnSP. As we have explained, any actions that TrialCard may or may not
have taken for clients other than JJHCS are irrelevant. SaveOnSP has not explained how
TrialCard’s work performed for its non-JJHCS clients has any relevance whatsoever to JJHCS or
CarePath. Please so do and we will consider your position.

                 Request No. 3 seeks documents sufficient to show the methods by which TrialCard
identifies or attempts to identify whether patients are members of health plans affiliated with copay
accumulators, maximizers, or SaveOnSP. Despite TrialCard’s production of the results of
thousands of benefits investigations performed for patients taking Stelara or Tremfya, see
TRIALCARD_00008931, SaveOnSP insists that TrialCard has not satisfied Request No. 3. We
disagree.




1
  Specifically, TrialCard agrees to refresh its prior production of CarePath enrollment data for the
time period July 1, 2022 through November 7, 2023. See TRIALCARD_00000001;
TRIALCARD_00000004;                  TRIALCARD_00000005;                 TRIALCARD_00000006;
TRIALCARD_00000007; TRIALCARD_00000008; and TRIALCARD_00000009.
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                                                                       TrialCard’s production of the
results of those benefits investigation therefore satisfies this request.

                SaveOnSP nevertheless asserts that it is entitled to documents concerning some
“methods” that TrialCard hypothetically employed to identify SaveOnSP-affiliated patients
because SaveOnSP has asserted a “failure to mitigate defense.”2 This argument rests on several
unsubstantiated assumptions, including that (1) TrialCard developed other “methods” of
identifying SaveOnSP patients; (2) such methods would be applicable to JJHCS and the CarePath
program; (3) it disclosed those methods to JJHCS; and (4) having learned of those methods, JJHCS
declined to implement them. Each of these assumptions rests on pure speculation. TrialCard,
therefore, declines to go on a fishing expedition to satisfy SaveOnSP’s curiosity into its business
entirely unrelated to JJHCS or CarePath.

                Request No. 4 seeks documents and communications “between TrialCard and
JJHCS” regarding the identification or attempted identification of patients who are members of
plans affiliated with copay accumulators, maximizers, or SaveOnSP. As we explained during the
March 7 meet and confer, such documents—which necessarily would have been provided to
JJHCS—can be obtained through party discovery.

               SaveOnSP nevertheless insisted during the March 7 meet and confer that this
request encompasses internal documents that “reflect” communications between TrialCard and
JJHCS, including notes that TrialCard personnel may have taken during a phone call or meeting.
As we discussed during the meet and confer, however, the plain language of this Request is not so
expansive: it seeks only Communications—i.e., “the transmittal of information”—between JJHCS
and TrialCard. It does not request purely internal documents reflecting the contents of those
transmittals. See Second Subpoena at 4.

                III.    TrialCard’s Responses to Identifying Patients

               Request No. 6 seeks documents sufficient to show the methods by which TrialCard
responded to benefits investigations that revealed or suggested that a patient was a member of a
health plan that was affiliated with a copay accumulator, maximizer, or SaveOnSP. As we have
explained in previous correspondence and during the March 7 meet and confer, TrialCard has
produced multiple letter templates that it sent to SaveOnSP-patients in connection with the benefits
investigation process.       TrialCard also produced a catalogue of these letters.              See
TRIALCARD_0008931 (“Tasks”). Based on our reasonable investigation to date, we are unaware


2
 We note that the caselaw you cite in support of this argument appears inapposite. See Prusky v. Reliastar
Life Ins., 532 F.3d 252, 258–59 (3d Cir. 2008) (discussing the failure to mitigate defense in the context of
a breach of contract claim asserted under Pennsylvania law); Grubbs v. Knoll, 376 N.J. Super. 420, 437
(N.J. App. 2005) (discussing whether a jury instruction on the failure to mitigate defense is appropriate).
Neither case stands for the broad proposition that a third party is obligated to produce any document that
may have some hypothetical bearing on whether the plaintiff could have mitigated its damages.
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of any other systematic “method” that TrialCard undertook to respond to the results of benefits
investigations identifying patients as SaveOnSP-affiliated; to the extent JJHCS undertook such
methods, JJHCS is the proper source for such discovery. We trust that this resolves any dispute
with respect to Request No. 6.

              Request No. 8 seeks documents and communications regarding the creation or
attempted creation of a response or “solution” to copay maximizers, accumulators, or SaveOnSP.
The search term that you have proposed is untethered to the claims at issue in this litigation: it
seeks documents related to any maximizer or accumulator irrespective of whether such documents
concern SaveOnSP. In the event you wish to pursue this request, please provide an appropriately
narrowed term that addresses the relevant issues in this litigation.

                IV.    Communications with Stelara and Tremfya Patients

                Request No. 5 seeks “[a]ll Communications with patients receiving Stelara and
Tremfya, including without limitation recordings of calls.” You have represented that if TrialCard
“refresh[es] the call and task notes, subject to the same procedures in the May 12, 2023 letter, and
agree that SaveOn reserves it rights to request call recordings and transcripts in the future, that
would” resolve any dispute with respect to Request No. 5.

                TrialCard agrees to refresh its production of case and task notes through November
7, 2023 using the same collection methodology we used during the initial collection of case and
task notes, which involved filtering the records for the Janssen Drugs at issue in this litigation and
further searching them for responsive material using the search terms listed the May 12, 2023
letter. See May 12, 2023 Ltr. from G. Carotenuto to A. Dunlap at 2. Additionally, as we did with
the initial production of case and task notes, we invite SaveOnSP to use these records to identify
a reasonable number of calls for which you would like TrialCard to attempt to locate and produce
the associated audio recording and/or transcript, where available. See id.

                 V.    Communications Between TrialCard and SaveOnSP

               Request No. 7 seeks all communications between TrialCard and SaveOnSP. As
we have explained, SaveOnSP can search its own records for communications responsive to this
request, including call recordings. See TrialCard’s Responses and Objections to RFP No. 5
(“TrialCard further objects to the extent this Request seeks the production of documents and
communications that are available from parties to the Action, in particular from SaveOnSP.”); see
also Mar. 1, 2024 Ltr. from S. Arrow to H. Miles at 4.

              In your March 8 letter, you clarified why you believe SaveOnSP would not possess
the documents it seeks with this request. Specifically, you confirmed that certain “outbound calls
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may not have been recorded by SaveOn.”3 Please explain, in as much detail as possible, which
types of calls are recorded and which are not. This will allow TrialCard to evaluate whether there
are certain recordings that only TrialCard maintains that are not in SaveOnSP’s possession. To
the extent you seek production of such recordings, please also provide identifying information that
would allow TrialCard to identify the relevant calls—specifically, all names and phone numbers
used by SaveOnSP employees to communicate with TrialCard. Absent such information,
TrialCard lacks identifying information to isolate responsive recordings without undertaking the
enormous burden of assessing every incoming call that it received.

               You also ask a series of questions regarding the 16 call recordings that TrialCard
produced on January 12, 2024. We confirm that, at JJHCS’s request, TrialCard agreed to produce
these 16 call recordings. Please direct any further questions regarding these call recordings to
JJHCS.

                                                             Very truly yours,




                                                             /s/ Sara A. Arrow
                                                             Sara A. Arrow




3
 Based on our meet and confer and SaveOnSP’s March 8 letter, we understand that SaveOnSP has narrowed
Request No. 7 to seek only this subset of call recordings—i.e., those that SaveOnSP did not record and thus
does not have in its possession. Please promptly clarify if this understanding is incorrect.
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                   Exhibit 43
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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 JOHNSON & JOHNSON HEALTH CARE                Civil Action No. 22-2632 (JMV) (CLW)
 SYSTEMS INC.,
                                              DEFENDANT’S FIRST REQUEST FOR
                     Plaintiff,                PRODUCTION OF DOCUMENTS TO
                                                        PLAINTIFF
              v.

 SAVE ON SP, LLC,

                     Defendant.



To:   Jeffrey J. Greenbaum, Esq.
      SILLS CUMMIS & GROSS, P.C.
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       Attorneys for Plaintiff Johnson & Johnson
       Health Care Systems Inc.

       PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure 26 and 34,

Defendant Save On SP, LLC (“SaveOnSP”) requests Plaintiff Johnson & Johnson Health Care

Systems Inc. (“JJHCS”), to produce for inspection and copying the documents listed in these Re-

quests, to the office of the undersigned within 30 days of being served or at a time and place mu-

tually agreed by the parties or ordered by the Court.

       PLEASE TAKE FURTHER NOTICE that this demand for production of documents

shall be deemed continuing in nature so as to require supplemental responses if Plaintiff or Plain-

tiff’s counsel obtain or locate further or additional documents subsequent to the time Plaintiff’s

responses are served.



Dated: November 11, 2022                      By: /s/ Andrew R. Dunlap
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                                          DEFINITIONS

        1.     The singular form of a word includes the plural, and vice versa.

        2.     Any tense of a verb includes all tenses.

        3.     Any natural person includes that person’s agents, assigns, attorneys, employees,

representatives, and successors.

        4.     Any entity other than a natural person includes (a) that entity’s present and former

agents, affiliates (foreign or domestic), assigns, attorneys, consultants, directors, divisions, em-

ployees, officers, parents, predecessors, representatives, servants, subsidiaries, and successors;

(b) any person or entity, directly or indirectly, wholly or in part, associated with, controlled by, or

owned by that entity; (c) and any other person or entity acting or purporting to act on behalf of

(a) or (b).

        5.     “Action” means this litigation styled as “Johnson & Johnson Health Care Systems

Inc. v. Save On SP, LLC” currently pending in the United States District Court for the District of

New Jersey, No. 22-2632 (JMV) (CLW).

        6.     “Affordable Care Act” means the Patient Protection and Affordable Care Act, Pub.

L. 148, 124 Stat. 119.

        7.     “All,” “any,” and “each” mean any and all.

        8.     “And” and “or” are construed both conjunctively and disjunctively.

        9.     “CarePath” means the Janssen copay assistance program marketed under the name

CarePath that provides financial support services for patients using specialty drugs researched,

developed, and marketed by the pharmaceutical companies of Johnson & Johnson, including

Janssen (as defined herein).




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        10.    “CarePath Care Coordinator” means any person or entity encompassed by that term

as used on CarePath’s “Contact Us” webpage, 1 as well as any person responsible for communi-

cating with patients who contact CarePath via an advertised help number (e.g., 877-CarePath).

        11.    “Communication” means the transmittal of information in the form of facts, ideas,

inquiries, or otherwise.

        12.    “Complaint” means JJHCS’s May 4, 2022 Complaint [ECF No. 1] or any subse-

quently amended Complaint in this Action.

        13.    “Copay Accumulator Service” means (a) any service provided by Pharmacy Bene-

fit Managers or insurance companies, or any third party providing services to the same, to manage

the cost of specialty drugs by preventing manufacturer copay assistance from counting towards a

patient’s deductible and out-of-pocket maximum and under which members remain responsible

for all or most of their plans’ copays, co-insurance requirements, and deductibles once copay as-

sistance has been exhausted; and (b) any definition JJHCS ascribes to the term “copay accumula-

tor.”

        14.    “Copay Assistance” means any type of patient support that allows a drug manufac-

turer to pay all or some of a patient’s prescription drug cost for that manufacturer’s drug.

        15.    “Copay Maximizer Service” means (a) any service provided by Pharmacy Benefit

Managers or insurance companies, or any third party providing services to the same, to manage

the cost of specialty drugs by preventing manufacturer copay assistance from counting towards a

patient’s deductible and out-of-pocket maximum and under which members do not remain respon-

sible for all or most of their plans’ copays, co-insurance requirements, and deductibles once copay




1
 See Contact Us, https://www.janssencarepath.com/patient/contact-us (last visited October 25,
2022).
                                                 5
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assistance has been exhausted; and (b) any definition JJHCS ascribes to the term “copay maxi-

mizer.”

          16.   “Document” means “document” and “electronically stored information” as defined

in the Federal Rules of Civil Procedure. A draft or non-identical copy is a separate document within

the meaning of this term.

          17.   “ESI” means “electronically stored information” as defined in the Federal Rules of

Civil Procedure.

          18.   “Essential Health Benefit” means, in the context of prescription drug benefits at

issue in this case, (a) a prescription drug benefit that satisfies the requirement for a plan to provide

essential prescription drug benefits under the Affordable Care Act or that is treated as such by a

plan; 2 and (b) any definition JJHCS ascribes to the term “essential health benefit” as used in the

Complaint.

          19.   “Identify” means (a) with respect to persons, to give, to the extent known, the per-

son’s full name, present or last known address, and when referring to a natural person, additionally,

the present or last known place of employment; (b) with respect to documents, either (i) to give,

to the extent known, the (A) type of document; (B) general subject matter; (C) date of the docu-

ment; and (D) author(s), addressee(s) and recipient(s); or (ii) to produce the documents, together

with sufficient identifying information sufficient to satisfy Federal Rule of Civil Procedure 33(d).

          20.   “Including” means including but not limited to.

          21.   “Janssen” means Janssen Biotech, Inc., Janssen Pharmaceuticals, Inc., Janssen

Products, LP, and Actelion Pharmaceuticals U.S., Inc., as well as any and all predecessors and

successors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents,



2
    45 C.F.R. §§ 156.122, 156.115.
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representatives, directors, officers, employees, committees, attorneys, accountants, and all persons

or entities acting or purporting to act on behalf or under the control of Janssen Biotech, Inc.,

Janssen Pharmaceuticals, Inc., Janssen Products, LP, or Actelion Pharmaceuticals U.S., Inc.

        22.     “Janssen Drug” means any Specialty Drug manufactured or sold by Janssen from

any time for which patients may receive copay assistance, including BALVERSA, DARZALEX,

DARZALEX FASPRO, ERLEADA, IMBRUVICA, OPSUMIT, REMICADE, RYBREVANT,

SIMPONI, STELARA, TRACLEER, TREMFYA, UPTRAVI, and ZYTIGA, as well as any other

specialty drugs that JJHCS asserts are at issue in this Action.

        23.     “JJHCS’s Employee Health Plans” means any health plan offered by JJHCS or

Janssen to its employees.

        24.     “JJHCS” means Johnson & Johnson Health Care Systems Inc. and any and all pre-

decessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or depart-

ments, agents, representatives, directors, officers, employees, committees, attorneys, accountants,

and all persons or entities acting or purporting to act on behalf or under the control of Johnson &

Johnson Health Care Systems Inc., including Centocor, Inc., Ortho Biotech Products LP, McNeil

Pharmaceutical, Ortho-McNeil Pharmaceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals,

Inc., Scios Inc., Janssen Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development,

LLC, Janssen Pharmaceuticals, Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc.,

Janssen BioPharma LLC, and Janssen Research & Development LLC.

        25.     “JJHCS Access Group” means the team operating within and for JJHCS under this

or a substantially similar name (i.e., Access Group, Access Team, or Access Division).




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         26.    “JJHCS Health Economics Group” means the team operating within and for JJHCS

under this or a substantially similar name (i.e., Health Economics Group, Health Economics Team,

or Health Economics Division).

         27.    “JJHCS Hub Entity” means any entity retained or utilized by JJHCS to administer,

in whole or in part, CarePath (including Lash Group and TrialCard), and any and all predecessors

and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments,

agents, representatives, directors, officers, employees, committees, attorneys, accountants, and all

persons or entities acting or purporting to act on behalf of such an entity.

         28.    “JJHCS Outcome Group” means the team operating within and for JJHCS under

this or a substantially similar name (i.e., Outcome Group, Outcome Team, or Outcome Division).

         29.    “Lash Group” means The Lash Group, Inc. and any and all predecessors and suc-

cessors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, rep-

resentatives, directors, officers, employees, committees, attorneys, accountants, and all persons or

entities acting or purporting to act on behalf or under the control of The Lash Group, Inc.

         30.    “Non-Essential Health Benefits” means, in the context of prescription drug benefits

at issue in this case, (a) any prescription drug benefit covered by a plan in excess of those necessary

for a plan to satisfy the requirements for providing essential prescription drug health benefits under

the Affordable Care Act 3 and designated by the plan as a non-essential health benefit; and (b) any

definition JJHCS ascribes to the term “non-essential health benefits” as used in the Complaint.

         31.    “Parties” means “SaveOnSP” and “JJHCS.”

         32.    “Patient” means a natural person prescribed or eligible to be prescribed any Janssen

Drug, whether or not they use CarePath or are a participant in a health plan advised by SaveOnSP.



3
    See 45 C.F.R. §§ 156.122, 156.115.
                                                   8
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        33.     “Person” means a natural person or legal entity including any business or govern-

mental entity or association.

        34.     “Regarding” means (directly or indirectly, partially or wholly) about, alluding to,

assessing, bearing upon, commenting upon, comprising, concerning, confirming, connected to,

considering, containing, contradicting, dealing with, discussing, embodying, evaluating, evidenc-

ing, identifying, in connection with, indicating, in respect of, involving, memorializing, mention-

ing, noting, pertaining to, probative of, proving, recording, referring to, reflecting, relating to, re-

porting on, reviewing, setting forth, showing, stating, suggesting, summarizing, supporting, touch-

ing upon a subject, or having been created, generated, or maintained in connection with or as a

result of that subject.

        35.     “Request” means any of these Requests for Production.

        36.     “SaveOnSP” means Save On SP, LLC, and any and all predecessors and successors

in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, represent-

atives, directors, officers, employees, committees, attorneys, accountants, and all persons or enti-

ties acting or purporting to act on behalf or under the control of Save On SP, LLC.

        37.     “SaveOnSP IPBC Video” means the IPBC and SaveOnSP training video created

by Express Scripts as defined in Complaint ¶ 9.

        38.     “Specialty Drug” means any specialty pharmaceutical, medication, biologic, or

other therapy treated as a pharmaceutical for purposes of health plan benefit coverage.

        39.     “Stelara” means the Janssen Drug sold under that name.

        40.     “Tremfya” means the Janssen Drug sold under that name.




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       41.     “TrialCard” means TrialCard Inc. and any and all predecessors and successors in

interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, representa-

tives, directors, officers, employees, committees, attorneys, accountants, and all persons or entities

acting or purporting to act on behalf or under the control of TrialCard Inc.

       42.     “You” and “Your” means JJHCS.

                                         INSTRUCTIONS

       1.      These Requests seek production of material in Your possession, custody, or control.

Fed. R. Civ. P. 34(a)(1).

       2.      These Requests seek production of nonprivileged material. Fed. R. Civ. P. 26(b)(1).

       3.      These Requests seek production of material that is proportional to the needs of this

case. Fed. R. Civ. P. 26(b)(1).

       4.      For each Request, either state that you will produce the requested material or state

with specificity the grounds for objecting to the Request, including the reasons. Fed. R. Civ. P.

34(b)(2)(C).

       5.      If you object to all or part of a Request, state whether you are withholding any

responsive material based on that objection. Fed. R. Civ. P. 34(b)(2)(C).

       6.      If you object to part of a Request, specify the part and state that you will produce

documents responsive to the rest. Fed. R. Civ. P. 34(b)(2)(C).

       7.      If you withhold responsive information by claiming that the information is privi-

leged or subject to protection as trial-preparation material, expressly make the claim and describe

the nature of the information privileged or protected in a manner that, without revealing infor-

mation itself privileged or protected, will enable SaveOnSP to assess the claim, Fed. R. Civ. P.

26(b)(5)(A)(ii), including by indicating whether any document exists regarding the information



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requested and stating, to the extent the privilege is being asserted in connection with a claim or

defense governed by state law, the state privilege rule being invoked, Local Rule 34.1.

       8.      If a document responsive to a Request was once in your possession, custody, or

control and has since been lost or destroyed, provide (a) a detailed description of the document;

(b) the name of the author; (c) the names of all persons to whom the document was sent; (d) the

date on which the document was prepared or initially received; (e) the date on which the document

was lost or destroyed; and (f) if the document was destroyed, the manner of its destruction, the

reason for its destruction, the name of the person who requested or authorized its destruction, and

the name of the person who destroyed it.

       9.      Produce documents as they are kept in the usual course of business. Fed. R. Civ.

P. 34(b)(E)(i). For each document, identify the file or location from which it was taken and the

name, affiliation, and position of the producing custodian or non-custodial source.

       10.     Produce electronically stored information in the form and manner required by any

agreed-upon or court-ordered protocols. In the absence of any such protocol at the time of produc-

tion, consult SaveOnSP for further instruction.

       11.     Produce each document in its entirety, without abbreviation or redaction, including

all attachments or materials attached thereto.

       12.     Produce all versions of each document that are not identical to the original docu-

ment (including all drafts) whether due to handwritten notations, revisions, enclosures, attach-

ments, underlining, highlighting, or otherwise.

       13.     These Requests are deemed continuing. If after responding to any Request you learn

that your response is in some material respect incomplete or incorrect, supplement or correct your

response in a timely manner. Fed. R. Civ. P. 26(e)(1)(A).



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                                         TIME PERIOD

       Unless otherwise specified, these Requests cover from and including January 1, 2017,

through the present.

                                           REQUESTS

       1.      From January 1, 2009 through the present, Documents sufficient to show JJHCS’s

organizational structure, including organizational charts.

       2.      From January 1, 2009 through the present, Documents sufficient to show Janssen’s

organizational structure, including organizational charts.

       3.      From January 1, 2009 through the present, Documents sufficient to show the or-

ganizational structure of each JJHCS Hub Entity.

       4.      From January 1, 2009 through the present, Documents sufficient to show the or-

ganizational structure of any group or division within JJHCS, Janssen, or any JJHCS Hub Entity

involved in developing, managing, marketing, or administering CarePath or any other copay as-

sistance program offered for Janssen Drugs, and to identify their employees.

       5.      From January 1, 2009 through the present, Documents sufficient to show the or-

ganizational structure of JJHCS’s Health Economics, Access, and Outcome Groups and to identify

employees working in those groups.

       6.      From January 1, 2009 through the present, Documents sufficient to show the or-

ganizational structure of the drug product team for each Janssen Drug, and to identify employees

working on those teams.

       7.      From January 1, 2009 through the present, documents sufficient to identify all nat-

ural persons with decisionmaking authority over the sale or marketing of Janssen Drugs.

       8.      All Documents and Communications with or regarding SaveOnSP.



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       9.     All Communications by JJHCS or Janssen with any Patient regarding SaveOnSP,

including any Documents regarding those Communications.

       10.    All Documents and Communications regarding any presentation, document, or in-

formation regarding SaveOnSP referenced in the Complaint, including the “SaveOnSP IPBC

Video” and the materials referenced in Complaint ¶¶ 82-88.

       11.    From January 1, 2009 through the present, all Documents and Communications

regarding the development, management, and marketing of CarePath or any other copay assistance

program offered for Janssen Drugs, including Documents and Communications regarding JJHCS’s

allegations in Complaint ¶¶ 6-7, 36-49.

       12.    From January 1, 2009 through the present, all Documents and Communications

regarding CarePath’s terms and conditions, including Documents and Communications regarding

(a) JJHCS’s allegations in Complaint ¶¶ 3, 8, 18-26, 102-103, 108; (b) all CarePath terms and

conditions for each Janssen Drug; (c) JJHCS’s decision to revise any of its CarePath terms and

conditions for any Janssen Drug; and (d) JJHCS’s understanding of the term “offer” or “health

plan” as used in CarePath’s terms and conditions.

       13.    From January 1, 2009 through the present, all Documents and Communications

regarding CarePath’s requirement that Patients enrolled in CarePath make any payments towards

Janssen Drugs, including Documents and Communications regarding JJHCS’s basis for setting the

amounts of those payments and JJHCS’s allegations in Complaint ¶¶ 48-49, 70, 89.

       14.    From January 1, 2015 through the present, all Documents and Communications

regarding JJHCS’s or any JJHCS Hub Entity’s understanding of commercial health plans’ ability

to designate specialty drugs as Essential Health Benefits or Non-Essential Health Benefits under




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the Affordable Care Act and its regulations, including Documents and Communications regarding

JJHCS’s allegations in Complaint ¶¶ 9-10, 43, 53-59, 71, 79.

       15.     All Documents and Communications regarding SaveOnSP’s communications with

Patients regarding CarePath, including Documents and Communications regarding JJHCS’s alle-

gations in Complaint ¶¶ 60-67, 109.

       16.     All Documents and Communications regarding SaveOnSP’s provision of services

to qualified high deductible or health savings account plans, including Documents and Communi-

cations regarding JJHCS’s allegations in Complaint ¶ 72.

       17.     All Documents and Communications regarding JJHCS’s payment of copay assis-

tance funds to or on behalf of Patients enrolled in qualified high deductible or health savings ac-

count plans.

       18.     All Documents and Communications regarding any allegedly misleading or con-

fusing communications between SaveOnSP and Patients, including Documents and Communica-

tions regarding JJHCS’s allegations in Complaint ¶¶ 13, 75-77, 85-88.

       19.     All Documents and Communications regarding any alleged stress or confusion

caused by SaveOnSP to any member of the public, including Documents and Communications

regarding JJHCS’s allegations in Complaint ¶ 114.

       20.     All Documents and Communications regarding any publicly distributed material

(including, for example, articles, op-eds, white papers, and online postings) regarding SaveOnSP,

Copay Accumulator Services, or Copay Maximizer Services, including Documents and Commu-

nications regarding JJHCS’s, Janssen’s, or any JJHCS Hub Entity’s direct or indirect involvement

with such material and JJHCS’s, Janssen’s, or any JJHCS Hub Entity’s direct or indirect funding

of the authors, publishers, or distributors of such material.



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         21.   All Documents and Communications regarding any advocacy to or communication

with any governmental or regulatory body regarding SaveOnSP, Copay Accumulator Services, or

Copay Maximizer Services.

         22.   All Documents and Communications regarding any alleged harm caused by Save-

OnSP to any Patient by allegedly making their healthcare more expensive, including Documents

and Communications regarding JJHCS’s allegations in Complaint ¶ 114.

         23.   All Documents and Communications regarding how SaveOnSP directly or indi-

rectly affects or threatens the financial viability of CarePath, including Documents and Commu-

nications regarding JJHCS’s allegations in Complaint ¶ 114.

         24.   All Documents and Communications regarding how SaveOnSP directly or indi-

rectly affects or threatens the financial viability of any Copay Assistance Program other than Care-

Path, including Documents and Communications regarding JJHCS’s allegations in Complaint

¶ 114.

         25.   All Documents and Communications regarding any alleged harm caused by Save-

OnSP to JJHCS, including Documents and Communications regarding JJHCS’s allegations in

Complaint ¶ 110, 115.

         26.   All Documents and Communications regarding JJHCS’s, Janssen’s, or any JJHCS

Hub Entity’s payment of any Patient’s costs, including those that accumulate towards the Patient’s

deductible or out-of-pocket maximum.

         27.   All Documents and Communications regarding the “internal JJHCS data” dis-

cussed in Complaint ¶¶ 92-101, including the complete databases from which that data was drawn.

         28.   From January 1, 2009 through the present, for each Janssen Drug for each year,

Documents sufficient to show:



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             a.     all Patients receiving the Janssen Drug;

             b.     the number of fills of the Janssen Drug received by each such Patient;

             c.     the dosage of the Janssen Drug received by each such Patient for each fill;

             d.     the projected number of Patients, average number of fills, and average

                    dosage for the Janssen Drug;

             e.     the cost to manufacture the Janssen Drug;

             f.     the sales and marketing budget for the Janssen Drug;

             g.     the price of the Janssen Drug;

             h.     the revenue received by JJHCS from the Janssen Drug;

             i.     all Patients enrolled in the CarePath program for the Janssen Drug;

             j.     the dates on which each Patient was enrolled in CarePath;

             k.     the amounts of copay assistance funds that JJHCS offered to each Patient

                    enrolled in CarePath;

             l.     the Janssen Drugs for which each Patient enrolled in CarePath received

                    copay assistance;

             m.     all copay assistance payments that JJHCS made to or on behalf each Pa-

                    tient enrolled in CarePath; and

      29.    From January 1, 2009 through the present, for each Janssen Drug for each year, all

Documents and Communications regarding:

             a.     JJHCS’s determination of the amounts of copay assistance funds that

                    JJHCS offered to Patients enrolled in CarePath, including the determina-

                    tion of the maximum program benefit per calendar year for the Janssen

                    Drug;



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                b.     JJHCS’s budget for CarePath, including the sales and marketing budget;

                c.     JJHCS’s actual and projected annual costs for CarePath;

                d.     JJHCS’s use of or accounting for unused CarePath funds;

                e.     the impact of the Affordable Care Act on JJHCS’s CarePath budget or

                       funding, including the impact of laws and regulations regarding out-of-

                       pocket maximums;

                f.     JJHCS’s and Janssen’s revenue and revenue projections from fills by Pa-

                       tients enrolled in CarePath;

                g.     the impact of CarePath on Janssen’s sales of any Janssen Drug;

                h.     the impact of CarePath on JJHCS’s or Janssen’s gross to net calculations;

                i.     JJHCS’s or Janssen’s actual and projected return on investment for Care-

                       Path; and

                j.     any analysis of the adherence rates of Patients enrolled in CarePath to

                       Janssen Drugs, including such Patients enrolled in plans advised by Save-

                       OnSP.

       30.      From January 1, 2009 through the present, for each year for each Janssen Drug, all

Documents and Communications regarding the basis for Janssen’s decision to raise or lower the

price of the Janssen Drug, including labor or manufacturing costs or the increase in efficacy of the

Janssen Drug.

       31.      All Documents and Communications regarding JJHCS’s attempts to limit or elim-

inate the amount of CarePath copay assistance funds available to Patients using Stelara or Tremfya

based on whether the Patients’ plans allegedly reduce or eliminate Patients’ out-of-pocket costs,

including Documents and Communications regarding JJHCS’s attempts to limit or eliminate the



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availability of CarePath copay assistance funds available to Patients enrolled in health plans ad-

vised by SaveOnSP.

         32.   All Documents and Communications regarding any offer by JJHCS to provide to

any Patient any CarePath funds greater than the amounts that JJHCS generally offers to CarePath

Patients or to waive any limitation on or elimination of the amount of CarePath copay assistance

funds available to a Patient.

         33.   All Documents and Communications regarding JJHCS’s attempts to identify health

plans advised by SaveOnSP or Patients enrolled in such plans.

         34.   From any time, all Documents and Communications regarding JJHCS’s or

Janssen’s negotiations or agreements regarding the potential use of SaveOnSP’s services, or the

services of any Copay Maximizer Service or Copay Accumulator Service, for JJHCS’s Employee

Health Plans, including JJHCS’s abandonment of those negotiations or agreements.

         35.   Documents sufficient to identify all JJHCS Hub Entities and CarePath Care Coor-

dinators.

         36.   From January 1, 2009 through the present, Documents sufficient to show the eco-

nomic terms of JJHCS’s retention of or agreements with any JJHCS Hub Entity or CarePath Care

Coordinator regarding CarePath, including any assessment of the fair market value of those ser-

vices.

         37.   From January 1, 2009 through the present, documents sufficient to show the per-

centage of Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any JJHCS

Hub Entity, or any other third party authorized to advertise or market CarePath or Janssen Drugs.




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       38.    From January 1, 2009 through the present, all Documents and Communications

received by JJHCS from any JJHCS Hub Entity or sent by JJHCS to any JJHCS Hub Entity re-

garding SaveOnSP or CarePath.

       39.    All Documents and Communications received by JJHCS from any CarePath Care

Coordinator regarding SaveOnSP.

       40.    All Communications by any JJHCS Hub Entity or CarePath Care Coordinator with

any Patient regarding SaveOnSP, including any Documents regarding those Communications and

talk tracks or scripts prepared for use during those Communications.

       41.    From January 1, 2015 through the present, all Documents and Communications

relating to Copay Accumulator Services and Copay Maximizer Services and their effect on

JJHCS’s return on investment for copay assistance dollars.

       42.    From January 1, 2015 through the present, all Documents and Communications

relating to JJHCS’s or any JJHCS Hub Entity’s understanding of the terms “copay accumulator”

and “copay maximizer.”

       43.    All Documents and Communications concerning non-medical switching by partic-

ipants of plans that implement SaveOnSP’s services, a Copay Accumulator Service, or a Copay

Maximizer Service.

       44.    To the extent not requested above, Documents and Communications of any JJHCS

Hub Entity or CarePath Care Coordinator regarding the topics of all Requests listed above.

       45.    JJHCS’s, Janssen’s, any JJHCS Hub Entity’s, and any CarePath Care Coordinator’s

document retention policies.

       46.    Complete data dictionaries for any data that You produce.




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       47.     From any time, all Documents and Communications regarding this Action provided

to you by any person or entity other than SaveOnSP, including in response to subpoenas served in

this Action.

       48.     To the extent not requested above, from any time, all Documents and Communica-

tions upon which you may rely in this Action.




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                   Exhibit 44
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Systems Inc.


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY




  JOHNSON & JOHNSON HEALTH CARE                    Civil Action No. 22-2632 (JMV) (CLW)
  SYSTEMS INC.,
                                                    PLAINTFF JOHNSON & JOHNSON
                       Plaintiff,                    HEALTH CARE SYSTEMS INC.’S
                                                    RESPONSES AND OBJECTIONS TO
                v.                                 DEFENDANT’S FIRST REQUEST FOR
                                                     PRODUCTION OF DOCUMENTS
  SAVE ON SP, LLC,

                       Defendant.
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                                    GENERAL OBJECTIONS

       Johnson and Johnson Health Care Systems, Inc. (“JJHCS”) incorporates each of the

General Objections below into its specific objections to each Request, whether or not each such

General Objection is expressly referred to in JJHCS’s objections to a specific Request.

       JJHCS’s investigation of facts related to this Action is ongoing. It reserves the right to

supplement, amend, modify, or correct its responses under Rule 26(e) should it discover

additional information or grounds for objections at any time prior to the conclusion of this

Action. The following responses and objections are based upon information known at this time.

       1.      JJHCS objects to the Requests to the extent that they seek documents or

information protected from disclosure by a privilege including, without limitation, the First

Amendment privilege, the attorney-client privilege, the work-product doctrine, the joint defense

privilege, the common interest privilege, the Federal Rules of Civil Procedure, the Local Rules

of the Court, and relevant case law. The inadvertent production by JJHCS of information,

documents, materials, or things covered by any privilege or doctrine shall not constitute a

waiver of any applicable privilege or doctrine, including but not limited to, objections on the

basis of competency, confidentiality, relevancy, materiality, work-product, privilege, and/or

admissibility as evidence, as such objections may apply at trial or otherwise in this Action.

       2.      JJHCS objects to the Requests to the extent that they seek documents or

information that are not relevant to a claim or defense or to the subject matter of this litigation.

Any response JJHCS makes to any Request shall not be deemed an admission that the response,

information, document, or thing produced is relevant to a claim or defense or to the subject

matter of this litigation, is reasonably calculated to lead to the discovery of admissible evidence,

is material, or is admissible as evidence.



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       3.      JJHCS objects to the Requests to the extent that they impose obligations beyond

or inconsistent with those imposed by the Federal Rules of Civil Procedure, the Local Rules of

the Court, the Court’s orders, the discovery schedule entered in this Action, or any other

applicable rule, order, or source of law.

       4.      JJHCS objects to the Requests to the extent that they seek the production of

documents or things that are equally available to or already in SaveOnSP’s possession, custody,

or control. To the extent that JJHCS agrees in these responses to produce certain documents,

information, or things, these responses shall not be construed as conceding that the documents,

information, or things exist and/or are in the possession, custody, or control of JJHCS. Instead,

it means that JJHCS will perform a reasonable search for documents in its possession and

produce such documents, information, or things to the extent any responsive documents,

information, or things exist and are not otherwise protected from disclosure.

       5.      JJHCS objects to the Requests to the extent that they seek information that is

obtainable from sources other than JJHCS in a manner that is more convenient, less

burdensome, or less expensive.

       6.      JJHCS objects to the Requests to the extent that they seek production of

documents, records, tangible things, or other materials to the extent that such disclosure would

violate a confidentiality agreement, court order, or applicable law.

       7.      JJHCS objects to the Requests to the extent that they are vague and/or

ambiguous.

       8.      JJHCS objects to the Requests to the extent that they require interpretation by it

in providing a response. JJHCS responds to the Requests as it interprets and understands each

Request as set forth. If SaveOnSP subsequently asserts an interpretation of any Request that



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differs from JJHCS’s understanding of that Request, JJHCS reserves the right to modify or

supplement its objections and responses.

       9.      JJHCS objects to the Requests to the extent that they are duplicative of other

document requests, interrogatories, and/or other discovery requests.

       10.     JJHCS objects to the Requests to the extent that they are argumentative, lack

foundation, or incorporate assertions that are disputed, erroneous, or irrelevant to the Action.

JJHCS further objects to the Requests to the extent that they assume facts that do not exist or

the occurrence of events that did not take place.

       11.     JJHCS objects to the Requests to the extent that they seek documents and

information relating to any business affairs other than those that are the subject of the Action.

       12.     JJHCS objects to the Requests as overbroad and unduly burdensome to the

extent they purport to require production of “all” or “any” documents where a subset of

documents would be sufficient to provide the relevant information.

       13.     JJHCS objects to the Requests to the extent that they seek the production of

documents that are not in JJHCS’s possession, custody, or control.

                               OBJECTIONS TO DEFINITIONS

       1.        JJHCS objects to the definition of the term “Janssen” to the extent the term is

used to seek documents and communications in the possession of entities other than JJHCS.

JJHCS further objects to the definition as overbroad, unduly burdensome, and not proportional

to the needs of the case to the extent it purports to include “any and all predecessors and

successors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments,

agents, representatives, directors, officers, employees, committees, attorneys, accountants and

all persons or entities acting or purporting to act on behalf” of those entities.



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        2.        JJHCS objects to the definition of the term “Janssen Drug” as irrelevant to the

extent it purports to include drugs that are not covered by CarePath. JJHCS further objects to

the definition as overbroad, unduly burdensome, and not proportional to the needs of the case to

the extent it includes “any Specialty Drug manufactured or sold by Janssen from any time.”

        3.        JJHCS objects to the definition of the term “JJHCS” to the extent it purports to

include attorneys and accountants who may be outside of JJHCS’s possession, custody, and

control. JJHCS further objects to the definition as overbroad, unduly burdensome, and not

proportional to the needs of the case to extent it purports to include “any and all predecessors

and successors in interest, assignees, parents, subsidiaries, affiliates, . . . agents, [or]

representatives” or purports to include entities and persons acting or purporting to act on behalf

of or under the control of entities other than Johnson & Johnson Healthcare Systems, Inc.,

including Centocor, Inc., Ortho Biotech Products LP, McNeil Pharmaceutical, Ortho-McNeil

Pharmaceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Scios Inc., Janssen Biotech,

Inc., Janssen Oncology, Inc., Janssen Research & Development, LLC, Janssen Pharmaceuticals,

Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc., Janssen BioPharma LLC, and

Janssen Research & Development LLC.

        4.        JJHCS objects to the definition of the term “JJHCS Hub Entity” as vague and

as irrelevant to the extent it purports to include entities other than those responsible for

administering CarePath during the relevant Time Period. JJHCS further objects to the

definition as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it includes “any and all predecessors and successors in interest, assignees, parents,

subsidiaries, affiliates, divisions or departments, agents, representatives, directors, officers,

employees, committees, attorneys, accountants and all persons or entities acting or purporting to



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act on behalf” of those entities. JJHCS further objects on the ground that the phrase

“administer, in whole or in part, CarePath” is vague and ambiguous. JJHCS further objects to

the extent the term is used to seek documents and communications in the possession of entities

other than JJHCS.

       5.        JJHCS objects to the definition of the term “Lash Group” as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it includes “any and all

predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or

departments, agents, representatives, directors, officers, employees, committees, attorneys,

accountants and all persons or entities acting or purporting to act on behalf or under the control

of The Lash Group, Inc.” JJHCS further objects to the extent the term is used to seek

documents and communications in the possession of entities other than JJHCS.

       6.        JJHCS objects to the definition of the term “TrialCard” as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it includes “any and all

predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or

departments, agents, representatives, directors, officers, employees, committees, attorneys,

accountants and all persons or entities acting or purporting to act on behalf or under the control

of TrialCard Inc.” JJHCS further objects to the extent the term is used to seek documents and

communications in the possession of entities other than JJHCS.

            OBJECTIONS TO THE TIME PERIOD FOR SPECIFIC REQUESTS

       1.         JJHCS objects to SaveOnSP’s Requests as overbroad, unduly burdensome,

and not relevant to the subject matter of this Action to the extent they call for documents from

before January 1, 2017. Unless otherwise noted, JJHCS will only produce documents from

January 1, 2017 through the July 1, 2022 (the “Time Period”).



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                        SPECIFIC RESPONSES AND OBJECTIONS

Request No. 1

       From January 1, 2009 through the present, Documents sufficient to show JJHCS’s
organizational structure, including organizational charts.

Response to Request No. 1

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks documents unrelated to the

JJHCS groups responsible for the administration of CarePath. JJHCS further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents outside of the relevant Time Period.

       Subject to the foregoing objections, JJHCS will produce non-privileged documents in its

possession sufficient to show the organizational structure of the JJHCS groups responsible for

the administration of CarePath for the relevant Time Period, to the extent such documents exist

and can be located after a reasonable search. Otherwise, JJHCS will not search for or produce

documents responsive to this Request.

Request No. 2

       From January 1, 2009 through the present, Documents sufficient to show Janssen’s
organizational structure, including organizational charts.

Response to Request No. 2

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks documents unrelated to the

JJHCS groups responsible for the administration of CarePath. JJHCS further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents outside of the relevant Time Period. JJHCS further objects to this




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Request to the extent it seeks documents and communications in the possession of entities other

than JJHCS.

       JJHCS will not search for or produce documents in response to this Request.

Request No. 3

       From January 1, 2009 through the present, Documents sufficient to show the
organizational structure of each JJHCS Hub Entity.

Response to Request No. 3

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks documents unrelated to the

JJHCS groups responsible for the administration of CarePath. JJHCS further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents outside of the relevant Time Period. JJHCS further objects to this

Request to the extent it seeks documents and communications in the possession of entities other

than JJHCS. JJHCS further objects to this Request to the extent it uses the term “JJHCS Hub

Entity” for the reasons stated in JJHCS’s Objections to Definitions.

       JJHCS will not search for or produce documents in response to this Request.

Request No. 4

        From January 1, 2009 through the present, Documents sufficient to show the
organizational structure of any group or division within JJHCS, Janssen, or any JJHCS Hub
Entity involved in developing, managing, marketing, or administering CarePath or any other
copay assistance program offered for Janssen Drugs, and to identify their employees.

Response to Request No. 4

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks documents unrelated to the

JJHCS groups responsible for the administration of CarePath. JJHCS further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

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extent it seeks documents outside of the relevant Time Period. JJHCS further objects to this

Request to the extent it seeks documents and communications in the possession of entities other

than JJHCS. JJHCS further objects to this Request on the ground that the phrase “any other

copay assistance program offered for Janssen Drugs” is vague and ambiguous. JJHCS further

objects to this Request to the extent it uses the term “JJHCS Hub Entity” for the reasons stated in

JJHCS’s Objections to Definitions.

       Subject to the foregoing objections, JJHCS will produce non-privileged documents in its

possession sufficient to show the organizational structure of the JJHCS groups responsible for

the administration of CarePath for the relevant Time Period, to the extent such documents exist

and can be located after a reasonable search. Otherwise, JJHCS will not search for or produce

documents responsive to this Request.

Request No. 5

        From January 1, 2009 through the present, Documents sufficient to show the
organizational structure of JJHCS’s Health Economics, Access, and Outcome Groups and to
identify employees working in those groups.

Response to Request No. 5

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks documents unrelated to the

JJHCS groups responsible for the administration of CarePath. JJHCS further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents outside of the relevant Time Period.

       Subject to the foregoing objections, JJHCS will produce non-privileged documents in its

possession sufficient to show the organizational structure of the JJHCS groups responsible for

the administration of CarePath for the relevant Time Period, to the extent such documents exist



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and can be located after a reasonable search. Otherwise, JJHCS will not search for or produce

documents responsive to this Request.

Request No. 6

       From January 1, 2009 through the present, Documents sufficient to show the
organizational structure of the drug product team for each Janssen Drug, and to identify
employees working on those teams.

Response to Request No. 6

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks documents unrelated to the

JJHCS groups responsible for the administration of CarePath. JJHCS further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents outside of the relevant Time Period. JJHCS further objects to this

Request to the extent it seeks documents and communications in the possession of entities other

than JJHCS. JJHCS further objects to this Request on the ground that the phrase “drug product

team” is vague and ambiguous.

       JJHCS will not search for or produce documents in response to this Request.

Request No. 7

       From January 1, 2009 through the present, documents sufficient to identify all natural
persons with decisionmaking authority over the sale or marketing of Janssen Drugs.

Response to Request No. 7

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks documents unrelated to the

JJHCS groups responsible for the administration of CarePath. JJHCS further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents outside of the relevant Time Period. JJHCS further objects to this


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Request to the extent it seeks documents and communications in the possession of entities other

than JJHCS.

       JJHCS will not search for or produce documents in response to this Request.

Request No. 8

       All Documents and Communications with or regarding SaveOnSP.

Response to Request No. 8

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks documents related to any

advocacy to or communication with any governmental or regulatory body regarding SaveOnSP.

JJHCS further objects to this Request as overbroad, unduly burdensome, and not proportional to

the needs of the case to the extent it seeks “all” documents and communications regarding a

broad subject matter. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS. JJHCS further objects to this

Request to the extent it seeks information that is exempt from discovery and protected from

disclosure by any privilege including, without limitation, the First Amendment privilege, the

attorney-client privilege, the work-product doctrine, the joint defense privilege, the common

interest privilege, the Federal Rules of Civil Procedure, the Local Rules of the Court, and

relevant case law.

       Subject to the foregoing objections, JJHCS will produce all non-privileged documents

and communications in its possession with or regarding SaveOnSP from the relevant Time

Period, to the extent such documents and communications exist and can be located after a

reasonable search. However, notwithstanding the foregoing, JJHCS will not produce any

documents or communications responsive to Request for Production No. 21, which seeks



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documents that are irrelevant to any claim or defense in this Action. JJHCS will not otherwise

search for or produce documents and communications responsive to this Request.

Request No. 9

       All Communications by JJHCS or Janssen with any Patient regarding SaveOnSP,
including any Documents regarding those Communications.

Response to Request No. 9

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request to the extent it seeks documents and communications in the possession of

entities other than JJHCS.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 10

       All Documents and Communications regarding any presentation, document, or in-
formation regarding SaveOnSP referenced in the Complaint, including the “SaveOnSP IPBC
Video” and the materials referenced in Complaint ¶¶ 82-88.

Response to Request No. 10

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks documents related to any

advocacy to or communication with any governmental or regulatory body regarding SaveOnSP.

JJHCS further objects to this Request as overbroad, unduly burdensome, and not proportional to

the needs of the case to the extent it seeks “all” documents and communications regarding a




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broad subject matter. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 11

        From January 1, 2009 through the present, all Documents and Communications regarding
the development, management, and marketing of CarePath or any other copay assistance program
offered for Janssen Drugs, including Documents and Communications regarding JJHCS’s
allegations in Complaint ¶¶ 6-7, 36-49.

Response to Request No. 11

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request as overbroad, unduly burdensome, and not proportional to the needs of

the case to the extent it seeks documents and communications outside of the relevant Time

Period. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS. JJHCS further objects to this

Request on the ground that the phrase “any other copay assistance program offered for Janssen

Drugs” is vague and ambiguous. JJHCS further objects to this Request as irrelevant to any claim

or defense in this Action to the extent it seeks documents unrelated to CarePath.

       JJHCS will not search for or produce documents or communications responsive to this

Request. JJHCS is, however, willing to meet and confer to determine if this Request can be

appropriately narrowed.




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Request No. 12

       From January 1, 2009 through the present, all Documents and Communications regarding
CarePath’s terms and conditions, including Documents and Communications regarding (a)
JJHCS’s allegations in Complaint ¶¶ 3, 8, 18-26, 102-103, 108; (b) all CarePath terms and
conditions for each Janssen Drug; (c) JJHCS’s decision to revise any of its CarePath terms and
conditions for any Janssen Drug; and (d) JJHCS’s understanding of the term “offer” or “health
plan” as used in CarePath’s terms and conditions.

Response to Request No. 12

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information beyond the

final CarePath terms and conditions at issue. JJHCS further objects to this Request as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “all”

documents and communications regarding a broad subject matter. JJHCS further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents and communications outside of the relevant Time Period. JJHCS

further objects to this Request to the extent it seeks documents and communications in the

possession of entities other than JJHCS. JJHCS further objects to this Request to the extent it

calls for JJHCS’s understanding of any particular term, as such a contention interrogatory would

be premature at this point in the litigation pursuant to Local Rule 33.1(d).

       Subject to the foregoing objections, JJHCS will produce non-privileged documents in its

possession sufficient to show all final versions of CarePath’s terms and conditions for each

Janssen Drug during the relevant Time Period, to the extent such documents exist and can be

located after a reasonable search. Otherwise, JJHCS will not search for or produce documents

responsive to this Request.

Request No. 13

      From January 1, 2009 through the present, all Documents and Communications regarding
CarePath’s requirement that Patients enrolled in CarePath make any payments towards Janssen

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Drugs, including Documents and Communications regarding JJHCS’s basis for setting the
amounts of those payments and JJHCS’s allegations in Complaint ¶¶ 48-49, 70, 89.

Response to Request No. 13

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information beyond the

final CarePath terms and conditions at issue. JJHCS further objects to this Request as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “all”

documents and communications regarding a broad subject matter. JJHCS further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents and communications outside of the relevant Time Period. JJHCS

further objects to this Request to the extent it seeks documents and communications in the

possession of entities other than JJHCS.

       Subject to the foregoing objections, JJHCS will produce non-privileged documents in its

possession sufficient to show all final versions of CarePath’s terms and conditions for each

Janssen Drug during the relevant Time Period, to the extent such documents exist and can be

located after a reasonable search. Otherwise, JJHCS will not search for or produce documents

responsive to this Request.

Request No. 14

       From January 1, 2015 through the present, all Documents and Communications regarding
JJHCS’s or any JJHCS Hub Entity’s understanding of commercial health plans’ ability to
designate specialty drugs as Essential Health Benefits or Non-Essential Health Benefits under the
Affordable Care Act and its regulations, including Documents and Communications regarding
JJHCS’s allegations in Complaint ¶¶ 9-10, 43, 53-59, 71, 79.

Response to Request No. 14

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for views on a legal


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question. JJHCS further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. JJHCS further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. JJHCS further objects to this Request to

the extent it seeks documents and communications in the possession of entities other than

JJHCS. JJHCS further objects to this Request to the extent it uses the term “JJHCS Hub Entity”

for the reasons stated in JJHCS’s Objections to Definitions.

       Subject to the foregoing objections, JJHCS will produce all non-privileged documents

and communications in its possession regarding SaveOnSP’s designation of specialty drugs as

Essential Health Benefits or Non-Essential Health Benefits under the Affordable Care Act and its

regulations during the relevant Time Period, to the extent such documents and communications

exist and can be located after a reasonable search. However, notwithstanding the foregoing,

JJHCS will not produce any documents responsive to Request for Production No. 21, which is

irrelevant to any claim or defense in this Action. JJHCS will not otherwise search for or produce

documents and communications responsive to this Request.

Request No. 15

        All Documents and Communications regarding SaveOnSP’s communications with
Patients regarding CarePath, including Documents and Communications regarding JJHCS’s
allegations in Complaint ¶¶ 60-67, 109.

Response to Request No. 15

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further



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objects to this Request to the extent it seeks documents and communications in the possession of

entities other than JJHCS.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 16

        All Documents and Communications regarding SaveOnSP’s provision of services to
qualified high deductible or health savings account plans, including Documents and
Communications regarding JJHCS’s allegations in Complaint ¶ 72.

Response to Request No. 16

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request on the ground that the phrase “SaveOnSP’s provision of services to

qualified high deductible or health savings account plans” is vague and ambiguous. JJHCS

further objects to this Request to the extent it seeks documents and communications in the

possession of entities other than JJHCS.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 17.

       All Documents and Communications regarding JJHCS’s payment of copay assistance
funds to or on behalf of Patients enrolled in qualified high deductible or health savings account
plans.




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Response to Request No. 17

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks information about JJHCS’s

payment of funds to patients enrolled in qualified high deductible or health savings account plans

as opposed to SaveOnSP’s exploitation of a purported legal gray area with respect to those plans.

JJHCS objects to this Request as overbroad, unduly burdensome, and not proportional to the

needs of the case to the extent it seeks “all” documents and communications regarding a broad

subject matter. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS.

       JJHCS will not search for or produce documents and communications responsive to this

Request.

Request No. 18

       All Documents and Communications regarding any allegedly misleading or confusing
communications between SaveOnSP and Patients, including Documents and Communications
regarding JJHCS’s allegations in Complaint ¶¶ 13, 75-77, 85-88.

Response to Request No. 18

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks documents related to any

advocacy to or communication with any governmental or regulatory body regarding SaveOnSP.

JJHCS further objects to this Request as overbroad, unduly burdensome, and not proportional to

the needs of the case to the extent it seeks “all” documents and communications regarding a

broad subject matter. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS. JJHCS further objects to this

Request to the extent it seeks “misleading or confusing communications,” as those terms are

vague and ambiguous.

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       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 19

      All Documents and Communications regarding any alleged stress or confusion caused by
SaveOnSP to any member of the public, including Documents and Communications regarding
JJHCS’s allegations in Complaint ¶ 114.

Response to Request No. 19

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request to the extent it seeks documents and communications in the possession of

entities other than JJHCS.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 20

        All Documents and Communications regarding any publicly distributed material
(including, for example, articles, op-eds, white papers, and online postings) regarding SaveOnSP,
Copay Accumulator Services, or Copay Maximizer Services, including Documents and
Communications regarding JJHCS’s, Janssen’s, or any JJHCS Hub Entity’s direct or indirect
involvement with such material and JJHCS’s, Janssen’s, or any JJHCS Hub Entity’s direct or
indirect funding of the authors, publishers, or distributors of such material.

Response to Request No. 20

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks information about JJHCS’s

or any other entity’s relationship or connection, if any, to materials about SaveOnSP’s conduct,


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as opposed to information about SaveOnSP’s conduct itself. JJHCS further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it seeks information

relating to Copay Accumulator Services or Copay Maximizer Services other than SaveOnSP’s.

JJHCS further objects to this Request as overbroad, unduly burdensome, and not proportional to

the needs of the case to the extent it seeks “all” documents and communications regarding a

broad subject matter. JJHCS further objects on the ground that the phrases “direct or indirect

involvement” and “direct or indirect funding” are vague and ambiguous. JJHCS further objects

to this Request to the extent it seeks documents and communications in the possession of entities

other than JJHCS or that are publicly available and therefore equally available to SaveOnSP.

JJHCS further objects to this Request to the extent it uses the term “JJHCS Hub Entity” for the

reasons stated in JJHCS’s Objections to Definitions.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 21

       All Documents and Communications regarding any advocacy to or communication with
any governmental or regulatory body regarding SaveOnSP, Copay Accumulator Services, or
Copay Maximizer Services.

Response to Request No. 21

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks information about JJHCS’s

advocacy to or communication with any governmental or regulatory body regarding SaveOnSP

as opposed to information about SaveOnSP’s conduct itself. JJHCS further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it seeks information

relating to Copay Accumulator Services or Copay Maximizer Services other than SaveOnSP’s.

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JJHCS further objects to this Request as overbroad, unduly burdensome, and not proportional to

the needs of the case to the extent it seeks “all” documents and communications regarding a

broad subject matter. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS. JJHCS further objects to this

Request to the extent it seeks information that is exempt from discovery and protected from

disclosure by a privilege including, without limitation, the First Amendment privilege, the

attorney-client privilege, the work-product doctrine, the joint defense privilege, the common

interest privilege, the Federal Rules of Civil Procedure, the Local Rules of the Court, and

relevant case law.

       JJHCS will not search for or produce documents and communications responsive to this

Request.

Request No. 22

       All Documents and Communications regarding any alleged harm caused by SaveOnSP to
any Patient by allegedly making their healthcare more expensive, including Documents and
Communications regarding JJHCS’s allegations in Complaint ¶ 114.

Response to Request No. 22

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request to the extent it seeks documents and communications in the possession of

entities other than JJHCS.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.



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Request No. 23

        All Documents and Communications regarding how SaveOnSP directly or indirectly
affects or threatens the financial viability of CarePath, including Documents and
Communications regarding JJHCS’s allegations in Complaint ¶ 114.

Response to Request No. 23

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request to the extent it seeks documents and communications in the possession of

entities other than JJHCS.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 24

        All Documents and Communications regarding how SaveOnSP directly or indirectly
affects or threatens the financial viability of any Copay Assistance Program other than CarePath,
including Documents and Communications regarding JJHCS’s allegations in Complaint
¶ 114.

Response to Request No. 24

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks information about the

financial viability of any Copay Assistance Program other than CarePath. JJHCS further objects

to this Request as overbroad, unduly burdensome, and not proportional to the needs of the case to

the extent it seeks “all” documents and communications regarding a broad subject matter.

JJHCS further objects to this Request to the extent it seeks documents and communications in

the possession of entities other than JJHCS.


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       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 25

       All Documents and Communications regarding any alleged harm caused by SaveOnSP to
JJHCS, including Documents and Communications regarding JJHCS’s allegations in Complaint
¶¶ 110, 115.

Response to Request No. 25

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request to the extent it seeks documents and communications in the possession of

entities other than JJHCS. JJHCS further objects to this Request on the ground that the phrase

“any alleged harm” is vague and ambiguous. For the purposes of its response, JJHCS shall

interpret the phrase “any alleged harm” to mean the damages identified by JJHCS relating to the

increased average amount of CarePath expenditures incurred for patients enrolled in the

SaveOnSP Program.

       Subject to the foregoing objections, JJHCS will produce all non-privileged documents

and communications in its possession relating to the extent of the harm SaveOnSP has caused

JJHCS during the relevant Time Period, including the extent to which SaveOnSP has caused

JJHCS to pay more in copay assistance than it otherwise would have, to the extent such

documents exist and can be located after a reasonable search. However, notwithstanding the

foregoing, JJHCS will not produce any documents responsive to Request for Production No. 21,

which is irrelevant to any claim or defense in this Action. JJHCS will not otherwise search for or

produce documents and communications responsive to this Request.

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Request No. 26

        All Documents and Communications regarding JJHCS’s, Janssen’s, or any JJHCS Hub
Entity’s payment of any Patient’s costs, including those that accumulate towards the Patient’s
deductible or out-of-pocket maximum.

Response to Request No. 26

       In addition to the foregoing general objections, JJHCS objects to this Request on the

ground that the phrase “payment of any Patient’s costs, including those that accumulate towards

the Patient’s deductible or out-of-pocket maximum” is vague and ambiguous. JJHCS further

objects to this Request as overbroad, unduly burdensome, and not proportional to the needs of

the case to the extent it seeks “all” documents and communications regarding a broad subject

matter. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS. JJHCS further objects to this

Request to the extent it uses the term “JJHCS Hub Entity” for the reasons stated in JJHCS’s

Objections to Definitions.

       JJHCS will not search for or produce documents and communications responsive to this

Request.

Request No. 27

      All Documents and Communications regarding the “internal JJHCS data” discussed in
Complaint ¶¶ 92-101, including the complete databases from which that data was drawn.

Response to Request No. 27

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter and seeks

“complete databases from which [] data was drawn.” JJHCS further objects to this Request to




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the extent it seeks documents and communications in the possession of entities other than

JJHCS. JJHCS further objects to this Request as duplicative of Request No. 25.

       Subject to the foregoing objections, JJHCS will produce the data that formed the basis for

the allegations in Complaint ¶¶ 92-100. Otherwise, JJHCS will not search for or produce

documents and communications responsive to this Request.

Request No. 28

     From January 1, 2009 through the present, for each Janssen Drug for each year,
Documents sufficient to show:

       a.     all Patients receiving the Janssen Drug;

       b.     the number of fills of the Janssen Drug received by each such Patient;

       c.     the dosage of the Janssen Drug received by each such Patient for each fill;

       d.     the projected number of Patients, average number of fills, and average dosage for
              the Janssen Drug;

       e.     the cost to manufacture the Janssen Drug;

       f.     the sales and marketing budget for the Janssen Drug;

       g.     the price of the Janssen Drug;

       h.     the revenue received by JJHCS from the Janssen Drug;

       i.     all Patients enrolled in the CarePath program for the Janssen Drug;

       j.     the dates on which each Patient was enrolled in CarePath;

       k.     the amounts of copay assistance funds that JJHCS offered to each Patient enrolled
              in CarePath;

       l.     the Janssen Drugs for which each Patient enrolled in CarePath received copay
              assistance;

       m.     all copay assistance payments that JJHCS made to or on behalf each Patient
              enrolled in CarePath; and




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Response to Request No. 28

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks information unrelated to

SaveOnSP’s misconduct, including information relating to Patient fills, the cost of

manufacturing Janssen Drugs, the sales and marketing budgets for Janssen drugs, and pricing

and revenue generated by Janssen Drugs. JJHCS further objects to this Request on the ground

that the phrases “the projected number of Patients, average number of fills, and average dosage

for the Janssen Drug,” “the cost to manufacture the Janssen Drug,” and “the price of the Janssen

Drug” are vague and ambiguous. JJHCS further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “all” documents

and communications regarding a variety of extremely broad subject matters. JJHCS further

objects to this Request as overbroad, unduly burdensome, and not proportional to the needs of

the case to the extent it seeks documents and communications outside of the relevant Time

Period. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS.

       Subject to the foregoing objections, JJHCS will produce Janssen Transparency Reports

for the relevant Time Period. Further, JJHCS is willing to meet and confer to discuss subparts (i)

through (m). Otherwise, JJHCS will not search for or produce documents responsive to this

Request.


Request No. 29

     From January 1, 2009 through the present, for each Janssen Drug for each year, all
Documents and Communications regarding:

       a.      JJHCS’s determination of the amounts of copay assistance funds that JJHCS
               offered to Patients enrolled in CarePath, including the determination of the
               maximum program benefit per calendar year for the Janssen Drug;

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       b.      JJHCS’s budget for CarePath, including the sales and marketing budget;

       c.      JJHCS’s actual and projected annual costs for CarePath;

       d.      JJHCS’s use of or accounting for unused CarePath funds;

       e.      the impact of the Affordable Care Act on JJHCS’s CarePath budget or funding,
               including the impact of laws and regulations regarding out-of-pocket maximums;

       f.      JJHCS’s and Janssen’s revenue and revenue projections from fills by Patients
               enrolled in CarePath;

       g.      the impact of CarePath on Janssen’s sales of any Janssen Drug;

       h.      the impact of CarePath on JJHCS’s or Janssen’s gross to net calculations;

       i.      JJHCS’s or Janssen’s actual and projected return on investment for CarePath; and

       j.      any analysis of the adherence rates of Patients enrolled in CarePath to Janssen
               Drugs, including such Patients enrolled in plans advised by SaveOnSP.

Response to Request No. 29

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks information unrelated to

SaveOnSP’s misconduct, including information relating to the sales and marketing budget for

CarePath, JJHCS’s uses of or accounting for unused CarePath funds, the impact of the

Affordable Care Act or other laws and regulations on CarePath’s budget or funding, JJHCS’s

and Janssen’s revenue and revenue projections from fills by Patients enrolled in CarePath, the

impact of CarePath on Janssen’s sales of any Janssen Drug, the impact of CarePath on JJHCS’s

or Janssen’s gross to net calculations, JJHCS’s or Janssen’s actual and projected return on

investment for CarePath, and the adherence rates of Patients enrolled in CarePath to Janssen

Drugs. JJHCS further objects to this Request on the ground that the phrases “the projected

number of Patients, average number of fills, and average dosage for the Janssen Drug,”

“JJHCS’s or Janssen’s gross to net calculations,” and “JJHCS’s or Janssen’s actual and projected

return on investment for CarePath” are vague and ambiguous. JJHCS further objects to this

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Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks “all” documents and communications regarding a variety of broad subject matters.

JJHCS further objects to this Request as overbroad, unduly burdensome, and not proportional to

the needs of the case to the extent it seeks documents and communications outside of the relevant

Time Period. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS.

       Subject to the foregoing objections, JJHCS will produce non-privileged documents in its

possession for the relevant Time Period sufficient to show (1) how JJHCS determines the

amounts of copay assistance funds that JJHCS offers to Patients enrolled in CarePath,

(2) JJHCS’s budget for copay assistance through CarePath, and (3) JJHCS’s actual and projected

annual costs for CarePath, to the extent such documents exist and can be located after a

reasonable search. Otherwise, JJHCS will not search for or produce documents responsive to

this Request.

Request No. 30

        From January 1, 2009 through the present, for each year for each Janssen Drug, all
Documents and Communications regarding the basis for Janssen’s decision to raise or lower the
price of the Janssen Drug, including labor or manufacturing costs or the increase in efficacy of the
Janssen Drug.

Response to Request No. 30

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it seeks information unrelated to

SaveOnSP’s misconduct, including information related to the pricing of Janssen Drugs. JJHCS

further objects to this Request on the ground that the phrases “the price of the Janssen Drug” and

“the increase in efficacy of the Janssen Drug” are vague and ambiguous. JJHCS further objects

to this Request as overbroad, unduly burdensome, and not proportional to the needs of the case to


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the extent it seeks “all” documents and communications regarding a broad subject matter.

JJHCS further objects to this Request as overbroad, unduly burdensome, and not proportional to

the needs of the case to the extent it seeks documents and communications outside of the relevant

Time Period. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS.

       JJHCS will not search for or produce documents responsive to this Request.

Request No. 31

       All Documents and Communications regarding JJHCS’s attempts to limit or eliminate the
amount of CarePath copay assistance funds available to Patients using Stelara or Tremfya based
on whether the Patients’ plans allegedly reduce or eliminate Patients’ out-of-pocket costs,
including Documents and Communications regarding JJHCS’s attempts to limit or eliminate the
availability of CarePath copay assistance funds available to Patients enrolled in health plans
advised by SaveOnSP.

Response to Request No. 31

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information beyond the

final CarePath terms and conditions at issue. JJHCS further objects to this Request as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “all”

documents and communications regarding a broad subject matter. JJHCS further objects to this

Request to the extent it seeks documents and communications in the possession of entities other

than JJHCS.

       Subject to the foregoing objections, JJHCS will produce non-privileged documents and

communications in its possession relating to JJHCS’s decision to limit or eliminate the amount of

copay assistance funds available to Patients using Stelara or Tremfya who are also enrolled in the

SaveOnSP Program, to the extent such documents and communications exist and can be located




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after a reasonable search. JJHCS will not otherwise search for or produce documents and

communications responsive to this Request.

Request No. 32

        All Documents and Communications regarding any offer by JJHCS to provide to any
Patient any CarePath funds greater than the amounts that JJHCS generally offers to CarePath
Patients or to waive any limitation on or elimination of the amount of CarePath copay assistance
funds available to a Patient.

Response to Request No. 32

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information beyond the

extent to which SaveOnSP has caused JJHCS to pay more in copay assistance than it otherwise

would have. JJHCS further objects to this Request on the ground that the phrases “CarePath

funds greater than the amounts that JJHCS generally offers to CarePath Patients” and “to waive

any limitation on or elimination of the amount of CarePath copay assistance funds available” are

vague and ambiguous. JJHCS further objects to this Request as overbroad, unduly burdensome,

and not proportional to the needs of the case to the extent it seeks “all” documents and

communications regarding a broad subject matter. JJHCS further objects to this Request to the

extent it seeks documents and communications in the possession of entities other than JJHCS.

       JJHCS will not search for or produce documents and communications responsive to this

Request.

Request No. 33

       All Documents and Communications regarding JJHCS’s attempts to identify health plans
advised by SaveOnSP or Patients enrolled in such plans.

Response to Request No. 33

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information unrelated to

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SaveOnSP’s misconduct. JJHCS further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “all” documents

and communications regarding a broad subject matter. JJHCS further objects to this Request to

the extent it seeks documents and communications in the possession of entities other than JJHCS

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 34

        From any time, all Documents and Communications regarding JJHCS’s or Janssen’s
negotiations or agreements regarding the potential use of SaveOnSP’s services, or the services of
any Copay Maximizer Service or Copay Accumulator Service, for JJHCS’s Employee Health
Plans, including JJHCS’s abandonment of those negotiations or agreements.

Response to Request No. 34

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information about other

“services of Copay Maximizer Service[s] or Copay Accumulator Service[s]” and unrelated to

SaveOnSP’s misconduct. JJHCS further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “all” documents

and communications regarding a broad subject matter. JJHCS further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks documents and communications outside of the relevant Time Period. JJHCS further

objects to this Request to the extent it seeks documents and communications in the possession of

entities other than JJHCS. JJHCS further objects to this Request to the extent it seeks

information that is exempt from discovery and protected from disclosure by a privilege

including, without limitation, the attorney-client privilege, the work-product doctrine, the joint


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defense privilege, the common interest privilege, the Federal Rules of Civil Procedure, the Local

Rules of the Court, and relevant case law.

       JJHCS will not search for or produce documents and communications responsive to this

Request.

Request No. 35

       Documents sufficient to identify all JJHCS Hub Entities and CarePath Care Coordinators.

Response to Request No. 35

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information about

JJHCS “Hub Entities” or “CarePath Care Coordinators” that are not implicated in this litigation.

JJHCS further objects to this Request to the extent it seeks documents and communications in

the possession of entities other than JJHCS. JJHCS further objects to this Request to the extent it

uses the term “JJHCS Hub Entity” for the reasons stated in JJHCS’s Objections to Definitions.

       Subject to the foregoing objections, JJHCS will produce non-privileged documents in its

possession sufficient to identify the entities responsible for administering CarePath during the

relevant Time Period, to the extent such documents exist and can be located after a reasonable

search. Otherwise, JJHCS will not search for or produce documents responsive to this Request.

Request No. 36

        From January 1, 2009 through the present, Documents sufficient to show the economic
terms of JJHCS’s retention of or agreements with any JJHCS Hub Entity or CarePath Care
Coordinator regarding CarePath, including any assessment of the fair market value of those
services.

Response to Request No. 36

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information about


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JJHCS “Hub Entities” or “CarePath Care Coordinators” that are not implicated in this litigation.

JJHCS further objects to this Request on the ground that “any assessment of the fair market value

of those services” is irrelevant. JJHCS further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. JJHCS further objects to this Request to

the extent it seeks documents and communications in the possession of entities other than

JJHCS. JJHCS further objects to this Request to the extent it uses the term “JJHCS Hub Entity”

for the reasons stated in JJHCS’s Objections to Definitions. JJHCS further objects to this

Request to the extent it seeks information that is exempt from discovery and protected from

disclosure by a privilege including, without limitation, the attorney-client privilege, the work-

product doctrine, the joint defense privilege, the common interest privilege, the Federal Rules of

Civil Procedure, the Local Rules of the Court, and relevant case law.

       Subject to the foregoing objections, JJHCS will produce agreements in its possession

between JJHCS and the entities responsible for administering CarePath during the relevant Time

Period, to the extent such documents exist and can be located after a reasonable search.

Otherwise, JJHCS will not search for or produce documents and communications responsive to

this Request.

Request No. 37

        From January 1, 2009 through the present, documents sufficient to show the percentage
of Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any JJHCS Hub
Entity, or any other third party authorized to advertise or market CarePath or Janssen Drugs.

Response to Request No. 37

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information unrelated to

SaveOnSP’s misconduct, including information about JJHCS’s advertising or marketing of

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CarePath or Janssen Drugs. JJHCS further objects to this Request on the ground that the phrase

“Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any JJHCS Hub

Entity, or any other third party authorized to advertise or market CarePath or Janssen Drugs” is

vague and ambiguous. JJHCS further objects to this Request as overbroad, unduly burdensome,

and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. JJHCS further objects to this Request to

the extent it seeks documents and communications in the possession of entities other than

JJHCS. JJHCS further objects to this Request to the extent it uses the term “JJHCS Hub Entity”

for the reasons stated in JJHCS’s Objections to Definitions.

       JJHCS will not search for or produce documents and communications responsive to this

Request.

Request No. 38

      From January 1, 2009 through the present, all Documents and Communications received
by JJHCS from any JJHCS Hub Entity or sent by JJHCS to any JJHCS Hub Entity regarding
SaveOnSP or CarePath.

Response to Request No. 38

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information about

CarePath without relation to SaveOnSP. JJHCS further objects to this Request as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “all”

documents and communications regarding a broad subject matter. JJHCS further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents and communications outside of the relevant Time Period. JJHCS

further objects to this Request to the extent it uses the term “JJHCS Hub Entity” for the reasons

stated in JJHCS’s Objections to Definitions. JJHCS further objects to this Request to the extent

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it seeks information that is exempt from discovery and protected from disclosure by a privilege

including, without limitation, the attorney-client privilege, the work-product doctrine, the joint

defense privilege, the common interest privilege, the Federal Rules of Civil Procedure, the Local

Rules of the Court, and relevant case law.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 39

      All Documents and Communications received by JJHCS from any CarePath Care
Coordinator regarding SaveOnSP.

Response to Request No. 39

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by a privilege including, without limitation, the attorney-client

privilege, the work-product doctrine, the joint defense privilege, the common interest privilege,

the Federal Rules of Civil Procedure, the Local Rules of the Court, and relevant case law.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 40

        All Communications by any JJHCS Hub Entity or CarePath Care Coordinator with any
Patient regarding SaveOnSP, including any Documents regarding those Communications and talk
tracks or scripts prepared for use during those Communications.


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Response to Request No. 40

       In addition to the foregoing general objections, JJHCS objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. JJHCS further

objects to this Request to the extent it seeks documents and communications in the possession of

entities other than JJHCS. JJHCS further objects to this Request to the extent it uses the term

“JJHCS Hub Entity” for the reasons stated in JJHCS’s Objections to Definitions. JJHCS further

objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by a privilege including, without limitation, the attorney-client

privilege, the work-product doctrine, the joint defense privilege, the common interest privilege,

the Federal Rules of Civil Procedure, the Local Rules of the Court, and relevant case law.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 41

        From January 1, 2015 through the present, all Documents and Communications relating
to Copay Accumulator Services and Copay Maximizer Services and their effect on JJHCS’s
return on investment for copay assistance dollars.

Response to Request No. 41

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information about other

“Copay Accumulator Services and Copay Accumulator Services” and information unrelated to

SaveOnSP’s misconduct. JJHCS further objects to this Request on the ground that the phrase

“JJHCS’s return on investment for copay assistance dollars” is vague and ambiguous. JJHCS

further objects to this Request as overbroad, unduly burdensome, and not proportional to the

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needs of the case to the extent it seeks “all” documents and communications regarding a broad

subject matter. JJHCS further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks documents and communications

outside of the relevant Time Period. JJHCS further objects to this Request to the extent it seeks

documents and communications in the possession of entities other than JJHCS.

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 42

       From January 1, 2015 through the present, all Documents and Communications relating
to JJHCS’s or any JJHCS Hub Entity’s understanding of the terms “copay accumulator” and
“copay maximizer.”

Response to Request No. 42

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information unrelated to

SaveOnSP’s misconduct. JJHCS further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “all” documents

and communications regarding a broad subject matter. JJHCS further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks documents and communications outside of the relevant Time Period. JJHCS further

objects to this Request to the extent it seeks documents and communications in the possession of

entities other than JJHCS. JJHCS further objects to this Request to the extent it uses the term

“JJHCS Hub Entity” for the reasons stated in JJHCS’s Objections to Definitions. JJHCS further

objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by a privilege including, without limitation, the attorney-client

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privilege, the work-product doctrine, the joint defense privilege, the common interest privilege,

the Federal Rules of Civil Procedure, the Local Rules of the Court, and relevant case law.

       Subject to the foregoing objections, JJHCS will produce all non-privileged documents

and communications in JJHCS’s possession during the relevant Time Period relating to JJHCS’s

understanding of whether the terms “copay accumulator” or “copay maximizer” apply to

SaveOnSP. However, notwithstanding the foregoing, JJHCS will not produce any documents or

communications responsive to Request for Production No. 21, which is irrelevant to any claim or

defense in this Action. JJHCS will not otherwise search for or produce documents and

communications responsive to this Request.

Request No. 43

        All Documents and Communications concerning non-medical switching by participants of
plans that implement SaveOnSP’s services, a Copay Accumulator Service, or a Copay
Maximizer Service.

Response to Request No. 43

       In addition to the foregoing general objections, JJHCS objects to this Request as

irrelevant to any claim or defense in this Action to the extent it calls for information about any

other “Copay Accumulator Service” or “Copay Maximizer Service” and information unrelated to

SaveOnSP’s misconduct. JJHCS further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “all” documents

and communications regarding a broad subject matter. JJHCS further objects to this Request to

the extent it seeks documents and communications in the possession of entities other than JJHCS

       Subject to the foregoing objections, JJHCS incorporates by reference its response to

Request for Production No. 8. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.



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Request No. 44

        To the extent not requested above, Documents and Communications of any JJHCS Hub
Entity or CarePath Care Coordinator regarding the topics of all Requests listed above.

Response to Request No. 44

       In addition to the foregoing general objections, JJHCS objects to this Request on the

ground that the phrase “regarding the topics of all Requests listed above” is vague and

ambiguous. JJHCS further objects to this Request to the extent it seeks documents and

communications in the possession of entities other than JJHCS. JJHCS further objects to this

Request to the extent it uses the term “JJHCS Hub Entity” for the reasons stated in JJHCS’s

Objections to Definitions.

       JJHCS will not search for or produce documents and communications responsive to this

Request.

Request No. 45

      JJHCS’s, Janssen’s, any JJHCS Hub Entity’s, and any CarePath Care Coordinator’s
document retention policies.

Response to Request No. 45

       In addition to the foregoing general objections, JJHCS objects to this Request to the

extent it seeks documents and communications in the possession of entities other than JJHCS.

JJHCS further objects to this Request to the extent it uses the term “JJHCS Hub Entity” for the

reasons stated in JJHCS’s Objections to Definitions. JJHCS further objects to this Request to the

extent it seeks information that is exempt from discovery and protected from disclosure by a

privilege including, without limitation, the attorney-client privilege, the work-product doctrine,

the joint defense privilege, the common interest privilege, the Federal Rules of Civil Procedure,

the Local Rules of the Court, and relevant case law.



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       Subject to the foregoing objections, JJHCS will produce its document retention policies

for the relevant Time Period. Otherwise, JJHCS will not search for or produce documents and

communications responsive to this Request.

Request No. 46

       Complete data dictionaries for any data that You produce.

Response to Request No. 46

       In addition to the foregoing general objections, JJHCS objects to this Request on the

ground that the phrase “data dictionaries for any data that You produce” is vague and ambiguous.

JJHCS further objects to this Request to the extent that it purports to require the creation of any

document or record in a format not kept by JJHCS or seeks to impose production obligations that

exceed those required by the Rules of Federal Procedure, the Local Rules of the Court, this

Court’s Orders, or with any applicable agreement among the parties.

       JJHCS will not search for or produce documents or communications responsive to this

Request. JJHCS is, however, willing to meet and confer to determine if this Request can be

appropriately narrowed.

Request No. 47

        From any time, all Documents and Communications regarding this Action provided to you
by any person or entity other than SaveOnSP, including in response to subpoenas served in this
Action.

Response to Request No. 47

       In addition to the foregoing general objections, JJHCS objects to this Request on the

ground that the phrase “all Documents and Communications regarding this Action provided to

you by any person or entity other than SaveOnSP” is vague and ambiguous. JJHCS further

objects to this Request as overbroad, unduly burdensome, and not proportional to the needs of

the case to the extent it seeks “all” documents and communications regarding a broad subject

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matter. JJHCS further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks documents and communications

outside of the relevant Time Period. JJHCS further objects to this Request to the extent it seeks

information that is exempt from discovery and protected from disclosure by a privilege

including, without limitation, the attorney-client privilege, the work-product doctrine, the joint

defense privilege, the common interest privilege, the Federal Rules of Civil Procedure, the Local

Rules of the Court, and relevant case law.

       Subject to the foregoing objections, JJHCS will produce documents obtained via third-

party subpoenas it serves in this Action. Otherwise, JJHCS will not search for or produce

documents responsive to this Request.

Request No. 48

      To the extent not requested above, from any time, all Documents and Communications
upon which you may rely in this Action.

Response to Request No. 48

       In addition to the foregoing general objections, JJHCS objects to this Request on the

ground that the phrase “all Documents and Communications upon which you may rely in this

Action” is vague and ambiguous. JJHCS further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “all” documents

and communications regarding a broad subject matter. JJHCS further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks documents and communications outside of the relevant Time Period. JJHCS further

objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by a privilege including, without limitation, the attorney-client




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privilege, the work-product doctrine, the joint defense privilege, the common interest privilege,

the Federal Rules of Civil Procedure, the Local Rules of the Court, and relevant case law.

       Subject to the foregoing objections, JJHCS will produce all non-privileged documents

and communications upon which it intends to rely at trial in compliance with the schedule set by

the Court. Otherwise, JJHCS will not search for or produce documents responsive to this

Request.

       Dated: December 12, 2022

                                             SILLS CUMMIS & GROSS P.C.
                                             One Riverfront Plaza
                                             Newark, New Jersey 07102
                                             (973) 643-7000

                                             By:     /s/Jeffrey J. Greenbaum
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                                             Attorneys for Plaintiff
                                             Johnson & Johnson Health Care Systems Inc.




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   Selendy Gay Elsberg PLLC         PageID: 31554
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   212.390.9000


   Elizabeth H. Snow
   Associate
   212 390 9330
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   January 30, 2024



   Via E-mail

   Sara Arrow
   Patterson Belknap Webb & Tyler LLP
   133 Avenue of the Americas
   New York, NY 10036
   Sarrow@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-ES-CLW)

   Dear Sara,

          We write to you as counsel for TrialCard, Inc. (“TrialCard”) and Johnson &
   Johnson health Care Systems, Inc. (with its affiliates, “J&J”), regarding the Janu-
   ary 12, 2024 meet-and-confer between SaveOn and TrialCard regarding Trial-
   Card’s Responses and Objections, dated December 15, 2023, to SaveOn’s second
   subpoena, dated December 1, 2023.

           During the meet-and-confer, in your capacity as counsel for TrialCard, you
   cited the deposition testimony of Ayesha Zulqarnain in support of your objection
   to SaveOn’s RFP No. 7. This violated the Discovery Confidentiality Order. Discov-
   ery Confidentiality Order, Nov. 22, 2022, Dkt No. 62 (“DCO”). SaveOn designated
   all of Zulqarnain’s testimony as at least “Confidential” and J&J did not object. See
   Jan. 4, 2024 Ltr. from K. Brisson to E. Holland (“As an initial matter, JJHCS has
   no objection to SaveOnSP’s designation of the entire transcript as Confidential”).
   Zulqarnain’s testimony thus is “Designated Material” under the DCO and J&J was
   prohibited from sharing it with third parties including TrialCard. DCO ¶ 4.

          Please let us know if J&J has shared with TrialCard (or any other third
   party) any other information that SaveOn produced to it in this litigation and
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   Sara Arrow
   January 30, 2024



   designated as Confidential or AEO under the DCO. Please also let us know what
   steps you will take to ensure that similar violations of the DCO do not occur in the
   future.

           We request a response by February 6, 2023.

   Sincerely,

   Elizabeth Snow
   Associate




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                                                                                            www.pbwt.com




January 4, 2024                                                         Katherine Brisson
                                                                        (212) 336-2552


By Email

Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

               Re:    Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                      Case No. 2:22-cv-02632-JKS-CLW

Dear Emma:

             We write in response to your December 5 letter that designates portions of the
Ayesha Zulqarnain deposition transcript as Attorneys’ Eyes Only (“AEO”) and Attorneys’ Eyes
Only–Confidential Health Information (“AEO-CHI”).

                As an initial matter, JJHCS has no objection to SaveOnSP’s designation of the
entire transcript as Confidential.

                However, many of your AEO designations do not appear to fall within the
definition of “Attorneys’ Eyes Only” in the Confidentiality Order. See D. E. 62 at ¶ 2 (defining
“Attorneys’ Eyes Only” material as that which “contains highly sensitive business or personal
information, the disclosure of which is highly likely to cause significant harm to an individual or
to the business or competitive position of the Producing Party or the disclosure of which absent an
Attorneys’ Eyes Only designation could cause the Producing Party to violate its confidentiality
obligations to others” (emphasis supplied)). These AEO designations include testimony regarding:

                                                                                            , see, e.g.,
           28:16–29:21, 35:16–38:14;

       

                                    , see, e.g., 108:20–24, 111:7–9, 112:6–113:5, 115:13–25,
           116:14–117:12, 120:18–121:2, 145:4–6; 149:13–150:6;

       

                  , see 128:4–129:17, 141:4–10, 185:8–186:5;
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       
                               , see 174:8–17;

       
                               , see 206:16–21; and

       
                                                                     see 255:2–256:10, 263:18–
           266:10, 274:16–275:16, 277:18, 281:20–282:15.

              These and other designations by SaveOnSP are set forth on Appendix A to this
letter. We ask that SaveOnSP explain with particularity the basis for each of these designations,
or withdraw them, by January 11, 2024.

                                                       Very truly yours,




                                                       /s/Katherine Brisson
                                                       Katherine Brisson
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                                    Appendix A


 28:16–29:21         121:18–25           144:9–12               180:8–13

 35:16–38:14         124:15–25           145:4–6                185:8–186:5

 91:24–92:4          125:20–21           147:5–10               206:16–21

 103:22–105:11       128:4–129:17        149:13–150:6           263:18–266:10

 108:20–24           131:18–19           152:18–20              274:16–275:16

 111:7–9             132:8–9             154:2–155:11           277:18

 111:19–25           136:19–21           170:14–21              279:15–19

 112:6–113:5         137:3–6             171:6–11               280:12–13

 115:13–25           137:19–22           172:2–6                281:10–11

 116:14–117:12       138:2–7             174:8–17               281:20–282:15

 120:18–121:2        141:4–10            177:21–178:22
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February 1, 2024                                                                       Sara A. Arrow
                                                                                       (212) 336-2031


By Email

Elizabeth Snow, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      January 12, 2024 Meet and Confer
                           Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (JKS) (CLW)
Dear Elizabeth:

             We write in response to your January 30, 2024 letter concerning the January 12,
2024 meet and confer between SaveOnSP and TrialCard.

               Your assertion that JJHCS has violated the Discovery Confidentiality Order
(“DCO”) is baseless. JJHCS has not provided Ayesha Zulqarnain’s deposition transcript to
TrialCard, nor has it summarized its contents to TrialCard or otherwise provided to TrialCard
any other materials designated by SaveOnSP as Confidential or Attorney’s Eyes Only (“AEO”)
under the DCO. As we have previously explained, your resort to unfounded accusations is
disappointing and not collegial. See Aug. 16, 2023 Email from G. LoBiondo to E. Snow.

                Your letter also misrepresents the discussion that we had during the January 12
meet and confer. Specifically, Request No. 7 requested all communications between TrialCard
and SaveOnSP, including recordings of calls. While discussing TrialCard’s burden objections to
producing documents in response to that request, we, in our capacity as counsel to TrialCard,
noted that TrialCard could not identify recordings of such calls without the benefit of identifying
information, including the names and phone numbers SaveOnSP has used to communicate with
TrialCard. We invited SaveOnSP to provide this information to TrialCard to assist it in its
efforts to locate responsive documents. We further mentioned in passing that, in our capacity as
counsel for JJHCS,

                                                                                                   .
We observed that such deception contributes to the burden TrialCard faces in producing the calls
sought by Request No. 7. At no point did we suggest or imply that TrialCard was in possession
of Ms. Zulqarnain’s deposition testimony; quite to the contrary, we recognized during the meet
and confer, as we have throughout this litigation, that JJHCS and TrialCard are separate entities.



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February 1, 2024
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               Finally, in light of the issues raised in the January 30 letter, we note that
SaveOnSP has itself repeatedly attempted to blur the lines between JJHCS and TrialCard. For
example, SaveOnSP has cited JJHCS materials designated as AEO in letters to TrialCard
(including even after we advised you that such an approach raised confidentiality concerns)1 and
by attempting to link issues involving TrialCard to unrelated issues involving JJHCS, see Jan.
19, 2024 Ltr. from H. Sandick to E. Snow. We again caution you against this approach and ask
you to observe the boundaries between JJHCS and TrialCard.

                                                        Very truly yours,
                                                        /s/ Sara A. Arrow
                                                        Sara A. Arrow




1
  For example, your December 8, 2023 letter to TrialCard quoted from documents that JJHCS
had designated as AEO, without recognition of that designation or of TrialCard’s status as a third
party. Instead of jumping to conclusions—as SaveOnSP does in the January 30 letter—we
recognized that this may have been an oversight and asked you to act in accordance with the
DCO going forward. See Dec. 22, 2023 Ltr. from S. Arrow to H. Miles at 1 n.1. In two
subsequent letters to TrialCard, SaveOnSP proceeded to ignore the concern we had raised in the
December 22 letter. See Jan. 5, 2024 Ltr. from H. Miles to K. Brisson (quoting JJHCS’s AEO-
designated documents to TrialCard without noting the confidentiality designation); Jan. 30, 2024
Ltr. from H. Miles to S. Arrow (same).



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February 22, 2024                                                                      Sara A. Arrow
                                                                                       (212) 336-2031


By Email

Elizabeth Snow, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      January 12, 2024 Meet and Confer
                           Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (JKS) (CLW)
Dear Elizabeth:

             We write in response to your February 16, 2024 letter concerning the January 12,
2024 meet and confer between SaveOnSP and TrialCard, and the related earlier correspondence.

               As you know, the January 12, 2024 meet and confer between TrialCard and
SaveOnSP has been the subject of several discovery letters. In a letter dated January 30, 2024,
SaveOnSP first suggested—without basis—that our client, JJHCS, violated the Discovery
Confidentiality Order by purportedly sharing materials marked as Attorney’s Eyes Only
(“AEO”) under the DCO with TrialCard, a third party in this matter. We explained at length
why that accusation lacked merit. See Feb. 1, 2024 Ltr. from S. Arrow to E. Snow. JJHCS has
not provided TrialCard with any materials designated by SaveOnSP as Confidential or AEO, and
your mistaken characterization of the meet and confer did not prove otherwise. We also asked
you in our February 1 letter to cease making unfounded accusations in the interest of collegiality.

                Unfortunately, you have not done so. Instead, you have now leveled a new
baseless accusation, falsely suggesting that our firm, as counsel for both JJHCS and TrialCard,
violated the DCO by “using Confidential information” acquired through our firm’s
representation of JJHCS for a “purpose other than its prosecution of this action, including on
behalf of a third party resisting a subpoena.” See Feb. 16, 2024 Ltr. from E. Snow to S. Arrow
(emphasis in original). A passing reference in a phone call does not amount to “use” of any kind,
let alone a use that is prohibited by Paragraph 4 of the DCO. We did not use protected materials
in violation of the DCO or otherwise.

              You nevertheless insist that we identify steps to ensure that “similar violations of
the DCO do not occur in the future.” The premise of your demand is flawed; there has been no
violation. Accordingly, our firm will not “wall off its attorneys representing [JJHCS] in this



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February 22, 2024
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matter from those representing TrialCard on this matter,” as you insist. We are aware of no
authority to support this extraordinary request, and you have identified none. Our clients are free
to select counsel of their choosing, and we will continue to represent them consistent with all
applicable ethical and other obligations.

                Finally, we have requested multiple times in discovery correspondence and during
conferral that you observe the distinctions between our firm’s clients, JJHCS on the one hand,
and TrialCard on the other. See, e.g., Feb. 1, 2024 from S. Arrow to E. Snow. We have made
this request precisely because we recognize that the parties are separate, with distinct rights and
obligations. Yet, even in the days following your allegations about the DCO, you have persisted
in blurring the lines between these two clients. See, e.g., Feb. 13, 2024 Ltr. From H. Miles to S.
Arrow (“We write to you as counsel for TrialCard, Inc. (“TrialCard”) and Johnson & Johnson
Health Care Systems, Inc. (with its affiliates, “J&J”)”). Once again, it is SaveOnSP—not JJHCS
or TrialCard—that has attempted to conflate JJHCS and TrialCard. Please immediately cease
this practice. We have and will continue to treat JJHCS and TrialCard as distinct entities—and
we expect you to do the same.

                                                         Very truly yours,



                                                         /s/ Sara A. Arrow
                                                         Sara A. Arrow




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January 12, 2024                                                                       Sara A. Arrow
                                                                                       (212) 336-2031


By Email

Elizabeth Snow, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Elizabeth:

              On behalf of TrialCard, we write in response to your December 27, 2023 letter
concerning the February 17, 2023 subpoena (the “Subpoena”) served on TrialCard and our related
email correspondence.

                Suffice it to say, we disagree with the statements in your December 27 letter,
including for the reasons we have explained at length in discovery letters and during the conferral
process. See, e.g., Dec. 6, 2022 Ltr. from S. Arrow to H. Miles; Dec. 22, 2023 Ltr. from S. Arrow
to E. Snow. As we have explained, SaveOnSP’s request to the extend the scope of the Subpoena
at least nine months beyond the service date is improper and contrary to the Federal Rules of Civil
Procedure.

                In the interest of finality, we write to confirm that we are at impasse with respect to
the applicable time period for the Subpoena. TrialCard does not consent to submit this dispute to
Judge Wolfson.

                  TrialCard reserves all rights.

                                                                    Very truly yours,




                                                                    /s/ Sara A. Arrow
                                                                    Sara A. Arrow




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   New York NY 10104
   212.390.9000


   Hannah R. Miles
   Associate
   212.390.9055
   hmiles@selendygay.com




   March 8, 2024



   Via E-mail

   Sara A. Arrow
   Patterson Belknap Webb & Tyler LLP
   1133 Avenue of the Americas
   New York, NY 10036
   sarrow@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-JKS-CLW)

   Dear Sara,

           We write regarding SaveOn’s second subpoena, to TrialCard, dated Decem-
   ber 1, 2023, and to follow up on the parties’ meet-and-confer on March 7, 2024.

   I.       Time Period

          SaveOn’s subpoena—issued December 1, 2023—seeks documents through
   “the present,” but TrialCard has generally refused to produce documents past July
   1, 2022. We discussed SaveOn’s position that TrialCard should produce documents
   through the present for all requests. TrialCard has provided no reasoned basis to
   explain the July 1, 2022 date—particularly for these requests which were served
   almost 18 months after that date.

           In your March 1, 2024 letter and during the meet and confer, you pointed
   to the Benefits Investigations spreadsheet, where you have agreed to produce rec-
   ords through November 7, 2023, as an instance where you agreed to go beyond
   TrialCard’s obligations “in the interest of compromise.” But, as we stated, Trial-
   Card is producing those records on behalf of J&J, which has been ordered by the
   Court to produce responsive documents through November 7, 2023. See Jan. 24,
   2024 Tr. at 21:10–17 (“[W]e [J&J] have already agreed to produce[,] … either di-
   rectly through us or by asking our vendor, a company called TrialCard, to produce
   what are known as benefits investigations. And those are the enforcement docu-
   ments. We’re in the process of making those productions for the relevant time pe-
   riod right now.”); see also Oct. 30, 2023 Tr., at 62:8–13 (“[W]e [J&J] will also give
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   March 8, 2024



   them through a production from TrialCard, which is our vendor, who we also rep-
   resent and is subject to a subpoena, we’ll give them benefits investigations that find
   any patient in a maximizer or accumulator through to the present. Through to the
   present.”).

          In addition, TrialCard represented that it intends to produce certain up-
   dated or refreshed CarePath claims data through November 7, 2023. You indicated
   that you were still exploring the scope of the refresh. Please let us know when we
   can expect that updated data, and whether you are producing claims data on behalf
   of TrialCard or J&J.

   II.     TrialCard’s Ability to Identify Patients

          Next, we discussed SaveOn’s Requests 1, 2, 3, and 4, which seek documents
   related to TrialCard’s ability to identify patients on accumulators, maximizers, or
   health plans advised by SaveOn. You continued to state that the information that
   we request in these RFPs is not relevant.

          For Request 3, which requests “[d]ocuments sufficient to show the methods
   by which TrialCard identifies or attempts to identify if patients are members of
   plans advised by SaveOnSP, any Copay Accumulator Service, and/or any Copay
   Maximizer Service,” you pointed to the Benefits Investigations spreadsheet that
   you previously produced. But you were not able to represent that Benefits Investi-
   gations are the only method that TrialCard uses to identify or attempt to identify
   such patients, and refused to search for additional documents responsive to this
   request. As we explained, it is not our burden to tell you exactly what methods we
   are looking for—only TrialCard has that information.

           How TrialCard could identify patients on SaveOn-advised plans is highly
   relevant to our failure-to-mitigate defense. You responded that the only methods
   to identify patients that may be relevant are those that were squarely presented to
   J&J and thus that we could get anything we needed from party discovery. That
   misunderstands our failure-to-mitigate affirmative defense. “To prove a failure to
   mitigate, one must show: (1) what reasonable actions the plaintiff ought to have
   taken, (2) that those actions would have reduced the damages, and (3) the amount
   by which the damages would have been reduced.” Prusky v. ReliaSatar Life Ins.,
   532 F.3d 252, 258–59 (3d Cir. 2008) (quotation marks omitted). “Damages that
   could have been ‘avoided with reasonable effort without undue risk, expense, bur-
   den, or humiliation will be considered … as not chargeable against the defendant.’”
   Id. at 259 (quoting Williston on Contracts, § 64:27, at 195). “Reasonableness is to
   be determined from all the facts and circumstances of each case, and must be
   judged in the light of one viewing the situation at the time the problem was pre-
   sented.” Id.; see also Grubbs v. Knoll, 376 N.J. Super. 420, 437 (N.J. App. 2005)
   (“Injured parties have a duty to take reasonable steps to mitigate damages … The
   reasonableness of the plaintiff’s actions is measured by a subjective standard.”). If
   TrialCard, J&J’s vendor, used other methods to identify patients on SaveOn-ad-
   vised plans, maximizers, and accumulators, those methods are relevant to our


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   failure-to-mitigate defense as “reasonable actions the plaintiff ought to have
   taken,” whether or not there is direct evidence that the option was put in front of
   J&J.

           The parties are at impasse on this issue.

   III.    TrialCard’s Responses to Identifying Patients

          Requests 6 and 8 seek documents related to TrialCard’s responses to accu-
   mulators, maximizers, and plans advised by SaveOn. For Request 6, which asks for
   “[d]ocuments sufficient to show the methods by which TrialCard responded to
   Benefits Investigations that revealed or suggested that a patient was a member of
   a plan advised by SaveOnSP, any Copay Accumulator service, and/or any Copay
   Maximizer,” you pointed to the form letters that TrialCard sent to Stelara and
   Tremfya patients after the patients were identified through Benefits Investigations.
   We asked if sending those letters (and the actions described in the letters) are the
   only methods or actions taken to respond to such Benefits Investigations. You did
   not confirm that, nor did you agree to produce documents reflecting other meth-
   ods. You stated that we should seek this material from J&J because, as a vendor,
   TrialCard acted only according to J&J’s direction in operating the CarePath pro-
   gram. As we stated, we are entitled to investigate both what J&J directed (through
   party discovery), and what TrialCard actually did (through third-party discovery).
   The parties are at impasse on this issue.

           Request 8 seeks documents and communications regarding the creation or
   attempted creation of
            You again stated that TrialCard’s responses or solutions are only relevant
   to the extent that they were proposed or presented to J&J. For the reasons ex-
   plained above, if TrialCard had developed responses or solutions that other drugs
   manufacturers were using or considered using to mitigate alleged losses relating
   to similar copay assistance program, that is relevant to our failure to mitigate de-
   fense, regardless of whether the option was directly pitched to J&J. TrialCard’s ca-
   pabilities are relevant. You suggested that we propose search terms for this re-
   quest. Please see Appendix A. Please tell us by March 15, 2024 if you agree to run
   these search terms.

   IV.     Communications with Stelara and Tremfya Patients

           In response to Request 5, which seeks all communications with patients re-
   ceiving Stelara and Tremfya, including recordings of calls, you pointed to your pre-
   vious productions of “(1) case and task notes reflecting communications between
   TrialCard and patients taking at least one Janssen drug [to January 1, 2022]; and
   (2) for the period January 1, 2022 to November 7, 2023, certain documents suffi-
   cient to show written communications to patients receiving Stelara and Tremfya to
   the extent such communications concern whether those patients were in a Save-
   OnSP-advised plan, a maximizer plan, or an accumulator plan.” TrialCard’s R&Os,
   at 12 (Dec. 15, 2023). You clarified that, based on your reasonable investigation,



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   the letters that TrialCard produced were the only communications sent to Stelara
   and Tremfya patients regarding whether those patients were in a SaveOn-advised
   plan, a maximizer or an accumulator.

           We asked you to please update the case and task notes to the present. You
   stated that you would take the request back but were open to such a refresh, if we
   agreed that doing so would resolve this Request. When you produced the original
   set of case and task notes, you explained that you “filtered these notes for the
   Janssen Drugs at issue in this litigation and [then] further search[ed] these notes
   for responsive material” using search terms. See May 12, 2023 Ltr. from G. Carot-
   enuto to A. Dunlap, at 2. You then “invite[d] [SaveOn] to use these records to iden-
   tify a reasonable number of calls for which you would like TrialCard to attempt to
   produce the associated audio recording and/or transcript, where available.” Id. If
   you refresh the call and task notes, subject to the same procedures in the May 12,
   2023 letter, and agree that SaveOn reserves its rights to request call recordings and
   transcripts in the future, that would indeed resolve this Request.

   V.      Communications Between TrialCard and SaveOn

           Finally, we discussed Request 7, which asks for “[a]ll communications be-
   tween TrialCard and SaveOnSP, including without limitation recordings of calls.”
   You asked whether SaveOn itself has these call records, such that any request for
   TrialCard to produce them would be duplicative. To the extent that SaveOn em-
   ployees contacted the CarePath call center run by TrialCard on behalf of J&J, those
   outbound calls may not have been recorded by SaveOn. That is why we have re-
   quested these call records from TrialCard, which we believe records incoming calls
   to its call center as a regular practice.

          In addition, we discussed the 16 call records that TrialCard produced on
   January 12, 2024, marked as TRIALCARD_00008915-8930. We explained that
   we believe that these were the “certain responsive call recordings as requested by
   JJHCS” that TrialCard agreed to produce in its R&Os in response to Request 7. We
   explained that it was our understanding that J&J possessed and used these call
   recordings long before they were produced by TrialCard to SaveOn on January 12,
   2024. We asked how it was that J&J had come to possess these call recordings, and
   what the nature of the request was that J&J made to TrialCard that led to it pro-
   ducing the call recordings to us. You stated that you were not prepared to answer
   those questions but that you would look into it. We then asked whether it is Trial-
   Card’s general practice to share recordings of calls with or regarding CarePath pa-
   tients with J&J, whether those calls were shared as part of this litigation, or
   whether these 16 calls were specifically identified and shared.

          Please tell us (1) how J&J came to possess the call recordings before they
   were produced in this litigation by TrialCard, (2) what the nature of J&J’s request
   to TrialCard was that led it to produce the call recordings to SaveOn, and (3)
   whether it is TrialCard’s general practice to share recordings of calls with or



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   March 8, 2024



   regarding CarePath patients with J&J, whether those calls were shared as part of
   this litigation, or whether these 16 calls were specifically identified and shared.

           We request a response by March 15, 2024.

   Sincerely,

   /s/ Hannah Miles

   Hannah R. Miles
   Associate




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   Sara A. Arrow
   March 8, 2024



                                      Appendix A

           •   Proposed Custodians: Holly Weischedel, Sini Abraham, Paul Esterline,
               Rick Fry, Jason Zemcik, Rick Ford, April Harrison, Tommy Gooch, Lynsi
               Newton, Amber Maldonado, Cosimo Cambi.

           •   Search term:

                   (SaveOnSP OR SaveOn OR “Save On SP” OR “Save On” OR SOSP)
                   OR (accumulate* OR maximiz*) OR (“Essential Health Benefit*” OR
                   NEHB OR EHB OR (variable /5 copay)) /20 (solution* OR response*
                   OR shield* OR circumvent* OR prevent* OR avoid*)




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   Elizabeth H. Snow
   Associate
   212 390 9330
   esnow@selendygay.com




   December 27, 2023



   Via E-mail

   Sara Arrow
   Patterson Belknap Webb & Tyler LLP
   133 Avenue of the Americas
   New York, NY 10036
   Sarrow@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-ES-CLW)

   Dear Sara,

         We write in response to your December 22, 2023 letter concerning the sub-
   poena issued to TrialCard, Inc. (“TrialCard”) by Save On SP, LLC (“SaveOn”) on
   February 18, 2023 (the “Subpoena”), and to follow up on the parties’ December 12,
   2023 meet and confer.

          We stated in our December 14, 2023 letter that, following the parties’ meet
   and confer, the parties are at impasse on the question of whether TrialCard will
   produce documents through November 7, 2023, the date ordered by the Court for
   a refreshed party production. TrialCard’s responses do not change this conclusion.

           First, the May 31, 2023 letter that TrialCard cites to purportedly show that
   SaveOn “accepted [April 1, 2016 to July 1, 2022] as the Relevant Time,” offers no
   support for its assertion that SaveOn agreed to a July 1, 2002 cutoff for TrialCard’s
   production. The quoted language merely summarized TrialCard’s position: “You
   replied that TrialCard will produce documents responsive to this request from
   April 1, 2016 through July 1, 2022 (the ‘Relevant Time Period’).” See May 31, 2023
   Ltr. from E. Holland to G. Carotenuto at 1. Similarly, the July 26, 2023 letter simply
   proposed supplemental search terms to add to the search that TrialCard had
   agreed to conduct, reserving all rights. See July 26, 2023 Ltr. from E. Holland to
   K. Brisson at 7 n.1.

          Second, while TrialCard asserts that it is improper to extend the scope of
   the subpoena beyond the date of service, federal courts have ordered third parties
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   Sara A. Arrow
   December 27, 2023



   to produce documents created after the return date or service date of subpoenas.
   See, e.g., Chevron Corp. v. Salazar, 275 F.R.D. 437, 449 (S.D.N.Y. 2011); United
   States v. Int’l Bus. Machines Corp., 83 F.R.D. 92, 96 (S.D.N.Y. 1979); Addison v.
   Monarch & Assocs., Inc., No. 14-CV-00358 (GW) (JEM), 2016 WL 11530426, at *1
   (C.D. Cal. Dec. 12, 2016). Even were it otherwise, SaveOn could simply serve an
   updated subpoena covering the updated timeframe; TrialCard’s position serves
   only to delay production of clearly relevant documents.

          Third, while TrialCard points out that the Court’s November 7, 2023 Order
   did not direct it to update its discovery responses, that issue was not before the
   Court. Now that the parties have been ordered to refresh their productions through
   November 7, 2023, the question is whether TrialCard—J&J’s main vendor for
   CarePath—should produce documents from the same time period, and it should.
   TrialCard asserts that no other third party has updated its production through No-
   vember 7; in fact, Archbow has agreed to do so, and TrialCard should as well.

          In sum, the parties did not agree that TrialCard’s production would not ex-
   tend past July 1, 2022. TrialCard has not articulated a relevance or burden objec-
   tion. The parties are thus at impasse on this issue. SaveOn requests that TrialCard
   consents to submit this dispute to Special Master Freda L. Wolfson.

           We request a response by January 3, 2023.

   Best,


   Elizabeth H. Snow
   Associate




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July 6, 2023                                                                           Katherine Brisson
                                                                                       (212) 336-2552


Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (ES) (CLW)

Dear Emma:

                 On behalf of TrialCard, Inc. (“TrialCard”), we write in response to your July 5,
2023 letter concerning TrialCard’s responses to Save On SP, LLC’s (SaveOnSP) subpoena. As
we previously stated, we have worked with our client to determine whether there is anything more
to be done to satisfy the concerns you raised during our June 28, 2023 meet and confer. While we
still do not think it necessary, in order to moot the concerns you have expressed and to avoid an
unnecessary dispute, we will make a custodial production from TrialCard. We will update you
further as that collection and review proceeds and will aim to make a prompt production. We
believe this resolves our present dispute. However, if you insist on proceeding with a motion
regarding the purported absence of a custodial production from TrialCard, we provide our consent
to proceed before Magistrate Judge Waldor on that specific issue.

                                                                    Very truly yours,




                                                                    /s/ Katherine Brisson
                                                                    Katherine Brisson




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                   Exhibit 53
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   March 13, 2024



   Via E-mail

   Sara A. Arrow
   Patterson Belknap Webb & Tyler LLP
   1133 Avenue of the Americas
   New York, NY 10036
   sarrow@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-JKS-CLW)

   Dear Sara,

          We write to ask that J&J agree that it has possession, custody, and control
   of documents held by TrialCard, Inc. (“TrialCard”) regarding work that TrialCard
   performed for J&J.

          Pursuant to Rule 34(a) of the Federal Rules of Civil Procedure, a party has
   an obligation to produce documents within its “possession, custody, or control.”
   Fed. R. Civ. P. 34(a). “Federal Courts construe ‘control’ very broadly under Rule
   34.” Maniscalco v. Brother Int’l Corp., No. 3:06-CV-4907 (FLW), 2010 WL
   762194, at *4 (D.N.J. Mar. 5, 2010). A party has control over documents if it “has
   the legal right or ability to obtain the documents from another source upon de-
   mand.” Mercy Catholic Med. Ctr. v. Thompson, 380 F.3d 142, 160 (3d Cir. 2004).

          J&J has the legal right to obtain upon demand, and thus controls, Trial-
   Card’s documents regarding its administration of CarePath. “[A] litigating party
   has control of documents if a contractual obligation requires a non-party to pro-
   vide requested documents to the litigating party upon demand.” Haskins v. First
   Am. Title Ins. Co., No. 10-CV-5044 (RMB)(JS), 2012 WL 5183908, at *1 (D.N.J.
   Oct. 18, 2012). The 2017 Master Services Agreement between TrialCard and J&J
   (“MSA”) 1 obligates TrialCard




   1 The MSA was produced with Bates number JJHCS_00011273.
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                                 ” MSA § 17.1.

                                              Id. Courts regularly find such contractual
   provisions sufficient to establish a litigant’s control over documents in the posses-
   sion of a third party. See, e.g., Mercy Catholic, 380 F.3d at 160–61 (establishing
   party’s control over non-party’s working papers via right to have papers “made
   available … at all reasonable times.”); In re Generic Pharms. Pricing Antitrust
   Litig., 571 F. Supp. 3d 406, 410–11 (E.D. Pa. 2021) (establishing party’s control
   through “right to access” non-party books and records); Rosie D. v. Romney, 256
   F. Supp. 2d 115, 119 (D. Mass. 2003) (establishing party’s “control” through con-
   tractual right to examine and copy non-party records).



                                                 See MSA § 8.2



                                                ); MSA § 17.2


                                                      Similar agreements to cooper-
   ate in litigation by a non-party have been found sufficient to establish the party’s
   legal right to obtain documents upon request, even if the party could not “force”
   the non-party’s compliance. Haskins, 2012 WL 5183908, at *4 n.4. Because J&J
   has the legal right to obtain relevant TrialCard documents upon request, it has
   “control” over those documents.

           J&J also has the practical ability to obtain TrialCard’s documents. Even
   where a party does not have a legal right to a third-party’s documents, “a com-
   pany’s ability to demand and have access to documents in the normal course of
   business gives rise to the presumption that such documents are in the litigating
   corporation’s control.” Camden Iron & Metal, Inc. v. Marubeni Am. Corp., 138
   F.R.D. 438, 443 (D.N.J. 1991). “One such business need is to provide highly rele-
   vant documents in litigation.” Id. at 444. Where, as here, a party and non-party
   share “documents helpful for use in the litigation, the courts will not permit [the
   party] to deny control for purposes of discovery by an opposing party.” Gerling
   Int'l Ins. Co. v. Comm’r, 839 F.2d 131, 141 (3d Cir. 1988). J&J and TrialCard are
   clearly collaborating in discovery, as evidenced by the many times J&J has prom-
   ised to make its own productions “from” or “through” TrialCard. See, e.g., Jan. 24,
   2024 Conf. Tr. at 21:10-17 (“We have already agreed to produce what are either
   directly through us or by asking our vendor, a company called Trial Card, to pro-
   duce what are known as benefits investigations. And those are the enforcement


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   March 13, 2024



   documents. We’re in the process of making those productions for the relevant time
   period right now.”); Nov. 20, 2023 Responses & Objections to SaveOnSP’s Fourth
   Set of RFPs at 7 (“Subject to the foregoing objections, JJHCS will ask TrialCard,
   Inc. to produce all benefits investigation reports from the Time Period that reflect
   inquiries about whether a patient taking Stelara or Tremfya is enrolled in an accu-
   mulator or maximizer program (including SaveOnSP), to the extent such docu-
   ments exist and can be located after a reasonable search.”); Oct. 30, 2023 Conf. Tr.
   at 46:23-47:2 (“We produced call notes from thousands of calls at TrialCard, our
   vendor, that actually talks to the patients. We produced thousands of call notes
   from TrialCard to show how these things are being done.”); id. at 62:8 (“In addition
   to all of the categories that I just pointed out, we will also give them a production
   from TrialCard, which is our vendor, who we also represent and is subject to a sub-
   poena, we’ll give them benefits investigations that find any patient in a maximizer
   or a [sic] accumulator through to the present. Through to the present.”); June 27,
   2023 Conf. Tr. at 90:2-6 (““[T]he administrator is TrialCard, this third party that
   is also—that we have identified and we’ve made document production from–and
   probably we’ll be making more”). TrialCard confirms that it is making productions
   “as requested by” J&J. See Dec. 15, 2023 TrialCard Responses or Objections to
   SaveOnSP’s Second Set of RFPs at 14 (“TrialCard will produce certain responsive
   call recordings as requested by JJHCS.”).

         Please confirm that J&J agrees that it has possession, custody, and control
   over documents in TrialCard’s possession relating to TrialCard’s services for J&J.

          We request a response by March 20, 2024. We are available to meet and
   confer.

   Sincerely,

   /s/ Hannah Miles

   Hannah R. Miles
   Associate




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January 27, 2023                                                         Anthony C. LoMonaco
                                                                         Associate
                                                                         (212) 336-2642
                                                                         alomonaco@pbwt.com
VIA EMAIL

Meredith Nelson, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104
mnelson@selendygay.com

               Re:    SaveOnSP’s Requests For Production
                      Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                      No. 22 Civ. 2632 (JMV) (CLW)

Dear Meredith:

             We write in response to your January 20, 2023 letter concerning our January 13,
2023 meet and conferring regarding Johnson & Johnson Health Care Systems Inc.’s (“JJHCS”)
Responses and Objections to Save On SP, LLC’s (“SaveOnSP”) First Set of Requests for
Production.

I.     GLOBAL ISSUES

       A.   Documents Related to the Development and Marketing of CarePath and
       SaveOnSP’s Financial Impact on JJHCS and CarePath (RFPs 11, 26, 28-30, 36, and
       37)

                SaveOnSP claims that it needs documents relating to the development and
marketing of CarePath as well as documents relating to the “finances of any entity with a stake in
CarePath, including documents reflecting the financial impact of SaveOnSP’s services and the
plan terms set by its clients on JJHCS.” In general, SaveOnSP advises it needs such documents
because it “intends to show that CarePath is primarily a marketing tool that JJHCS and its
affiliates use to sell more Janssen Drugs and to hike the price of those drugs year after year.”
SaveOnSP also claims that it needs such documents because JJHCS alleges that “SaveOnSP
harms patients and threatens the continued viability of CarePath by making it ‘prohibitively
expensive,’” and that “the threat of CarePath’s viability constitutes a public harm for purposes of
JJHCS’s GBL [section] 349 claim,” and SaveOnSP “intends to show that Johnson & Johnson’s
(“J&J’s”) return on investment from CarePath is substantial, and that even if JJHCS’ costs for
CarePath have gone up, CarePath is still profitable for J&J.” You elaborate on the rationale
behind each specific RFP further. We address each RFP below in turn.
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               RFP No. 11 seeks documents regarding “the development, management, and
marketing of CarePath or any other copay assistance program offered for Janssen Drugs.” You
state that such documents “relate to SaveOnSP’s defense that CarePath is a marketing tool,
developed to increase J&J’s bottom line.”

              SaveOnSP has not explained how its assertion that CarePath is a marketing tool is
relevant to any claim or defense, or how this fact, even if proved, would justify SaveOnSP
inducing patients to breach their contracts with JJHCS. Nor has SaveOnSP explained how
JJHCS’s intention in operating CarePath is relevant to JJHCS’s claims.

               RFP Nos. 26 and 32 seek documents concerning the amounts of CarePath funds
paid out to patients. You claim such documents “are relevant to disputing JJHCS’s claims that
its increased CarePath expenditures threaten the viability of CarePath by making it prohibitively
expensive, as well as to the extent of JJHCS’s alleged damages.” We address RFP Nos. 26 and
32 in Section II.F, infra.

               RFP No. 28 seeks a variety of categories of data relating to both Janssen Drugs
(items a. through g.) and CarePath (items i. thorough m.), and RFP No. 29 seeks additional
documents relating to CarePath’s finances. You claim such requests are relevant to
“understanding JJHCS’s return on investment for CarePath, how CarePath enables JJHCS to
increase the costs of Janssen Drugs, the financial impact of SaveOnSP on J&J more broadly, and
JJHCS’s damages.” We address RFPs No. 28 & 29 in Section II.G, infra.

                RFP No. 30 seeks documents “regarding the basis for Janssen’s decision to raise
or lower the prices of Janssen Drugs.” You claim this relates to “SaveOnSP’s defenses that
CarePath is primarily a marketing tool that enables J&J to continue to raise drug prices year after
year and that J&J profits from SaveOnSP increasing enrollment in CarePath, because it is able to
sell more of its incredibly expensive drugs.”

               As noted above, SaveOnSP has not explained how Janssen’s pricing decisions
would justify or excuse SaveOnSP in causing patients to breach their contracts with JJHCS.
Further, please explain how documents “regarding the basis for Janssen’s decision to raise or
lower the prices of Janssen Drugs” relates to SaveOnSP’s claimed defense that it is somehow
increasing JJHCS’s profits by increasing enrollment in CarePath. Even if SaveOnSP did
increase enrollment in CarePath, it is unclear how documents relating to decisions to raise or
lower drug prices would prove the fact of that increased enrollment.

                In short, proclaiming ipse dixit on a call that certain categories of documents
relate to the litigation does not make it so, and the burden of explaining the relevance of the
documents rests with SaveOnSP, especially where the documents requested are voluminous.
Thus far, SaveOn has not carried its burden.
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              RFP Nos. 36 and 37 seek documents relating to the economic terms of its
agreements with vendors that support CarePath and documents relating to enrollment in
CarePath, respectively. We address RFP Nos. 36 and 37 in Sections II.I, infra.

       B.      Documents in the Possession of JJHCS Hub Entities, Janssen, and Other

               1.       JJHCS Hub Entities

               You ask us to confirm (1) whether there previously were or currently are other
JJHCS Hub Entities involved in the development, administration, and marketing of CarePath
aside from Trial Card and Lash Group, and (2) if so, whether JJHCS will produce documents
from those entities responsive to SaveOnSP’s requests.

                As discussed in Section I.A., supra, SaveOnSP has not explained how documents
relating to the development and marketing of CarePath are relevant to this litigation. Further, as
explained in Section I.C., infra, it is unclear to us how documents dated from before 2017 are
relevant to this litigation. Therefore, we focus our response on entities responsible for the
administration of CarePath during the relevant Time Period and with regard to the scope that we
have agreed is appropriate.

                Trial Card is the entity responsible for administering CarePath’s co-pay assistance
program during the relevant Time Period and is most likely to have documents responsive to
SaveOnSP’s requests. We had previously identified Lash Group as a predecessor to Trial Card
in administering CarePath during a small portion of the relevant Time Period. Based on
additional fact investigation, however, we no longer believe that Lash Group had a comparable
role in the administration of CarePath’s co-pay assistance program. We are continuing to
investigate and will let you know if that understanding changes. We are otherwise unaware of
any of vendors that have had a comparable role in administering CarePath. Other vendors that
provide or have provided limited, episodic services to JJHCS relating to CarePath are not
relevant to the litigation.

              As noted at our meet and confer, JJHCS is working with Trial Card to facilitate
the production of documents responsive to SaveOnSP’s requests. Such documents will be
produced to SaveOnSP through JJHCS’s counsel.

               2.       J&J and Janssen

                You ask us to confirm whether JJHCS will produce documents held by Janssen or
other J&J entities because you believe those entities will have “highly relevant” documents,
including “documents related to the pricing of Janssen Drugs, the purpose of CarePath, and
J&J’s return on investment for CarePath.” You also request that we provide a list of all J&J
entities involved in the development, marketing, or administration of CarePath.
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                 As discussed, JJHCS is the entity that manages CarePath and it is the only J&J
entity that is a party to this action. There is no need for JJHCS to provide any list of entities or
for documents from other JJHCS affiliates to be produced. JJHCS is prepared to produce
documents held by other J&J entities to the extent that such production is agreed upon or ordered
by the Court, but we do not think any such production is necessary or appropriate.

       C.      Time Period

             SaveOnSP requests several categories of documents from before January 1, 2017.
You ask us whether JJHCS intends to produce any documents pre-dating January 1, 2017.

               1.       Your Demand for Documents Dating Back to January 1, 2009

               For certain categories of RFPs (Nos. 1-7, 11-13, 28-30, 36-37), you state that you
chose January 1, 2009 as the starting date based on your understanding of when most of the
Janssen Drugs first went to market. As we have explained, this start date is unjustified and
inappropriate, reaching back almost a decade before SaveOnSP existed, and seven years before
CarePath was launched. Nevertheless, we address each request in turn.

               For RFP Nos. 12 and 13, which relate to extrinsic evidence concerning the
drafting of CarePath’s terms and conditions, you claim you need documents going back to
January 1, 2009 so you can “make arguments about the meaning of the contracts that SaveOnSP
allegedly induced patients to breach.” As discussed in Section II.B, infra, the drafting history of
CarePath’s terms and conditions is not relevant to the claims or defenses in this case, but to the
extent the parties can reach an agreement on JJHCS’s proposal with respect to the scope of
JJHCS’s response to RFP Nos. 12 and 13, JJHCS is willing to consider producing documents
dating back to January 1, 2016.

                For RFP Nos. 11, 28-30, 36, and 37, which relate to the development, marketing,
administration, and financials of CarePath and Janssen drugs, you claim that you need
documents going back to January 1, 2009 so you can “probe why CarePath was created, J&J’s
historical return on investment for CarePath, and how SaveOnSP has impacted JJHCS and
CarePath.” Further, you claim that you are entitled to rely on “historical information to assess
[JJHCS’s] damages and the impact that SaveOnSP has on JJHCS and CarePath,” particularly by
comparing information pre-dating SaveOnSP’s existence to information post-dating SaveOnSP’s
existence.

               As explained more fully in Section I.A, supra, and in other sections of this letter,
much of the information sought from these requests is irrelevant to the claims and defenses in
this case. Nevertheless, JJHCS has agreed to produce certain documents in response to them,
subject to general and specific objections, including:
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                       In response to RFP No. 28, JJHCS agreed to produce Janssen
                        Transparency Reports and also agreed to consider producing documents
                        responsive to items (i) through (m), which relate to CarePath enrollment
                        data.

                       In response to RFP No. 29, JJHCS agreed to produce documents sufficient
                        to show (1) how JJHCS determines the amounts of copay assistance funds
                        that JJHCS offers to Patients enrolled in CarePath, (2) JJHCS’s budget for
                        copay assistance through CarePath, and (3) JJHCS’s actual and projected
                        annual costs for CarePath.

               In order to allow SaveOnSP to perform an analysis comparing information from
before and after SaveOnSP’s existence, JJHCS would be willing to provide documents in these
categories dating back to January 1, 2016, to the extent such documents exist and can be located
by a reasonable search. Any date range beyond that would be unduly burdensome and
unnecessary to the analysis that SaveOnSP wishes to perform.

                Finally, for RFP Nos. 1-7, which ask for various categories of organizational
charts, you state you need documents dating back to January 1, 2009 “in order to understand how
the above information implicates the various entities whose conduct is relevant in this action and
to identify potential sources of additional information.” Subject to general and specific
objections, JJHCS agreed in response to RFP Nos. 1, 4, and 5 to “produce non-privileged
documents in its possession sufficient to show the organizational structure of the JJHCS groups
responsible for the administration of CarePath.” As above, JJHCS would be willing to provide
documents in these categories dating back to January 1, 2016, to the extent such documents exist
and can be located by a reasonable search.

               2.       Your Demand for Documents Dating Back to January 1, 2015

               For another category of RFPs (Nos. 14, 41, and 42), you seek documents from as
early as January 1, 2015. These requests seek documents relating to JJHCS’s understanding of
commercial health plans’ ability to designate specialty drugs as Essential Health Benefits or
Non-Essential Health Benefits (RFP No. 14), “Copay Accumulator Services and Copay
Maximizer Services and their effect on JJHCS’s return on investment for copay assistance
dollars,” (RFP No. 41), and JJHCS’s understanding of the terms “copay accumulator” and
“copay maximizer.” (RFP No. 42).

                As we have explained, these requests are irrelevant to the claims and defenses at
issue in this case because JJHCS’s understanding of the regulatory backdrop or the meaning of
the terms “copay accumulator” and “copay maximizer” have no bearing on whether SaveOnSP
tortiously interfered with CarePath or violated the New York’s GBL. Further, JJHCS has agreed
to produce several categories of documents related to the harm SaveOnSP has caused it, so the
effects of other programs are also not relevant to this case.
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               Nevertheless, in response to RFP No. 14, subject to general and specific
objections, JJHCS agreed to produce documents “regarding SaveOnSP’s designation of specialty
drugs as Essential Health Benefits or Non-Essential Health Benefits under the Affordable Care
Act and its regulations.” JJHCS discusses further compromise on this RFP in Section II.C, infra.
Further, while JJHCS has not agreed to produce documents in response to RFP Nos. 41 and 42,
JJHCS also discusses a potential compromise in Section I.D, infra. While JJHCS is prepared to
compromise on the requests and go beyond what it is obligated to produce, extending the time
period beyond January 1, 2017 is not appropriate for these requests.

       D.      Requests Related to Accumulators and Maximizers (RFP Nos. 20, 21, and 41-
       43).

                SaveOnSP’s RFP Nos. 20, 21, and 41-43 seek documents related to accumulators
and maximizers. For example, RFP No. 42 seeks documents relating to JJHCS’s “understanding
of the terms ‘copay accumulator’ and ‘copay maximizer.’” JJHCS responded to most of these
requests that it would produce documents relating to SaveOnSP specifically, except for RFP No.
21, which JJHCS objected to in full because, inter alia, it targets irrelevant lobbying efforts.

               As we explained during the meet and confer, JJHCS’s understanding or views
about accumulators or maximizers in general are irrelevant. The key point in JJHCS’s
Complaint is that SaveOnSP has characteristics of such programs (see Compl. ¶¶ 50, 74), which
is a fact that will be proved only by reference to documents in SaveOnSP’s possession. In
response, you ask whether JJHCS would agree to a proposal that both parties drop their requests
concerning accumulators and maximizers.

                We do not accept this proposal. The documents relating to maximizers and
accumulators that JJHCS seeks are relevant for reasons that are not reciprocal. For instance,
JJHCS’s RFP No. 43 seeks “documents and communications relating to how SaveOnSP operates
in jurisdictions with statutes or regulations that ban or limit accumulator adjustment programs
and JJHCS’s RFP No. 45 seeks “documents and communications relating to studies, reports,
publications, analyses, research, white papers reviews, or other written work product” relating to,
inter alia, “accumulator programs” and “maximizer programs.” The wrongfulness of
SaveOnSP’s Program is at issue, so whether it can legally operate in states with accumulator
bans is relevant. Further, SaveOnSP’s intent is at issue, so given that it has characteristics of
accumulators and maximizers, any analyses of whether such programs are wrongful or harmful is
relevant. Because JJHCS’s intent is not at issue, neither of those categories of documents are
relevant with respect to JJHCS, nor is the broad category of “JJHCS’s understanding of the terms
‘copay accumulator’ and ‘copay maximizer’” an appropriate topic of discovery from JJHCS.

II.    ISSUES RELATED TO SPECIFIC REQUESTS
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       A.     RFP No. 11

              You ask us to confirm whether J&J or JJHCS operates or previously operated any
copay assistance programs other than CarePath. We are unaware of any other copay assistance
programs operated by J&J or JJHCS during the relevant Time Period of January 1, 2017 to July
1, 2022. Any programs that predate CarePath’s launch are irrelevant to this litigation.

       B.     RFP Nos. 12 and 13

                 SaveOnSP’s Request Nos. 12 and 13 seek documents regarding CarePath’s terms
and conditions, including CarePath’s requirement that patients enrolled in CarePath make
payments toward Janssen Drugs. In response, JJHCS has agreed to produce final versions of
CarePath’s terms and conditions because JJHCS’s allegation that SaveOnSP causes a breach of
those terms and conditions is evident by their plain meaning. SaveOnSP nevertheless insists that
it is entitled to gather extrinsic evidence on the meaning of CarePath’s terms and conditions in
support of its assertion that SaveOnSP does not cause of breach of cause a CarePath’s terms and
conditions. You ask us to confirm whether JJHCS will produce internal communications
regarding the meaning of SaveOnSP’s terms and conditions.

              During our meet and confer, we asked SaveOnSP to consider producing internal
communications responsive to JJHCS’s RFP No. 17 (“Any agreements, including drafts,
between Express Scripts on the one hand, and health insurance plan sponsors, on the other,
regarding the SaveOnSP Program, and any communications relating thereto”) in exchange for
JJHCS’s agreement to produce internal communications relating to the drafting of CarePath’s
terms and conditions. You rejected this proposal at the meet and confer and again in your letter
because you claim that “the terms of SaveOnSP’s contracts with health plans are not at issue in
this case.”

                 We ask you to reconsider our proposal. The terms of SaveOnSP’s contracts with
health plans and Express Scripts are very much at issue in this case. JJHCS alleges that
SaveOnSP intentionally tortiously interferes with its CarePath program by contracting with
Express Scripts and health plans to perpetuate the SaveOnSP Program. See, e.g., Compl. ¶¶ 28,
52, 68, 75, 113. Because SaveOnSP’s intent is at issue with respect to JJHCS’s tortious
interference claim, communications relating to SaveOnSP’s understanding of those terms and
whether they are wrongful is particularly relevant. Further, because harm to both JJHCS and
patients is at issue with respect both to JJHCS’s tortious interference claim and its GBL claim,
communications relating to whether the terms of SaveOnSP’s agreements harm JJHCS or harm
patients are also relevant. If SaveOnSP intends to seek JJHCS’s internal documents, fairness
requires that SaveOnSP produces its internal documents, as we have proposed and propose
again.
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       C.     RFP No. 14

               SaveOnSP’s RFP No. 14 seeks documents relating to JJHCS’s and other entities’
“understanding of commercial health plans’ ability to designate specialty drugs as Essential
Health Benefits (‘EHB’) or Non-Essential Health Benefits (‘NEHB’) under the Affordable Care
Act (‘ACA’) and its regulations.” In response to this request, JJHCS agreed to produce non-
privileged documents and communications regarding SaveOnSP’s designation of specialty drugs
as EHB or NEHB. You ask us to confirm whether in addition to these documents, JJHCS would
be willing to produce internal communications relating to its understanding of a commercial
health plans’ ability to designate specialty drugs as EHB or NEHB under the ACA. In exchange,
you indicate that “SaveOnSP would be open to producing internal documents that reflect its
understanding of whether SaveOnSP’s advice to health plans complies with the ACA.”

               We are willing to accept the following proposal: We would agree to produce all
non-privileged documents and communications regarding JJHCS’s understanding of commercial
health plans’ ability to designate specialty drugs as EHB or NEHB under the ACA and its
regulations for the time period of January 1, 2017 to June 1, 2022 to the extent such documents
exist and can be located after a reasonable search. In exchange, SaveOnSP would need to agree
to produce all non-privileged documents and communications, including internal
communications, regarding SaveOnSP’s understanding of commercial health plans’ ability to
designate specialty drugs as EHB or NEHB under the ACA and its regulations for the time
period from January 1, 2017 to July 1, 2022. Please let us know SaveOnSP is interested in such
a proposal.

       D.     RFP No. 21

             SaveOnSP’s RFP No. 21 concerns “any advocacy to or communications with any
governmental or regulatory body regarding SaveOnSP, Copay Accumulator Services, or Copay
Maximizer.” JJHCS has objected to this request, inter alia, as seeking documents and
communications that are irrelevant to any claim or defense in this action and also subject to a
First Amendment privilege.

                In your letter, you claim “that such documents are relevant to JJHCS’s GBL
claim, as JJHCS’s public advocacy efforts may include misinformation that causes the alleged
patient stress and confusion that JJHCS attributes to SaveOnSP.” As we discussed during our
meet and confer, the Complaint alleges that SaveOnSP confuses patients by, for example,
creating rejections and delays at the point of sale. See Compl. ¶ 88. You respond by maintaining
that “you are entitled to discovery of such documents notwithstanding [JJHCS’s] assertion that
this case concerns only the specific types of stress and confusion that JJHCS alleged in its
complaint.”

              SaveOnSP’s request does not relate to the claims or defenses in this action and
you have offered no logical explanation to the contrary. In response to our request that you
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identify stress or confusion alleged in the complaint that could reasonably be attributed to
JJHCS, you instead suggest in conclusory fashion that this case does not concern “only the
specific types of stress and confusion that JJHCS alleged in its complaint.” Please explain how,
if JJHCS’s public advocacy efforts to protect patients theoretically somehow caused stress or
confusion other than that alleged in the Complaint, that would justify SaveOnSP causing the
stress or confusion alleged in the Complaint.

              Moreover, as we explained in our letter dated January 6, 2023, JJHCS has a
privilege against the production of documents that would unjustifiably burden its First
Amendment right to political association. See NAACP v. Alabama ex rel. Patterson, 357 U.S.
449, 462-63 (1958). In light of this First Amendment privilege, we asked SaveOnSP to explain
why its request for documents concerning JJHCS’s lobbying of government officials is
permissible. To date, you have provided no response to this request. Please explain why
SaveOnSP is entitled to documents and communications concerning JJHCS’s lobbying efforts,
notwithstanding the burden this request imposes on JJHCS’s First Amendment protections.

       E.     RFP No. 25

                SaveOnSP’s RFP No. 25 seeks all documents and communications regarding any
alleged harm caused by SaveOnSP to JJHCS, including JJHCS’s allegations in Complaint
¶¶ 110, 115. In response, JJHCS agreed to produce documents and communications relating to
“the extent of the harm SaveOn has caused.” R&O to SaveOnSP’s RFP No. 25.

                During the meet and confer, you asked to confirm whether use of the phrase
“extent of the harm,” as compared to the phrase “any alleged harm,” as used in the request, was
intended to exclude any documents responsive to SaveOnSP’s request. There is no practical
difference in the search terms or production that would follow from what was requested and
what we have agreed to produce. Thus, subject to its general and specific objections, JJHCS
confirms that it will produce all documents responsive to SaveOnSP’s request.

       F.     RFP Nos. 26 & 32

                SaveOnSP’s RFP No. 26 seeks “documents and communications regarding
JJHCS’s, Janssen’s, or any JJHCS Hub Entity’s payment of any Patient’s costs, including those
that accumulate towards the Patient’s deductible or out-of-pocket maximum.” SaveOnSP’s RFP
No. 32 seeks all documents and communications “regarding any offer by JJHCS to provide to
any Patient any CarePath funds greater than the amounts that JJHCS generally offers to CarePath
Patients or to waive any limitation on or elimination of the amount of CarePath copay assistance
funds available to a Patient.”

            With respect to Request No. 26, JJHCS agreed to produce documents sufficient to
show “how JJHCS determines the amounts of copay assistance funds that JJHCS offers to
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Patients enrolled in CarePath.” See R&O to RFP No. 29. However, JJHCS declined to produce
any documents in response to Request No. 32 as, inter alia, irrelevant to the litigation.

               During our meet and confer, you clarified that SaveOnSP is seeking not just
documents showing how JJHCS determines the amount of copay funds it offers to patients, but
also documents and communications concerning what amounts are actually paid to patients,
including internal documents and communications regarding these amounts. In your letter, you
contend that these amounts are “particularly relevant to both refuting JJHCS’s allegations
regarding viability as well as for contesting any damages amount put forward by JJHCS, as such
overpayments would not be caused by SaveOnSP.”

               Internal communications regarding the amount of copay assistance funds paid to
patients are not necessary for SaveOnSP to assess whether JJHCS pays out more in copay
assistance than it has budgeted. Nor has SaveOnSP explained how such documents are
otherwise relevant to any claims or defenses in this litigation. However, subject to the conditions
laid out in Section II.F infra regarding RFP No. 28, JJHCS is willing to provide data regarding
the actual amounts paid to patients in copay assistance, to the extent such data exists and can be
located after a reasonable search. To the extent that data reflects that JJHCS is in fact paying
more than the budgeted amount of CarePath funds to certain patients, JJHCS is willing to meet
and confer further to determine if additional discovery is appropriate on those specific cases.
Please confirm whether this compromise is acceptable to SaveOnSP.

       G.      RFP No. 28 & 29

               SaveOnSP’s RFP No. 28 seeks a variety of categories of data relating to both
Janssen Drugs (items a. through g.) and CarePath (items i. through m.). SaveOnSP’s Request
No. 29 seeks documents relating to CarePath’s finances and the relationship between those
finances and Janssen finances. In response, subject to general and specific objections, JJHCS
agreed to produce Janssen Transparency Reports and invited SaveOnSP to confer on items i.
through m. for RFP No. 28, and also agreed to produce documents sufficient to show “(1) how
JJHCS determines the amount of copay assistance funds that JJHCS offers Patients enrolled in
CarePath, (2) JJHCS’s budget for copay assistance through CarePath, and (3) JJHCS’s actual and
projected annual costs for CarePath” for RFP No. 29. See R&Os to SaveOnSP’s RFP Nos. 28 &
29.

        You claim that the data SaveOnSP seeks in RFP Nos. 28 and 29 is relevant to its
understanding of “JJHCS’s return on investment for CarePath, how CarePath enables JJHCS to
increase the costs of Janssen Drugs, and the financial impact of SaveOnSP on J&J more
broadly.” Further, during the meet and confer, you stated that SaveOnSP is entitled to discovery
on the marketing and development of CarePath and other copay assistance programs for the last
thirteen years, because Janssen increases drug prices for profit and uses CarePath to induce
patients to take Janssen drugs, so any impact SaveOnSP has on CarePath does not constitute
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public harm. Finally, you ask us to consider whether SaveOnSP’s RFP Nos. 28 is similar to
JJHCS’s RFP No. 41, and whether there is potential for reciprocity.

      After conferring internally, with to items a. through g. for RFP No. 28, we still do not see
how those categories of documents relate to the claims and defenses in this case.

        First, the items you request do not relate to the facts you seek to establish as outlined in
your letter, namely: “JJHCS’s return on investment for CarePath, how CarePath enables JJHCS
to increase the costs of Janssen Drugs, and the financial impact of SaveOnSP on J&J more
broadly.” Please explain how items like “actual and projected number of patients receiving
Janssen drugs, the number of fills and dosages, the costs to manufacture Janssen Drugs, the sales
and marketing budget for Janssen drugs, the price of Janssen Drugs, and the revenue received for
Janssen Drugs” going back nearly thirteen years are relevant or necessary to determining the
“return on investment for CarePath,” “how CarePath enables JJHCS to increase the cost of
Janssen Drugs,” or “the financial impact of SaveOnSP on J&J more broadly.”

        Second, the facts you seek to establish do not relate to the claims or defenses in this
action. Specifically, please explain how, even assuming there is a “return on investment on
CarePath” or “CarePath enables JJHCS to increase the costs of Janssen Drugs,” those facts
would permit SaveOnSP to cause patients to breach their contracts with JJHCS and repurpose
CarePath’s funds for SaveOnSP’s profit or would excuse the damages that JJHCS alleges
SaveOnSP has caused. Likewise, please explain how SaveOnSP’s theoretical impact on “J&J
more broadly” excuses those same damages. There is no basis to convert this case from a claim
brought against SaveOnSP for two specific causes of action into a free-wheeling exploration of
all aspects of J&J’s process of drug development and price. Indeed, neither of the causes of
action brought by JJHCS permit the type of discovery from JJHCS that SaveOnSP seeks.

        With respect to items i. through m. for RFP No. 28, which relate to enrollment data for
CarePath, JJHCS is willing to consider producing such data, to the extent it exists and can be
located after a reasonable search, if SaveOnSP is willing to produce the categories of data
requested in JJHCS’s RFP No. 41 and 42, rather than just “data sufficient to show, for each
Janssen Drug, the annual total amount of payments made by CarePath for participants advised by
SaveOnSP.” See R&Os for JJHCS’s RFP Nos. 41 and 42. Please indicate whether SaveOnSP is
willing to consider this compromise.

        Finally, with respect to RFP No. 29, in addition to agreeing to produce documents
showing the harm that results from SaveOnSP’s conduct (see, e.g., R&O to SaveOnSP’s RFP
No. 25), JJHCS has also agreed, subject to general and specific objections, to produce documents
sufficient show (1) how JJHCS determines the amounts of copay assistance funds that JJHCS
offers to Patients enrolled in CarePath, (2) JJHCS’s budget for copay assistance through
CarePath, and (3) JJHCS’s actual and projected annual costs for CarePath.” R&O to
SaveOnSP’s RFP No. 29. As noted above, we still do not see how the facts you seek to establish
as outlined in your letter relate to the claims or defenses at issue, but we ask you to consider
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whether such data, in addition to the data JJHCS would be willing per the above compromise
regarding RFP No. 28, is sufficient.

       H.      RFP No. 34

               SaveOnSP’s Request No. 34 seeks documents and communications concerning
JJHCS’s consideration of SaveOnSP’s services for its own employer-sponsored health plan.
JJHCS declined to produce any such documents. As outlined in your letter, you indicated that
“SaveOnSP understands that J&J or JJHCS conducted significant negotiations with SaveOnSP to
use SaveOnSP’s services for the health plan it provides for its own employees” but “[b]efore the
parties could sign a contract, however, another division within J&J or JJHCS insisted that the
negotiations cease.”

               As you are aware, J&J never signed a contract with SaveOnSP. Further, JJHCS
itself was not involved in any such negotiations. Thus, RFP No. 34 is irrelevant to the claims
and defenses in this action. JJHCS will not produce documents in response to this request.

       I.      RFP Nos. 36 & 37

              SaveOnSP’s Request No. 36 seeks documents “sufficient to show the economic
terms of JJHCS’s retention of or agreements with any JJHCS Hub Entity or Care Path
Coordinator regarding Care Path, including any assessment of the fair market value of those
services.” JJHCS has agreed to produce agreements for entities responsible for administering
CarePath for the period of January 1, 2017 to the present, even if those entities are no longer
involved in the administration of CarePath. See R&O to SaveOnSP’s RFP No. 36. JJHCS is
also endeavoring to produce work orders that document the cost of the services provided.

               During the meet and confer, you clarified that in addition to these agreements,
SaveOnSP is seeking internal communications regarding the value ascribed to the services
provided by certain Hub Entities. In your letter, you again assert that in addition to the
agreements themselves, SaveOnSP is seeking internal communications that “reflect[] the value
of [those] services, including internal documents that may have been generated by JJHCS in the
process of negotiating its contracts.” Please explain how the value ascribed by JJHCS to the
services provided its vendors or otherwise relevant to claims or defenses in this matter.

                 Relatedly, SaveOnSP’s Request No. 37 seeks documents “sufficient to show the
percentage of Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any
JJHCS Hub Entity, or any other third party authorized to advertise or market CarePath or Janssen
Drugs.” JJHCS declined to produce documents in response to this Request on the grounds that,
inter alia, this Request is irrelevant to the subject matter at issue in this litigation. See R&O to
RFP No. 37.

              During the meet and confer, you explained that SaveOnSP believes it is actually
more successful in getting patients to sign up for CarePath than Janssen is by itself. Therefore,
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you contend that SaveOnSP “provides a net benefit to J&J, because more patients are taking
Janssen drugs even if JJHCS is paying more in copay assistance.”

               We have investigated this issue further. JJHCS does not keep statistics on
whether patients sign up for CarePath after being contacted by JJHCS or its vendors, which
moots this request regardless of its irrelevance.

       J.     Request No. 38

                SaveOnSP’s Request No. 38 seeks documents and communications received by
JJHCS from any JJHCS Hub Entity or sent by JJHCS to any JJHCS Hub Entity regarding
SaveOnSP or CarePath. As SaveOnSP indicates that it accepts JJHCS’s offer to produce all
documents responsive to this Request regarding SaveOnSP, there appears to be no further
dispute on this issue.

                                           * * *

             We are available to meet and confer regarding the issues outlined above at your
convenience. We look forward to your response.

                                                    Very truly yours,

                                                    /s/Anthony C. LoMonaco
                                                    Anthony C. LoMonaco
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                   Exhibit 55
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91566063ÿ61"ÿ1ÿ24956913ÿ6ÿ235436ÿ69ÿ1ÿ9ÿ63ÿ50 !365ÿ9ÿ63ÿ50 4931 &ÿ 632%ÿ63
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3"6ÿ17ÿ4294236ÿ9ÿ63ÿ50 4931 ÿ17ÿ63ÿ23549173165ÿ49561"ÿ9ÿ429432ÿ9 !36915ÿ69ÿ23+03565
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  Case 2:22-cv-02632-CCC-CLW           Document 360-4        Filed 08/27/24     Page 250 of 683
01234567308ÿ 6 7ÿ2 4ÿ8ÿ7ÿ2 37ÿ678ÿ2ÿ7ÿ1273ÿ63 7ÿ238ÿ7003ÿ1
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67302ÿ0ÿ01ÿ202702ÿ73ÿ01ÿ7057 0ÿ4323ÿ2 37ÿ678ÿ74ÿ01ÿ234ÿ67308ÿ1 ÿ2ÿ7
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, 66 ÿ0170ÿ01ÿ783ÿ$  ÿ013 1ÿ74ÿ2ÿ01ÿ 3ÿÿ36302ÿ01ÿ013ÿ!20ÿ2ÿ01
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 Case 2:22-cv-02632-CCC-CLW          Document 360-4      Filed 08/27/24    Page 251 of 683
01ÿ345ÿ67895ÿ730 5ÿ65ÿÿ50553ÿ3473ÿ345ÿ67895ÿ370ÿ345ÿ015ÿ53ÿ1
                                      PageID: 31602
574ÿ711535ÿ6053ÿ7ÿ57769ÿ56055ÿ3473ÿ45ÿ7ÿ05ÿ5353ÿ7ÿ06053
 5553730ÿ3ÿ574ÿ6053ÿ 9ÿ 076ÿ003076ÿ05730ÿ0ÿ340ÿ57ÿ0ÿ845345ÿ345ÿ065
1ÿ345ÿ50035ÿ01730ÿ55 79ÿ3ÿ55ÿ345ÿ015ÿ53ÿ1ÿ50345ÿ345ÿ 5305
!6053ÿÿ345ÿ"345ÿ!6053ÿ86ÿ06735ÿ345ÿ67895ÿ65ÿ#ÿ39ÿ3ÿ353ÿ345ÿ 55ÿ7
  553ÿ1ÿ574ÿ:$1ÿ%ÿ345ÿ345ÿ67895ÿ6ÿ50345ÿ55&ÿÿ370ÿ015ÿ53ÿ7%ÿ7ÿ4%
345ÿ67895ÿ86ÿ475ÿ3ÿ5605ÿ345ÿ5305ÿ5553730ÿ575ÿ345ÿ67895ÿ6ÿ3
  73019ÿ345ÿ65ÿÿ50553
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345ÿ67895ÿ5553730ÿ1ÿ345ÿ"345ÿ!6053%ÿ       ;ÿ575ÿ1ÿ345ÿ67895ÿ8ÿ5 76%ÿ7076
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/57353ÿ1ÿ0305ÿ57ÿ1ÿ5ÿ1ÿ7ÿ739ÿ03ÿ0ÿ0530730ÿ1ÿ00ÿ7ÿ553
1076ÿ158 ÿ53ÿ00735ÿ3473ÿ345ÿ(53ÿ1ÿ345ÿ0530730ÿ0ÿ7ÿ65ÿ5 76ÿ105ÿ1ÿ345
553ÿ1076ÿ7ÿ76ÿ7ÿ05 ÿ5 ÿ845ÿ05 ÿ55&ÿ20ÿ776ÿ7ÿ7ÿ060
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67895%ÿ8404ÿ47ÿ55735ÿ373076ÿ155ÿ1ÿ345ÿ67895ÿ5ÿ305ÿ-45ÿ67895ÿ 5369
 5553ÿ345ÿ05 ÿ0ÿ6030730ÿ76650ÿ574ÿ1ÿ7ÿ5076ÿ373ÿ-45ÿ67895ÿ5ÿ3
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043ÿ5ÿ5ÿ7953ÿ575ÿ1ÿ345ÿ1559ÿ8034ÿ8404ÿ34ÿ3773ÿ73ÿ345ÿ7&ÿ7ÿ345ÿ305
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 Case 2:22-cv-02632-CCC-CLW         Document 360-4      Filed 08/27/24   Page 252 of 683
0123ÿ56ÿ57ÿ8972ÿ2128 ÿ797ÿ72ÿ892ÿ289753ÿ9 7ÿ72ÿ 72375988ÿ9953ÿ3972ÿ6ÿ72
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536 9753ÿ 2 ÿ287ÿ53ÿ72ÿ215232ÿ253ÿ2 ÿ9 1228ÿ99537ÿ72ÿ532ÿ72
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   CONTAINS INFORMATION MARKED AS AEO/CONFIDENTIAL UNDER THE
                DISCOVERY CONFIDENTIALITY ORDER

                                                May 7, 2024

By Email

Hon. Freda L. Wolfson, U.S.D.J.
Lowenstein Sandler LLP
One Lowenstein Drive
Roseland, NJ 07068

                Re:     JJHCS’s Opposition to SaveOnSP’s April 19, 2024 Motion to Compel
                        Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                        Civil Action No. 22-2632 (JKS) (CLW)

Dear Judge Wolfson:

       On behalf of JJHCS, we write in opposition to SaveOnSP’s April 19, 2024 motion to

compel JJHCS to obtain and produce documents belonging to a third party, TrialCard, Inc.

(“TrialCard”), a JJHCS vendor headquartered in North Carolina.

       SaveOnSP’s motion is a meritless and transparent effort to deny TrialCard its rights under

Federal Rule of Civil Procedure 45, and it should be denied in its entirety for three principal

reasons. First, to support its argument that JJHCS can be compelled to produce documents

belonging to TrialCard, SaveOnSP relies on a service agreement between JJHCS and TrialCard.

But this agreement does not, as SaveOnSP claims, provide JJHCS with either legal or practical

control over everything SaveOnSP seeks, such as purely internal communications among

TrialCard employees. Nor does any law support SaveOnSP’s contention that the agreement

between JJHCS and TrialCard allows the Court to direct JJHCS to force TrialCard to produce an
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May 7, 2024
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unlimited number of documents about an unlimited number of topics. For more than a year,

SaveOnSP had the service agreement on which it relies in its possession and yet it never once

claimed to either JJHCS or TrialCard that the agreement governed this dispute.

       Second, by asking this Court to compel JJHCS to obtain documents from TrialCard,

SaveOnSP is asking this Court to solve a problem that does not exist. TrialCard already has

produced thousands of documents in response to SaveOnSP’s two separate subpoenas, often with

JJHCS’s encouragement. Having made this effort, TrialCard should not be forced to endure undue

burden without the due process afforded under Federal Rule of Civil Procedure 45, all to satisfy

SaveOnSP’s curiosity about irrelevant matters. If SaveOnSP believes it is entitled to more than

TrialCard has produced, SaveOnSP can either seek further discovery directly from JJHCS or do

what it acknowledges every other litigant must do: proceed with a motion to compel against

TrialCard in its home district. See Opening Br. at 11, 18 (“To get documents directly from

TrialCard . . . SaveOn would have to move to compel compliance with its subpoenas in North

Carolina.”). By filing this motion, SaveOnSP is asking the Court to treat it as exempt from

following the rules that govern the taking of discovery from third-party witnesses.

       Finally, SaveOnSP demands that Patterson Belknap Webb & Tyler LLP now be

disqualified or required to implement an ethical wall in its representation of JJHCS and

TrialCard—two independent entities that have each requested Patterson Belknap’s representation

and agreed to waive any conflict arising out of this simultaneous representation.               This

extraordinary request finds no support in any case law or other authority and seems motivated by

a hope that, without counsel of choice, TrialCard will be deterred from asserting its rights.

       Your Honor should deny the motion.


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                                 FACTUAL BACKGROUND

       A.      TrialCard Is Independent From JJHCS

       TrialCard is a North Carolina corporation that offers services to over 500 life sciences

customers, including JJHCS. 1 Among other things, TrialCard administers patient service support

programs for multiple pharmaceutical companies. Since at least 2011, JJHCS has engaged

TrialCard as a vendor to perform services in connection with the administration of JJHCS’s co-

pay support programs, including the CarePath program that is central to this lawsuit.

       TrialCard’s contractual relationship with JJHCS is governed primarily by a Master

Services Agreement (“MSA”). See Ex. 1. Among other things, TrialCard administers a hotline

call center that supports patients who are prescribed Janssen medications. As the MSA confirms,

TrialCard is wholly independent from JJHCS and other Johnson & Johnson affiliates. TrialCard

is



                   ” See Ex. 1 at § 12; see also id. (

                                                                                        ).

       As SaveOnSP acknowledges, TrialCard is a JJHCS vendor that neither sets the terms and

conditions of the CarePath program nor independently crafts strategies for JJHCS to respond to

SaveOnSP’s misappropriation. See generally Ex. 2 at 3–4 (May 12, 2023 Ltr. from G. Carotenuto

to A. Dunlap); Ex. 3 at 2 (Apr. 7, 2023 Ltr. from H. Sandick to A. Dunlap).



1
  See Mercalis Releases 2023 Annual Highlights, https://www.mercalis.com/news/2023-annual-
highlights/ (last accessed May 7, 2024). In September 2023, TrialCard changed its name to
Mercalis, Inc.; for convenience, JJHCS refers to Mercalis as TrialCard throughout this briefing.

                                                3
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       B.      TrialCard Has Produced Thousands Of Documents To SaveOnSP

       As SaveOnSP has acknowledged, TrialCard has produced “thousands” of documents in

response to SaveOnSP’s two subpoenas and at the request of, and in “collaborat[ion]” with, JJHCS.

See generally Ex. 4 at 2–3 (Mar. 13, 2024 Ltr. from H. Miles to S. Arrow) ; see also Opening Br.

at 15–16 (detailing the instances in which JJHCS “facilitate[d]” TrialCard’s production of

documents). All told, TrialCard has thus far produced over 3,030 documents, totaling over 8,950

pages, many of which pertain to TrialCard’s implementation of JJHCS’s Cost Adjustment Program

(“CAP”) program, see, e.g., Ex. 5 (TRIALCARD_00006499), and TrialCard’s performance of

benefits investigations at JJHCS’s request. In party discovery, JJHCS has produced nearly 10,000

document pages, reflecting communications to or from TrialCard, on these very same subjects.

See, e.g., Ex. 6 (JJHCS_00145739) (

         ); SaveOnSP Ex. 8 (

              ); Ex. 7 (JJHCS_00002774) (

                        ). SaveOnSP’s claim that TrialCard has been obstructionist is false and

belied by the record.

               1.       TrialCard Produces Thousands Of Documents And Communications
                        In Response To SaveOnSP’s First Subpoena

       On February 17, 2023, even before SaveOnSP made any substantial document production

of its own, SaveOnSP served its first subpoena on TrialCard (the “First Subpoena). See Ex. 8.

The First Subpoena was vast in scope: it contained thirty-two requests for production seeking a

broad range of documents and communications. As a result, TrialCard objected to the First

Subpoena based on relevance, breadth, burden, and proportionality. See Ex. 9.



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       In several instances, SaveOnSP “cut-and-paste” wholly irrelevant document requests that

it also propounded to JJHCS, such as its request to TrialCard for documents about the pricing of

and revenue projections for Janssen drugs. Compare Ex. 10 (SaveOnSP’s First Set of Requests

for Production to JJHCS) at Request No. 29, with Ex. 8 (SaveOnSP’s First Subpoena to TrialCard)

at Request No. 19. Not only would TrialCard not have such documents, but both Judge Waldor

and Your Honor have concluded that such documents are irrelevant. See, e.g., D.E. 192 at 24;

D.E. 180-4 at 52:16–20, 54:25–55:1; Mar. 17, 2023 Tr. at 34:1–10. SaveOnSP sought materials

with no connection to JJHCS, such as internal communications concerning TrialCard’s own

understanding of the health insurance market or its general views on maximizers and accumulators.

See, e.g., Ex. 11 at 2 (June 7, 2023 Ltr. from K. Brisson to E. Holland). The First Subpoena sought

documents either going back as far as 2009 or even without any date limitation whatsoever. See,

e.g., id. at Request Nos. 1–2, 4–6, 18–19, 23, 25–26, 32.

       TrialCard nevertheless proceeded to engage in good faith with SaveOnSP, routinely

meeting and conferring, and making several extensive document productions, including:

       •   2,875 documents and 8,718 pages of documents and communications from the
           custodial files of four TrialCard employees with key responsibilities for the
           administration of CarePath; 2

       •   Over 19,900 records from TrialCard’s centralized patient call database;

       •   Over 4,800 records of benefits investigations




2
  SaveOnSP suggests that TrialCard’s existing custodians are inadequate based on JJHCS’s
interrogatory responses, see Opening Br. at 4 n.3. In truth, TrialCard agreed to a custodian for
every interrogatory for which JJHCS identified responsible TrialCard employees. See Ex. 14 at
5–6, 15–16.

                                                5
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                                                                                               ;3

       •   Patient letters and templates that JJHCS drafted and that TrialCard sent to patients; and

       •   Spreadsheets containing extensive CarePath enrollment and claims data.

See, e.g., Ex. 11 at 1 (June 7, 2023 Ltr. from K. Brisson to E. Holland); Ex. 24 at 1–2 (June 16,

2023 Ltr. from K. Brisson to E. Holland).

       SaveOnSP later sought to force TrialCard to produce documents created long after the date

on which it served the First Subpoena, which was improper and contrary to the Federal Rules of

Civil Procedure. See Ex. 12 (Dec. 6, 2023 Ltr. from S. Arrow to H. Miles); Ex. 13 (Dec. 22, 2023

Ltr. from S. Arrow to H. Miles). 4 TrialCard nonetheless voluntarily agreed to update its production

of multiple categories of documents—such as benefits investigations performed in connection with

the JJHCS’s CAP program and related patient communications—through November 7, 2023 (the

cutoff date for party discovery). 5



3
  SaveOnSP is incorrect when it claims that TrialCard only produced a “summary” document
reflecting benefits investigation. See Opening Br. at 4. TrialCard initially produced the results of
3,908 benefits investigations in the same format in which those records are maintained in the
normal course of business. See Ex. 15 (Jan. 19, 2024 Ltr. from S. Arrow to H. Miles); Ex. 16
(Mar. 12, 2024 Ltr. from S. Arrow to H. Miles). TrialCard then supplemented its original
production with an additional 900 records of benefits investigations, as well as with several
additional categories of data in response to specific requests from SaveOnSP. See Ex. 17 (Feb.
13, 2024 Ltr. from H. Miles to S. Arrow); Ex. 16 (Mar. 12, 2024 Ltr. from S. Arrow to H. Miles).
4
  Neither Rule 45 nor any other authority supports the notion that a subpoena may seek the
production of documents that were not created until after the subpoena was propounded. See Fed.
R. Civ. P. 45. Likewise, nothing in the Court’s November 7, 2023 Order was directed at TrialCard;
that order only directed “both parties” to update its document production. See D.E. 173 at 3.
5
  SaveOnSP claims that TrialCard agreed without limitation that it would “produce documents to
the same extent that J&J did” and then “reneged” on this promise. Opening Br. at 8–9. This is
fiction. See Ex. 13 at 1–2 (Dec. 22, 2023 Ltr. from S. Arrow to E. Snow) (detailing correct
rendition of prior communications).

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                2.      TrialCard Produced More Documents In Response To SaveOnSP’s
                        Second Subpoena

       SaveOnSP served a second subpoena on TrialCard on December 1, 2023 (the “Second

Subpoena”). See Ex. 18. Far from addressing only a “technical objection,” as SaveOnSP now

asserts, the Second Subpoena added eight similarly expansive requests, several lacking in

relevance.    Opening Br. at 9.     For example, SaveOnSP demanded that TrialCard produce

documents relating to its work for other pharmaceutical manufacturers. This material is highly

sensitive for TrialCard, as it relates to other clients who run co-pay support programs that are also

subject to misappropriation by SaveOnSP. It is also completely irrelevant to this case, as this

material has nothing to do with JJHCS or CarePath. SaveOnSP also sought (i) the identities of all

of TrialCard’s other customers for which it performed benefits investigations, and (ii) information

about all methods used by TrialCard to block misappropriation by accumulators or maximizers,

without regard to whether TrialCard ultimately pursued or even discussed such methods with

JJHCS. See Ex. 18 at 11; Ex. 19 at 1–2 (Mar. 1, 2024 Ltr. from S. Arrow to H. Miles).

       TrialCard once again raised breadth, burden, relevance, and proportionality objections. See

Ex. 20 (TrialCard’s Responses and Objections to SaveOnSP’s Second Subpoena). As before,

TrialCard sought to negotiate with SaveOnSP, but SaveOnSP refused, renewing its request for the

same exact custodians it had been proposing for months and proposing a single overbroad search

term. See Ex. 21 at 1 (Dec. 22, 2023 Ltr. from S. Arrow to H. Miles); see also Ex. 22 at 6 (Mar.

8, 2024 Letter from H. Miles to S. Arrow). Even so, TrialCard still agreed to voluminous

productions, including for the “refresh” period, in response to the Second Subpoena, including:

       •     A full list of patients, updated through November 7, 2023, who received individual
             letters that TrialCard sent on JJHCS’s behalf concerning certain limitations on co-pay


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             support for patients who were in a maximizer or accumulator plan and the dates on
             which those letters were sent;

        •    Updated claims and enrollments data through November 7, 2023;

        •    Updated records of patient calls through November 7, 2023; and

        •    Certain call recordings between SaveOnSP representatives and TrialCard.

See Ex. 19 at 2 (Mar. 1, 2024 Ltr. from S. Arrow to H. Miles). TrialCard has already produced

most of these documents and anticipates completing its agreed-upon production by the end of May

2024.

        C.      SaveOnSP Seeks to End-Run TrialCard’s Lack of Consent to the Court’s
                Jurisdiction

        Even as TrialCard produced documents and continued to negotiate the scope of the two

subpoenas, SaveOnSP repeatedly threatened TrialCard with motion practice and sought its consent

to proceed in this jurisdiction. See, e.g., Ex. 23 at 1–2 (July 5, 2023 Ltr. from E. Holland to K.

Brisson); Ex. 24 at 2–3 (June 16, 2023 Ltr. from K. Brisson to E. Holland); Ex. 25 at 2 (Dec. 27,

2023 Ltr. from E. Snow to S. Arrow); Ex. 26 (Mar. 4, 2024 Ltr. from H. Miles to S. Arrow).

TrialCard, a North Carolina corporation, declined to provide that consent, as is its right under Rule

45(d), consistent with the position taken by SaveOnSP’s business partners like Express Scripts and

Accredo. See, e.g., Ex. 27 (Apr. 7, 2023 Email from J. Sternberg to G. Carotenuto).

        Only on March 13, 2024—more than a full year after it served a subpoena on TrialCard—

did SaveOnSP first ask JJHCS to agree that pursuant to the MSA, it has “possession, custody,

[and] control” over all TrialCard documents “regarding work that TrialCard performed” for

JJHCS. Opening Br. at 14; see also Ex. 4 (Mar. 13, 2024 Ltr. from H. Miles to S. Arrow).

SaveOnSP never specified which documents it believed JJHCS was authorized to demand from


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TrialCard. See Ex. 28 (Apr. 12, 2024 Ltr. from S. Suri to H. Miles). Nor did SaveOnSP identify

any gaps in TrialCard’s document productions.

       In response, JJHCS informed SaveOnSP that while it disagreed that JJHCS has control

over all of TrialCard’s documents relating to its services for JJHCS, it was open to further

discussions concerning the scope of SaveOnSP’s requests and which ones, if any, could be

addressed by JJHCS exercising its rights under the MSA. JJHCS specifically noted that under the

operative MSA, JJHCS is entitled to “audit and/or examine” only certain specific categories of

material from TrialCard related to the scope of work described in the MSA. See Ex. 1 at § 17.1

(Section Heading: “Audit”). Rather than respond or engage in even a single required meet-and-

confer discussion, SaveOnSP unilaterally filed this motion in violation of the applicable rules. See

Fed. R. Civ. P. 37(a)(1); L. Civ. R. 37.1(a)(1) (requiring movant to certify conferral).

                                          ARGUMENT

I.     JJHCS Does Not “Control” All TrialCard Documents

       SaveOnSP seeks to short-circuit normal third-party discovery procedures and motion

practice by “forcing” JJHCS to collect documents from an independent third party. SaveOnSP’s

efforts find no support either in the relevant MSA or in applicable law, neither of which permit a

party to use the concept of a party’s “control” to obtain limitless non-party discovery. Moreover,

even if JJHCS’s “control” could be established as to some subset of TrialCard’s documents, the

principles of reasonableness, relevance, and proportionality, all weigh against what SaveOnSP is

asking this Court to do, which is to order the production of an unknown and unlimited number of

additional TrialCard documents, despite TrialCard’s significant prior productions. This end-run

around Rule 45 should not be countenanced.


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          A.     The MSA Does Not Confer On JJHCS Legal Control Over TrialCard Documents

          SaveOnSP’s primary argument is that the operative MSA between JJHCS and TrialCard

confers on JJHCS access to and the right to request any document from TrialCard “relating to its

work” for JJHCS—including “communications regarding the administration of CarePath, call

recordings and other records reflecting communications between TrialCard’s CarePath call center

and patients, and documents and communications related to the implementation of the CAP

program and TrialCard’s Benefits Investigations.” Opening Br. at 14. SaveOnSP is incorrect.

          The MSA first provides




                                                            . Ex. 1 at § 17.1.




                            But “a contract provision which merely authorizes the party litigant’s

access to information that is in the possession of a non-party, without more, is insufficient to

establish legal control in the Third Circuit.” Inline Connection Corp. v. AOL Time Warner Inc.,

2006 WL 2864586, at *4 (D. Del. Oct. 5, 2006). The access right under the MSA—even if it were

as broad as SaveOnSP suggests—therefore does not confer JJHCS with the requisite “control”

under Rule 34(a). 6


6
    For this same reason,                               ,
                                                                                    , do not allow
JJHCS to demand the production of documents by TrialCard. See Ex. 1.


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       SaveOnSP next points to the MSA’s provision that JJHCS may request documents

                                                                                   Ex. 1 at § 17.1.

For example, under this provision, JJHCS could

                                                                                               See

SaveOnSP Ex. 15 at 2–3 (

                                                             ). While this provision

                                                                                 , it does not mean

that JJHCS has control sufficient to demand all TrialCard documents, including purely internal

communications between any TrialCard employee on any subject, related in any way to any work

for JJHCS. See generally Princeton Digital Image Corp. v. Konami Digital Ent. Inc., 316 F.R.D.

89, 92 (D. Del. 2016) (“ask[ing] for and obtain[ing]” information “relevant to . . . litigation” is

insufficient to establish control). Any alternative result would place prohibitive burdens on

TrialCard as a vendor beyond what common sense suggests from such a contract provision.

       Despite this, SaveOnSP argues that the MSA grants JJHCS permission to collect every

scrap of paper—handwritten, digital, or otherwise—that TrialCard employees ever generated or

touched during its work for JJHCS, regardless of whether such materials were of the type or nature

of materials provided to JJHCS during the course of dealing under the MSA. This is not the law.

See Maniscalco v. Brother Int’l Corp. (USA), 2010 WL 762194, at *11 (D.N.J. Mar. 5, 2010)

(Wolfson, J.) (ability to request information relevant to a litigation does “not equate to control”

over documents at issue unless the particular documents were of a kind previously supplied by the

third party to the litigant); see also Block v. Jaguar Land Rover N. Am., LLC, 2017 WL 11696617,

at *1–2 (D.N.J. Aug. 23, 2017) (finding lack of “control” where movant failed to meet its burden


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to show that it had “the ability to demand” documents and despite evidence that it had “obtained

some other documents” from the third party).

       Here, SaveOnSP does not suggest that JJHCS ordinarily requests internal TrialCard

communications in the normal course of business, let alone carried its burden of demonstrating

control. See Maniscalco, 2010 WL 762194, at *11 (noting law is “misapplied” if responding party

is required to “disprove control over the requested documents”). And the mere fact that JJHCS

has asked TrialCard to produce itself some subset of documents during this litigation—e.g., the

records of over 4,800 benefits investigation or other patient-specific data—is neither surprising

nor significant as the MSA expressly

                                                . See Ex. 1 at § 5.3.2 (“




                                                                               ”). Not only does

JJHCS not have access to such TrialCard records in the normal course, but in some instances, it is

expressly prohibited from obtaining such information by contract and by applicable law (e.g., the

Health Insurance Portability and Accountability Act (“HIPAA”)). Given that JJHCS has no access

to these documents, it is absurd to suggest that JJHCS’s request to TrialCard to produce these

documents was done solely to gain some “tactical advantage” (it was not), see Opening Br. at 6,

16, or that JJHCS has control over documents it cannot even legally see.

       SaveOnSP’s own cited authority concerning legal control does not support its argument.

For example, in the unpublished Haskins v. First Am. Title Ins. Co., 2012 WL 5183908 (D.N.J.

Oct. 18, 2012) decision, the court considered whether the principal had control over its agents’


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closing files by virtue of a broad contractual provision requiring that the agents maintain and

preserve “material of any kind that relate in any way to the Agency and this agreement or to the

Policies issued by Agent.” Id. at *2–3. While the Haskins court concluded that this established

the principal’s control over a certain discrete set of closing files related to the agent’s policies, it

did not require production of all documents relating to those files where such an exercise of

authority would create undue burden. See id. at *3 n.3 (refusing to extend a finding of “control”

to compel production of “essentially every mortgage document and associated document” from

every transaction because such a result would be “unduly burdensome”). Likewise here: even if

the MSA confers on JJHCS some legal control over certain subset of documents—i.e., some of the

categories of documents TrialCard has already produced—it does not entitle JJHCS to obtain all

internal documents and communications, from all custodians, related to those documents. 7

        Finally, SaveOnSP’s complete refusal to confer with JJHCS about any specific subset of

documents that it seeks makes it impossible for the Court to evaluate whether some more limited

set of documents might be within JJHCS’s control under the MSA. It likewise makes it impossible

for JJHCS to ascertain whether it might agree to make a request to TrialCard pursuant to the MSA,



7
   SaveOnSP’s reliance on Mercy Catholic Med. Ctr. v. Thompson, 380 F.3d 142 (3d Cir. 2004),
is similarly unavailing here, where
                                   . See Ex. 1 at § 12. By contrast, in Mercy Catholic, the court
concluded that a “prime contractor” (the fiscal intermediary) had “control” over a discrete set of
data based on a principal-agent relationship between it and a subcontractor (its agent) and a
requirement that the relevant files “be made available to the Intermediary at “all ‘reasonable
times.’” See id. at 160–61. As one district court has observed, the Mercy Catholic court “did not
address the issue of document production as between two independent corporations who conduct
business at arms length.” Inline Connection Corp., 2006 WL 2864586, at *1. Nor did the Mercy
Catholic court offer any suggestion that its holding extended “control” over anything other than
the discrete set of data at issue.

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as JJHCS has on multiple prior occasions. SaveOnSP’s framing of this motion as an “all or

nothing” proposition is not consistent with the MSA or the background law, and the motion should

therefore be denied.

        B.      SaveOnSP’s Remaining Arguments Relating To “Control” Do Not Entitle It To
                Relief

        SaveOnSP alternatively argues that it should prevail because JJHCS has the “practical

ability” to compel TrialCard to produce documents. See Opening Br. at 15–17. SaveOnSP is

wrong, as the Third Circuit does not recognize the “practical ability” test for “control.” Power

Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 233 F.R.D. 143, 146 (D. Del. 2005)

(“[T]he Court is not persuaded that the Third Circuit has adopted as expansive a definition of

‘control’” to include “an inquiry into the practical ability . . . to obtain such documents.”); Inline,

2006 WL 2864586, at *2–3 (doubting that the Third Circuit recognizes the “practical ability test”;

even if did, it would likely only be available in the parent-subsidiary context—not as between “two

independent corporate entities”); see generally The Sedona Conference, Commentary on Rule 34

and Rule 45 “Possession, Custody, or Control,” 25 Sedona Conf. J. 1, 28 (2024) (identifying the

Third Circuit as a “legal right” jurisdiction that does not accept the “practical ability” test).

        This Third Circuit rule makes sense:           information is “readily accessible” through

“alternative avenues” such as a Rule 45 subpoena, and so no compelling reason exists to expand

the definition of “control” beyond the “legal right” to obtain the materials. See Power Integrations,

Inc., 233 F.R.D. at 146; Am. Maplan Corp. v. Heilmayr, 203 F.R.D. 499, 502 (D. Kan. 2001)

(“Rule 45 specifically confers jurisdiction on the court issuing the subpoena and that court alone.

A ‘practical ability’ test, then, would shift any dispute about a nonparty’s documents from the



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district in which the corporation may be found to the district where the suit is pending.”); Bleecker

v. Standard Fire Ins. Co., 130 F. Supp. 2d 726, 739 (E.D.N.C. 2000) (same).

       Even if SaveOnSP could proceed on the basis of “practical ability,” courts routinely deny

that it exists where, as here, there is no corporate affiliation between TrialCard and JJHCS. See,

e.g., In re Novo Nordisk Sec. Litig., 530 F. Supp. 3d 495, 502–03 (D.N.J. 2021) (finding no

“control” where firms were “separate legal entities,” not “parents, subsidiar[ies], or sister

corporation[s]”); see also Multiple Energy Techs., LLC v. Under Armour, Inc., 2023 WL 2529187,

at *5 (W.D. Pa. Feb. 21, 2023) (finding no “control” absent indication that entities “are affiliated

in a way other than Beida serving as Under Armour’s printer”); Power Integrations, 233 F.R.D. at

145 (finding no “control” where entities were “separate legal entities with separate corporate

places of incorporation” and “have little more than a vendor relationship”). 8 Again, this makes

perfect sense—TrialCard is an independent company that deals with many pharmaceutical sector

clients and appropriately safeguards access to its records. SaveOnSP has provided no basis to

suggest that JJHCS has the “practical ability” to raid its vendor company’s records for vast

volumes of TrialCard internal documents and then produce those in litigation. Accord In re Pork

Antitrust Litig., 2022 WL 972401, at *6 (D. Minn. Mar. 31, 2022) (“It is one thing to show that a

responding party may ask for documents in the possession of someone with whom it has a



8
 SaveOnSP’s authorities all involve corporate affiliates, see Opp. at 15–16, and are thus factually
distinguishable. See Camden Iron & Metal, Inc. v. Marubeni Am. Corp., 138 F.R.D. 438, 441
(D.N.J. 1991) (whether a subsidiary had control of documents within its parent’s possession);
Gerling Int’l Ins. Co. v. Comm’r, 839 F.2d 131, 140–41 (3d Cir. 1988) (whether sister corporations
under common control are alter egos of the litigating entity); Sanofi-Aventis v. Sandoz, Inc., 272
F.R.D. 391, 395–96 (D.N.J. 2011) (whether “control” exists among corporate sisters, one of which
“prominently displayed” the logo of the other on website).

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relationship, but quite another to conclude that the party has the practical ability to demand such

documents, and therefore has ‘control’ over them.”).

       SaveOnSP’s remaining arguments fare no better. For example, SaveOnSP argues that

JJHCS is using its relationship with TrialCard “as both a sword and a shield.” Opening Br. at 17.

But SaveOnSP identifies no types of documents suppressed by TrialCard at JJHCS’s behest or

based on their content. TrialCard has produced multiple categories of documents without regard

to whether those documents are helpful or harmful to JJHCS, and SaveOnSP has long been on

notice to (and has not objected to) TrialCard’s search parameters. See, e.g., Ex. 29 (July 19, 2023

Ltr. from K. Brisson to E. Holland) (identifying search terms for TrialCard’s custodial production).

Indeed, as to the issues that SaveOnSP claims are central to its defense—e.g., the CAP program

and TrialCard’s benefits investigations—TrialCard has produced a wealth of information,

including over 4,800 benefits investigations that TrialCard performed and corresponding

information about the subsequent action(s) taken with respect to patients. These documents allow

SaveOnSP to evaluate what steps JJHCS took in response to learning that a given patient was

enrolled with SaveOnSP. The volume and substance of the production refute SaveOnSP’s

suggestion that TrialCard is selectively producing documents.

       SaveOnSP also argues that TrialCard’s purportedly “significant role” in the subject matter

in this litigation “independently” confers on JJHCS control over SaveOnSP’s documents. See

Opening Br. at 16. This is nonsensical. Under SaveOnSP’s logic, any vendor who performs

“significant” work for a litigant is effectively transformed into a nominal party subject to all

associated discovery obligations. This is not the law. See Fed. R. Civ. P. 45(d)(1).




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       Nor does JJHCS’s assertion of privilege over certain documents shared with TrialCard on

the basis of the “functional equivalent” test mean that JJHCS “directly controls TrialCard’s work

and potential custodians.” See Opening Br. at 7, 16. SaveOnSP cites no authority whatsoever to

support this argument. A vendor’s work may involve privileged information without the vendor

being under the “control” of the entity that hired it. The MSA also refutes this argument,

confirming that

                                                     ” See Ex. 1 at § 12.

II.    Requiring Further Productions From TrialCard Via JJHCS Is Unreasonable And
       Deprives TrialCard Of Its Rights Under Rule 45

       Even if SaveOnSP could establish that JJHCS has legal or practical control over some

specific subset of TrialCard documents—and it cannot—this does not give JJHCS the right to

demand the expansive swath of documents that SaveOnSP now seeks. Relevance, reasonableness

and proportionality considerations all weigh against further production from either JJHCS or

TrialCard. See Fed. R. Civ. P. 26(b); Signify Holding B.V. v. TP-Link Rsch. Am. Corp., 2022 WL

3704001, at *2 n.2 (S.D.N.Y. Aug. 26, 2022) (“[E]ven if a party has possession, custody or control

of certain information, proportionality principals [sic] may weigh against production of such

information.”); Vitaworks IP, LLC v. Glanbia Nutritionals (NA), Inc., 2023 WL 4825392, at *2

(D. Del. July 27, 2023) (after finding control, ordering the parties to “meet and confer” to avoid

“undue burden”); Haskins, 2012 WL 5183908, at *3 n.3.

       This is especially so since TrialCard has and continues to cooperate fully in third-party

discovery; JJHCS has repeatedly facilitated that discovery; and JJHCS has made its own

substantial party productions related to the very same issues for which SaveOnSP now seeks



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further intrusive discovery of TrialCard. Under these circumstances, neither JJHCS nor TrialCard

should be subject to any categorical burdens. Any finding of “control,” thus, must be balanced

against the existing burdens that TrialCard has already been forced to endure as part of third-party

discovery.

        Many of the documents SaveOnSP now seeks from TrialCard via JJHCS are irrelevant or

cumulative of party discovery. For example, SaveOnSP suggests that TrialCard must produce

“internal communications regarding directions provided to it” by JJHCS. Opening Br. at 5. But

it is JJHCS’s directions—not SaveOnSP’s internal communications about those directions—that

are germane to the claims here. See, e.g., Ex. 30 (TRIALCARD_00005044) (



      ); Opening Br. at 3 (recognizing that all CarePath-related materials require JJHCS approval).

Neither JJHCS nor TrialCard has opposed the production of these directions. In any event, to the

extent SaveOnSP seeks additional documents relating to these issues, such documents are more

properly sought from JJHCS’s own files.

        SaveOnSP also seeks documents “related to the implementation of the CAP program and

TrialCard’s Benefits Investigations.” Opening Br. at 14. SaveOnSP’s own exhibits confirm that

TrialCard (1) regularly sends to JJHCS “

                  ,” see, e.g., SaveOnSP Ex. 17 at -748; (2)

                                            , see SaveOnSP Ex. 8 at -713; and (3)

                       , see SaveOnSP Ex. 18. 9 Such documents reside in JJHCS’s own files, and



9
    As to this last exhibit, SaveOnSP claims that TrialCard
                                                see Opening Br. at 5. In fact, the exhibit

                                                18
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as SaveOnSP acknowledges, JJHCS is already producing broad CAP-related discovery, including

by running CAP-specific search terms over the files of over 25 JJHCS custodians for the period

April 1, 2016 to November 7, 2023. See, e.g., Opening Br. at 8; see also D.E. 192 at 26 (directing

JJHCS to produce CAP-related discovery); Apr. 10, 2024 Order at 2 (expanding CAP search

terms).     To the extent SaveOnSP seeks all “call recordings and other records reflecting

communications between” TrialCard and patients, see Opening Br. at 14, this Court has already

rejected this request as “burdensome.” D.E. 192 at 13. 10

          SaveOnSP also argues that it is entitled to documents concerning the “reasonable steps”

JJHCS “could have taken to mitigate its alleged damages.” See Opening Br. at 5. But again, the

proper source of those documents is JJHCS—not its vendor. Indeed, to the extent TrialCard

                                           see SaveOnSP Ex. 19, those methods are only relevant

if TrialCard actually proposed them to JJHCS. SaveOnSP is not entitled to all documents

concerning TrialCard’s work for any manufacturer, including JJHCS’s competitors, or any

methods that TrialCard ever contemplated to respond to SaveOnSP’s tactics. 11 The MSA does not


itself contains                                            . See SaveOnSP Ex. 18 (
                                                                  ). Whether this error was the
product of carelessness or something worse, the Court should reject SaveOnSP’s argument that
depends on its mischaracterization of the cited exhibit.
10
   SaveOnSP has objected to producing its own call recordings—specifically, communications
relating to SaveOnSP with persons likely enrolled in CarePath—claiming that it would be “unduly
burdensome” and “vastly disproportionate.” See Ex. 31 at 4 (Mar. 29, 2023 Ltr. from A. Dunlap
to H. Sandick). Notwithstanding this, the parties and TrialCard remain in ongoing negotiations
regarding an appropriate scope of mutual production of relevant call recordings, if any. See, e.g.,
Ex. 32 (Apr. 9, 2024 Email from K. Brisson to H. Miles) (stating that TrialCard continues to
investigate the feasibility of identifying and producing over 1,500 requested recordings); Ex. 33 at
1 (May 7, 2024 Ltr. from E. Shane to H. Miles).
11
     As TrialCard has explained to SaveOnSP, the benefits investigations process


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permit JJHCS to access these documents. See Opening Br. at 5; see also Ex. 1 at § 17.1

(                                                                               ).   To the extent

TrialCard’s documents implicate JJHCS or CarePath, either JJHCS, TrialCard or both have already

agreed to produce them. 12 Neither JJHCS nor TrialCard should be required to do anything more.

See generally Lynn v. Monarch Recovery Mgmt., Inc., 285 F.R.D. 350, 361 (D. Md. 2012) (noting

that even where a party has “control” over third-party’s documents, Federal Rule of Civil

Procedure 26(b) still requires that courts to “limit the frequency or extent of discovery otherwise

allowed” so as to ease discovery burdens).

         Finally, even if there is a basis to compel TrialCard to do more, Federal Rule of Civil

Procedure 45(d)(2)(B)(i) is clear: “the serving party may move the court for the district where

compliance is required for an order compelling production[.]” In addition, as a third-party witness,

TrialCard must be protected from “undue burden or expense” by “[t]he court for the district where

compliance is required.” Fed. R. Civ. P. 45(d)(1). SaveOnSP is well aware of these standard

procedures, and yet apparently ignores them out of mere convenience, seeking this Court’s

assistance in making an end-run around Rule 45. See Opening Br. at 11, 18 (recognizing that in

the absence of control sufficient to allow SaveOnSP to obtain all requested documents, it would

need to “negotiate with TrialCard’s attorneys to obtain the documents and likely to proceed to

motion practice against TrialCard in North Carolina”).


                                                     . See Ex. 34 at 2–3 (Mar. 22, 2024 Ltr. from
S. Arrow to H. Miles).
12
     In SaveOnSP’s Exhibit 20,
                                                                          SaveOnSP Ex. 20
at -341. TrialCard produced this document precisely because it implicated JJHCS, refuting
SaveOnSP’s claim that TrialCard is “withholding” these documents. Opening Br. at 5.

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III.   There Is No Basis To Disqualify Patterson Belknap Or Bar Its Lawyers From
       Representing Both JJHCS and TrialCard

       Having failed to substantiate its arguments on the merits, SaveOnSP resorts to leveling

unfounded accusations against JJHCS’s lead counsel, Patterson Belknap, urging Your Honor to

disqualify Patterson Belknap (apparently from representing one or both clients) or impose an

ethical wall to separate the Patterson Belknap lawyers representing JJHCS from those representing

TrialCard. See Opening Br. at 17–19. SaveOnSP’s request is meritless gamesmanship.

       Counsel routinely represents both parties and related third parties in commercial litigation.

This is both practical and cost-efficient because those counsel are familiar with all the relevant

issues. Patterson Belknap has abided by all relevant and appropriate ethical obligations in this

regard, and any suggestions to the contrary are scurrilous. Motions to disqualify are heavily

disfavored, and courts must balance several competing considerations, including a client’s interest

in being represented by counsel of its choosing with the need to maintain the high standards of the

profession. See Carlyle Towers Condo. Ass’n, Inc. v. Crossland Savs., FSB, 944 F. Supp. 341,

345 (D.N.J. 1996). SaveOnSP has failed to state the applicable legal standard, let alone address

these factors, which alone should dispose of its motion. See Capps v. Dixon, 2023 WL 8257995,

at *9 (D.N.J. Nov. 28, 2023) (concluding that a party failed to meet its “heavy burden” to disqualify

counsel when it “fail[ed] to address the relative hardships”). However, even if it had, the balancing

here weighs against disqualification: there is no conflict between JJHCS and TrialCard; both have

voluntarily engaged Patterson Belknap; and it would take considerable time for new counsel to

acquaint itself with the “very complex issues involved.” Carlyle Towers, 944 F. Supp. at 348–49.




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       One would expect SaveOnSP to have a formidable legal argument before interposing an

incendiary demand of this kind. But SaveOnSP has identified no authority whatsoever that

supports its extraordinary request for disqualification or an ethical wall in this context. For

example, SaveOnSP cites to a non-binding Ethics Opinion from the District of Columbia Bar

suggesting that, before accepting a representation of a subpoenaed third party, a lawyer might, but

is not required to, notify its existing client who is the subject of the subpoena of the proposed

engagement. See SaveOnSP Ex. 55 at 6. Patterson Belknap has done this here: both JJHCS and

TrialCard—who are not adverse to each other—have been advised of Patterson Belknap’s

representation of the other and have voluntarily and knowingly agreed to engage Patterson Belknap

as counsel. Patterson Belknap has obtained appropriate waivers as to any potential conflict that

may arise.   None of SaveOnSP’s other cited authorities, several of which involve lawyers

representing an adversary in litigation (unlike here) and none of which ultimately resulted in an

order requiring disqualification, support SaveOnSP’s arguments. 13

       Nor has SaveOnSP has offered any evidence that Patterson Belknap cannot zealously

advocate for both clients, nor shown that the firm is somehow “torn between [its] obligations” to

each. Opening Br. at 18. There is no conflict between the interests of JJHCS and its vendor. If


13
    The cases on which SaveOnSP relies are inapposite. Indeed, two involved a law firm
representing its client’s adversary in a litigation, and yet the court nevertheless found that
disqualification was unwarranted. See Wyeth v. Abbott Lab’ys, 692 F. Supp. 2d 453, 458–59, 461
(D.N.J. 2010); Bos. Sci. Corp. v. Johnson & Johnson Inc., 647 F. Supp. 2d 369, 374–75 (D. Del.
2009). Not so here, where there is no actual conflict between TrialCard and JJHCS, much less one
that is unwaivable. In the third case, Hempstead Video, Inc. v. Inc. Village of Valley Steam, 409
F.3d 127 (2d Cir. 2005), the court declined to impute an “of counsel” attorney’s potential conflict
to the firm. Id. at 136. The court further concluded that even if the potential conflict could be so
imputed, the “presumption of shared confidences that may arise by operation of law” was rebutted,
and, thus, there was no basis for disqualification. Id. at 138. No such presumption applies here.

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anything, it is counsel for SaveOnSP that refuses to respect the boundaries between TrialCard and

JJHCS by repeatedly failing to heed the distinctions between them. 14 Patterson Belknap intends

to diligently represent both JJHCS and TrialCard consistent with all applicable ethical and other

obligations so long as both clients seek its counsel.

       SaveOnSP’s only remaining argument is a false claim that JJHCS has repeatedly refuted.

In a letter dated January 30, 2024, SaveOnSP first asserted without basis that JJHCS, violated the

Discovery Confidentiality Order (“DCO”), D.E. 62, by purportedly sharing a confidential

transcript of the deposition of Ayesha Zulqarnain with TrialCard. JJHCS explained that it never

provided the deposition transcript to TrialCard, nor did it summarize its contents to TrialCard or

otherwise provide to TrialCard any other confidential materials designated by SaveOnSP. See Ex.

35 (Feb. 1, 2024 Ltr. from S. Arrow to E. Snow).

       Undeterred, SaveOnSP then set its sights on counsel, falsely suggesting that Patterson

Belknap, as attorneys for both JJHCS and TrialCard, somehow violated the DCO by “using

Confidential information” acquired through Patterson Belknap’s representation of JJHCS for a

“purpose other than its prosecution of this action, including on behalf of a third party resisting a

subpoena.” See Ex. 38 at 1 (Feb. 16, 2024 Ltr. from E. Snow to S. Arrow) (emphasis in original).

The apparent basis for this very serious charge was only this: that during a meet-and-confer phone


14
   For almost a year, we have asked SaveOnSP to respect this separation. Its lead counsel at
Selendy Gay Elsberg (now doing business as “Selendy Gay”) has ignored our requests. See, e.g.,
Ex. 35 (Feb. 1, 2024 from S. Arrow to E. Snow; see also Ex. 36 (Feb. 16, 2024 from H. Sandick
to E. Snow). Instead, counsel for SaveOnSP routinely writes to Patterson Belknap in its capacity
as “attorneys for TrialCard and JJHCS” and describes confidential JJHCS documents to TrialCard
on the theory that “as JJHCS’s counsel, [Patterson Belknap] ha[s] reviewed and produced such
documents.” See, e.g., Ex. 37, at 1 n.1 (May 31, 2023 Ltr. from E. Holland to G. Carotenuto); Ex.
17, (Feb. 13, 2024 Ltr. From H. Miles to S. Arrow).

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call between outside counsel, counsel explained that in light of SaveOnSP’s repeated use of

deceptive tactics to obscure its agents’ SaveOnSP affiliation, TrialCard needed more information

in order to comply with SaveOnSP’s request for communications between TrialCard and

SaveOnSP. That is all.

       SaveOnSP’s attempt to twist this reference (to an undisputed fact) into a violation of the

DCO is untenable. Patterson Belknap did not disclose any protected information to TrialCard.

Nor did it “use” protected materials in violation of Paragraph 8 of the DCO, as SaveOnSP claims.

See Opening Br. at 10. That paragraph specifies that “Designated Material shall be used only by

individuals permitted access to it,” and Patterson Belknap certainly had such access and was

permitted to discuss such information with opposing counsel who had produced that information

in the first place. 15 None of this constitutes a violation of any provision of the DCO.

       Moreover, counsel merely noted the obvious: to identify TrialCard’s calls with SaveOnSP,

SaveOnSP needed to provide caller names or phone numbers sufficient to identify those calls. For

example, TrialCard had within its own records information for a “patient” who registered with

CarePath using the name Ayesha Zulqarnain, see Ex. 39. TrialCard then received multiple calls

from this same registered cell phone number, with the caller using many different names and

affiliations. See, e.g., Ex. 40 (TRIALCARD_00008921) (                                     Ex. 41

(TRIALCARD_00008923)                                          Ex. 42 (TRIALCARD_00008927)


15
  Nor does this stray reference in a meet and confer amount to “use” prohibited by the DCO, as
SaveOnSP claimed in prior correspondence. The DCO requires a Receiving Party to use
Designated Material “solely for purposes of the prosecution or defense of this action” and not for
commercial or personal purposes. D.E. 62 ¶ 4. Counsel’s remarks—made in an effort to facilitate
subpoena compliance in a call among outside counsel who all had access to the relevant
materials—did not violate this provision.

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(                                       see also Ex. 43 (Zulqarnain Depo. Tr.) at 148:9–22, 156:13–

157:2. Thus, TrialCard already had information in its files regarding Ms. Zulqarnain’s use of fake

names. SaveOnSP could have assisted TrialCard in identifying similar calls based on information

only within SaveOnSP’s possession (i.e., the phone numbers and fake names its agents used when

communicating with TrialCard), but it refused to do so, thus complicating TrialCard’s ability to

produce responsive documents.

       This passing reference to SaveOnSP’s deceptive tactics is also no different than what

JJHCS has said publicly. See, e.g., Compl. at ¶ 73 (“SaveOnSP deceives manufactures by actively

concealing its role and interference with patient assistance programs.”); D.E. 180-4 at 13:15–21

(noting that SaveOnSP engages in “deception”); id. at 86:23–24 (JJHCS stating that SaveOnSP is

“trying to evade and camouflage” its actions from manufacturers). The notion that TrialCard’s

outside counsel somehow violated the DCO by requesting clarity on what names or numbers to

search is therefore utterly baseless.

                                            *      *       *

       For the foregoing reasons, we request that Your Honor deny SaveOnSP’s motion to compel

JJHCS to produce documents from TrialCard and reject its requests as to Patterson Belknap’s

representation of both JJHCS and TrialCard. We appreciate Your Honor’s attention to this matter.

                                                        Respectfully submitted,

                                                         /s/ Jeffrey J. Greenbaum
                                                        JEFFREY J. GREENBAUM


cc:    Counsel of record for SaveOnSP




                                                   25
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            EXHIBIT 1
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                     Exhibit 2
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                                                                                                        www.pbwt.com




May 12, 2023                                                                           George Carotenuto
                                                                                       (212) 336-2547




Andrew Dunlap, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      TrialCard Subpoena
                           Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                           No. 22 Civ. 2632 (ES) (CLW)

Dear Andrew:

               We write in response to your April 28, 2023 letter regarding the subpoena issued to
TrialCard, Inc. (“TrialCard”) in the above-captioned matter.

I.       RFP Nos. 4, 18(a)-(h), and 19

               We write to confirm that, to the extent that SaveOnSP renews its motion to compel
against JJHCS and the Court orders JJHCS to produce additional categories of documents that are
also the subject of RFP Nos. 4, 18(a)-(h) and 19, TrialCard will similarly broaden its production,
to the extent that TrialCard has responsive documents that JJHCS is not producing. TrialCard
reserves the right to renew other objections to such production, including objections based on
burden.

II.      Time Period

              We write to confirm that the time period for TrialCard’s productions will be April
1, 2016 through July 1, 2022 (the “Relevant Time Period”).

III.     Requests for which TrialCard Agreed to Produce Responsive Documents

              We address below several RFPs for which Trial Card has agreed to produce
responsive documents:
RFP No. 1
                  TrialCard will produce documents from the Relevant Time Period responsive to
this request.




Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000   F 212.336.2222
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RFP No. 3
              RFP No. 3 seeks “All Documents and Communications with or regarding
SaveOnSP, including those between You and JJHCS, You and any patients, and You and any other
Hub Entity.” We write to explain our search methodology for one part of that RFP—calls between
TrialCard and patients.
                TrialCard call agents enter case and task notes into a centralized database when
patients call regarding the CarePath copay assistance program. In general, case notes are akin to
patient profiles and include reasons for initial outreach, whereas task notes are generated each time
TrialCard has contact with a given patient. TrialCard has filtered these notes for the Janssen Drugs
at issue in this litigation and intends to further search these notes for responsive materials using
the following search terms:1
                                               Term
                                      maximiz*
                                      designat*
                                      ESI
                                      Obamacare
                                      ACA
                                      Save*
                                      accumulat*
                                      Accredo
                                      Express Script*
                                      EHB
                                      Affordable Care Act
                                      essential

               TrialCard will produce all case and task notes for SaveOnSP patient calls hitting on
these terms. In addition, for all task notes that hit on responsive search terms, TrialCard will also
produce the corresponding case note. We invite you to use these records to identify a reasonable
number of calls for which you would like TrialCard to attempt to produce the associated audio
recording and/or transcript, where available.




1
  More complex terms-and-connectors cannot be used in the platform’s search functionality, so
the search terms used for JJHCS’s custodial productions cannot be duplicated here.


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RFP Nos. 2, 18(i)-(m), and 30
               We write to confirm that TrialCard does not intend to withhold documents
responsive to these requests. TrialCard’s April 24, 2023 production included documents
responsive to these requests.
IV.      Investigation Regarding Other RFPs

               You asked us whether TrialCard has any documents responsive to RFP Nos. 5-17,
20-22, 24-27, 29, and 32 that are not also in the possession of JJHCS. Based on our investigation,
we have set forth below our current understanding regarding each request. Where JJHCS has
responsive documents, it will produce them consistent with the Court’s orders with respect to the
scope of discovery, as well as JJHCS’s prior objections and agreements on discovery requests.

               RFP Nos. 5, 6, & 21: RFP Nos. 5, 6, and 21 seek all documents and
communications regarding CarePath’s terms and conditions, all documents and communications
regarding the requirement that patients enrolled in CarePath make some payment towards Janssen
drugs, and all documents and communications regarding any offer to waive any limitation(s) on
the amount of CarePath copay assistance available to any particular patient.

               We do not believe that any documents responsive these requests exist at TrialCard
that are not also in the possession of JJHCS. TrialCard does not independently interpret the
CarePath terms and conditions without direction from JJHCS, nor does it independently change
the amount of CarePath copay assistance available to any individual patient. JJHCS will produce
the training materials, call scripts, and other directives regarding implementation of the CarePath
program that it has provided to TrialCard, as well as other communications between JJHCS and
TrialCard responsive to these requests.2

               RFP Nos. 7, 9, & 29: We do not believe that TrialCard has any documents
responsive to these requests that relate to TrialCard’s implementation of the CarePath program.
TrialCard has published white papers on the subject of accumulator and maximizer programs
generally, some of which touch on the issues of health plans designating certain drugs as essential
or non-essential health benefits under the Affordable Care Act and the provision of copay
assistance to patients in high deductible or health savings account plans. These white papers do
not address non-medical switching (RFP No. 29). These white papers were developed by
TrialCard’s marketing team without input from JJHCS and are publicly available.

               RFP Nos. 8, 11, 12, & 16: As noted above, TrialCard will produce call notes for
patient calls using search criteria designed to capture relevant communications concerning
SaveOnSP, including those responsive to these requests, which seek all documents and
communications regarding “SaveOnSP’s communications with patients regarding CarePath,
including allegedly misleading or confusing communications,” “any alleged stress or confusion


2
    JJHCS produced certain of these materials in its April 28, 2023 production.


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caused by SaveOnSP,” and “any alleged harm caused by SaveOnSP to any Patient,” and JJHCS’s
payment of costs “that accumulate towards the Patient’s deductible or out-of-pocket maximum,”
respectively. We do not believe that TrialCard has any other documents responsive to this request
that are not also in the possession of JJHCS.

                RFP No. 10: We do not believe that TrialCard has any documents responsive to
this request that are not also in the possession of JJHCS.

                RFP Nos. 13-15, 17, 20, & 22:            These requests seek documents and
communications regarding a variety of subjects, including how SaveOnSP threatens the financial
viability of CarePath or has harmed JJHCS (RFP Nos. 13-15), any efforts to limit CarePath copay
assistance for Stelara or Tremfya patients (RFP No. 20), and any attempts to identify health plans
or patients enrolled in SaveOnSP (RFP No. 22), as well as certain data referenced in JJHCS’s
Complaint (RFP No. 17). Based on our investigation, to the extent that TrialCard participated in
the analysis of these questions, it would have been done at the request of, or in consultation with,
JJHCS. Thus, we do not believe that TrialCard has documents responsive to these requests that
are not also in the possession of JJHCS.

                RFP No. 24: This request seeks documents “sufficient to identify all JJHCS Hub
Entities and CarePath Care Coordinators.” TrialCard has agreed to produce organization charts
for the portions of its business that oversee CarePath. We do not believe that TrialCard has other
documents responsive to this request that are not also in the possession of JJHCS.

               RFP No. 25: This request seeks documents sufficient to show the economic terms
of JJHCS’s retention of TrialCard. JJHCS has agreed to produce its agreements, work orders, and
associated documents with TrialCard. We do not believe that TrialCard has other documents
responsive to this request that are not also in the possession of JJHCS.

                RFP No. 26: This request seeks documents sufficient to show the percentage of
patients who enroll in CarePath after being contacted by JJHCS, Janssen, any JJHCS Hub Entity,
or any other third party authorized to market CarePath. At our meet and confer, you explained
that you seek to understand “how many patients, after JJHCS (or its vendors, like TrialCard)
encourage them to enroll in CarePath, do enroll in CarePath and how many do not.” Apr. 28, 2023
Ltr. from A. Dunlap to G. Carotenuto at 2. TrialCard does not undertake marketing or advertising
efforts for CarePath and does not affirmatively reach out to patients to “encourage them to enroll
in CarePath.” TrialCard also does not track what percentage of patients ultimately enroll in
CarePath after those patients have affirmatively contacted TrialCard. As such, no analysis
responsive to this request exists at TrialCard.

                RFP No. 27: This request seeks documents and communications relating to
accumulators and maximizers and their effect on JJHCS’s return on investment for copay
assistance dollars. We do not believe that TrialCard has any documents responsive to this request
that are not also in the possession of JJHCS. To the extent that any analysis of JJHCS’s “return
on investment” for copay assistance dollars exists, any request for such an analysis would originate


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with JJHCS, as with RFP Nos. 13-15, 17, 20 and 22. Separately, as we have explained above,
TrialCard has published white papers on the subject of accumulator and maximizer programs
generally, but these do not relate to JJHCS’s return on investment.

               RFPs No. 32: This request seeks “all documents and communications regarding
this Action provided to you by any person or entity other than SaveOnSP, including in response to
subpoenas served in this Action.” We do not believe that TrialCard has any non-privileged
documents responsive to this request that are not also in the possession of JJHCS.

V.     Vague and Ambiguous Objections

                Other than as noted above or in our prior correspondence, TrialCard does not
intend to independently produce documents responsive to RFP Nos. 4, 8, 9, 15, 16, 18(a)-(h), 19,
21, 26, 27, 31, or 32. To the extent that that position changes, TrialCard will indicate whether it
believes any terms in those requests are vague and ambiguous and will provide an explanation of
how it intends to construe any such terms.
                                         *       *      *

               TrialCard reserves all rights and is available to meet and confer.



                                                         Very truly yours,




                                                         George Carotenuto




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                     Exhibit 3
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                                                                                                        www.pbwt.com




April 7, 2023                                                                          Harry Sandick
                                                                                       (212) 336-2723


VIA EMAIL

Andrew Dunlap, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104
adunlap@selendygay.com

                  Re:      TrialCard’s Responses and Objections to SaveOnSP’s Subpoena
                           Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
                           No. 22 Civ. 2632 (ES) (CLW)

Dear Andrew:

              We write on behalf of TrialCard in response to your March 15, 2023 letter regarding
TrialCard’s Responses and Objections to SaveOnSP’s Third Party Subpoena.

               First, SaveOnSP requests information as to whether “TrialCard is withholding any
documents on the basis that it believes that they are available in party discovery” with regard to
SaveOnSP’s RFP Nos. 2-22, 24-27, 29, and 32. As an initial matter, TrialCard will not produce
materials responsive to SaveOnSP’s RFP Nos. 4, 18 (a)-(h), and 19, because the Court sustained
JJHCS’s objections to the documents and communications sought by these requests in the March
17, 2023 discovery conference. With respect to SaveOnSP’s RFPs 2, 3, 18 (i)-(m), and 30, JJHCS
has already agreed to produce responsive documents on TrialCard’s behalf.

              With respect to the other RFPs, TrialCard is objecting to these requests because,
among other things, these requests are targeted at issues that are logically explored only through
party discovery and not through discovery from TrialCard. SaveOnSP’s “cut-and-paste”
document requests to TrialCard ignore the fact that while JJHCS’s understanding of various issues
may be relevant to the case, TrialCard’s independent understanding of these issues will not be
relevant, absent some reason to believe otherwise based on documents produced in party
discovery. For this reason, the production of documents by TrialCard on these issues is not
appropriate. This position is consistent with TrialCard’s general and/or specific objections to all
of SaveOnSP’s requests based on relevance.




Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000   F 212.336.2222
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Andrew Dunlap, Esq.
April 7, 2023
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               We provide further explanation of the nature of our objections below:

                RFP 5: This request seeks all documents and communications regarding CarePath
terms and conditions. While JJHCS is making a production of such documents, TrialCard was not
involved in any decisions regarding the drafting or revision terms and conditions. Nor is its
interpretation of those terms relevant. As a result, TrialCard will have no independent, relevant
information about the terms and conditions, such as the terms “offer” or “health plan,” and its
understanding of those terms (if any) is irrelevant to this case.

               RFP 6: This request seeks information about CarePath’s requirement that patients
make some payment toward their copay. TrialCard does not set the patient copay amounts.
TrialCard is not a party to the contract at issue in this case.

              RFP 7: This request seeks documents relating to how specialty drugs are designated
under the Affordable Care Act. JJHCS has agreed to produce certain documents that concern this
issue. There is no reason to believe that TrialCard would have documents relevant to JJHCS’s
understanding of these issues that are not available from JJHCS, and TrialCard’s own
understanding of these issues is irrelevant to this lawsuit.

               RFPs 13 and 14: These requests seek documents and communications about
SaveOnSP’s direct or indirect impact on the financial viability of CarePath. TrialCard is not
responsible for the financing of CarePath in any respect. Moreover, JJHCS has already agreed to
produce certain documents in response to these requests, and those documents will be produced in
the coming weeks.

                 RFP 15: This request seeks materials “regarding any alleged harm caused by
SaveOnSP to JJHCS.” JJHCS is already producing documents that are responsive to a similar
request. This is not an appropriate subject for third-party discovery, as TrialCard’s understanding
of this issue, to the extent it even has one, is not relevant.

               RFP 22: This request seeks documents “regarding JJHCS’s attempts to identify
health plans advised by SaveOnSP or Patients enrolled in such plans.” To the extent that TrialCard
may have been involved in the efforts to identify these patients and health plans, JJHCS’s
production will capture such documents and communications in the first instance.

               The same is true for the other RFPs identified in SaveOnSP’s letter: RFP 8
(SaveOnSP’s misleading communications); RFPs 9-10 (payments to patients in high deductible or
health savings account plans), RFP 11-12 (harm caused to patients in the SaveOnSP program),
RFP 16 (payment of patient costs), RFP 17 (documents relating to internal JJHCS data), RFP 20
(Stelara and Tremfya program changes), RFP 21 (payments in excess of program caps), RFP 22
(efforts by JJHCS to identify patients in health plans advised by SaveOnSP), and RFP 32
(TrialCard’s communications about the action). TrialCard’s understanding on the issues raised by
these requests is not relevant to the lawsuit, and TrialCard should not be required to produce




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documents in response to them unless party discovery demonstrates that TrialCard would have
documents that bear on JJHCS’s understanding of these issues.

               Second, SaveOnSP seeks additional information for RFP Nos. 1-3 and 18 to which
TrialCard responded that it had already agreed to produce responsive documents through JJHCS,
subject to objections already lodged by JJHCS. TrialCard will address each RFP below.

              RFPs 1 and 2: TrialCard confirms that it will produce its organization charts for
TrialCard between 2016 and 2022 through JJHCS.

                RFP 3: This request seeks all documents and communications “with or regarding
SaveOnSP, including those between You and JJHCS, You and any patients, and You and any other
Hub Entity.” TrialCard is available to meet and confer to discuss issues related to the collection
of call notes, recording and related records to determine an appropriate approach given issues
specific to the format in which those materials are maintained. Other responsive materials should
be pursued through party discovery.

               RFP 18: TrialCard will produce through JJHCS documents responsive to
SaveOnSP’s RFP 18 subparts (i) through (m), which seeks CarePath enrollment and claims data.
Pursuant to the Court’s order, TrialCard will not produce through JJHCS or otherwise documents
responsive to SaveOnSP’s RFP 18 subparts (a) through (h).

                 Bates-stamp identifier: TrialCard confirms that we will use a unique Bates-stamp
identifier to distinguish its document production from those documents produced by JJHCS.

              Third, SaveOnSP raises concerns about TrialCard’s relevance objections to
SaveOnSP’s RFPs 5, 6, 18 (i)-(m), 19, 20, 22, and 26. As you observe, in some cases TrialCard’s
relevance objections are broader than JJHCS’s relevance objections. This is for the same reason
noted above: while JJHCS’s understanding of various issues presented in this lawsuit may support
valid document requests, TrialCard’s understanding of these same issues will often be irrelevant.
We have discussed the nature of TrialCard’s objections to these requests earlier in this letter, except
for RFP 26. TrialCard will not produce documents responsive to this request due to its vague and
ambiguous nature, and the undue burden presented by the request as we understand it.

                Fourth, TrialCard confirms that it intends for its objections to the Time Period
applicable to SaveOnSP’s RFP Nos. 1, 2, 5-6, 18, 19, and 25-28 to be consistent with JJHCS’s
objections that request similar information. TrialCard will comply with any court order applicable
to those RFPs.

              Fifth, as SaveOnSP has explained, TrialCard has lodged a specific objection to the
vague and ambiguous nature of SaveOnSP’s RFP 4, 8, 9, 15, 16, 18, 19, 21, 26, 27, 31, and 32.
Many of these requests are also the subject of other objections. To the extent that TrialCard makes
a production in response to these RFPs, it will construe any vague or ambiguous terms in
accordance with TrialCard’s reasonable understanding of such terms and produce the responsive



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documents. If SaveOnSP wishes to clarify any of its requests, please advise us of any such
clarifications.

               Sixth, SaveOnSP asks whether TrialCard is withholding documents responsive to
RFP 7 based on our objection that it calls for views on a legal question. As noted, TrialCard’s
understanding of health plans’ ability to designate specialty drugs as Essential Health Benefits or
Non-Essential Health Benefits is irrelevant. TrialCard is a third-party with no insight into how
these designations are made and it has no influence over these designations—which of course are
not made by anyone at TrialCard. These are the grounds for TrialCard’s refusal to produce
documents at the present time, and not the fact that the request calls for legal interpretation.

            TrialCard is available to meet and confer on its responses and objections to
SaveOnSP’s RFPs.

                                                         Very truly yours,




                                                         Harry Sandick




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                     Exhibit 4
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   Selendy Gay PLLC                PageID: 31646
   1290 Avenue of the Americas
   New York NY 10104
   212.390.9000


   Hannah R. Miles
   Associate
   212 390 9000
   hmiles@selendygay.com




   March 13, 2024



   Via E-mail

   Sara A. Arrow
   Patterson Belknap Webb & Tyler LLP
   1133 Avenue of the Americas
   New York, NY 10036
   sarrow@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-JKS-CLW)

   Dear Sara,

          We write to ask that J&J agree that it has possession, custody, and control
   of documents held by TrialCard, Inc. (“TrialCard”) regarding work that TrialCard
   performed for J&J.

          Pursuant to Rule 34(a) of the Federal Rules of Civil Procedure, a party has
   an obligation to produce documents within its “possession, custody, or control.”
   Fed. R. Civ. P. 34(a). “Federal Courts construe ‘control’ very broadly under Rule
   34.” Maniscalco v. Brother Int’l Corp., No. 3:06-CV-4907 (FLW), 2010 WL
   762194, at *4 (D.N.J. Mar. 5, 2010). A party has control over documents if it “has
   the legal right or ability to obtain the documents from another source upon de-
   mand.” Mercy Catholic Med. Ctr. v. Thompson, 380 F.3d 142, 160 (3d Cir. 2004).

          J&J has the legal right to obtain upon demand, and thus controls, Trial-
   Card’s documents regarding its administration of CarePath. “[A] litigating party
   has control of documents if a contractual obligation requires a non-party to pro-
   vide requested documents to the litigating party upon demand.” Haskins v. First
   Am. Title Ins. Co., No. 10-CV-5044 (RMB)(JS), 2012 WL 5183908, at *1 (D.N.J.
   Oct. 18, 2012). The 2017 Master Services Agreement between TrialCard and J&J
   (“MSA”) 1 obligates TrialCard




   1 The MSA was produced with Bates number JJHCS_00011273.
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   Sara A. Arrow
   March 13, 2024




                                   MSA § 17.1.

                                              Id. Courts regularly find such contractual
   provisions sufficient to establish a litigant’s control over documents in the posses-
   sion of a third party. See, e.g., Mercy Catholic, 380 F.3d at 160–61 (establishing
   party’s control over non-party’s working papers via right to have papers “made
   available … at all reasonable times.”); In re Generic Pharms. Pricing Antitrust
   Litig., 571 F. Supp. 3d 406, 410–11 (E.D. Pa. 2021) (establishing party’s control
   through “right to access” non-party books and records); Rosie D. v. Romney, 256
   F. Supp. 2d 115, 119 (D. Mass. 2003) (establishing party’s “control” through con-
   tractual right to examine and copy non-party records).



                                                 See MSA § 8.2



                                                ); MSA § 17.2


                                                     ). Similar agreements to cooper-
   ate in litigation by a non-party have been found sufficient to establish the party’s
   legal right to obtain documents upon request, even if the party could not “force”
   the non-party’s compliance. Haskins, 2012 WL 5183908, at *4 n.4. Because J&J
   has the legal right to obtain relevant TrialCard documents upon request, it has
   “control” over those documents.

           J&J also has the practical ability to obtain TrialCard’s documents. Even
   where a party does not have a legal right to a third-party’s documents, “a com-
   pany’s ability to demand and have access to documents in the normal course of
   business gives rise to the presumption that such documents are in the litigating
   corporation’s control.” Camden Iron & Metal, Inc. v. Marubeni Am. Corp., 138
   F.R.D. 438, 443 (D.N.J. 1991). “One such business need is to provide highly rele-
   vant documents in litigation.” Id. at 444. Where, as here, a party and non-party
   share “documents helpful for use in the litigation, the courts will not permit [the
   party] to deny control for purposes of discovery by an opposing party.” Gerling
   Int'l Ins. Co. v. Comm’r, 839 F.2d 131, 141 (3d Cir. 1988). J&J and TrialCard are
   clearly collaborating in discovery, as evidenced by the many times J&J has prom-
   ised to make its own productions “from” or “through” TrialCard. See, e.g., Jan. 24,
   2024 Conf. Tr. at 21:10-17 (“We have already agreed to produce what are either
   directly through us or by asking our vendor, a company called Trial Card, to pro-
   duce what are known as benefits investigations. And those are the enforcement


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   Sara A. Arrow
   March 13, 2024



   documents. We’re in the process of making those productions for the relevant time
   period right now.”); Nov. 20, 2023 Responses & Objections to SaveOnSP’s Fourth
   Set of RFPs at 7 (“Subject to the foregoing objections, JJHCS will ask TrialCard,
   Inc. to produce all benefits investigation reports from the Time Period that reflect
   inquiries about whether a patient taking Stelara or Tremfya is enrolled in an accu-
   mulator or maximizer program (including SaveOnSP), to the extent such docu-
   ments exist and can be located after a reasonable search.”); Oct. 30, 2023 Conf. Tr.
   at 46:23-47:2 (“We produced call notes from thousands of calls at TrialCard, our
   vendor, that actually talks to the patients. We produced thousands of call notes
   from TrialCard to show how these things are being done.”); id. at 62:8 (“In addition
   to all of the categories that I just pointed out, we will also give them a production
   from TrialCard, which is our vendor, who we also represent and is subject to a sub-
   poena, we’ll give them benefits investigations that find any patient in a maximizer
   or a [sic] accumulator through to the present. Through to the present.”); June 27,
   2023 Conf. Tr. at 90:2-6 (““[T]he administrator is TrialCard, this third party that
   is also—that we have identified and we’ve made document production from–and
   probably we’ll be making more”). TrialCard confirms that it is making productions
   “as requested by” J&J. See Dec. 15, 2023 TrialCard Responses or Objections to
   SaveOnSP’s Second Set of RFPs at 14 (“TrialCard will produce certain responsive
   call recordings as requested by JJHCS.”).

         Please confirm that J&J agrees that it has possession, custody, and control
   over documents in TrialCard’s possession relating to TrialCard’s services for J&J.

          We request a response by March 20, 2024. We are available to meet and
   confer.

   Sincerely,

   /s/ Hannah Miles

   Hannah R. Miles
   Associate




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            EXHIBITS 5-7
   CONFIDENTIAL – FILED UNDER SEAL
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                     Exhibit 8
         Case 2:22-cv-02632-CCC-CLW                             Document 360-4                 Filed 08/27/24              Page 300 of 683
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of NewofJersey
                                                                               __________
       Johnson & Johnson Health Care Systems Inc.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 22-2632 (JMV) (CLW)
                       Save On SP, LLC                                        )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                             TrialCard Inc.
                                               2250 Perimeter Park Dr., #300, Morrisville, NC 27560
                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached requests for production.



  Place: Weno Process c/o Marcus Lawing                                                 Date and Time:
           4711 Hope Valley Road, Ste. 4F-604                                                                03/07/2023 5:00 pm
           Durham, NC 27707

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        02/17/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                               /s/ E. Evans Wohlforth, Jr.
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Defendant
Save On SP, LLC                                                          , who issues or requests this subpoena, are:
E. Evans Wohlforth, Jr., Gibbons P.C., One Gateway Center, Newark, NY 07102-5310

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
         Case 2:22-cv-02632-CCC-CLW                             Document 360-4                 Filed 08/27/24              Page 301 of 683
                                                                 PageID: 31652
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 22-2632 (JMV) (CLW)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



 JOHNSON & JOHNSON HEALTH CARE                      Civil Action No. 22-2632 (JMV) (CLW)
 SYSTEMS INC.,
                                                      NOTICE OF SUBPOENA FOR THE
                       Plaintiff,                      PRODUCTION OF DOCUMENTS

                v.

 SAVE ON SP, LLC,

                       Defendant.




       PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure 26, 34, and

45 Defendant Save On SP, LLC (“SaveOnSP”) requests TrialCard Inc. (“TrialCard”), to produce

for inspection and copying the documents listed in these Requests, to the office of the undersigned


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within 30 days of being served or at a time and place mutually agreed by the parties or ordered by

the Court.

       PLEASE TAKE FURTHER NOTICE that this demand for production of documents

shall be deemed continuing in nature to require supplemental responses if Plaintiff or Plaintiff’s

counsel obtain or locate further or additional documents subsequent to the time Plaintiff’s re-

sponses are served.



Dated: February 17, 2023                     By: /s/ E. Evans Wohlforth, Jr.
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                                          DEFINITIONS

        1.     The singular form of a word includes the plural, and vice versa.

        2.     Any tense of a verb includes all tenses.

        3.     Any natural person includes that person’s agents, assigns, attorneys, employees,

representatives, and successors.

        4.     Any entity other than a natural person includes (a) that entity’s present and former

agents, affiliates (foreign or domestic), assigns, attorneys, consultants, directors, divisions, em-

ployees, officers, parents, predecessors, representatives, servants, subsidiaries, and successors;

(b) any person or entity, directly or indirectly, wholly or in part, associated with, controlled by, or

owned by that entity; (c) and any other person or entity acting or purporting to act on behalf of

(a) or (b).

        5.     “Action” means this litigation styled as “Johnson & Johnson Health Care Systems

Inc. v. Save On SP, LLC” currently pending in the United States District Court for the District of

New Jersey, No. 22-2632 (JMV) (CLW).

        6.     “Affordable Care Act” means the Patient Protection and Affordable Care Act, Pub.

L. 148, 124 Stat. 119.

        7.     “All,” “any,” and “each” mean any and all.

        8.     “And” and “or” are construed both conjunctively and disjunctively.

        9.     “CarePath” means the Janssen copay assistance program marketed under the name

CarePath that provides financial support services for patients using specialty drugs researched,

developed, and marketed by the pharmaceutical companies of Johnson & Johnson, including

Janssen (as defined herein).




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        10.    “CarePath Care Coordinator” means any person or entity encompassed by that term

as used on CarePath’s “Contact Us” webpage, 1 as well as any person responsible for communi-

cating with patients who contact CarePath via an advertised help number (e.g., 877-CarePath).

        11.    “Communication” means the transmittal of information in the form of facts, ideas,

inquiries, or otherwise.

        12.    “Complaint” means JJHCS’s May 4, 2022 Complaint [ECF No. 1] or any subse-

quently amended Complaint in this Action.

        13.    “Copay Accumulator Service” means (a) any service provided by Pharmacy Bene-

fit Managers or insurance companies, or any third party providing services to the same, to manage

the cost of specialty drugs by preventing manufacturer copay assistance from counting towards a

patient’s deductible and out-of-pocket maximum and under which members remain responsible

for all or most of their plans’ copays, co-insurance requirements, and deductibles once copay as-

sistance has been exhausted; and (b) any definition JJHCS ascribes to the term “copay accumula-

tor.”

        14.    “Copay Assistance” means any type of patient support that allows a drug manufac-

turer to pay all or some of a patient’s prescription drug cost for that manufacturer’s drug.

        15.    “Copay Maximizer Service” means (a) any service provided by Pharmacy Benefit

Managers or insurance companies, or any third party providing services to the same, to manage

the cost of specialty drugs by preventing manufacturer copay assistance from counting towards a

patient’s deductible and out-of-pocket maximum and under which members do not remain respon-

sible for all or most of their plans’ copays, co-insurance requirements, and deductibles once copay




1
 See Contact Us, https://www.janssencarepath.com/patient/contact-us (last visited October 25,
2022).
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assistance has been exhausted; and (b) any definition JJHCS ascribes to the term “copay maxi-

mizer.”

          16.   “Document” means “document” and “electronically stored information” as defined

in the Federal Rules of Civil Procedure. A draft or non-identical copy is a separate document within

the meaning of this term.

          17.   “Essential Health Benefit” means, in the context of prescription drug benefits at

issue in this case, (a) a prescription drug benefit that satisfies the requirement for a plan to provide

essential prescription drug benefits under the Affordable Care Act or that is treated as such by a

plan; 2 and (b) any definition JJHCS ascribes to the term “essential health benefit” as used in the

Complaint.

          18.   “Identify” means (a) with respect to persons, to give, to the extent known, the per-

son’s full name, present or last known address, and when referring to a natural person, additionally,

the present or last known place of employment; (b) with respect to documents, either (i) to give,

to the extent known, the (A) type of document; (B) general subject matter; (C) date of the docu-

ment; and (D) author(s), addressee(s) and recipient(s); or (ii) to produce the documents, together

with sufficient identifying information sufficient to satisfy Federal Rule of Civil Procedure 33(d).

          19.   “Including” means including but not limited to.

          20.   “Janssen” means Janssen Biotech, Inc., Janssen Pharmaceuticals, Inc., Janssen

Products, LP, and Actelion Pharmaceuticals U.S., Inc., as well as any and all predecessors and

successors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents,

representatives, directors, officers, employees, committees, attorneys, accountants, and all persons




2
    45 C.F.R. §§ 156.122, 156.115.
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or entities acting or purporting to act on behalf or under the control of Janssen Biotech, Inc.,

Janssen Pharmaceuticals, Inc., Janssen Products, LP, or Actelion Pharmaceuticals U.S., Inc.

        21.     “Janssen Drug” means any Specialty Drug manufactured or sold by Janssen from

any time for which patients may receive copay assistance, including BALVERSA, DARZALEX,

DARZALEX FASPRO, ERLEADA, IMBRUVICA, OPSUMIT, REMICADE, RYBREVANT,

SIMPONI, STELARA, TRACLEER, TREMFYA, UPTRAVI, and ZYTIGA, as well as any other

specialty drugs that JJHCS asserts are at issue in this Action.

        22.     “JJHCS” means Johnson & Johnson Health Care Systems Inc. and any and all pre-

decessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or depart-

ments, agents, representatives, directors, officers, employees, committees, attorneys, accountants,

and all persons or entities acting or purporting to act on behalf or under the control of Johnson &

Johnson Health Care Systems Inc., including Centocor, Inc., Ortho Biotech Products LP, McNeil

Pharmaceutical, Ortho-McNeil Pharmaceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals,

Inc., Scios Inc., Janssen Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development,

LLC, Janssen Pharmaceuticals, Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc.,

Janssen BioPharma LLC, and Janssen Research & Development LLC.

        23.     “JJHCS Hub Entity” means any entity retained or utilized by JJHCS to administer,

in whole or in part, CarePath (including Lash Group and TrialCard), and any and all predecessors

and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments,

agents, representatives, directors, officers, employees, committees, attorneys, accountants, and all

persons or entities acting or purporting to act on behalf of such an entity.




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         24.    “Lash Group” means The Lash Group, Inc. and any and all predecessors and suc-

cessors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, rep-

resentatives, directors, officers, employees, committees, attorneys, accountants, and all persons or

entities acting or purporting to act on behalf or under the control of The Lash Group, Inc.

         25.    “Non-Essential Health Benefits” means, in the context of prescription drug benefits

at issue in this case, (a) any prescription drug benefit covered by a plan in excess of those necessary

for a plan to satisfy the requirements for providing essential prescription drug health benefits under

the Affordable Care Act 3 and designated by the plan as a non-essential health benefit; and (b) any

definition JJHCS ascribes to the term “non-essential health benefits” as used in the Complaint.

         26.    “Patient” means a natural person prescribed or eligible to be prescribed any Janssen

Drug, whether or not they use CarePath or are a participant in a health plan advised by SaveOnSP.

         27.    “Person” means a natural person or legal entity including any business or govern-

mental entity or association.

         28.    “Regarding” means (directly or indirectly, partially or wholly) about, alluding to,

assessing, bearing upon, commenting upon, comprising, concerning, confirming, connected to,

considering, containing, contradicting, dealing with, discussing, embodying, evaluating, evidenc-

ing, identifying, in connection with, indicating, in respect of, involving, memorializing, mention-

ing, noting, pertaining to, probative of, proving, recording, referring to, reflecting, relating to, re-

porting on, reviewing, setting forth, showing, stating, suggesting, summarizing, supporting, touch-

ing upon a subject, or having been created, generated, or maintained in connection with or as a

result of that subject.

         29.    “Request” means any of these Requests for Production.



3
    See 45 C.F.R. §§ 156.122, 156.115.
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       30.     “SaveOnSP” means Save On SP, LLC, and any and all predecessors and successors

in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, represent-

atives, directors, officers, employees, committees, attorneys, accountants, and all persons or enti-

ties acting or purporting to act on behalf or under the control of Save On SP, LLC.

       31.     “Specialty Drug” means any specialty pharmaceutical, medication, biologic, or

other therapy treated as a pharmaceutical for purposes of health plan benefit coverage.

       32.     “Stelara” means the Janssen Drug sold under that name.

       33.     “Tremfya” means the Janssen Drug sold under that name.

       34.     “TrialCard” means TrialCard Inc. and any and all predecessors and successors in

interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, representa-

tives, directors, officers, employees, committees, attorneys, accountants, and all persons or entities

acting or purporting to act on behalf or under the control of TrialCard Inc.

       35.     “TrialCard’s Employee Health Plans” means any health plan offered by TrialCard

to its employees.

       36.     “You” and “Your” means TrialCard.

                                         INSTRUCTIONS

       1.      These Requests seek production of material in Your possession, custody, or control.

Fed. R. Civ. P. 45(a)(1)(A)(iii).

       2.      These Requests seek production of nonprivileged material. Fed. R. Civ. P. 26(b)(1).

       3.      These Requests seek production of material that is proportional to the needs of this

case. Fed. R. Civ. P. 26(b)(1).

       4.      For each Request, either state that you will produce the requested material or state

with specificity the grounds for objecting to the Request, including the reasons. Fed. R. Civ. P.

45(d)(2)(B).
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       5.      An objection must be served before the earlier of the time specified for compliance

or 14 days after the subpoena is served. Fed. R. Civ. P. 45(d)(2)(B).

       6.      If you object to all or part of a Request, state whether you are withholding any

responsive material based on that objection.

       7.      If you object to part of a Request, specify the part and state that you will produce

documents responsive to the rest.

       8.      If you withhold responsive information by claiming that the information is privi-

leged or subject to protection as trial-preparation material, expressly make the claim and describe

the nature of the information privileged or protected in a manner that, without revealing infor-

mation itself privileged or protected, will enable SaveOnSP to assess the claim, Fed. R. Civ. P.

45(e)(2)(A), including by indicating whether any document exists regarding the information re-

quested and stating, to the extent the privilege is being asserted in connection with a claim or

defense governed by state law, the state privilege rule being invoked, Local Rule 34.1.

       9.      If a document responsive to a Request was once in your possession, custody, or

control and has since been lost or destroyed, provide (a) a detailed description of the document;

(b) the name of the author; (c) the names of all persons to whom the document was sent; (d) the

date on which the document was prepared or initially received; (e) the date on which the document

was lost or destroyed; and (f) if the document was destroyed, the manner of its destruction, the

reason for its destruction, the name of the person who requested or authorized its destruction, and

the name of the person who destroyed it.

       10.     Produce documents as they are kept in the usual course of business or in a form

specified in this subpoena. Fed. R. Civ. P. 45(e)(1)(b). For each document, identify the file or




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location from which it was taken and the name, affiliation, and position of the producing custodian

or non-custodial source.

       11.     Produce electronically stored information in the form and manner required by any

agreed-upon or court-ordered protocols. In the absence of any such protocol at the time of produc-

tion, consult SaveOnSP for further instruction.

       12.     Produce each document in its entirety, without abbreviation or redaction, including

all attachments or materials attached thereto.

       13.     Produce all versions of each document that are not identical to the original docu-

ment (including all drafts) whether due to handwritten notations, revisions, enclosures, attach-

ments, underlining, highlighting, or otherwise.

       14.     These Requests are deemed continuing. If after responding to any Request you learn

that your response is in some material respect incomplete or incorrect, supplement or correct your

response in a timely manner.

                                         TIME PERIOD

       Unless otherwise specified, these Requests cover from and including January 1, 2017,

through the present.

                                           REQUESTS

       1.      From January 1, 2009 through the present, Documents sufficient to show the or-

ganizational structure of TrialCard.

       2.      From January 1, 2009 through the present, Documents sufficient to show the or-

ganizational structure of any group or division within TrialCard involved in developing, managing,

marketing, or administering CarePath and to identify their employees.

       3.      All Documents and Communications with or regarding SaveOnSP, including those

between You and JJHCS, You and any patients, and You and any other Hub Entity.

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       4.      From January 1, 2009 through the present, all Documents and Communications

regarding the development, management, and marketing of CarePath or any other copay assistance

program offered for Janssen Drugs, including Documents and Communications regarding JJHCS’s

allegations in Complaint ¶¶ 6-7, 36-49.

       5.      From January 1, 2009 through the present, all Documents and Communications

regarding CarePath’s terms and conditions, including Documents and Communications regarding

(a) JJHCS’s allegations in Complaint ¶¶ 3, 8, 18-26, 102-103, 108; (b) all CarePath terms and

conditions for each Janssen Drug; (c) revisions to any of the CarePath terms and conditions for

any Janssen Drug; and (d) Your understanding of the term “offer” or “health plan” as used in

CarePath’s terms and conditions.

       6.      From January 1, 2009 through the present, all Documents and Communications

regarding CarePath’s requirement that Patients enrolled in CarePath make any payments towards

Janssen Drugs, including Documents and Communications regarding JJHCS’s basis for setting the

amounts of those payments and JJHCS’s allegations in Complaint ¶¶ 48-49, 70, 89.

       7.      From January 1, 2015 through the present, all Documents and Communications

regarding Your understanding of commercial health plans’ ability to designate specialty drugs as

Essential Health Benefits or Non-Essential Health Benefits under the Affordable Care Act and its

regulations, including Documents and Communications regarding JJHCS’s allegations in Com-

plaint ¶¶ 9-10, 43, 53-59, 71, 79.

       8.      All Documents and Communications regarding SaveOnSP’s communications with

Patients regarding CarePath, including allegedly misleading or confusing communications and

JJHCS’s allegations in Complaint ¶¶ 60-67, 109, ¶¶ 13, 75-77, 85-88.




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         9.    All Documents and Communications regarding SaveOnSP’s provision of services

to qualified high deductible or health savings account plans, including JJHCS’s allegations in

Complaint ¶ 72.

         10.   All Documents and Communications regarding JJHCS’s payment of copay assis-

tance funds to or on behalf of Patients enrolled in qualified high deductible or health savings ac-

count plans.

         11.   All Documents and Communications regarding any alleged stress or confusion

caused by SaveOnSP to any member of the public, including JJHCS’s allegations in Complaint

¶ 114.

         12.   All Documents and Communications regarding any alleged harm caused by Save-

OnSP to any Patient by allegedly making their healthcare more expensive, including JJHCS’s al-

legations in Complaint ¶ 114.

         13.   All Documents and Communications regarding how SaveOnSP directly or indi-

rectly affects or threatens the financial viability of CarePath, including Documents and Commu-

nications regarding JJHCS’s allegations in Complaint ¶ 114.

         14.   All Documents and Communications regarding how SaveOnSP directly or indi-

rectly affects or threatens the financial viability of any Copay Assistance Program other than Care-

Path, including Documents and Communications regarding JJHCS’s allegations in Complaint

¶ 114.

         15.   All Documents and Communications regarding any alleged harm caused by Save-

OnSP to JJHCS, including Documents and Communications regarding JJHCS’s allegations in

Complaint ¶ 110, 115.




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       16.     All Documents and Communications regarding JJHCS’s, Janssen’s, or any JJHCS

Hub Entity’s payment of any Patient’s costs, including those that accumulate towards the Patient’s

deductible or out-of-pocket maximum.

       17.     All Documents and Communications regarding the “internal JJHCS data” dis-

cussed in Complaint ¶¶ 92-101, including the complete databases from which that data was drawn.

       18.     From January 1, 2009 through the present, for each Janssen Drug for each year,

Documents sufficient to show:

               a.     all Patients receiving the Janssen Drug;

               b.     the number of fills of the Janssen Drug received by each such Patient;

               c.     the dosage of the Janssen Drug received by each such Patient for each fill;

               d.     the projected number of Patients, average number of fills, and average

                      dosage for the Janssen Drug;

               e.     the cost to manufacture the Janssen Drug;

               f.     the sales and marketing budget for the Janssen Drug;

               g.     the price of the Janssen Drug;

               h.     the revenue received by JJHCS from the Janssen Drug;

               i.     all Patients enrolled in the CarePath program for the Janssen Drug;

               j.     the dates on which each Patient was enrolled in CarePath;

               k.     the amounts of copay assistance funds that JJHCS offered to each Patient

                      enrolled in CarePath;

               l.     the Janssen Drugs for which each Patient enrolled in CarePath received

                      copay assistance; and




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             m.     all copay assistance payments that JJHCS made to or on behalf each Pa-

                    tient enrolled in CarePath.

      19.    From January 1, 2009 through the present, for each Janssen Drug for each year, all

Documents and Communications regarding:

             a.     JJHCS’s determination of the amounts of copay assistance funds that

                    JJHCS offered to Patients enrolled in CarePath, including the determina-

                    tion of the maximum program benefit per calendar year for the Janssen

                    Drug;

             b.     JJHCS’s budget for CarePath, including the sales and marketing budget;

             c.     JJHCS’s actual and projected annual costs for CarePath;

             d.     JJHCS’s use of or accounting for unused CarePath funds;

             e.     the impact of the Affordable Care Act on JJHCS’s CarePath budget or

                    funding, including the impact of laws and regulations regarding out-of-

                    pocket maximums;

             f.     JJHCS’s and Janssen’s revenue and revenue projections from fills by Pa-

                    tients enrolled in CarePath;

             g.     the impact of CarePath on Janssen’s sales of any Janssen Drug;

             h.     the impact of CarePath on JJHCS’s or Janssen’s gross to net calculations;

             i.     JJHCS’s or Janssen’s actual and projected return on investment for Care-

                    Path; and

             j.     any analysis of the adherence rates of Patients enrolled in CarePath to

                    Janssen Drugs, including such Patients enrolled in plans advised by Save-

                    OnSP.



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       20.     All Documents and Communications regarding JJHCS’s attempts to limit or elim-

inate the amount of CarePath copay assistance funds available to Patients using Stelara or Tremfya

based on whether the Patients’ plans allegedly reduce or eliminate Patients’ out-of-pocket costs,

including Documents and Communications regarding JJHCS’s attempts to limit or eliminate the

availability of CarePath copay assistance funds available to Patients enrolled in health plans ad-

vised by SaveOnSP.

       21.     All Documents and Communications regarding any offer by JJHCS to provide to

any Patient any CarePath funds greater than the amounts that JJHCS generally offers to CarePath

Patients or to waive any limitation on or elimination of the amount of CarePath copay assistance

funds available to a Patient.

       22.     All Documents and Communications regarding JJHCS’s attempts to identify health

plans advised by SaveOnSP or Patients enrolled in such plans.

       23.     From any time, all Documents and Communications regarding TrialCard’s negoti-

ations or agreements regarding the potential use of any Copay Maximizer Service or Copay Ac-

cumulator Service, for TrialCard’s Employee Health Plans, including any abandonment of those

negotiations or agreements.

       24.     Documents sufficient to identify all JJHCS Hub Entities and CarePath Care Coor-

dinators.

       25.     From January 1, 2009 through the present, Documents sufficient to show the eco-

nomic terms of JJHCS’s retention of or agreements with You, including any assessment of the fair

market value of those services.




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       26.     From January 1, 2009 through the present, documents sufficient to show the per-

centage of Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any JJHCS

Hub Entity, or any other third party authorized to advertise or market CarePath or Janssen Drugs.

       27.     From January 1, 2015 through the present, all Documents and Communications

relating to Copay Accumulator Services and Copay Maximizer Services and their effect on

JJHCS’s return on investment for copay assistance dollars.

       28.     From January 1, 2015 through the present, all Documents and Communications

relating to Your understanding of the terms “copay accumulator” and “copay maximizer.”

       29.     All Documents and Communications concerning non-medical switching by partic-

ipants of plans that implement SaveOnSP’s services, a Copay Accumulator Service, or a Copay

Maximizer Service.

       30.     Your document retention policies.

       31.     Complete data dictionaries for any data that You produce.

       32.     From any time, all Documents and Communications regarding this Action provided

to you by any person or entity other than SaveOnSP, including in response to subpoenas served in

this Action.




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                     Exhibit 1
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                                        Filed 05/04/22
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Attorneys for Plaintiff
Johnson & Johnson Health Care Systems Inc.

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

JOHNSON & JOHNSON                               :
HEALTH CARE SYSTEMS INC.,                           Civil Action No.
                                                :
                             Plaintiff,             Jury Trial Demanded
              vs.                               :

SAVE ON SP, LLC,                                :   COMPLAINT

                             Defendant.         :


       Plaintiff Johnson & Johnson Health Care Systems Inc. (“JJHCS”), having an address at

425 Hoes Lane, Piscataway, New Jersey 08854, for its Complaint against Defendant Save On

SP, LLC, 611 Jamison Road, Elma, New York 14059 (“SaveOnSP”), alleges as follows:

                            PRELIMINARY STATEMENT

       1.           JJHCS brings this action to stop SaveOnSP’s scheme to pilfer tens of

millions of dollars from the financial support program that JJHCS provides for patients. The

patient assistance that JJHCS provides is for patients—not for SaveOnSP or the health plans with
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which it partners.    By targeting and exhausting those funds for the benefit of its (and its

partners’) bottom line, SaveOnSP is increasing the cost of, and will ultimately render it untenable

to provide, the assistance that patients desperately require. That will irreparably harm JJHCS

and the patients it serves.

        2.           As a subsidiary of Johnson & Johnson, JJHCS provides funds to help

commercially insured patients afford the costs of valuable and life-saving therapies. Those costs

include the co-payments (“copays”)1 that insurance companies and private health plans

(“payers”) insist must be paid by patients to obtain their prescription drugs. Study after study

has shown that many patients cannot afford such copays, and will be forced to forgo vital

treatments unless help is provided to meet those obligations. JJHCS provides that support

through its patient assistance program. However, with the deliberate intent to manipulate and

thwart the purpose of JJHCS’s program, SaveOnSP devised and implemented a scheme (the

“SaveOnSP Program”) to inflate and misappropriate the funding JJHCS provides for patients by

interfering with the contractual relationship between JJHCS and patients.

        3.           SaveOnSP’s scheme works by (i) circumventing statutory constraints on the

level of copay costs that payers may require patients to pay for pharmaceuticals; (ii) inflating

patients’ copay costs in order to increase the funds extracted from JJHCS’s patient assistance

program and thereby reduce the portion of the drug cost that the payers otherwise would have to

pay to the pharmacy; (iii) using this artificially inflated copay cost to coerce patients to enroll in

a program run by SaveOnSP, in addition to, and in violation of the terms of, JJHCS’s patient




1
   In this Complaint, the term “copay” is generally meant to encompass both an out-of-pocket
fixed amount paid by the patient at the point of sale, as well as “co-insurance,” or an out-of-
pocket percentage of the cost of the product or service paid by the patient at the point of sale.

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assistance program; and (iv) leveraging its illicit SaveOnSP Program to surreptitiously extract

inflated amounts of patient assistance.

       4.           Through this artifice, SaveOnSP enriches the payers with which it partners

by (a) reducing the amount they pay to pharmacists for each prescription in the SaveOnSP

Program, and (b) increasing by a commensurate amount the costs to the JJHCS patient assistance

program. In return for this exploitation and interference with JJHCS’s program, the payers

reward SaveOnSP with a 25% commission on their “savings.”

       5.           As a result, the costs to JJHCS of providing patient support have exploded.

SaveOnSP has caused JJHCS to pay at least $100 million more in copay assistance than it

otherwise would have for a purpose JJHCS did not intend, depleting the support available for

patients who cannot afford their rising copays. SaveOnSP knows this, and nonetheless has

maliciously pursued this scheme to cause harm to JJHCS and the patients it supports while lining

its own pockets.

              Patient Out-of-Pocket Obligations & JJHCS’s Patient Assistance

       6.           JJHCS does not and cannot control the price that a patient is asked to pay at a

pharmacy when the patient goes to retrieve her or his medication. Rather, a patient’s copay cost

is determined and imposed by private payers and their affiliated entities. In recognition of the

increasing costs that patients have faced at the pharmacy, since 2016, JJHCS has provided

assistance to more than 2 million patients in order to help them defray their copay costs and more

easily afford their life-saving and life-improving therapies.

       7.           The patient assistance program at issue here, the Janssen CarePath Program

(“CarePath”), provides a portfolio of support services for patients using medications researched,

developed, and marketed by the pharmaceutical companies of Johnson & Johnson, including

Janssen Biotech Inc., Janssen Pharmaceuticals, Inc, Janssen Products, LP, and Actelion
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Pharmaceuticals U.S., Inc. (collectively, “Janssen”).       These medications include complex

biologic treatments for various cancers and serious immunological conditions. Without JJHCS’s

assistance, many patients would be unable to afford their medications, potentially leading them

to discontinue treatment, reducing their quality of life, and sometimes shortening their lives.

               SaveOnSP’s Actions Interfere with JJHCS’s Patient Assistance

       8.           SaveOnSP knows that JJHCS funds patient assistance programs like

CarePath to ease the burden on patients.2 Nevertheless, SaveOnSP has planned and executed a

scheme to exploit, interfere with, and ultimately render it untenable for JJHCS to continue the

CarePath program by inflating patients’ copay obligations to coerce patients to enroll in

SaveOnSP’s own program—in violation of CarePath’s terms and conditions.

       9.           The SaveOnSP Program at the heart of SaveOnSP’s scheme works by first

changing the designation of Janssen’s drugs—including live-saving cancer drugs and other

critical medications—from “essential health benefits” to non-essential health benefits under the

Affordable Care Act (“ACA”). Working in tandem with its payer partners, the SaveOnSP

Program reclassifies the medications as non-essential without regard to patients’ actual medical

needs and solely for SaveOnSP’s own profit motives.            Indeed, in a recorded presentation

available online, a SaveOnSP Program representative admits: “The moment we reclassify these

as non-essential we get to operate outside of those rules, which removes the limitations for how

high we set the copay, it removes the requirement to apply copay assistance dollars to the max

out-of-pocket. And that’s what allows us to be the most lucrative in terms of driving savings for

SaveOn.” See David Cook, IPBC and SaveonSP Training-20210216 1901-1, VIMEO, at 23:35

(Feb 17, 2021), https://vimeo.com/513414094 (hereinafter, SaveOnSP IPBC Video).

2
  SaveOnSP is well-versed in JJHCS’s program, as its founder is a former Johnson & Johnson
employee, and its CEO is also a former Johnson & Johnson employee.

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       10.          Once the SaveOnSP Program re-categorizes a drug as a non-essential health

benefit, it is no longer subject to the ACA’s annual out-of-pocket maximum that limits how

much patients with private insurance can be required to pay for their medical care each year.

The out-of-pocket maximum rule is meant to prevent patients from being forced to choose

between vital medication and other necessities of life, such as food, clothing and housing. In

direct contravention to this legislative intent, by reclassifying certain medications as non-

essential health benefits, the SaveOnSP scheme allows the payer to continue to charge the patient

inflated copay costs even where the patient has already satisfied their out-of-pocket maximum as

indicated during the SaveOnSP Program presentation:




Id. at 24:00. In addition, after removing a given drug from the purview of the ACA’s out-of-

pocket maximum, the SaveOnSP Program increases the patient’s copay for the given drug to an

artificially high amount—often thousands of dollars per dose. As explained by the SaveOnSP

Program representative, “[I]n order for us to capitalize on this copay assistance funding, we have

to have that inflated copay upfront to bill to copay assistance.” Id. at 49:26.

       11.          Further, in deciding which drugs to include in its program, SaveOnSP targets

drugs that “have the most lucrative copay assistance programs,” programs like CarePath. Id. at
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13:31.3 Once it has included those drugs in the SaveOnSP Program and the drug’s copay has

been inflated, SaveOnSP then targets patients who take the drug, using the threat of an inflated

copay to coerce them into enrolling in the SaveOnSP Program. Specifically, SaveOnSP tells

each patient that unless she enrolls in the SaveOnSP Program, she will have to pay the inflated

copay herself—and, making matters worse, the SaveOnSP Program will not count the thousands

she pays toward her deductible or out-of-pocket maximum. SaveOnSP’s offer is illustrated in

marketing materials available online:




Pay $0 for Select Specialty Medications, CIGNA (Aug. 2021), https://hr.richmond.edu/benefits/

insurance/medical-plans/pdf/SaveonSP.pdf (last visited Apr. 27, 2022).




3
  Similarly, in the same recorded presentation, the SaveOnSP Program representative admits that
the program works only if they are able to extract patient assistance: “In order for us to leverage
the savings, the member has to actively enroll in copay assistance. That’s where the savings
comes from.” SaveOnSP IPBC Video, supra ¶ 9, at 49:27.

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       12.         SaveOnSP engages in a concerted effort to communicate this coercive offer

to patients, including through phone calls and letters. This outreach campaign is illustrated by a

SaveOnSP Program slide deck available online:




Copay Assistance Program & Solutions, EXPRESS SCRIPTS, at 9 (2019), https://pebp.state.nv.us/

wp-content/uploads/2020/03/7.-Combined-for-website.pdf.

       13.         SaveOnSP even goes so far as to enlist the help of the pharmacy to reject a

patient’s claim for their prescription medication at the point of sale—to tell the patient that

insurance will not cover their prescription even though that medication is in fact covered—in

order to get the patient on the phone with SaveOnSP so that a representative can pressure the

patient to enroll in the SaveOnSP Program. This is highlighted in another SaveOnSP Program

slide deck, which admits engineering a “[p]oint of sale claim rejection” to “facilitate warm

transfer of member to SaveonSP”:

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Human Resources Committee Meeting, VILLAGE OF LINDENHURST ILLINOIS, at 69 (Mar. 11,

2021), https://www.lindenhurstil.org/egov/documents/1615238827_33717.pdf.

       14.         Of course, a choice between paying nothing for badly needed medication, or

paying thousands of dollars for that medication out of pocket, is—for most patients—no choice

at all. Indeed, many patients choose health plans precisely based on which plan purports to cover

their necessary medications. Unsurprisingly, therefore, once SaveOnSP’s offer is communicated

to the patients, most are coerced into accepting: “[T]hat’s often compelling enough for members

to say, ‘oh wait, I want my drugs for free.’” SaveOnSP IPBC Video, supra ¶ 9, at 46:25.

       15.         But while SaveOnSP is telling patients that their therapy will be “free” if

they enroll in the SaveOnSP Program, what SaveOnSP is really doing is also enrolling them in

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CarePath so that the cost of the artificially inflated copay is born by JJHCS and the entirety of

the funds JJHCS makes available via patient assistance are drained. This is revealed when the

SaveOnSP Program representative admits that patients may see an inflated copay on their

“invoice paperwork,” but “they will not be charged” that amount. Id. at 43:38; see also, e.g.,

Albuquerque Public Schools Summary of Benefits, EXPRESS SCRIPTS, at 2 (2021),

https://www.aps.edu/human-resources/benefits/documents/2021-summary-of-benefits/express-

scripts-summary-of-benefits    (stating that the cost of drugs for patients enrolled in SaveOnSP

“will be reimbursed by the manufacturer”).

       16.          Further, while SaveOnSP walks the patient through the process of enrolling

in programs like CarePath, SaveOnSP does not tell patients that CarePath is already available to

them without enrollment in the SaveOnSP Program, and already reduces patients’ out-of-pocket

costs to $10, $5, or even $0. In other words, the SaveOnSP Program exists not to benefit

patients, but solely to wrongfully meet the payer’s obligation to the patient using the cost support

made available by JJHCS for SaveOnSP’s own profit.

       17.          The SaveOnSP Program does not change the amount the pharmacist receives

for a prescription. It decreases the portion that the payer pays of that amount, and increases the

portion that the patient pays with patient assistance dollars. The payers’ “savings” is actually the

increased amount that payers withhold from pharmacists because the payers foist the obligation

onto patients, who will use CarePath dollars to pay it. SaveOnSP then calculates the payers’

“savings”—actually, the value the payer has gained by virtue of displacing its payment

obligation to JJHCS—and charges the payer a fee of 25%.

             SaveOnSP Disregards the Terms and Conditions of JJHCS’s Program

       18.          SaveOnSP’s scheme is expressly prohibited by the CarePath terms and

conditions, which do not allow the program to be used in connection with any “other offer” like
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the SaveOnSP Program. See, e.g., DARZALEX® Savings Program (Sept. 2021), https://www.

janssencarepath.com/sites/www.janssencarepath-v1.com/files/darzalex-faspro-yondelis-savings-

program-overview.pdf.

       19.          The SaveOnSP Program is such an “offer.” The SaveOnSP representative

expressly refers to the SaveOnSP Program in her presentation as the “SaveOn offering,”

SaveOnSP IPBC Video, supra ¶ 9, at 4:25; 27:31, and marketing materials state “That’s why

your plan offers a program called SaveOnSP, which can help lower your out-of-pocket costs to

$0.” See Pay $0 for Select Specialty Medications, supra ¶ 11 (emphasis added).

       20.          SaveOnSP is well aware of this prohibition on other offers because it

monitors drug manufacturers’ patient assistance terms and conditions. See SaveOnSP IPBC

Video, supra ¶ 9, at 31:59. Nevertheless, SaveOnSP continues to coerce patients into signing up

for and using the SaveOnSP Program—thereby inducing those patients to breach the terms and

conditions of their CarePath agreement with JJHCS.

       21.          SaveOnSP’s scheme harms patients in a number of ways, including by

selecting drugs for coverage based upon a profit motive and not medical need; wrongfully

engineering a denial of coverage at the point of sale to coerce patients to participate in the

program; and not counting any of the funds spent on patients’ medication towards their ACA

maximum or deductible, thereby making their other healthcare needs more expensive.

       22.          Further, by imposing on JJHCS inflated costs that are not tethered to actual

patient need, SaveOnSP’s scheme ultimately will make it cost prohibitive for JJHCS to offer

patient assistance. This result is aligned with the interest of payers, which have used a variety of




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tactics—widely condemned by patient advocacy groups4—to deprive patients of the benefits of

patient assistance. As payers well know, eliminating patient assistance will result in patients

seeking less medicine than they otherwise need and would obtain, which would in turn increase

payers’ profits.5

       23.            SaveOnSP’s scheme also harms JJHCS. SaveOnSP depletes the CarePath

funds intended to help patients afford their Janssen medication, and causes JJHCS to pay out

thousands of dollars more per patient in CarePath funds than it otherwise would pay, solely for

SaveOnSP’s and its partners’ profit.

       24.            SaveOnSP concedes this misappropriation and diversion.           Marketing

materials for the SaveOnSP Program tout the “savings” that it generates for payers.           For

example, one health plan projected $600,000 in annual “savings” from implementing the

SaveOnSP Program.         See SaveOnSP for Specialty Medications, VALLEY CENTER PAUMA

UNIFIED      SCHOOL    DISTRICT,   https://vcpusd.learning.powerschool.com/c/1720900/file/show/

159819292; see also Copay Assistance Program & Solutions, supra ¶ 12, at 8 (projecting $1.9

4
  For instance, the “All Copays Count Coalition,” made up of more than 60 groups representing
patients with serious and chronic health conditions, has engaged in a concerted effort to stop
payer use of “accumulators,” programs that identify patient assistance funds and refuse to count
them toward the patient’s deductible or out-of-pocket maximum. See New Insurance Policies
Are Targeting Vulnerable Patients with High Copays, NAT’L HEMOPHILIA FOUND.,
https://www.hemophilia.org/advocacy/federal-priorities/make-all-copays-count#ACCC           (last
visited Apr. 27, 2022). Accumulators and the harms they cause to patients are discussed in
greater detail in Section III, infra.
5
  Certain payers have argued that copay assistance programs artificially increase payers’ costs by
“incentivizing patients to take brand-name drugs instead of cheaper bioequivalent generics” or
even by incentivizing patients to take medications they do not require. See, e.g., Tomas J.
Philipson et al., The Patient Impact of Manufacturing Copay Assistance in an Era of Rising Out-
of-Pocket, UNIV. CHI. (Dec. 2021), at 18, https://cpb-us-w2.wpmucdn.com/voices.uchicago.edu/
dist/d/3128/files/2021/12/2021_12_15-Copay-Assistance-Final-Draft-Clean.pdf (last visited Apr.
27, 2022). Beyond the absurdity of suggesting that copay assistance causes a patient suffering
from cancer to take a cancer therapy they do not require, this argument overlooks that copay
assistance is often used for specialty drugs without a generic substitute. Id.; see infra ¶ 34.

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million in “savings” in 2020 for one health plan from implementing SaveOnSP); Copay

Assistance Strategy Reduces Financial Burdens for Plans and Patients, EVERNORTH (Oct. 7,

2021),         https://www.evernorth.com/articles/reduce-costs-for-health-care-plans-with-copay-

program-assistance (advertising that “[i]n 2020, plans that participated in these copay assistance

solutions [like the SaveOnSP Program] experienced a specialty [drug cost] trend of -7.2%, while

nonparticipating plans experienced an 8.7% specialty [drug cost] trend.”). But in fact, these

“savings” are simply diverted CarePath funds that were intended to benefit patients, not payers.

         25.        Patient assistance does not exist so that SaveOnSP can enrich payers further

while taking a cut itself. Indeed, payers already negotiate enormous price concessions from

manufacturers, including rebates that manufacturers pay when a patient fills a prescription. In

2021 alone, Janssen paid more than $8 billion in rebates, discounts, and fees to commercial

insurers and pharmacy benefit managers. See The 2021 Janssen U.S. Transparency Report, at 6,

https://2021jtr.prod.cmc.jnj-secondary.psdops.com/_document/the-2021-janssen-u-s-

transparency-report?id=00000180-0108-dccf-a981-a52ec8300000 (last visited Apr. 27, 2022);

see also Form 10-K, CIGNA CORP., at 37 (Feb. 24, 2022), https://investors.cigna.com/

financials/sec-filings/default.aspx (“We maintain relationships with numerous pharmaceutical

manufacturers, which provide us with, among other things: . . . discounts, in the form of rebates,

for drug utilization.”). SaveOnSP acknowledges that these payer rebates are a “completely

different set of funds” from patient assistance—which, SaveOnSP further acknowledges, is made

available pursuant to “an agreement between the member and the manufacturer.” SaveOnSP

IPBC Video, supra ¶ 9, at 24:32-24:50. By tortiously interfering with that agreement between

JJHCS and patients, SaveOnSP wrongfully enables payers to “double-dip” into both

manufacturer rebates and copay assistance.


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       26.          SaveOnSP should not be permitted to profiteer on the backs of patients by

exploiting JJHCS’s patient assistance. SaveOnSP should therefore be enjoined from including

Janssen drugs in the SaveOnSP Program, and should be ordered to compensate JJHCS for the

funds it caused to be wrongfully extracted from CarePath.

                                       THE PARTIES

       27.          Plaintiff JJHCS is a corporation organized under the laws of the State of New

Jersey, with its principal place of business at 425 Hoes Lane, Piscataway, New Jersey 08854.

JJHCS is a subsidiary of Johnson & Johnson, and administers CarePath for the benefit of patients

who are prescribed medications marketed by other Johnson & Johnson entities that are not fully

paid for by private insurance.

       28.          Defendant SaveOnSP is a limited liability company organized under the laws

of the State of New York, with its principal place of business at 611 Jamison Road, Elma, New

York 14059. SaveOnSP advertises and administers its program (the “SaveOnSP Program”) in

partnership with pharmacy benefits manager Express Scripts, Inc. (“Express Scripts”) and

specialty pharmacy Accredo Health Group, Inc. (“Accredo”).           SaveOnSP has operations,

including a call center, in Buffalo, New York. It also makes its client payers sign a joinder

agreement governed by the laws of New York, and, on information and belief, accepts payments

for its services in New York. Upon information and belief, none of the members of SaveOnSP

are citizens of New Jersey.

                                 JURISDICTION AND VENUE

       29.          This Court has personal jurisdiction over SaveOnSP because SaveOnSP has

sufficient minimum contacts with New Jersey so as to render the exercise of jurisdiction by this

Court permissible under traditional notions of fair play and substantial justice. SaveOnSP

actively implements the SaveOnSP Program in New Jersey, including by offering the SaveOnSP
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Program to New Jersey payers, and by inducing New Jersey patients to enroll in the SaveOnSP

Program.

       30.         Venue is proper pursuant to 28 U.S.C. § 1391(b) because “a substantial part

of the events or omissions giving rise to the claim” occurred in this judicial district, including

SaveOnSP’s offering of the SaveOnSP Program to New Jersey payers, New Jersey patients’

enrollment in the SaveOnSP Program, violation of CarePath’s terms and conditions, and

JJHCS’s injury as a result of SaveOnSP’s wrongful acts.

       31.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332

because the amount in controversy in the present action exceeds the sum or value of seventy-five

thousand dollars ($75,000.00), exclusive of interests and costs, and complete diversity of

citizenship between the parties exists because JJHCS is a citizen of New Jersey, while

SaveOnSP’s members are not.

                               FACTUAL ALLEGATIONS

  I.   The Pharmaceuticals for which JJHCS Offers Support Have Improved and Saved
       the Lives of Countless Patients

       32.         The pharmaceuticals for which JJHCS offers support are essential to patients’

health and, in some cases, survival. These pharmaceuticals include treatments for various forms

of cancer (for example, DARZALEX®, ERLEADA®), pulmonary arterial hypertension (for

example, OPSUMIT®, TRACLEER®, UPTRAVI®), and various autoimmune disorders (for

example, REMICADE®, STELARA®, TREMFYA®).

       33.         A significant percentage of CarePath funds are provided for treatments

known as “biologics,” which are medications developed from living materials, usually cells, and

which have complex molecular structures that are not easily definable. This complexity is in

contrast to more conventional medications, which tend to be chemically synthesized and have

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simpler molecular structures. Because of this complexity, biologic therapies cannot be precisely

copied, meaning that there are no “generic” versions of these molecules that can be substituted

for branded products without a physician’s prescription, as there are for simpler chemical

compounds.6 See also Tomas J. Philipson et al., The Patient Impact of Manufacturing Copay

Assistance in an Era of Rising Out-of-Pocket, UNIV. CHI. (Dec. 2021), at 18, https://cpb-us-

w2.wpmucdn.com/voices.uchicago.edu/dist/d/3128/files/2021/12/2021_12_15-Copay-

Assistance-Final-Draft-Clean.pdf (last visited Apr. 27, 2022) (noting that “copay cards are used

primarily for brand drugs without a generic substitute”).

       34.          Biologics remain at the cutting edge of medical science, and they are often

used to treat life-altering medical conditions for which no other treatments are available.

Janssen’s biologic treatments are essential to the health of patients in a variety of important

therapeutic areas, including immunology, oncology, and pulmonary hypertension. For example,

STELARA® is an immunology biologic used to treat hundreds of thousands of patients in the

United States for Crohn’s disease, ulcerative colitis, and other chronic health conditions.

TREMFYA® is an immunology biologic used to treat joint pain, stiffness, and swelling caused

by psoriatic arthritis, as well as painful patches on the skin caused by moderate-to-severe plaque

psoriasis. DARZALEX® is an oncology biologic used to treat multiple myeloma, a form of

cancer that targets plasma cells found in bone marrow. For these and most of Janssen’s other




6
    There are “biosimilar” versions of certain biologics on the market. See Biosimilar and
Interchangeable      Products,    FDA,      https://www.fda.gov/drugs/biosimilars/biosimilar-and-
interchangeable-products (last visited Apr. 27, 2022) (“A biosimilar is a biological product that
is highly similar to and has no clinically meaningful differences from an existing FDA-approved
reference product.”). A biosimilar may also qualify for a designation by the FDA that it is
“interchangeable” with the original branded product. Currently, there are no FDA-approved
interchangeable biosimilars for any Janssen product.

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biologic therapies, there are currently no FDA-approved “biosimilar” versions of the same

molecule on the market.

       35.           Developing these biologics is an expensive and risky venture for Janssen and

other pharmaceutical manufacturers. In order to produce safe and effective biologic treatments,

Janssen makes enormous investments in research and development. Even so, only 1 in 5,000

drug candidates makes it from discovery to market, and even for successful drugs, the entire

process takes approximately 10 to 12 years. Further adding to the expense, biologics require

rigorous quality control during the manufacturing process, as they are sensitive to even minute

changes in raw materials and can be compromised by changes in temperature or microbial

contamination. Manufacturing biologics thus requires specialized manufacturing equipment and

facilities. Without manufacturers like Janssen who are willing to take on these risks and costs,

innovative and life-saving biologic treatments would not be available to patients suffering from a

range of diseases.

 II.   CarePath Offers Patients Thousands of Dollars in Financial Assistance to Help
       Defray Out-of-Pocket Costs that Limit Access to Medication

       36.           Patients with private commercial health insurance, especially those with

acute complex medical conditions, are increasingly subject to higher and higher cost-sharing

obligations imposed by their insurers, making it harder for patients to access medications

prescribed by their doctors.

       37.           Health insurance plan sponsors do not typically determine these obligations

alone. Rather, they contract with entities known as “Pharmacy Benefits Managers” or “PBMs.”

PBMs are companies that manage prescription drug benefits on behalf of health insurance plans.

They often serve as middlemen with an aim towards increasing insurers’ and their own profits by



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determining which drugs a plan will cover and to what extent they will be covered. Express

Scripts, Inc. is a PBM.

         38.        PBMs are also often part of even larger, vertically integrated organizations

that offer other services in the health insurance field. For example, such organizations may offer

health insurance themselves or operate specialty pharmacies, i.e., pharmacies that dispense

complex pharmaceuticals like biologics that require special handling and care. Express Scripts,

for example, is itself a subsidiary of the major insurance company Cigna.

         39.        In their role as middlemen, PBMs have presided over the rise of high cost-

sharing insurance plans, which feature higher than usual deductibles, copays, and co-insurance.

In essence, these plans pressure patients to limit their medical expenses by covering the full cost

only after significant contributions by the patients. For instance, when a patient’s health plan has

a deductible, he or she must pay the entire price for the drug until the deductible threshold is met.

Only once the deductible is met will the payer help the patient pay for the drug, at which point

the patient may still pay either a fixed amount known as a copay, or a percentage of the drug’s

price, known as co-insurance.

         40.        Health plans with deductibles for prescription medications are becoming

more common. Between 2012 and 2017, the share of employer-sponsored health plans requiring

patients to meet a deductible for prescription medications rose from 23% to 52%. See Faced

with High Cost Sharing for Brand Medicines, Commercially Insured Patients with Chronic

Conditions Increasingly Use Manufacturer Cost-Sharing Assistance, PHRMA, at 3 (Jan. 29,

2021),     https://phrma.org/-/media/Project/PhRMA/PhRMA-Org/PhRMA-Org/PDF/D-F/Faced-

with-High-Cost-Sharing-for-Brand-Medicines.pdf.




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        41.             These high-cost sharing models have been found to discourage patients from

filling their prescriptions and can lead to abandonment of treatment. See, e.g., Katie Devane et

al., Patient Affordability Part Two: Implications for Patient Behavior & Therapy Consumption,

IQVIA         (2018),      https://www.iqvia.com/locations/united-states/library/case-studies/patient-

affordability-part-two (finding that 52% of new patients with an out-of-pocket cost of $125 to

$250 abandoned treatment, and 69% of new patients with an out-of-pocket cost of $250.01

abandoned treatment); Jalpa A. Doshi et al., Association of Patient Out-of-Pocket Costs With

Prescription Abandonment and Delay in Fills of Novel Oral Anticancer Agents, JOURNAL OF

CLINICAL ONCOLOGY (Dec. 20 2017), https://ascopubs.org/doi/abs/10.1200/JCO.2017.74.5091

(finding that abandonment of oral cancer treatment increased from 10% for patients with a $10

out-of-pocket cost or less to 31.7% for patients with a $100.01 to $500 out-of-pocket cost, 41%

for patients with a $500.01 to $2,000 out-of-pocket cost, and 49.4% for patients with an out-of-

pocket cost exceeding $2,000); Michael T. Eaddy, How Patient Cost-Sharing Trends Affect

Adherence and Outcomes, PHARMACY & THERAPEUTICS (Jan. 2012), https://www.ncbi.nlm.

nih.gov/pmc/articles/PMC3278192/ (conducting literature review of 160 articles from January

1974 to May 2008 and finding that “85% showed that an increasing patient share of medication

costs was significantly associated with a decrease in adherence”).

        42.             Patient abandonment of prescribed medication is a serious, potentially fatal

problem. It is associated with “poor therapeutic outcomes, progression of disease, and an

estimated burden of billions per year in avoidable direct health care costs.” Aurel O. Iuga &

Maura J. McGuire, Adherence and Healthcare Costs, 7 RISK MGMT. HEALTHCARE POLICY 35

(Feb. 2014), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3934668/.




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       43.          In order to limit the negative effects of inflated out-of-pocket costs, the ACA

places annual limits on the amount of out-of-pocket costs a payer can force a patient to pay for

so-called “essential health benefits,” which includes many prescription drugs. See 45 C.F.R.

§ 156.130(a). For example, the annual ACA out-of-pocket maximum for the 2022 plan year is

$8,700 for an individual and $17,400 for a family.             See Out-of-Pocket Maximum/Limit,

HEALTHCARE.GOV,        https://www.healthcare.gov/glossary/out-of-pocket-maximum-limit/           (last

visited Apr. 27, 2022). Nevertheless, that threshold is high enough that many patients would still

be unable to afford the costs of their medication without help.

       44.          Thus, in the face of these ever-increasing cost-share obligations, financial

assistance like that provided by JJHCS has become an important safety net helping patients pay

for necessary medications. See The Patient Impact of Manufacturing Copay Assistance in an

Era of Rising Out-of-Pocket, supra ¶ 33, at 2 (explaining that “[m]anufacturer copay assistance is

a tool to ensure drug affordability in response to higher list prices and shifts in benefit design that

put more out-of-pocket burden on commercial patients” and that “[w]ithout copay assistance, . . .

OOP spending would have increased 3.4 percent from 2015 to 2019, growing from $46.6 billion

to $48.2 billion. However, due to the growing use of copay cards in response to growing OOP

exposure, patients faced a lower OOP burden, so actual OOP spending paid by patients was

lower and decreased 6.3 percent, from an estimated $38.6 billion to $36.2 billion”). Such

financial assistance is offered in the form of programs providing patients with coupons or a card

that they can then use when purchasing their prescription medications.

       45.          Patients with chronic illnesses are increasingly reliant on patient assistance to

afford their medications. For example, in 2019, 32% of patients filling brand-name oncology

medicines used patient assistance, as did 45% of patients filling brand-name depression


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medicines, 55% of patients filling brand-name HIV medicines, and 70% of patients filling brand-

name multiple sclerosis medicines.      Faced with High Cost Sharing for Brand Medicines,

Commercially Insured Patients with Chronic Conditions Increasingly Use Manufacturer Cost-

Sharing Assistance, supra ¶ 40, at 6. Without patient assistance, average patient out-of-pocket

costs for brand medicines would have been 225% to 1,096% higher in 2019, depending on the

illness category. Id. at 7; see also The Patient Impact of Manufacturing Copay Assistance in an

Era of Rising Out-of-Pocket, supra ¶ 33, at 2 (noting that “[c]opay cards are even more important

to offset high-cost exposures for patients taking specialty drugs as 50 percent of patients taking a

specialty brand drug use copay cards versus 33 percent of patients on traditional brand drugs.

The savings from copay cards lead patients to have similar final OOP costs between specialty

drugs and traditional drugs due to an average savings of $1,548 for specialty drugs and only

$414 for traditional drugs”). On average, patient assistance helped patients taking brand HIV

and oncology medicines with more than $1,600 in costs, and patients taking brand MS medicines

with more than $2,200 in costs. See Faced with High Cost Sharing for Brand Medicines,

Commercially Insured Patients with Chronic Conditions Increasingly Use Manufacturer Cost-

Sharing Assistance, supra ¶ 40, at 7.

       46.          These savings are critical to improving and saving the lives of patients who

have private insurance without causing them to choose between treatment and other necessary

expenditures, such as food, clothing and housing.        Multiple studies have found that when

manufacturers help patients pay their out-of-pocket costs, patients are more likely to obtain their

medication and adhere to their treatment regimens. See, e.g., Anna Hung et al., Impact of

Financial Medication Assistance on Medication Adherence: A Systematic Review, 27 J. MGMT.

CARE SPECIALTY PHARM. 924 (July 2021); The Patient Impact of Manufacturing Copay


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Assistance in an Era of Rising Out-of-Pocket, supra ¶ 33, at 4 (“[A]ffordability offered by copay

assistance has resulted in increased utilization of needed drugs. . . . Copay cards lower the out-of-

pocket costs for patients leading them to increase their utilization by 4.8 to 16.7 percent.”);

Matthew Daubresse et al., Effect of Prescription Drug Coupons on Statin Utilization and

Expenditures: A Retrospective Cohort Study, 37 PHARMACOTHERAPY 12 (Jan. 2017),

https://accpjournals.onlinelibrary.wiley.com/doi/10.1002/phar.1802.

       47.          CarePath helps patients afford out-of-pocket costs for 44 Janssen drugs. For

most of these drugs, CarePath offers patients up to $20,000 in assistance towards their out-of-

pocket costs per calendar year. This assistance is meant not only to help patients afford their out-

of-pocket costs for medications, but also to help patients meet their deductible and ACA out-of-

pocket maximums, thereby allowing patients to more easily afford their healthcare overall.

       48.          To be eligible for CarePath, patients must meet certain criteria set forth in

CarePath’s terms and conditions. Relevant here, patients using CarePath must be enrolled in

commercial or private health insurance (not, for example, Medicare). For some drugs, patients

agree to pay $5 or $10 themselves at the point of sale. Also, the terms state that CarePath “may

not be used with any other coupon, discount, prescription savings card, free trial, or other offer.”

(emphasis added). And patients agree that they “meet the program requirements every time

[they] use the program.” See, e.g., DARZALEX® Savings Program, supra ¶ 18.

       49.          Patients may enroll in CarePath online using the MyJanssenCarePath.com

website, by phone, or via mail or fax by filling out and sending an enrollment form. Once

enrolled, patients receive a card they can then use at the point of sale to cover the out-of-pocket

costs for their prescription medication minus the $5 or $10 they agreed to pay themselves.




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III.   SaveOnSP Employs a Scheme to Drain Patient Assistance Program Funds for Its
       Own Benefit and the Benefit of Its Partners

       50.          Although programs like CarePath are meant to help patients, payers and

PBMs have devised a set of evolving schemes designed to capture the benefit of patient

assistance funds.7 The scheme at issue in this lawsuit represents the latest in this line, and is

administrated by SaveOnSP.

       51.          SaveOnSP’s business model is to drain patient assistance from programs like

CarePath by increasing patient out-of-pocket costs in a manner that serves no end other than to

maximize profits for SaveOnSP and its partners. SaveOnSP’s compensation is based on a

contingency fee; it is paid a percentage based on the amount of patient assistance it is able to

extract from manufacturer programs like CarePath. In partnership with PBM Express Scripts

and specialty pharmacy Accredo, SaveOnSP markets and sells its program to payers, and then

induces patients to enroll.

       52.          The contours of the SaveOnSP Program, and the partnership between

Express Scripts and SaveOnSP in particular, are governed by a non-public “Master Program

7
    For instance, for years and continuing today, various payers and PBMs have employed
programs known as “accumulators.” These programs work by identifying and accepting
manufacturer copay assistance, but refusing to count it toward the patient’s deductible or out-of-
pocket maximum. Adam J. Fein, Copay Maximizers Are Displacing Accumulators—But CMS
Ignores How Payers Leverage Patient Support, DRUG CHANNELS (May 19, 2020),
https://www.drugchannels.net/2020/05/copay-maximizers-are-displacing.html. Because none of
the patient assistance counts towards the patient’s deductible or out-of-pocket maximum, the
scheme delays or prevents the patient from meeting those thresholds, and patient assistance that
would normally be sufficient to last all year gets completely used up much earlier. Id. This
leads to serious patient harm, as the patient will eventually go to fill a prescription and be
shocked to learn that the patient assistance has run out and that the deductible and out-of-pocket
maximum still have not been met—meaning he or she will have to pay the full list price or leave
empty handed. Id. Patients often simply cannot afford to pay such costs without assistance,
leading many patients to discontinue their treatment. The harm caused by such programs has led
11 states to ban them. Joseph Cantrell, State Legislative Issues to Watch in 2022, THE
RHEUMATOLOGIST (Jan. 7, 2022), https://www.the-rheumatologist.org/article/state-legislative-
issues-to-watch-in-2022/.

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Agreement, effective November 13, 2017.” See Res. 20-660, CITY OF JERSEY CITY, Exhibit B

(Sept. 10, 2020), https://cityofjerseycity.civicweb.net/document/33785/Express%20Scripts%20-

%20SaveOn%20Program.pdf.          Further, SaveOnSP’s public-facing website provides limited

information about how its program functions. See Frequently Asked Questions, SAVEONSP,

https://www.saveonsp.com/employers/ (last visited Apr. 27, 2022).

        53.          Nevertheless, SaveOnSP’s modus operandi is revealed in a video posted

online showing a SaveOnSP Program presentation to an Illinois-based health insurance plan

sponsor. See SaveOnSP IPBC Video, supra ¶ 9. In the presentation, the representative admits

that the SaveOnSP Program works by designating drugs covered under the health plan as non-

essential health benefits: “for a number of drugs, we can carve them out and create a different

benefit design, where we designate these drugs as non-essential.” Id. at 5:30.

        54.          This designation prevents any money paid towards the drug from applying to

the ACA’s annual limit. Id. at 7:23 (“[W]e’re not gonna allow [patient assistance] to hit [the

patient’s] max out-of-pocket.”).    This is because the ACA’s annual limit applies only to

“essential health benefits.” See 45 C.F.R. § 155.20 (defining “cost sharing” so that the annual

out-of-pocket maximum applies only to “any expenditure required by or on behalf of an enrollee

with respect to essential health benefits” (emphasis added)).

        55.          As is clear from the presentation, there is no legitimate medical reason for

applying the designation, as the drugs are plainly essential for the health and well-being of many

patients.     Rather, SaveOnSP uses the designation to extract as much money from patient

assistance as possible: “The moment we reclassify these as non-essential we get to operate

outside of those rules, which removes the limitations for how high we set the copay, it removes

the requirement to apply copay assistance dollars to the max out-of-pocket. And that’s what


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allows us to be the most lucrative in terms of driving savings for SaveOn.” SaveOnSP IPBC

Video, supra ¶ 9, at 23:35.

        56.         This “inflated” copay cost is essential to the SaveOnSP Program’s mission of

siphoning off patient assistance funds from programs like CarePath: “in order for us to capitalize

on this copay assistance funding, we have to have that inflated copay upfront to bill to copay

assistance.” Id. at 19:01. For example, the representative explains, if the amount of assistance

per fill is $6,600: “we would literally set the patient copay to $6,600, and you would save that

amount on every fill.” Id. at 6:11. To be clear, the “you” in this presentation is the payer—not

the patient.

        57.         SaveOnSP’s method exploits what it perceives as a loophole in the ACA. To

cover the required number of prescription drugs mandated by the ACA, a payer must identify as

“essential” the greater of “(i) One drug in every United States Pharmacopeia (USP) category and

class” or “(ii) The same number of prescription drugs in each category and class as the EHB-

benchmark plan.”8 45 C.F.R. § 156.122(a)(1); see also 42 U.S.C. § 18022(b)(1) (specifying that

the Secretary of HHS shall “define the essential health benefits” including, inter alia,

“prescription drugs”).




8
 An “EHB-benchmark plan” is a “standardized set of essential health benefits that must be met
by a” payer. 45 C.F.R. § 156.20. Each state typically selects the parameters for their own EHB-
benchmark plan. 45 C.F.R. § 156.100.

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       58.         Because the regulation requires that payers provide “the same number” of

prescription drugs in each category or class as the specified benchmark plans, SaveOnSP takes

the view that payers may de-designate drugs covered beyond that number. This view is reflected

in a slide accompanying the recorded presentation:




SaveOnSP IPBC Video, supra ¶ 9, at 9:30.

       59.         The Centers for Medicare & Medicaid Services (“CMS”) has stated that if a

payer “is covering drugs beyond the number of drugs covered by the [EHB] benchmark, all of

these drugs are EHB” and cost sharing paid for drugs properly classed as EHB “must count

toward the annual limitation on cost sharing.” See Patient Protection and Affordable Care Act,

80 Fed. Reg. 10749, 10817 (Feb. 27, 2015) (codified at 45 C.F.R. pts. 144, 147, 153, 154, 155,

156 and 158). SaveOnSP’s Program defies this admonition. Instead, SaveOnSP and its partners

designate covered drugs—including life-saving oncology, pulmonary arterial hypertension, and



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immunology drugs—as non-essential health benefits so that it can inflate patient copay

obligations.

       60.          Once the copay cost is inflated, SaveOnSP can coerce the patient into

enrolling in its Program (and consequently in manufacturer programs) by telling them that they

will either pay $0 per prescription if they enroll, or will have to pay the inflated copay cost—

potentially in the thousands of dollars—themselves if they do not: “Meaning if you don’t

participate in this program, your copay or your responsibility will be [for example] $1,000. And

because it’s not part of your existing benefit design, that $1,000 is not applicable to your max

out-of-pocket. And that’s often compelling enough for members to say, ‘oh wait, I want my

drugs for free.’” SaveOnSP IPBC Video, supra ¶ 9, at 46:10. Because most patients cannot

afford such costs, they are essentially forced into acceding to SaveOnSP’s offer.

       61.          To communicate this coercive offer to patients, SaveOnSP first engages in

outreach. The representative explains that once the payer signs the contracts to use its program,

“there is a standard member letter that we have that can be co-branded” that is sent to patients in

the first 30 days, “and it’s our goal to outreach to every one of these members before the

program ever goes live.” Id. at 33:27; 34:04. The representative explains further that “at 30 days

out, if we’re unsuccessful in reaching those members, we send a reminder letter and again,

another phone call campaign with attempts to try and get contact with that member and get them

enrolled.” Id. at 34:25.

       62.          On average, however, only 55% to 65% of the payer’s membership typically

gets enrolled by the date that the program goes live. Id. at 34:50. At this point, SaveOnSP

leverages its partnership with the specialty pharmacy Accredo to facilitate patient enrollment.

As the specialty pharmacy designated by the payers to administer the drug benefit plan, Accredo


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steers the patients to SaveOnSP. In the words of the SaveOnSP Program representative, “our

Accredo advocates, once the claim is processed, will receive a prompt to alert them that this is a

SaveOn drug, and they have some scripting that says, ‘We have an opportunity for you to

participate in a program which allows you to get your drug for free. I need to connect you to

SaveOn now.’ And at that point in time, they ‘warm transfer’9 the member to SaveOn.” Id. at

34:14.

         63.        As illustrated in paragraph 13 above, adding to the pressure placed on

patients, Accredo actually rejects the patient’s claim for their prescription medication at the point

of sale in order to transfer them to SaveOnSP, even though that medication is covered by the

patient’s insurance. Human Resources Committee Meeting, supra ¶ 13, at 69.

         64.        Once the patient agrees to enroll in its program, SaveOnSP helps the patient

enroll in manufacturer patient assistance programs. The representative explains that SaveOnSP

“can help facilitate with the member on the phone” to guide them through online enrollment, or

if enrollment is by phone, can advise patients “as how to respond to the questions that they’re

being asked as part of enrollment.” SaveOnSP IPBC Video, supra ¶ 9, at 16:08; 16:38.

         65.        SaveOnSP inserts itself in this process even though it knows that the

enrollment in its program violates the express terms and conditions of the CarePath agreement

that prohibit the patient from combining CarePath with the SaveOnSP Program. SaveOnSP

recognizes that the CarePath relationship “is an agreement between the patient and copay

assistance through the manufacturer,” but nevertheless involves itself because “in order for us to

leverage the savings, the member has to actively enroll in copay assistance. That’s where the

9
   A “warm transfer” is “a telecommunications mechanism in which the person answering the
call facilitates transfer to a third party, announces the caller and issue and remains engaged as
necessary to provide assistance.” Warm Transfer Definition, LAW INSIDER, https://www.
lawinsider.com/dictionary/warm-transfer (last visited Apr. 27, 2022).

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savings comes from.” Id. at 49:20. Once SaveOnSP assists the patient in enrolling in patient

assistance, “it relays that to Accredo, so that it’s housed in our system and then again, the claims

from there on out just process at $0.” Id. at 35:54

       66.          The SaveOnSP Program then causes CarePath to be electronically billed for

an inflated copay cost that is not connected to the patient’s true out-of-pocket responsibility. The

amount charged to the CarePath card at the point of sale is communicated using an “OCC-8”

code, which tells JJHCS that the patient owes a copay for the drug. That code is supposed to

communicate the patient’s true out-of-pocket responsibility as set by their health plan. Instead,

SaveOnSP causes an inflated charge to be communicated to JJHCS for the express purpose of

draining more patient assistant funds from the patient’s CarePath card.

       67.          This misrepresentation of an inflated copay is made to JJHCS even as it

admits elsewhere that patients in the SaveOnSP Program do not have any copay obligation

whatsoever. See Pay $0 for Select Specialty Medications, supra ¶ 11 (“If [a patient] participates

in SaveOnSP, he won’t pay anything ($0) out-of-pocket.”).

       68.          Finally, SaveOnSP charges the payer “25% of the savings that’s achieved.”

SaveOnSP IPBC Video, supra ¶ 9, at 37:38. To facilitate this payment, payers sign “a 25%

joinder agreement,” which “allows Express Scripts to bill you for that fee on your administrative

invoice. So you’ll see a simple line item for SaveOnSP.” Id. at 40:50. In other words,

SaveOnSP is paid a percentage of the “savings” it has achieved for payers by meeting the payer’s

obligations to the patient with patient assistance funds—assistance that SaveOnSP obtains by

inducing patients to violate the terms and conditions of CarePath.

       69.          SaveOnSP also admits to engaging in careful tactics designed not for the

patient’s benefit but to optimize earnings. For example, in deciding which drugs make it onto


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SaveOnSP’s drug list, the representative explains that SaveOnSP looks to which drugs “have the

most lucrative copay assistance programs” and that SaveOnSP may “remove drugs from the

programs” if “something comes to our attention where the funding goes away completely.” Id.

at 14:47. This further demonstrates that SaveOnSP is making business-driven decisions without

any regard for what is best for the patients. Indeed, while SaveOnSP promises patients that they

will receive their medication for $0, if the patient assistance is removed, it will eventually move

the drug out of the SaveOnSP Program: “we would honor the copay assistance or the $0 SaveOn

copay until they were able to effectively manage that patient out, manage that drug out.” Id. at

14:58.

         70.        In order to ensure that only the most lucrative drugs are on its list, SaveOnSP

monitors manufacturers’ assistance terms and conditions: “in the event that pharma decides to

pull back funding for their programs or decides to change the terms of the program, it’s

seamless to the member. SaveOn is actively watching these claims process and sees when any

of these changes occur.” Id. at 31:50. And in response to such a change, SaveOnSP might

switch one drug off their list in exchange for another one: “it might be a prompt to determine,

‘Do we need to make a change in the drug list for this program? Because we are not saving as

much as we initially anticipated, and there’s another drug where we could.’” Id. at 32:09.

         71.        Likewise, to minimize the necessary coverage and maximize profits, payers

using the SaveOnSP Program are encouraged to pick the state EHB-benchmark plan that has the

lowest number of requirements: “So again, the ACA defines the essential by again, leveraging a

state benchmark. You do not have to leverage your own current state or the state in which most

of your members reside. It’s simply a guideline for how to administer that essential health

benefit. So for example, many commercial plans pick Utah because it had the fewest number of


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required drugs to cover, and therefore it was the most cost-effective. So all we’re saying is that

Utah is setting the list of drugs or the number of drugs by therapeutic category to be deemed

essential.” Id. at 22:40. In other words, instead of picking a state benchmark that reflects where

a payer’s patients live or where the drug coverage is most comprehensive, SaveOnSP encourages

payers to choose a state benchmark with as few requirements as possible to maximize profits.

       72.          The SaveOnSP Program representative also admits that the SaveOnSP

Program operates in a legal “gray area” as it relates to “qualified high deductible HSA [i.e.,

Health Savings Account] plan[s].” Id. at 25:55; 26:27. The representative acknowledges in her

presentation that “copay assistance is not ACA compliant in an HSA plan.” Id. at 26:43. But

she explains that SaveOnSP gets away with knowingly breaking this rule because of a lack of

oversight: “there’s no requirement that patients provide documentation or confirm that they’ve

met their deductibles before they get copay assistance,” and “there’s no governing body that’s

really monitoring the industry today,” so “copay assistance happens in qualified HSA plans all

the time.” Id. at 26:50. It thus leaves it to plans to “determine whether or not it’s appropriate to

include their HSA plans in the SaveOn offering or not.” Id. at 27:27.

       73.          Further, SaveOnSP deceives manufacturers by actively concealing its role

and interference with patient assistance programs. SaveOnSP knows that such programs often

have a requirement that a patient pay $5 or $10 of the cost of the prescription. But SaveOnSP

intentionally circumvents this requirement by shifting that $5 or $10 obligation onto the payer—

and actively conceals from JJCHS that it has done so by using the artifice of a “tertiary biller,”

which is “really SaveOn behind the scenes.” Id. at 30:24.

       74.          While SaveOnSP engages in these wrongful courses of conduct to increase

profits, it unfortunately comes at a great cost to patients. Patient assistance programs are meant


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to help patients pay their actual and required out-of-pocket costs. By changing the amounts

owed by patients based on only the availability of patient assistance, the programs disconnect

patient assistance from actual cost to patients, causing patient assistance programs to be more

expensive than originally intended, and converting what is meant to be patient assistance into a

manufacturer subsidy for SaveOnSP and its partners. See The Patient Impact of Manufacturing

Copay Assistance in an Era of Rising Out-of-Pocket, supra ¶ 33, at 17 (explaining that

“accumulator adjustment and maximizer programs . . . counteract the uptake of manufacturer

copay assistance shifting the cost burden back onto patients” and that “limiting [patients’ use of

copay assistance programs] without giving patients a new way to address their affordability

issues will negatively impact patients”). By these actions, SaveOnSP wrongly increases the

costs of patient assistance programs and, unless enjoined, will make it untenable for such

programs to continue to be provided.

          75.       Moreover, SaveOnSP misleads patients about the nature of the SaveOnSP

Program. SaveOnSP does not tell patients that by enrolling in the SaveOnSP Program, they are

breaching their agreement with JJHCS. It does not tell patients that the SaveOnSP Program may

cause as much as a year’s worth of patient assistance to be drained in just a few prescription fills.

And it does not tell patients that it charges a fee of at least 25% of the patient assistance funds

pulled.

          76.       It also does not tell patients that patient assistance is available without the

SaveOnSP Program. Indeed, in marketing materials, SaveOnSP misrepresents to patients that

“Without SaveonSP,” “[t]here is no copay assistance”:




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SaveonSP: Copay Offset Program for Specialty Medication, BLUECROSS BLUESHIELD OF

WESTERN NEW YORK, https://www.bcbswny.com/content/dam/BCBSWNY/broker-group/public

/pdf/group/computer-task-group/Saveon-Member-Flyer.pdf (last visited Apr. 27, 2022). This is

false: manufacturers provide copay assistance independently of SaveOnSP, and did so for many

years before SaveOnSP ever began interfering in these programs.

       77.          Further, the SaveOnSP Program puts patients who decide not to enroll in an

even more precarious scenario: They will still have an inflated copay obligation, but the payer

does not cover the cost, and the patient is told that he or she will have to pay the cost alone. Id.

       78.          Finally, in either case, no payments count towards the patient’s deductible or

out-of-pocket maximum, so the patient will still face higher costs for other healthcare services

(such as doctor’s visits or diagnostic testing). Pay $0 for Select Specialty Medications, supra

¶ 11. The marketing materials for the SaveOnSP Program referenced in paragraph 11 above

make this clear, noting that in either scenario, payments made for the drug “won’t count towards

[the patient’s] deductible or out-of-pocket maximum.” Id.

       79.          The federal government has recognized that assistance from manufacturers is

for patients, not payers, and has explained patients are harmed when payers “shift costs back to

the patient prematurely by not applying the full value of the manufacturer-sponsored assistance

to a patient’s health plan deductible.” See Medicaid Program, 85 Fed. Reg. 87,000, 87,049 (Dec.

31, 2020) (codified at 42 C.F.R pts. 433, 438, 447, and 456). Indeed, CMS has even issued a


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rule intended to ensure that patient assistance benefits patients, not payers, 85 Fed. Reg. at

87,048–58, and has explained that the rule exists because “[h]ealth plans, with the help of third-

party pharmacy benefits administrators, often reap the benefits of [patient assistance] by

declining to allow [it] to offset patients’ out-of-pocket costs,” and as a result “plans are enriched

through the reduction in the amount they have to cover for these drugs.” See Pharm. Research &

Mfs. of Am. v. Becerra, No. 21-CV-01395, Dkt. 32-1, at 1 (D.D.C. Feb. 3, 2022).

          80.       Payers already can and do negotiate pricing discounts with manufacturers,

including by securing rebates that manufacturers pay after patients fill prescriptions. See The

2021 Janssen U.S. Transparency Report, supra ¶ 25, at 6 (indicating that since 2016, “the

rebates, discounts and fees we have provided to commercial insurers and PBMs have increased

almost fivefold” and that Janssen provided $8.3 billion in rebates, discounts, and fees to

commercial insurers and PBMs in 2021); see also Form 10-K, supra ¶ 25, at 37 (Cigna stating,

“[w]e maintain relationships with numerous pharmaceutical manufacturers, which provide us

with, among other things: . . . discounts, in the form of rebates, for drug utilization”). In fact,

SaveOnSP has inflated patients’ drug copay obligations even as JJHCS has consistently

decreased the price of the drugs targeted by the SaveOnSP Program. See The 2021 Janssen U.S.

Transparency Report, supra ¶ 25, at 2 (indicating that “net prices for Janssen medicines have

declined for the fifth year in a row,” including a net decline of -2.8% in 2021 (compared to the

2021 consumer inflation rate of 7%)).

          81.       Patient assistance does not exist as additional funding for payers to absorb on

top of those enormous price concessions. But various publicly available materials describing the

SaveOnSP Program explicitly acknowledge that the program is designed for just that: to enrich

payers.


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       82.          For example, in a presentation given to the New Jersey Health Insurance

Fund, a New Jersey-based insurance pool, the SaveOnSP Program is described as a “very

aggressive program” that sets copays to “maximize manufacturer assistance dollars” so that

“plan sponsor spend [is] reduced $2.50 - $4.50 [per member per month].” Joseph M. DiBella,

New Jersey Health Insurance Fund, PERMA (Nov. 2019) at 19–20, https://slideplayer.com/

slide/17742625/ (emphasis added).

       83.          Similarly, an agenda for the Burlington County Insurance Commission,

another New Jersey-based insurance pool, notes that the SaveOnSP Program is being

implemented “so that the plan can maximize manufacturer assistance dollars (coupons) while

reducing the member’s copay to $0.” Meeting and Reports, BURLINGTON CNTY. INS. COMM’N

(Nov. 5, 2020), at 28, https://bcnj.co.burlington.nj.us/Upload/BCIC/Images/Agenda_11-5-20.pdf

(emphasis added).

       84.          And in another agenda for Southern Skyland Regional, a New Jersey-based

insurance fund, there are notes that while “Members receive a $0 copay,” the “plan receives the

remaining discount.” Agenda & Reports, Southern Skyland Regional (Oct. 5, 2021), at 8,

https://static1.squarespace.com/static/5b1c2db85ffd2031c58b5583/t/615db86e5abc5715e41a709

e/1633532015317/A_SSRHIF_October+5th+Agenda.pdf (emphasis added).

       85.          SaveOnSP’s own website emphasizes the same, explaining how “plan[s] see

savings generated” from its program. See Frequently Asked Questions, SAVEONSP, https://

www.saveonsp.com/employers/ (last visited Apr. 27, 2022); see also Copay Assistance Strategy

Reduces Financial Burdens for Plans and Patients, supra ¶ 23 (highlighting that “[i]n 2020,

plans that participated in these copay assistance solutions [like the SaveOnSP Program]

experienced a specialty trend of -7.2%, while nonparticipating plans experienced an 8.7%


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specialty trend.”); Form 10-K, supra ¶ 25, at 7 (Cigna stating that it has a “partnership with

SaveOnSP,” an “aggressive solution” that “adapts” to changes in manufacturer programs to

“protect plan design preferences and achieve lower trend” for health plans).

       86.          And while these materials also tout reduced costs to patients, they mislead

patients by obscuring the fact that patients can get the benefit of reduced costs by directly signing

up for manufacturer assistance, without any involvement from SaveOnSP whatsoever.

       87.          Further underscoring that the SaveOnSP Program is for the benefit of payers

and not patients, SaveOnSP Program materials show that even when patients do hit their

deductible or out-of-pocket maximum through other means, SaveOnSP will continue to extract

patient assistance. See Copay Assistance Program & Solutions, supra ¶ 12, at 5 (“[T]he member

continues to max out the copay assistance throughout the plan year regardless of whether they hit

their DED/MOOP through other means.”).

       88.          Finally, the SaveOnSP Program also burdens patients with a complicated

enrollment process that can create unnecessary confusion for individuals already under pressure

from difficult medical circumstances. See Anndi McAfee, SaveonSP’s Copay Maximizer Failed

Me: A Patient’s Perspective, DRUG CHANNELS (Nov. 13, 2020), https://www.drugchannels.net

/2020/11/saveonsps-copay-maximizer-failed-me.html (“If SaveonSP had not used all of my

money, I probably would have continued on in sweet blissful ignorance. But here I am again,

expending precious time and energy to ensure that my drug gets into my body.”). As noted in

paragraph 13 above, one step in the SaveOnSP Program is to falsely tell a patient who is entitled

to insurance coverage for a life-saving medication that their request for coverage was denied, as

a ruse to push the person to apply for copay support just to drive greater profitability for

SaveOnSP. Human Resources Committee Meeting, supra ¶ 12, at 69.


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IV.    JJHCS Is Harmed by SaveOnSP’s Abusive Practices

       89.          CarePath’s terms and conditions typically require patients to pay $5 or $10

when using the Assistance Program, and they preclude patients from using the Assistance

Program with “any other coupon, discount, prescription savings card, free trial, or other offer.”

See, e.g., DARZALEX® Savings Program, supra ¶ 18.

       90.          The SaveOnSP Program is clearly such an “offer.” Indeed, the SaveOnSP

representative refers to the SaveOnSP Program in her presentation as the “SaveOn offering.”

SaveOnSP IPBC Video, supra ¶ 9, at 4:25; 27:31. And marketing materials similarly state,

“That’s why your plan offers a program called SaveOnSP, which can help lower your out-of-

pocket costs to $0.” See Pay $0 for Select Specialty Medications, supra ¶ 11 (emphasis added).

Nevertheless, despite its knowledge of these terms, SaveOnSP implements its program to extract

CarePath’s funds.

       91.          SaveOnSP’s conduct is clear from its publicly available drug lists. For

example, one such list includes 14 Janssen drugs: BALVERSA®, DARZALEX®, DARZALEX

FASPRO®, ERLEADA®, IMBRUVICA®, OPSUMIT®, REMICADE®, RYBREVANT®,

SIMPONI®, STELARA®, TRACLEER®, TREMFYA®, UPTRAVI®, and ZYTIGA®. See

2022 SaveOnSP Drug List, CHRISTIAN BROTHERS EBT, (Dec. 20, 2021), https://www.saveonsp.

com/wp-content/uploads/2021/12/cbservices.pdf.

       92.          Internal JJHCS data concerning CarePath use confirms that SaveOnSP is

abusing CarePath. For instance, in 2021, the average amount of CarePath funds pulled per fill

for STELARA® patients who were not enrolled in the SaveOnSP Program was $1,171, while the

average amount of CarePath funds pulled per fill for STELARA® patients who were enrolled in

the SaveOnSP Program was $4,301.


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       93.        The same pattern holds true for patients on TREMFYA®. In 2021, the

average amount of CarePath funds pulled per fill for TREMFYA® patients who were not

enrolled in the SaveOnSP Program was $1,126, while the average amount of CarePath funds

pulled per fill for TREMFYA® patients who were enrolled in the SaveOnSP Program was

$3,717.

       94.        The difference is even starker for other drugs. For example, the average

amount of CarePath funds pulled per fill for UPTRAVI® patients who were not enrolled in the

SaveOnSP Program was only $418, while the average amount of CarePath funds pulled per fill

for UPTRAVI® patients who were enrolled in the SaveOnSP Program was $5,000.

       95.        These trends continue into this year. For January through March of 2022, the

average amount of CarePath funds pulled per fill for STELARA® patients who were not

enrolled in the SaveOnSP Program was $2,057, while the average amount of CarePath funds

pulled per fill for STELARA® patients who were enrolled in the SaveOnSP Program was

$6,401.

       96.        Likewise, for the same time period, the average amount of CarePath funds

pulled per fill for TREMFYA® patients who were not enrolled in the SaveOnSP Program was

$1,796, while the average amount of CarePath funds pulled per fill for TREMFYA® patients

who were enrolled in the SaveOnSP Program was $3,745.

       97.        And, for the same time period, the average amount of CarePath funds pulled

per fill for UPTRAVI® patients who were not enrolled in the SaveOnSP Program was only

$1,242, while the average amount of CarePath funds pulled per fill for UPTRAVI® patients who

were enrolled in the SaveOnSP Program was $6,979.




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       98.          SaveOnSP harms JJHCS not only by causing inflated amounts of patient

assistance to be charged per fill, but also by causing greater amounts of patient assistance to be

charged earlier in the year. Many patients do not stay on therapy for an entire year. Thus, when

SaveOnSP seizes a year’s worth of copay assistance by repeatedly charging inflated copays, but

the patient does not actually fill a year’s worth of prescriptions, SaveOnSP reaps an additional

windfall and charges JJHCS for more copay assistance than is actually warranted. In some

instances, SaveOnSP has extracted an entire year’s worth of patient assistance by the middle of

the year.

       99.          Indeed, SaveOnSP causes JJHCS to pay out the maximum amount of funds

available per patient far more often than it otherwise would. For example, in 2021, only 3% of

STELARA® patients who were not enrolled in the SaveOnSP Program exhausted the full

CarePath benefit of $20,000, while 33% of STELARA® patients who were enrolled in the

SaveOnSP Program exhausted the full CarePath benefit of $20,000.

       100.         Through the SaveOnSP Program, SaveOnSP knowingly and wrongfully

harms JJHCS by causing it to pay CarePath funds solely for its own enrichment. JJHCS

provides CarePath funds to help patients bridge the gap between what they must pay out-of-

pocket to obtain their Janssen drugs and what they can afford. But the SaveOnSP Program

interferes with this intended purpose by causing JJHCS to pay out exponentially more CarePath

funds per patient only so that it may profit in violation of the CarePath terms and conditions.

       101.         Further, there is no easy or foolproof way for JJHCS to simply reduce the

amount of assistance it provides to all patients enrolled in SaveOnSP’s Program. This is because

SaveOnSP has taken steps to obscure when funds are being extracted from CarePath through its

Program, including recently by varying the patient’s out-of-pocket obligation per prescription


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fill, such that the amounts extracted from the copay card by the pharmacy are not consistent and

easily detectible.    Further, JJHCS cannot reduce cost support preemptively to prevent

SaveOnSP’s activities without an unacceptable risk that individual patients may be misidentified

and suffer from reduced cost support and consequently be unable to afford their therapy. The

secretive nature of SaveOnSP’s operations, therefore, renders any attempt to reduce copay

assistance on a patient-by-patient basis unworkable as it risks harming the very patients CarePath

was designed to support.

       102.          For STELARA® and TREMFYA®, JJHCS released a new version of the

terms and conditions that were publicly on the CarePath website in December 2021.                 See

STELARA® Savings Program (Dec. 2021), https://www.janssencarepath.com/sites/www.

janssencarepath-v1.com/files/stelara-savings-program-overview.pdf?v=39;                TREMFYA®

Savings Program (Dec. 2021), https://www.janssencarepath.com/sites/www.janssencarepath-v1.

com/files/tremfya-savings-program-overview.pdf?v=88.

       103.          The new terms and conditions specify explicitly that to be eligible for

CarePath, “you . . . must pay an out-of-pocket cost for your medication.” Id. They also

explicitly prohibit use of programs like SaveOnSP, stating “Patients who are members of health

plans that claim to eliminate their out-of-pocket costs are not eligible for cost support.” Id.

       104.          To this date, however, SaveOnSP has not taken Janssen’s drugs off its list,

and continues to induce patients in the SaveOnSP Program to sign up for CarePath in violation of

CarePath’s terms and conditions.

       105.          Thus, SaveOnSP continues to harm JJHCS, entitling it to relief. Moreover,

damages for ongoing and future wrongdoing are inadequate because SaveOnSP takes concerted




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measures to avoid detection. Unless enjoined, it will continue to cause damages and irreparable

harm to JJHCS.

                               COUNT I:
                 TORTIOUS INTERFERENCE WITH CONTRACT

       106.        JJHCS re-alleges paragraphs 1–105 as if fully set forth herein.

       107.        JJHCS has a valid and enforceable contract with the patients who use

CarePath.

       108.        The CarePath terms and conditions prohibit patients from being enrolled in

SaveOnSP while using CarePath.

       109.        SaveOnSP knowingly and wrongfully induces patients to agree to CarePath’s

terms and conditions, thereby intentionally causing those patients to breach their contract with

JJHCS every time they use CarePath funds while enrolled in the SaveOnSP Program.

       110.        Through its wrongful inducement, SaveOnSP knowingly and proximately

causes JJHCS damage by making it pay more money from CarePath than it otherwise would

have for a purpose JJHCS did not intend.

       111.        SaveOnSP has therefore tortiously interfered with JJHCS’s agreement with

patients who use CarePath.

                               COUNT II:
                       DECEPTIVE TRADE PRACTICES
                 IN VIOLATION OF N.Y. GEN. BUS. LAW § 349

       112.        JJHCS re-alleges paragraphs 1–111 as if fully set forth herein.

       113.        SaveOnSP has been and is engaging in willful deceptive acts and practices in

New York against JJHCS and the public in the conduct of its business through the following

consumer-oriented acts: engineering a false denial of coverage at the point of sale to coerce

patients into enrolling in the SaveOnSP Program; telling patients that there is “no copay

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assistance with SaveOnSP” when manufacturers do in fact provide assistance independently of

the SaveOnSP Program; failing to tell patients that by enrolling in the SaveOnSP Program, they

are breaching their agreement with JJHCS; and failing to tell patients that they charge a fee of at

least 25% of the patient assistance funds extracted from JJHCS.

       114.         Through its willful deceptive acts and practices, SaveOnSP causes damage to

the public, including patients, by causing undue stress and confusion through acts such as

engineering false denials of coverage; jeopardizing the viability of patient assistance programs

like CarePath by making them prohibitively expensive; and making other patient healthcare

needs more expensive by not counting any of the funds spent on patients’ medication towards

their ACA maximum or deductible.

       115.         Through its willful deceptive acts and practices, SaveOnSP also causes

damage to JJHCS by making it pay more money from CarePath than it otherwise would have for

a purpose JJHCS did not intend.

       116.         SaveOnSP has therefore violated N.Y. Gen. Bus. Law § 349.

       117.         SaveOnSP’s violation of § 349 also warrants the recovery of attorneys’ fees.

                               DEMAND FOR JURY TRIAL

       118.         JJHCS hereby respectfully requests a trial by jury for all claims and issues in

its Complaint which are or may be entitled to a jury trial.

                                   PRAYER FOR RELIEF

       NOW, THEREFORE, Plaintiff JJHCS respectfully requests that the Court:

               A.      Award JJHCS damages in an amount to be ascertained at trial.

               B.      Award to JJHCS pre-judgment and post-judgment interest.

               C.      Issue an injunction preventing SaveOnSP from implementing the
                       SaveOnSP Program as to Janssen drugs.


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             D.      Award JJHCS its reasonable attorneys’ fees.

             E.      Grant such other and further relief as the Court may deem appropriate.

                                           Respectfully submitted,

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Dated: May 4, 2022




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              CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

       Pursuant to Local Civ. Rule 11.2, I hereby certify to the best of my knowledge,

information and belief that the matter in controversy is not the subject of any other action

pending in any court, or of any pending arbitration or administrative proceeding.

       I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

                                             Respectfully submitted,

                                             SILLS CUMMIS & GROSS P.C.
                                             One Riverfront Plaza
                                             Newark, New Jersey 07102
                                             (973) 643-7000

                                             By:    s/ Jeffrey J. Greenbaum
                                                    JEFFREY J. GREENBAUM
                                                    KATHERINE M. LIEB


                                             PATTERSON BELKNAP WEBB & TYLER LLP
                                             Adeel A. Mangi
                                             Harry Sandick (pro hac vice forthcoming)
                                             George LoBiondo
                                             1133 Avenue of the Americas
                                             New York, New York 10036
                                             (212) 336-2000

                                              Attorneys for Plaintiff
                                             Johnson & Johnson Health Care Systems Inc.
Dated: May 4, 2022




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                Case 2:22-cv-02632-JMV-CLW
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         Johnson & Johnson Health Care Systems Inc.                                                          Save On SP, LLC


   (b) County of Residence of First Listed Plaintiff             Middlesex, NJ                           County of Residence of First Listed Defendant              Erie County, NY
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
Jeffrey J. Greenbaum, Katherine M. Lieb, Sills Cummis & Gross P.C.,
One Riverfront Plaza, Newark, New Jersey 07305, 973-643-7000

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place      x 4      4
                                                                                                                                                     of Business In This State

  2    U.S. Government              x 4    Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5    x5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                              TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY               PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                 365 Personal Injury -               of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product             Product Liability           690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability               367 Health Care/                                                       INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &             Pharmaceutical                                                   PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                     Personal Injury                                                  820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’           Product Liability                                                830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability               368 Asbestos Personal                                                835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                       Injury Product                                                       New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product               Liability                                                        840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability              PERSONAL PROPERTY                         LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle            370 Other Fraud                 710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle            371 Truth in Lending                Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability      x 380 Other Personal              720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal               Property Damage                 Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                   385 Property Damage             740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -            Product Liability           751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS               790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                  791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                   463 Alien Detainee                  Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                                870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                     Sentence                                                              or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations           530 General                                                          871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                   IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment               Other:                          462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -   540 Mandamus & Other            465 Other Immigration                                                  950 Constitutionality of
                                          Other                    550 Civil Rights                    Actions                                                                State Statutes
                                      448 Education                555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
x 1 Original             2 Removed from                     3    Remanded from                4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
       Proceeding          State Court                           Appellate Court                Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                             28 U.S.C. § 1332
VI. CAUSE OF ACTION Brief description of cause: Plaintiff seeks damages for tortious interference with contract and for deceptive trade practices
                                                in violation of N.Y. Gen. Bus. Law § 349
VII. REQUESTED IN       CHECK IF THIS IS A CLASS ACTION                DEMAND $                      CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                   In excess of $100 million         JURY DEMAND:         x Yes       No
VIII. RELATED CASE(S)
                      (See instructions):
      IF ANY                                JUDGE                                               DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD

5/4/2022                                                                    s/ Jeffrey J. Greenbaum
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                     Exhibit 2
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

 JOHNSON & JOHNSON                                 :
 HEALTH CARE SYSTEMS INC.,                             Civil Action No. 22-2632 (JMV) (CW)
                                                   :
                               Plaintiff,
               vs.                                 :   DISCOVERY CONFIDENTIALITY
                                                       ORDER
 SAVE ON SP, LLC,                                  :

                               Defendant.          :



        It appearing that discovery in the above-captioned action is likely to involve the
 disclosure of confidential information, it is ORDERED as follows:

 1.     Any party to this litigation and any third-party who produces to any other person any
        “Discovery Material” (i.e., information, documents, or things of any kind, including
        without limitation interrogatory answers, admissions, pleadings, responses to a subpoena,
        or testimony) in the course of discovery in this action) (a “Producing Party”) shall have
        the right to designate as “Confidential” and subject to this Order any Discovery Material
        or portion thereof: (a) that contains trade secrets, competitively sensitive technical,
        marketing, financial, sales or other confidential business information, or (b) that contains
        private or confidential personal information, or (c) that contains information received in
        confidence from third parties, or (d) which the producing party otherwise believes in
        good faith to be entitled to protection under Rule 26(c)(1)(G) of the Federal Rules of
        Civil Procedure and Local Civil Rule 5.3, or the production of which would cause the
        Producing Party to violate his, her, or its privacy or confidentiality obligations to others.

        a.      Any Producing Party who produces or discloses any Confidential Discovery
                Material shall mark the same with the following or similar legend:
                “CONFIDENTIAL” or “CONFIDENTIAL – SUBJECT TO DISCOVERY
                CONFIDENTIALITY ORDER” (hereinafter “Confidential”).

        b.      Any Producing Party who produces Confidential Discovery Material in native
                format, shall include, at the end of the file name and prior to the file extension, the
                following or similar legend: “CONFIDENTIAL” or “CONFIDENTIAL –
                SUBJECT TO DISCOVERY CONFIDENTIALITY ORDER”. Any person
                making any copy of the native file, if authorized under this Order, shall not
                rename the file.

 2.     Any Producing Party shall have the right to designate as “Attorneys’ Eyes Only” and
        subject to this Order any Discovery Material or any portion thereof that contains highly
        sensitive business or personal information, the disclosure of which is highly likely to
        cause significant harm to an individual or to the business or competitive position of the
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       Producing Party or the disclosure of which absent an Attorneys’ Eyes Only designation
       could cause the Producing Party to violate its privacy or confidentiality obligations to
       others.

       a.     Any Producing Party who produces or discloses any Attorneys’ Eyes Only
              Discovery Material shall mark the same with the following or similar legend:
              “ATTORNEYS’ EYES ONLY” or “ATTORNEYS’ EYES ONLY – SUBJECT
              TO DISCOVERY CONFIDENTIALITY ORDER” (hereinafter “Attorneys’ Eyes
              Only”).

       b.     Any Producing Party who produces Attorneys’ Eyes Only Discovery Material in
              native format, shall include, at the end of the file name and prior to the file
              extension, the following or similar legend: “ATTORNEYS’ EYES ONLY” or
              “ATTORNEYS’ EYES ONLY – SUBJECT TO DISCOVERY
              CONFIDENTIALITY ORDER”. Any person making any copy of the native file,
              if authorized under this Order, shall not rename the file.

 3.    With respect to the production of any Discovery Material that identifies an individual or
       subscriber and relates to the past, present, or future care, services, or supplies relating to
       the physical or mental health or condition of such individual or subscriber, the provision
       of health care to such individual or subscriber, or the past, present, or future payment for
       the provision of health care to such individual or subscriber (“Confidential Health
       Information”), the Producing Party or its counsel shall mark the same with the following
       or similar legend: “CONFIDENTIAL HEALTH INFORMATION.” If such Discovery
       Material is produced in native format, the native version shall include, at the end of the
       file name and prior to the file extension, the following or similar legend:
       “CONFIDENTIAL HEALTH INFORMATION.” Any person making any copy of the
       native file, if authorized under this Order, shall not rename the file.

       a.     Confidential Health Information specifically includes “protected health
              information” as such term is defined by the Standards for Privacy of Individually
              Identifiable Health Information, 45 CFR parts 160 and 164, promulgated pursuant
              to the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”).
              See 45 C.F.R. § 160.103 (defining “individually identifiable health information”
              and “protected health information”). Confidential Health Information also
              includes, but is not limited to, medical bills, claims forms, charge sheets, medical
              records, medical charts, test results, notes, dictation, invoices, itemized billing
              statements, remittance advice forms, explanations of benefits, checks, notices, and
              requests. Confidential Health Information also includes without limitation all
              notes, summaries, compilations, extracts, abstracts, or oral communications that
              contain, are based on, or are derived from, Confidential Health Information.

       b.     Confidential Health Information does not include any Discovery Material that has
              all of the following identifiers of the individual or subscriber or of the relatives,
              employers, or household members of the individual or subscriber removed or
              redacted:

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                i.   names;

               ii.   all geographic subdivisions smaller than a State, including street address,
                     city, county, precinct, zip code, and their equivalent area codes, except for
                     the initial three digits of a zip code if, according to the current publicly
                     available data from the Bureau of the Census, (i) the geographic unit formed
                     by combining all zip codes with the same three initial digits contains more
                     than 20,000 people, and (ii) the initial three digits of a zip code for all such
                     geographic units containing 20,000 or fewer people is changed to 000;

              iii.   all elements of dates (except year) for dates directly related to an individual,
                     including birth date, admission dates, discharge dates and date of death, and
                     all ages over 89, and all elements of dates (including year) indicative of such
                     age, except that such ages and elements may be aggregated into a single
                     category of age 90 or older;

               iv.   telephone numbers;

               v.    fax numbers;

               vi.   electronic mail addresses;

              vii.   social security numbers;

             viii.   medical record numbers;

               ix.   health plan beneficiary numbers;

               x.    account numbers;

               xi.   certificate/license numbers;

              xii.   vehicle identifiers and serial numbers, including license plate numbers;

             xiii.   device identifiers and serial numbers;

             xiv.    web universal resource locators (“URLs”);

              xv.    internet protocol (“IP”) address numbers;

             xvi.    biometric identifiers, including finger and voice prints;

            xvii.    full face photographic images and any comparable images; and

            xviii.   any other unique identifying number, characteristic, or code except as
                     permitted for a code utilized to re-identify de-identified data that complies
                     with 45 C.F.R. § 164.514(c).


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       c.     Notwithstanding the foregoing, the parties shall produce Discovery Material
              containing Confidential Health Information in response to discovery requests of
              another party in this litigation without redaction, designating such documents as
              set forth herein.

       d.     This Order is intended to provide protection sufficient to constitute a Qualified
              Protective Order under HIPAA and the regulations promulgated under its aegis.
              See 45 C.F.R. § 164.512(e)(1)(ii).

 4.    All Designated Material, defined to include Confidential, Confidential Health
       Information, and Attorneys’ Eyes Only materials, shall be used by any person to whom
       the Discovery Material is produced or disclosed (a “Receiving Party”) solely for purposes
       of the prosecution or defense of this action, shall not be used by the Receiving Party for
       any business, commercial, competitive, personal or other purpose, including for purposes
       of initiating, prosecuting, or defending any other action, and shall not be disclosed by the
       Receiving Party to anyone other than those set forth herein, unless and until the
       restrictions herein are removed either by written agreement of counsel for the parties, or
       by Order of the Court. It is, however, understood that counsel for a Receiving Party may
       give advice and opinions to his or her client solely relating to the above-captioned action
       based on his or her evaluation of Designated Material, provided that such advice and
       opinions shall not reveal the content of such Designated Material except by prior written
       agreement of counsel for the parties, by Order of the Court, or as otherwise permitted by
       this Discovery Confidentiality Order.

 5.    Discovery Material produced and marked Confidential and Confidential Health
       Information and the contents of such material may be disclosed only to the following
       individuals under the following conditions:

       a.     Outside litigation counsel retained by the parties for this action (herein defined as
              any attorney at the parties’ outside law firms) and relevant in-house counsel for
              the parties;

       b.     Outside experts or consultants retained by outside counsel for purposes of this
              action, including their staff, provided they have signed a non-disclosure
              agreement in the form attached hereto as Exhibit A.

       c.     Secretarial, paralegal, clerical, duplicating and data processing personnel of the
              foregoing;

       d.     The Court and court personnel;

       e.     Any deponent may be shown or examined on any information, document
              or thing designated under this Discovery Confidentiality Order if it appears that
              the witness authored or received a copy of it, was involved in the subject matter
              described therein or is employed by the party who produced the information,
              document or thing, or if the producing party consents to such disclosure;


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       f.     Vendors retained by or for the parties to assist in preparing for pretrial discovery,
              trial and/or hearings including, but not limited to, court reporters, litigation
              support personnel, jury consultants, individuals to prepare demonstrative and
              audiovisual aids for use in the courtroom or in depositions or mock jury sessions,
              as well as their staff, stenographic, and clerical employees whose duties and
              responsibilities require access to such materials provided that the vendor has first
              signed a copy of Exhibit A;

       g.     Any other person mutually agreed upon in writing among the Parties, but only if
              that person has signed a copy of Exhibit A; and

       h.     The parties. In the case of parties that are corporations or other business entities,
              “party” shall mean executives who are required to participate in decisions with
              reference to this lawsuit.

 6.    With respect to Discovery Material produced and designated Confidential Health
       Information:

       a.     A Receiving Party or any other person who has access to Designated Material
              shall implement appropriate administrative, physical, and technical safeguards to
              prevent the use or disclosure of Confidential Health Information in any manner
              other than pursuant to the terms and conditions of this Order;

       b.     A Receiving Party or any other person who has access to Designated Material
              shall limit the use or disclosure of Confidential Health Information to the
              minimum necessary to accomplish the intended purpose of such use or
              disclosure—but nothing in this sub-paragraph 6(b) shall prevent any use of
              Designated Material for purposes of this litigation in a manner consistent with the
              terms of this Order; and

       c.     In the event that the Receiving Party or any person who has access to Designated
              Material becomes aware of or suspects that Discovery Material produced and
              marked Confidential Health Information or the contents of such material has been
              disclosed or used by the Receiving Party—or by any other party to which the
              Receiving Party disclosed said Discovery Material—in a manner other than those
              permitted under this Order, that person or the Receiving Party shall immediately
              notify the Producing Party. Such notification shall provide the Producing Party
              with information sufficient to identify the Confidential Health Information at
              issue and, to the extent possible, the nature of the unauthorized disclosure or use.
              For the purposes of this reporting requirement, no person is required to report
              inconsequential incidents that occur on a daily basis such as scans or ‘pings’ that
              are not allowed past that person’s fire walls.

 7.    Discovery Material produced and marked as Attorneys’ Eyes Only may be disclosed only
       to the persons described in Paragraphs 5.a through 5.g above, except that with respect to
       in-house counsel, said Discovery Material may also be disclosed only up to four (4) in-
       house counsel with responsibilities for this matter, provided that before any such
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       Discovery Material is disclosed to in-house counsel, they have been disclosed to the
       opposing party and have signed a copy of Exhibit A. A party may substitute which in-
       house counsel may access Attorneys’ Eyes Only materials pursuant to this Paragraph,
       provided that such substitution is disclosed to the opposing party prior to sharing any
       Attorneys’ Eyes Only Discovery Material with the substituted counsel and the total
       number of in-house counsel does not exceed four. The parties may agree in writing that
       Discovery Material produced and marked as Attorneys’ Eyes Only may be disclosed to
       additional in-house attorneys.

 8.    Designated Material shall be used only by individuals permitted access to it under
       Paragraphs 5 and 7. Designated Material, copies thereof, and the information contained
       therein, shall not be disclosed in any manner to any other individual, until and unless (a)
       outside counsel for the party asserting confidentiality waives the claim of confidentiality,
       and, in the case of Discovery Materials marked “Confidential Health Information,” there
       exists a valid authorization by the individual to whom it relates that complies with the
       requirements of 45 C.F.R. § 164.508(6); or (b) the Court orders such disclosure.

 9.    With respect to any depositions that involve a disclosure of Designated Material, the
       designating party shall have until fourteen (14) days after receipt of the final deposition
       transcript to inform all other parties which portions of the transcript, by page and line
       number, are to be designated as Confidential, Confidential Health Information, or
       Attorneys’ Eyes Only, which period may be extended by agreement of the parties. During
       these fourteen (14 days), all deposition transcripts shall be treated as if they had been
       designated as Attorneys’ Eyes Only in their entirety.

 10.   If counsel for a Receiving Party objects to the designation of all or a portion of Discovery
       Material as Confidential, Confidential Health Information, or Attorneys’ Eyes Only, the
       following procedure shall apply:

       a.     Counsel for the Receiving Party shall serve on the Producing Party a written
              objection to such designation, which shall describe with particularity by Bates
              number or deposition page and line number the documents or information in
              question and shall state the grounds for objection. Counsel for the Producing
              Party shall respond in writing to such objection within 14 days, and shall state
              with particularity the grounds for asserting that the Discovery Material is
              Confidential, Confidential Health Information, or Attorneys’ Eyes Only. If no
              timely written response is made to the objection, the challenged designation will
              be deemed to be void. If the Producing Party makes a timely response to such
              objection asserting the propriety of the designation, counsel shall then confer in
              good faith in an effort to resolve the dispute. The challenged material shall be
              treated as it has been designated until the Producing Party agrees otherwise in
              writing or this Court issues an order rejecting the designation.

       b.     If a dispute as to a Confidential, Confidential Health Information, or Attorneys’
              Eyes Only designation of a document or item of information cannot be resolved
              by agreement, the party challenging the designation shall present the dispute to
              the Court initially by telephone or letter, in accordance with Local Civil Rule
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              37.1(a)(1), before filing a formal motion for an order regarding the challenged
              designation. The document or information that is the subject of the filing shall be
              treated as originally designated pending resolution of the dispute.

 11.   Any document designated Confidential, Confidential Health Information, or Attorneys’
       Eyes Only by a party or non-party and which document is filed with the Court shall be
       filed under seal in accordance with Local Civil Rule 5.3. Court filings that refer to
       Designated Material, but do not disclose the substance of that Designated Material, need
       not be filed under seal. However, any Court filing that would disclose the substance of
       any Designated Material must be filed under seal or with redactions to the extent
       necessary to preserve confidentiality of that material in accordance with Local Civil Rule
       5.3.

 12.   Each person who has access to Designated Material shall take reasonable precautions to
       prevent the unauthorized or inadvertent disclosure of such material.

 13.   To the extent consistent with applicable law, the inadvertent or unintentional disclosure
       of Discovery Material that should have been marked as Designated Materials, regardless
       of whether the information, document or thing was so designated at the time of disclosure,
       shall not be deemed a waiver in whole or in part of a party’s claim of confidentiality,
       either as to the specific information, document or thing disclosed or as to any other
       material or information concerning the same or related subject matter. Such inadvertent
       or unintentional disclosure may be rectified by notifying in writing counsel for all parties
       to whom the material was disclosed that the material should have been designated under
       this Discovery Confidentiality Order within a reasonable time after the Producing Party
       discovers that the material was not properly marked. Such notice shall constitute a
       designation of the Discovery Material as Confidential, Attorneys Eyes Only, or
       Confidential Health Information under this Discovery Confidentiality Order.

 14.   When the inadvertent or mistaken disclosure of any Discovery Material protected by
       privilege or work-product immunity is discovered by the Producing Party and brought to
       the attention of the Receiving Party, the Receiving Party’s treatment of such material
       shall be in accordance with Federal Rule of Civil Procedure 26(b)(5)(B). If a Producing
       Party asserts an inadvertently produced document is privileged in its entirety, the
       Producing Party shall produce a privilege log with respect to any such inadvertently
       disclosed information within five (5) business days of receiving confirmation from the
       Receiving Party that the inadvertently disclosed information has been returned or
       destroyed. If a Producing Party asserts that only a portion of an inadvertently produced
       document is privileged, it must reproduce the document in redacted form within five (5)
       business days of receiving confirmation from the Receiving Party that the inadvertently
       disclosed information has been returned or destroyed. The Receiving Party may request
       additional information regarding the redacted document to the extent necessary to
       evaluate whether to challenge the claim of privilege. The Producing Party shall provide
       that information within five (5) business days of receiving such request. Such inadvertent
       or mistaken disclosure of such information, document or thing shall not by itself
       constitute a waiver by the Producing Party of any claims of privilege or work-product
       immunity. However, nothing herein restricts the right of the Receiving Party to challenge
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       the Producing Party’s claim of privilege if appropriate within a reasonable time after
       receiving notice of the inadvertent or mistaken disclosure. If such challenge involves
       moving the Court for an order compelling production, said motion shall be filed under
       seal, and neither the fact of the inadvertent production nor the content of any privileged
       portion of the Discovery Material at issue shall be asserted as a grounds or basis for
       entering such an order.

 15.   If a non-party serves a Party in this action with a request, subpoena, or order (“demand”)
       for disclosure of Designated Material of a Designating Party, the Party receiving the
       demand, if not prohibited under applicable law, shall promptly deliver a copy of the
       demand to the Designating Party’s counsel, and shall notify the party who served the
       request that some or all of the materials sought by the request are subject to this
       Confidentiality Order. The Party receiving the demand shall not disclose any Designated
       Material prior to the date specified for disclosure, or prior to resolution of any dispute
       regarding production of such material in response to the request. In its sole discretion
       and at its own cost, the Designating Party may oppose or seek to limit the demand in any
       legal manner. The Party who received the demand shall not oppose or otherwise interfere
       with the Designating Party’s actions.

 16.   No information that is in the public domain or which is already known by the receiving
       party through proper means or which is or becomes available to a party from a source
       other than the party asserting confidentiality, rightfully in possession of such information
       on a non-confidential basis, shall be deemed or considered to be Confidential material
       under this Discovery Confidentiality Order.

 17.   This Discovery Confidentiality Order shall not deprive any party of its right to object to
       discovery by any other party or on any otherwise permitted ground. This Discovery
       Confidentiality Order is being entered without prejudice to the right of any party to move
       the Court for modification or for relief from any of its terms.

 18.   This Discovery Confidentiality Order shall survive the termination of this action and shall
       remain in full force and effect unless modified by an Order of this Court or by the written
       stipulation of the parties filed with the Court.

 19.   Upon final conclusion of this litigation, within 30 days of the final disposition of the
       litigation, each party or other individual subject to the terms hereof shall promptly return
       to the origination source, or, upon permission of the producing party, destroy all originals
       and unmarked copies of documents and things containing Designated Material and to
       destroy, should such source so request, all copies of Designated Material that contain
       and/or constitute attorney work product as well as excerpts, summaries and digests
       revealing Designated Material; provided, however, that counsel may retain complete
       copies of all motions, filings, transcripts and pleadings including any exhibits attached
       thereto, and copies of attorney work product, including counsel’s emails, for archival
       purposes, subject to the provisions of this Discovery Confidentiality Order. Any copies
       of transcripts and pleadings including exhibits attached thereto retained by counsel for
       archival purposes shall, to the extent that they that contain or reference Confidential
       Health Information, be maintained in accordance with the requirements of HIPAA and
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        45 C.F.R. § 164.504(e)(2)(ii)(J) imposed on Business Associates to preserve the privacy
        of those transcripts and pleadings. Counsel to all Receiving Parties must certify
        compliance with these requirements within 45 days of the final disposition of the
        litigation.

 20.    To the extent a party requests the return of Designated material from the Court after the
        final conclusion of the litigation, including the exhaustion of all appeals therefrom and all
        related proceedings, the party shall file a motion seeking such relief.

 21.    This Court shall retain jurisdiction over all persons subject to this Order to the extent
        necessary to enforce any obligations arising hereunder or to impose sanctions for any
        contempt thereof.

 We consent to the form and entry of the within Order.


  Dated: November 21, 2022                            Dated: November 21, 2022

  GIBBONS, PC.                                        SILLS CUMMIS & GROSS, P.C.
  One Gateway Center                                  One Riverfront Plaza
  Newark, New Jersey 07102-5310                       Newark, New Jersey 07102
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  E. Evans Wohlforth, Jr., Esq.                       Jeffrey J. Greenbaum, Esq.

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  David Elsberg                                       & TYLER LLP
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                                                      (212) 336-2000
  Attorneys for Defendant
  Save On SP LLC                                      Attorneys for Plaintiff
                                                      Johnson & Johnson Health Care Systems Inc.




 IT IS SO ORDERED
                                                          s/ Cathy L. Waldor
                                                          _____________________________
 Dated: November 22, 2022                                 Honorable Cathy L. Waldor, U.S.M.J.


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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

 JOHNSON & JOHNSON                                  :
 HEALTH CARE SYSTEMS INC.,                              Civil Action No. 22-2632 (JMV) (CLW)
                                                    :
                           Plaintiff,                   ENDORSEMENT OF
                vs.                                 :   PROTECTIVE ORDER

 SAVE ON SP, LLC,                                   :

                           Defendant.               :


                                             EXHIBIT A

                I hereby attest that I understand that information or documents marked as
 Designated Material are provided to me subject to the Order dated ______, 2022 (the “Order”),
 in the above-captioned litigation (“Litigation”); that I have been given a copy of and have read
 the Order; and that I agree to be bound by its terms. I also understand that my signature below
 indicates my agreement to be bound by the Order and is a prerequisite to my review of any
 information or documents designated as Designated Material pursuant to the Order.

                I further agree that I shall not use Designated Material for any purpose other than
 as authorized in the Order and that, except as explicitly authorized in the Order, I shall not
 disclose Designated Material, in any form whatsoever, to others.

                 I further agree to return or destroy Designated Material in my possession, custody,
 or control in the manner and time specified by the Order.

                 I further agree and attest to my understanding that my obligation to honor the
 confidentiality of such Designated Material will continue even after this Litigation concludes.

                 I further agree and attest to my understanding that, if I fail to abide by the terms of
 the Order, I may be subject to sanctions, including contempt of court, for such failure. I agree to
 be subject to the jurisdiction of the above-identified Court for the purposes of any proceedings
 relating to enforcement of the Order. I further agree to be bound by and to comply with the terms
 of the Order as soon as I sign this Agreement, regardless of whether the Order has been entered
 by the Court.

 Date: ___________________________

 By:    ___________________________
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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY

 JOHNSON & JOHNSON HEALTH CARE
 SYSTEMS INC.,
                                                      Case No. 2:22-cv-02632-JMV-CLW
                        Plaintiff,

                v.

 SAVE ON SP, LLC,

                        Defendant.


                     STIPULATION AND ORDER
  GOVERNING THE EXCHANGE OF ELECTRONICALLY STORED INFORMATION

        Upon agreement of the Parties for entry of an order establishing a protocol for the exchange

 and production of documents in hard-copy format (“Documents”) and electronically stored infor-

 mation (“ESI”), as those terms are used in the Federal Rules of Civil Procedure, plaintiff Johnson

 & Johnson Health Care Systems Inc. (“Plaintiff”) and Defendant Save On SP, LLC (“Defendant”)

 (each a “Party” and, collectively, the “Parties”) hereby stipulate (“ESI Stipulation”) and the Court

 orders as follows:

 I.     GENERAL PROVISIONS

        A.      The Parties and non-parties producing Documents and ESI (each a “Producing

 Party”) shall prepare their Documents and ESI for production to the Parties receiving the

 production (each a “Receiving Party”) in accordance with this ESI Stipulation.

        B.       If a provision of this agreement conflicts with the terms of the stipulated

 Discovery Confidentiality Order (ECF No. 62) (the “Confidentiality Stipulation”) entered in this

 action,1 the Confidentiality Stipulation will control absent further order of the Court.



 1 Defined terms in the Confidentiality Stipulation not otherwise defined herein are incorporated.
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        C.      Proportionality

                1.      Reasonable Discovery Limits. The proportionality standard set forth in Rule

        26(b)(1) shall apply to discovery in this action. Consistent with that proportionality

        standard, the Parties agree to cooperate in identifying appropriate limits on discovery,

        including phased discovery and reasonable limits on search terms and the number of

        custodians, on discoverable data sources, on the relevant period, and on the permissible

        scope of requests for production, specifically including the permissible scope of requests

        for emails. Requests for production of ESI, including requests for emails, shall be

        reasonably targeted, clear, and as specific as possible.

        D.      No Designation of Discovery Requests. Productions of Documents and ESI in the

 reasonably usable form set out in this protocol need not be organized and labeled to correspond to

 the categories in the requests.

 II.    PRODUCTION OF HARD COPY DOCUMENTS

        A.      TIFFs. Producing Parties shall produce Documents in the form of single-page,

 Group IV TIFFs at 300 dpi. They shall name each TIFF image as its corresponding Bates number.

 They shall maintain Original Document orientation (i.e., portrait to portrait and landscape to

 landscape). They shall provide TIFF image files in a self-identified “Images” folder.

        B.      OCR Text Files. Producing Parties shall provide Optical Character Recognition

 (“OCR”) text files as a single text file for each Document, not one text file per page. They shall

 name each file with the beginning Bates number assigned to its corresponding Document, followed

 by .txt. They shall provide OCR text files in a self-identified “Text” directory. To the extent that a

 Document is redacted, they shall produce OCR text files for that Document that shall not contain

 text for redacted portions.


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        C.        Database Load Files/Cross-Reference Files. Unless otherwise agreed by the Parties,

 Producing Parties shall provide Documents with Concordance-compatible image and data load

 files (i.e., .OPT and DAT files) using standard Concordance delimiters. They shall provide

 Concordance-compatible image and data load files (i.e., .OPT and DAT files) in a self-identified

 “Data” folder.

        D.        Coding Fields. Producing Parties shall produce Documents with at least the

 following searchable information in accompanying delimited data files: (1) BegBates,

 (2) EndBates,     (3)   BegAttach,    (4)   EndAttach,    (5)   Custodians,   (6)   OCRTextPath,

 (7) Confidentiality, and (8) Source. When a Producing Party determines in good faith judgment

 that it is practicable to accompany Documents with other metadata fields in Table I, the Producing

 Party shall produce those Documents with the practicable metadata fields. Producing Parties shall

 identify custodians using any of the following conventions, as appropriate: “Last Name, First

 Name”; “last name_first name”; “first name_last name”; or “FLast.” Producing Parties shall use a

 uniform description of a particular custodian, and separate multiple custodians in the “Custodian”

 field by a semicolon. For Documents with no individual custodian (e.g., centralized files,

 document management systems), Producing Parties shall (a) use the relevant entity name(s) in the

 “Custodian” field and (b) identify the source of the Documents in the “Source” field.

        E.        Bates Numbering. Producing Parties shall assign each TIFF image a Bates number

 that: (1) is unique across the entire production; (2) maintains a constant length across the entire

 production (i.e., padded to the same number of characters); (3) contains no special characters or

 embedded spaces; and (4) is sequential within a given Document. If a Bates number or set of Bates

 numbers is skipped in a production, the Producing Party will so note in a cover letter or production

 log accompanying the production.


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        F.      Parent-Child Relationships. Producing Parties shall preserve parent-child

 relationships (i.e., the association between an attachment and its parent Document), to the extent

 they exist in the manner in which the Documents are maintained in the ordinary course of business.

 For example, if a Producing Party produces a printout of an email with its attachments, it shall

 produce such attachments behind the email in the order in which they were attached.

        G.      Color. Producing Parties need not, in the first instance, produce Documents

 containing color in color format. The Receiving Party may request production of such Documents

 in color format by (1) providing a list of the Bates numbers of the Document(s); and (2) explaining

 the need for production of the Documents in color format. Consent to produce in color shall not

 be unreasonably withheld.

        H.      Unitizing of Documents. A Producing Party shall not, when scanning Documents:

 (1) merge distinct Documents into a single record; or (2) split single Documents into multiple

 records (i.e., Documents should be logically unitized).

 III.   PRODUCTION OF ESI

        A.      Technology Assisted Review (“TAR”).

                1.     Any Producing Party that wishes to use TAR agrees to disclose that intent

        to the Receiving Party before the Producing Party employs any TAR and must meet-and-

        confer with the Receiving Party regarding an appropriate TAR protocol. The Producing

        Party will identify the universe of Documents or ESI to which it intends to apply TAR. The

        Producing Party may not use TAR to limit or cull Documents or ESI to be reviewed without

        the prior consent of the Receiving Party. If the parties are unable to reach agreement on

        an appropriate protocol, or if the Receiving Party withholds consent, any such disputes

        shall be resolved by the Court.


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              2.      The absence of a search term hit or retrieval by TAR methodology for a

       given ESI or Document does not automatically render it irrelevant. If any Producing Party

       identifies relevant ESI or Documents not hit upon by the search term filters noted above, it

       shall produce such non-privileged Documents and/or ESI, subject to the Producing Party’s

       objections to discovery requests and rights under this ESI Protocol, the Local Rules, and

       this Court’s individual rules.

              3.      The fact that any electronic file has been identified in agreed-upon searches

       shall not prevent any Producing Party from withholding such file from production on the

       grounds that the file is not responsive or relevant, or that it is responsive or relevant but

       protected from disclosure by applicable privilege or immunity (in which case the Producing

       Party shall include it on a privilege log), or that the Protective Order entered in this Action

       allows the file to be withheld.

       B.     Avoidance of Duplicate Production

              1.      “Duplicate ESI” means files that are exact duplicates based on the files’

       MD5 hash, SHA-1 hash, email duplicate spare messages (as defined by Relativity), or

       SHA-256 hash values. The Producing Party need produce only a single copy of responsive

       Duplicate ESI. A Producing Party shall take reasonable steps to de-duplicate ESI globally

       (i.e., both within a particular custodian’s files and across all custodians). Entire document

       families may constitute Duplicate ESI. De-duplication shall not break apart families. When

       the same Duplicate ESI exists in the files of multiple custodians, the additional custodians

       shall be listed in the “All Custodians” field identified in Table I to the extent such

       information is available.




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              2.      The Parties may confer regarding other deduplication methods, such as the

       use of Textual Near Deduplication. Except for the removal of extracted logos, no custom

       deduplication method will be implemented without the consent of the Receiving Party, and

       such consent shall not be unreasonably withheld.

              3.      If the Producing Party collects and processes additional ESI which contains

       duplicates of ESI previously produced, that Party also shall provide an overlay file to allow

       the Receiving Party to update the “All Custodians” field. The overlay file shall include

       both all custodians listed in the “All Custodians” field in prior productions and any

       custodians identified in the newly processed ESI.

       C.     Email Threading

              1.      Email threads are email communications that contain lesser-included email

       communications that also may exist separately in the Party’s electronic document

       collection. A most-inclusive email is one that contains unique content and all the lesser-

       included emails, including attachments, for that branch of the email thread. The Parties

       agree that removal of available lesser-included emails from potential production will

       reduce all Parties’ costs of document review, production, and litigation-support hosting,

       and, when producing the most-inclusive email in a thread, the parties need not also produce

       lesser-included emails in the thread.

              2.      Participants in lesser-included emails that otherwise would have been

       subject to review shall be listed in the most-inclusive email’s “All Participants” field

       included in the data load file. With respect to an e-mail chain, the parties may produce the

       longest unique or most inclusive chain and the parties do not need to separately produce

       the lesser-included e-mails unless those lesser-included e-mails include unique attachments


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        not included in the longest chain or contain a BCC recipient not shown in the longest unique

        chain. If a lesser-included e-mail includes a unique attachment, or if the lesser-included

        email was modified in any way in a subsequent email, then the lesser-included e-mail must

        be separately produced with the attachment.

        D.      TIFFs. Producing Parties shall produce ESI in the form of single-page, black and

 white, Group IV TIFFs at 300 dpi. They shall name each TIFF image as its corresponding Bates

 number. They shall maintain original document orientation (i.e., portrait to portrait and landscape

 to landscape). They shall provide TIFF image files in a self-identified “Images” folder.

        E.      Parent-Child Relationships. Producing Parties shall preserve parent-child

 relationships (i.e., the association between an attachment and its parent file).

        F.      Metadata Fields and Processing. Producing Parties shall produce each of the

 metadata and coding fields set forth in Table I that can be extracted from ESI for that ESI. They

 are not obligated to populate manually any of the fields in Table I if such fields cannot be extracted

 from the ESI, except for the following: (1) BegBates, (2) EndBates, (3) BegAttach, (4) EndAttach,

 (5) Custodians, (6) NativeLink, (7) Confidentiality, (8) Parent ID fields (which the Producing Party

 or its vendor may populate), and (9) Source. They shall identify custodians using any of the

 following conventions, as appropriate: “Last Name, First Name”; “last name_first name”; “first

 name_last name”; or “FLast.” A Producing Party shall use a uniform description of a particular

 custodian and separate multiple custodians by a semicolon in the “Custodians” field. For

 documents with no individual custodian (e.g., centralized files, document management systems),

 Producing Parties shall (a) use the relevant entity name(s) in the “Custodian” field and (b) identify

 the source of the documents in the “Source” field.




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         G.      Extracted Text Files. For all ESI (other than multimedia or graphic files), Producing

 Parties shall provide an extracted text file along with its corresponding TIFF image file(s) and

 metadata. They shall name each extracted text file such that it is identical to that of the first image

 page of its corresponding file, followed by .txt. They shall not use file names that contain special

 characters or embedded spaces and shall extract the text of native files directly from the native file.

 If a file contains redactions, however, the Producing Party may provide OCR of the redacted file

 in lieu of extracted text.

         H.      Database Load Files/Cross-Reference Files. Unless otherwise agreed to by the

 parties, Producing Parties shall include in each production (1) a metadata file (DAT file) using

 standard Concordance delimiters or carat pipe delimiters and (2) an image load file in Opticon

 format (.OPT file). They shall provide in a self-identified “Data” folder Concordance-compatible

 image and data load files (i.e., .OPT and DAT files).

         I.      Native Files. The following governs the production of native files.

                 1.      Producing Parties shall produce PowerPoint presentations, source code,

         large diagrams, Excel files and/or .csv files, word processing files with tracked changes,

         comments, or hidden text (e.g., Word), desktop databases (e.g., Access), and audio/video

         multimedia files in native format (“Native Files”), unless they have redactions.

                 2.      Producing Parties shall provide native files in a self-identified “Natives”

         directory. Producing Parties shall produce each native file with a corresponding single-

         page TIFF placeholder image, which shall state the ESI is being produced as a native file

         and provide the Confidentiality Designation, if any. Producing Parties shall name each

         native file with the beginning Bates number that is assigned to that specific record in the

         production.


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                  3.     Producing Parties shall include a “NativeLink” entry for each native file in

        the .DAT load file indicating the relative file path to each native file on the production

        media. Producing Parties shall produce native files with extracted text and applicable

        metadata fields as set forth in Paragraphs III.E and III.F. Producing Parties may produce

        redacted files in either native format or as TIFF image files and OCR in lieu of a Native

        File, TIFF placeholder image and extracted text file. Producing Parties shall exclude any

        metadata fields for redacted files that would reveal privileged information.

                  4.     If produced as a TIFF, each Producing Party shall make reasonable efforts

        to ensure that its discovery vendor, prior to conversion to TIFF, reveals hidden data from

        redacted native files that are produced as TIFF image files and ensures that redacted native

        files will be formatted to be readable. (For example, column widths should be formatted so

        that numbers do not appear as “#########”).

        J.        Structured Data. To the extent that responding to a discovery request requires

 production of ESI contained in a database, a Producing Party may query the database for

 discoverable information and generate and produce a report in a reasonably usable and exportable

 Excel or .csv format. The first line of each such file will, to the extent not unduly burdensome,

 show the column headers for each field of data included. The Parties shall meet and confer to

 finalize the appropriate data extraction and production format for specific information contained

 in a database.

        K.        Audio and Video Files. Producing Parties shall produce audio and video files in a

 reasonably usable format as may be agreed upon by the Parties.

        L.        Requests for Other Native Files. Other than as specifically set forth above, a

 Producing Party need not produce ESI in native format. The Receiving Party may request


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 IV.    PROCESSING OF THIRD-PARTY DOCUMENTS

        A.      A Party that issues a non-party subpoena (“Issuing Party”) shall include a copy of

 this ESI Stipulation with the subpoena and request that the non-party produce Documents and ESI

 in accordance with the specifications set forth herein. If an Issuing Party issued a non-party

 subpoena prior to the execution of this ESI Stipulation, that Issuing Party shall promptly forward

 a copy of this ESI Stipulation to the non-party and request that the non-party produce Documents

 and ESI in accordance with the specifications set forth herein.

        B.      The Issuing Party is responsible for producing to all other Parties any Documents

 and/or ESI obtained pursuant to a subpoena. If a non-party refuses to produce Documents and/or

 ESI in accordance with the specifications set forth here, the Issuing Party has no obligation to

 conform the non-party’s production to such specifications.

        C.      Nothing in this ESI Stipulation is intended to or should be interpreted as narrowing,

 expanding, or otherwise affecting the rights of the Parties or non-parties to object to a subpoena.

 V.     MISCELLANEOUS PROVISIONS

        A.      This ESI Stipulation is intended solely to address the format of Document and ESI

 productions. Nothing in this ESI Stipulation is intended to affect the rights of any Party to object

 to any requests or demand for production. Nothing in this ESI Stipulation shall constitute, or

 operate as, a waiver of any rights of any Party to object to, or to avoid, discovery or disclosure, in

 whole or in part, under the laws of the United States, the Federal Rules of Civil Procedure, the

 Local Rules of the United States District Court for the District of New Jersey, the Individual

 Practices of Magistrate Judge Cathy L. Waldor, the Individual Practices of Judge John Michael

 Vazquez, or any other applicable law, rule, or order.




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        B.      Nothing in this ESI Stipulation establishes any agreement as to either the temporal

 or subject matter scope of discovery or as to the relevance or admissibility of any Document or

 ESI. Nothing in this ESI Stipulation shall be interpreted to require disclosure of irrelevant

 information or relevant information protected by the attorney-client privilege, work-product

 doctrine, or any other applicable privilege or immunity. The Parties do not waive any objections

 as to the production, discoverability, admissibility, or confidentiality of Documents and ESI.

        C.      The Parties shall make good faith efforts to comply with and resolve any differences

 concerning compliance with this ESI Stipulation. If a Producing Party, notwithstanding their good

 faith efforts, cannot comply with any material aspect of this ESI Stipulation or if compliance with

 such material aspect would be unreasonable, such Producing Party shall inform the Receiving

 Party in writing as to why compliance with the Stipulation is impossible or unreasonable as soon

 as reasonably practicable.

        D.      Nothing herein is intended to, nor shall be construed to, diminish or otherwise affect

 any Party’s discovery obligations.

        E.      Any application to the Court under or regarding this ESI Stipulation shall be made

 pursuant to the Federal Rules of Civil Procedure, the Local Rules of the United States District

 Court for the District of New Jersey, and the Individual Practices of Magistrate Judge Cathy L.

 Waldor.




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 Dated: Newark, New Jersey
        November 21, 2022


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      Johnson Health Care Systems Inc.              LLC



 SO ORDERED this 22nd day of November, 2022

                                                s/ Cathy L. Waldor
                                                HON. CATHY L. WALDOR
                                                United States Magistrate Judge




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                     Exhibit 9
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




  JOHNSON & JOHNSON HEALTH CARE                 Civil Action No. 22-2632 (JMV) (CLW)
  SYSTEMS INC.,
                                                  NON-PARTY TRIALCARD, INC.’S
                        Plaintiff,               RESPONSES AND OBJECTIONS TO
                                                DEFENDANT’S FIRST REQUEST FOR
                 v.                               PRODUCTION OF DOCUMENTS

  SAVE ON SP, LLC,

                        Defendant.




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                                   GENERAL OBJECTIONS

       TrialCard Incorporated (“TrialCard”) incorporates each of the General Objections below

into its specific objections to each Request, whether or not each such General Objection is

expressly referred to in TrialCard objections to a specific Request.

       TrialCard reserves the right to supplement, amend, modify, or correct its responses under

Rule 26(e) should it discover additional information or grounds for objections at any time prior

to the conclusion of this Action. The following responses and objections are based upon

information known at this time.

       1.      TrialCard is not a party to the above-captioned litigation pending in the District

of New Jersey (the “Action”) and objects to the Subpoena’s imposition of significant burden on

it because the vast majority of Requests in the Subpoena can be satisfied by obtaining

documents directly from Johnson & Johnson Health Care Systems, Inc. (“JJHCS”), a party to

the Action. TrialCard notes that the requests in the Subpoena are nearly identical to document

requests made by SaveOnSP to JJHCS in the Action, and JJHCS has already agreed to facilitate

a production of TrialCard documents in response to those requests in party discovery.

TrialCard objects to producing any documents unless and until SaveOnSP can demonstrate that

it has not been able to obtain these documents in party discovery.

       2.      TrialCard objects to the Requests to the extent that they seek documents or

information protected from disclosure by a privilege including, without limitation, the First

Amendment privilege, the attorney-client privilege, the work-product doctrine, the joint defense

privilege, the common interest privilege, the Federal Rules of Civil Procedure, the Local Rules

of the Court, and relevant case law. The inadvertent production by TrialCard of information,

documents, materials, or things covered by any privilege or doctrine shall not constitute a

waiver of any applicable privilege or doctrine, including but not limited to, objections on the

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basis of competency, confidentiality, relevancy, materiality, work-product, privilege, and/or

admissibility as evidence, as such objections may apply at trial or otherwise in this Action.

       3.      TrialCard objects to the Requests to the extent that they seek documents or

information that are not relevant to a claim or defense or to the subject matter of this litigation.

Any response TrialCard makes to any Request shall not be deemed an admission that the

response, information, document, or thing produced is relevant to a claim or defense or to the

subject matter of this litigation, is reasonably calculated to lead to the discovery of admissible

evidence, is material, or is admissible as evidence.

       4.      TrialCard objects to the Requests to the extent that they impose obligations

beyond or inconsistent with those imposed by the Federal Rules of Civil Procedure, the Local

Rules of the Court, the Court’s orders, the discovery schedule entered in this Action, or any

other applicable rule, order, or source of law.

       5.      TrialCard objects to the Requests to the extent that they seek the production of

documents or things that are equally available to or already in SaveOnSP’s possession, custody,

or control. To the extent that TrialCard agrees in these responses to produce certain documents,

information, or things, these responses shall not be construed as conceding that the documents,

information, or things exist and/or are in the possession, custody, or control of TrialCard.

Instead, it means that TrialCard will perform a reasonable search for documents in its

possession and produce such documents, information, or things to the extent any responsive

documents, information, or things exist and are not otherwise protected from disclosure.

       6.      TrialCard objects to the Requests to the extent that they seek information that is

obtainable from sources other than TrialCard in a manner that is more convenient, less

burdensome, or less expensive.



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       7.      TrialCard objects to the Requests to the extent that they seek production of

documents, records, tangible things, or other materials to the extent that such disclosure would

violate a confidentiality agreement, court order, or applicable law.

       8.      TrialCard objects to the Requests to the extent that they are vague and/or

ambiguous.

       9.      TrialCard objects to the Requests to the extent that they require interpretation by

it in providing a response. TrialCard responds to the Requests as it interprets and understands

each Request as set forth. If SaveOnSP subsequently asserts an interpretation of any Request

that differs from TrialCard’s understanding of that Request, TrialCard reserves the right to

modify or supplement its objections and responses.

       10.     TrialCard objects to the Requests to the extent that they are duplicative of other

document requests, interrogatories, and/or other discovery requests.

       11.     TrialCard objects to the Requests to the extent that they are argumentative, lack

foundation, or incorporate assertions that are disputed, erroneous, or irrelevant to the Action.

TrialCard further objects to the Requests to the extent that they assume facts that do not exist or

the occurrence of events that did not take place.

       12.     TrialCard objects to the Requests to the extent that they seek documents and

information relating to any business affairs other than those that are the subject of the Action.

       13.     TrialCard objects to the Requests as overbroad and unduly burdensome to the

extent they purport to require production of “all” or “any” documents where a subset of

documents would be sufficient to provide the relevant information.

       14.     TrialCard objects to the Requests to the extent that they seek the production of

documents that are not in TrialCard’s possession, custody, or control.



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                                OBJECTIONS TO DEFINITIONS

        1.        TrialCard objects to the definition of the term “Janssen” as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it purports to include

“any and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, committees,

attorneys, accountants, and all persons or entities acting or purporting to act on behalf” of those

entities.

        2.        TrialCard objects to the definition of the term “Janssen Drug” as irrelevant to

the extent it purports to include drugs that are not covered by CarePath.

        3.        TrialCard objects to the definition of the term “JJHCS” as overbroad, unduly

burdensome, and not proportional to the needs of the case to extent it purports to include “any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, . . .

agents, [or] representatives” or purports to include entities and persons acting or purporting to

act on behalf of or under the control of entities other than Johnson & Johnson Healthcare

Systems, Inc., including Centocor, Inc., Ortho Biotech Products LP, McNeil Pharmaceutical,

Ortho-McNeil Pharmaceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Scios Inc.,

Janssen Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development, LLC, Janssen

Pharmaceuticals, Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc., Janssen

BioPharma LLC, and Janssen Research & Development LLC.

        4.        TrialCard objects to the definition of the term “JJHCS Hub Entity” as vague

and as irrelevant to the extent it purports to include entities other than those responsible for

administering CarePath during the relevant Time Period. TrialCard further objects to the

definition as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it includes “any and all predecessors and successors in interest, assignees, parents,

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subsidiaries, affiliates, divisions or departments, agents, representatives, directors, officers,

employees, committees, attorneys, accountants and all persons or entities acting or purporting to

act on behalf” of those entities. TrialCard further objects to the extent the term is used to seek

documents and communications concerning entities other than JJHCS.

       5.        TrialCard objects to the definition of the term “Lash Group” as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it includes “any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, committees,

attorneys, accountants and all persons or entities acting or purporting to act on behalf or under

the control of The Lash Group, Inc.”

       6.        TrialCard objects to the definition of the term “TrialCard” as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it includes “any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, committees,

attorneys, accountants and all persons or entities acting or purporting to act on behalf or under

the control of TrialCard Inc.” TrialCard further objects to the extent the term is used to seek

documents and communications in the possession of entities other than TrialCard.

                              OBJECTIONS TO INSTRUCTIONS

            1.   TrialCard objects to the Instructions to the extent that they impose

requirements on TrialCard beyond those required by the Federal Rules of Civil Procedure.

            2.   TrialCard objects to Instruction No. 14 to the extent that SaveOnSP attempts to

impose requirements on TrialCard beyond those required by the Federal Rules of Civil

Procedure or ordered by the Court. Rule 34, which contains a duty to supplement responses,



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does not apply to requests for production directed to a non-party, and Rule 45 contains no duty

to supplement.

                OBJECTIONS TO THE TIME PERIOD FOR SPECIFIC REQUESTS

           1.          TrialCard objects to SaveOnSP’s Requests as overbroad, unduly burdensome,

and not relevant to the subject matter of this Action to the extent they call for documents from

before January 1, 2017 or after July 1, 2022.1

                               SPECIFIC RESPONSES AND OBJECTIONS

Request No. 1

               From January 1, 2009 through the present, Documents sufficient to show the
organizational structure of TrialCard.

Response to Request No. 1

                    In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as irrelevant to any claim or defense in this Action to the extent it seeks

documents unrelated to the JJHCS groups responsible for the administration of CarePath.

TrialCard further objects to this Request as overbroad, unduly burdensome, and not proportional

to the needs of the case to the extent it seeks documents outside of the relevant Time Period.

                    TrialCard has already agreed to produce through JJHCS certain responsive

documents, subject to JJHCS’s objections and to those presented here, from the relevant Time

Period. TrialCard will not search for or produce documents in response to the Request.


Request No. 2

               From January 1, 2009 through the present, Documents sufficient to show the
organizational structure of any group or division within TrialCard involved in developing,
managing, marketing, or administering CarePath and to identify their employees.




1
    For convenience, TrialCard refers to the period of January 1, 2017 to July 1, 2022 as the “Time Period.”

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Response to Request No. 2

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request to the extent it seeks the production of documents and information that are

available from parties to the Action. TrialCard further objects to this Request insofar as it seeks

the production of documents and communications outside of TrialCard’s possession, custody,

and/or control. TrialCard further objects to this request as overbroad, unduly burdensome, and

not proportional to the needs of the case to the extent it seeks documents outside of the relevant

Time Period.

                TrialCard has already agreed to produce through JJHCS certain responsive

documents, subject to JJHCS’s objections and to those presented here, from the relevant Time

Period. TrialCard will not search for or produce documents responsive to this Request.

Request No. 3

              All Documents and Communications with or regarding SaveOnSP, including
those between You and JJHCS, You and any patients, and You and any other Hub Entity.

Response to Request No. 3

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks “all” documents and communications regarding a broad subject matter. TrialCard

further objects to this Request to the extent it seeks information that is exempt from discovery

and protected from disclosure by any privilege including, without limitation, the attorney-client


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privilege, the work-product doctrine, the joint defense privilege, the common interest privilege,

the Federal Rules of Civil Procedure, the Local Rules of the Court, and relevant case law.

       TrialCard has already agreed to produce through JJHCS certain responsive documents,

subject to JJHCS’s objections and to those presented here, from the relevant Time Period.

TrialCard will not further search for or produce documents or communications in response to this

Request.

Request No. 4

               From January 1, 2009 through the present, all Documents and Communications
regarding the development, management, and marketing of CarePath or any other copay
assistance program offered for Janssen Drugs, including Documents and Communications
regarding JJHCS’s allegations in Complaint ¶¶ 6-7, 36-49.

Response to Request No. 4

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. TrialCard further objects to this Request

on the ground that the phrase “any other copay assistance program offered for Janssen Drugs” is

vague and ambiguous. TrialCard further objects to this Request as irrelevant to any claim or

defense in this Action to the extent it seeks documents unrelated to CarePath.


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                TrialCard will not search for or produce documents or communications

responsive to this Request.

Request No. 5

               From January 1, 2009 through the present, all Documents and Communications
regarding CarePath’s terms and conditions, including Documents and Communications regarding
(a) JJHCS’s allegations in Complaint ¶¶ 3, 8, 18-26, 102-103, 108; (b) all CarePath terms and
conditions for each Janssen Drug; (c) revisions to any of the CarePath terms and conditions for
any Janssen Drug; and (d) Your understanding of the term “offer” or “health plan” as used in
CarePath’s terms and conditions.

Response to Request No. 5

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as irrelevant to any claim or defense in this

Action to the extent it calls for information beyond the final CarePath terms and conditions at

issue. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period.

                TrialCard will not search for or produce documents or communications

responsive to this Request.




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Request No. 6

              From January 1, 2009 through the present, all Documents and Communications
regarding CarePath’s requirement that Patients enrolled in CarePath make any payments towards
Janssen Drugs, including Documents and Communications regarding JJHCS’s basis for setting
the amounts of those payments and JJHCS’s allegations in Complaint ¶¶ 48-49, 70, 89.

Response to Request No. 6

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as irrelevant to any claim or defense in this

Action to the extent it calls for information beyond the final CarePath terms and conditions at

issue. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. TrialCard further objects to this Request to

the extent it seeks documents and communications in the possession of entities other than

TrialCard.

                TrialCard will not search for or produce documents or communications

responsive to this Request.


Request No. 7

               From January 1, 2015 through the present, all Documents and Communications
regarding Your understanding of commercial health plans’ ability to designate specialty drugs as
Essential Health Benefits or Non-Essential Health Benefits under the Affordable Care Act and its

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regulations, including Documents and Communications regarding JJHCS’s allegations in
Complaint ¶¶ 9-10, 43, 53-59, 71, 79.

Response to Request No. 7

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request to the extent it calls for views on a legal

question. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period.

                TrialCard will not search for or produce documents or communications

responsive to this Request.


Request No. 8

                All Documents and Communications regarding SaveOnSP’s communications
with Patients regarding CarePath, including allegedly misleading or confusing communications
and JJHCS’s allegations in Complaint ¶¶ 60-67, 109, ¶¶ 13, 75-77, 85-88.

Response to Request No. 8

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

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production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request to the extent it seeks

“misleading or confusing communications,” as those terms are vague and ambiguous.

                TrialCard will not search for or produce documents or communications

responsive to this Request.


Request No. 9

                All Documents and Communications regarding SaveOnSP’s provision of services
to qualified high deductible or health savings account plans, including JJHCS’s allegations in
Complaint ¶ 72.

Response to Request No. 9

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request on the ground that the

phrase “SaveOnSP’s provision of services to qualified high deductible or health savings account

plans” is vague and ambiguous.

                TrialCard will not search for or produce documents or communications

responsive to this Request.


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Request No. 10

               All Documents and Communications regarding JJHCS’s payment of copay
assistance funds to or on behalf of Patients enrolled in qualified high deductible or health savings
account plans.

Response to Request No. 10

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 11

              All Documents and Communications regarding any alleged stress or confusion
caused by SaveOnSP to any member of the public, including JJHCS’s allegations in Complaint
¶ 114.

Response to Request No. 11

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

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regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 12

              All Documents and Communications regarding any alleged harm caused by
SaveOnSP to any Patient by allegedly making their healthcare more expensive, including
JJHCS’s allegations in Complaint ¶ 114.

Response to Request No. 12

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 13

                All Documents and Communications regarding how SaveOnSP directly or
indirectly affects or threatens the financial viability of CarePath, including Documents and
Communications regarding JJHCS’s allegations in Complaint ¶ 114.

Response to Request No. 13

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

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burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 14

                All Documents and Communications regarding how SaveOnSP directly or
indirectly affects or threatens the financial viability of any Copay Assistance Program other than
CarePath, including Documents and Communications regarding JJHCS’s allegations in
Complaint ¶ 114.

Response to Request No. 14

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as irrelevant to any claim or defense in this

Action to the extent it seeks information about any Copay Assistance Program other than

CarePath. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.


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Request No. 15

              All Documents and Communications regarding any alleged harm caused by
SaveOnSP to JJHCS, including Documents and Communications regarding JJHCS’s allegations
in Complaint ¶ 110, 115.

Response to Request No. 15

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter. TrialCard further objects to this Request on the ground that the

phrase “any alleged harm” is vague and ambiguous.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 16

               All Documents and Communications regarding JJHCS’s, Janssen’s, or any JJHCS
Hub Entity’s payment of any Patient’s costs, including those that accumulate towards the
Patient’s deductible or out-of-pocket maximum.

Response to Request No. 16

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

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Request on the ground that the phrase “payment of any Patient’s costs including those that

accumulate towards the Patient’s deductible or out-of-pocket maximum” is vague and

ambiguous. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 17

              All Documents and Communications regarding the “internal JJHCS data”
discussed in Complaint ¶¶ 92-101, including the complete databases from which that data was
drawn.

Response to Request No. 17

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information relating to specific

allegations in the Complaint that are available from parties to the Action and, therefore, is unduly

burdensome on TrialCard. TrialCard further objects to this Request insofar as it seeks the

production of documents and communications outside of TrialCard’s possession, custody, and/or

control. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “all” documents and communications

regarding a broad subject matter and seeks “complete databases from which [ ] data was drawn.”

               TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 18

             From January 1, 2009 through the present, for each Janssen Drug for each year,
Documents sufficient to show:

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       a.      all Patients receiving the Janssen Drug;

       b.      the number of fills of the Janssen Drug received by each such Patient;

       c.      the dosage of the Janssen Drug received by each such Patient for each fill;

       d.      the projected number of Patients, average number of fills, and average dosage for
               the Janssen Drug;

       e.      the cost to manufacture the Janssen Drug;

       f.      the sales and marketing budget for the Janssen Drug;

       g.      the price of the Janssen Drug;

       h.      the revenue received by JJHCS from the Janssen Drug;

       i.      all Patients enrolled in the CarePath program for the Janssen Drug;

       j.      the dates on which each Patient was enrolled in CarePath;

       k.      the amounts of copay assistance funds that JJHCS offered to each Patient enrolled
               in CarePath;

       l.      the Janssen Drugs for which each Patient enrolled in CarePath received copay
               assistance; and

       m.      all copay assistance payments that JJHCS made to or on behalf each Patient
               enrolled in CarePath.

Response to Request No. 18

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it seeks information

unrelated to SaveOnSP’s conduct at issue, including information relating to Patient fills, the cost

of manufacturing Janssen Drugs, the sales and marketing budgets for Janssen Drugs, and pricing



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and revenue generated by Janssen Drugs. TrialCard further objects to this Request on the ground

that the phrases “the projected number of Patients, average number of fills, and average dosage

for the Janssen Drug,” “the cost to manufacture the Janssen Drug,” and “the price of the Janssen

Drug” are vague and ambiguous. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period.

               TrialCard has already agreed to produce through JJHCS certain responsive

documents, subject to JJHCS’s objections and to those presented here, from the relevant Time

Period. TrialCard will not further search for or produce documents or communications in

response to this Request.


Request No. 19

              From January 1, 2009 through the present, for each Janssen Drug for each year,
all Documents and Communications regarding:

       a.      JJHCS’s determination of the amounts of copay assistance funds that JJHCS
               offered to Patients enrolled in CarePath, including the determination of the
               maximum program benefit per calendar year for the Janssen Drug;

       b.      JJHCS’s budget for CarePath, including the sales and marketing budget;

       c.      JJHCS’s actual and projected annual costs for CarePath;

       d.      JJHCS’s use of or accounting for unused CarePath funds;

       e.      the impact of the Affordable Care Act on JJHCS’s CarePath budget or funding,
               including the impact of laws and regulations regarding out-of pocket maximums;

       f.      JJHCS’s and Janssen’s revenue and revenue projections from fills by Patients
               enrolled in CarePath;

       g.      the impact of CarePath on Janssen’s sales of any Janssen Drug;

       h.      the impact of CarePath on JJHCS’s or Janssen’s gross to net calculations;

       i.      JJHCS’s or Janssen’s actual and projected return on investment for CarePath; and


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       j.      any analysis of the adherence rates of Patients enrolled in CarePath to Janssen
               Drugs, including such Patients enrolled in plans advised by SaveOnSP.

Response to Request No. 19

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it seeks information

unrelated to SaveOnSP’s conduct at issue, including information relating to the sales and

marketing budget for CarePath, JJHCS’s uses of or accounting for unused CarePath funds, the

impact of the Affordable Care Act or other laws and regulations on CarePath’s budget or

funding, JJHCS’s and Janssen’s revenue and revenue projections from fills by patients enrolled

in CarePath, the impact of CarePath on Janssen sales of any Janssen Drug, the impact of

CarePath on JJHCS’s or Janssen’s gross to net calculations, JJHCS’s or Janssen’s actual or

projected return on investment for CarePath, and the adherence rates of Patients enrolled in

CarePath to Janssen Drugs. TrialCard further objects to this Request on the ground that the

phrases “the projected number of Patients, average number of fills, and average dosage for the

Janssen Drug,” “JJHCS’s or Janssen’s gross to net calculations,” and “JJHCS’s or Janssen’s

actual and projected return on investment for CarePath” are vague and ambiguous. TrialCard

further objects to this Request as overbroad, unduly burdensome, and not proportional to the

needs of the case to the extent it seeks “all” documents and communications regarding a variety

of broad subject matters. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and


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communications outside of the relevant Time Period.

               TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 20

                All Documents and Communications regarding JJHCS’s attempts to limit or
eliminate the amount of CarePath copay assistance funds available to Patients using Stelara or
Tremfya based on whether the Patients’ plans allegedly reduce or eliminate Patients’ out-of-
pocket costs, including Documents and Communications regarding JJHCS’s attempts to limit or
eliminate the availability of CarePath copay assistance funds available to Patients enrolled in
health plans advised by SaveOnSP.

Response to Request No. 20

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it seeks information

beyond the final CarePath terms and conditions at issue. TrialCard further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks “all” documents and communications regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 21

                All Documents and Communications regarding any offer by JJHCS to provide to
any Patient any CarePath funds greater than the amounts that JJHCS generally offers to CarePath
Patients or to waive any limitation on or elimination of the amount of CarePath copay assistance
funds available to a Patient.

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Response to Request No. 21

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it calls for information

beyond the extent to which SaveOnSP has caused JJHCS to pay more in copay assistance than it

otherwise would have. TrialCard further objects to this Request on the ground that the phrases

“CarePath funds greater than the amounts that JJHCS generally offers CarePath Patients” and “to

waive any limitation on or elimination of the amount of CarePath copay assistance funds

available” are vague and ambiguous. TrialCard further objects to this Request as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “all”

documents and communications regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 22

               All Documents and Communications regarding JJHCS’s attempts to identify
health plans advised by SaveOnSP or Patients enrolled in such plans.

Response to Request No. 22

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

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outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it calls for information

unrelated to SaveOnSP’s conduct at issue. TrialCard further objects to this request as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “all”

documents and communications regarding a broad subject matter.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 23

               From any time, all Documents and Communications regarding TrialCard’s
negotiations or agreements regarding the potential use of any Copay Maximizer Service or
Copay Accumulator Service, for TrialCard’s Employee Health Plans, including any
abandonment of those negotiations or agreements.

Response to Request No. 23

               In addition to the foregoing objections, TrialCard, as a third party, objects to this

Request as irrelevant to any claim or defense in this Action to the extent it seeks information

about “the potential use of any Copay Maximizer Service or Copay Accumulator Service,”

which is unrelated to SaveOnSP’s conduct at issue. TrialCard further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks documents and communications outside of the relevant Time Period. TrialCard

further objects to this Request to the extent it seeks information that is exempt from discovery

and protected from disclosure by a privilege including, without limitation, the attorney-client


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privilege, the work-product doctrine, the joint defense privilege, the common interest privilege,

the Federal Rules of Civil Procedure, the Local Rules of the Court and relevant case law.

                TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 24

                Documents sufficient to identify all JJHCS Hub Entities and CarePath Care
Coordinators.

Response to Request No. 24

                In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

request as irrelevant to any claim or defense in this Action to the extent it calls for information

about “JJHCS Hub Entities” or “CarePath Care Coordinators” that are not implicated in this

litigation. TrialCard further objects to this Request to the extent it uses the term “JJHCS Hub

Entity” for the reasons stated in TrialCard’s Objections to Definitions.

                TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 25

               From January 1, 2009 through the present, Documents sufficient to show the
economic terms of JJHCS’s retention of or agreements with You, including any assessment of
the fair market value of those services.

Response to Request No. 25

                In addition to the foregoing general objections, TrialCard, as a third party, objects

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to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request on the ground that “any assessment of the fair market value of those services” is

irrelevant. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks documents and communications

outside of the relevant Time Period. TrialCard further objects to this Request to the extent it

seeks information that is exempt from discovery and protected from disclosure by a privilege

including, without limitation, the attorney-client privilege, the work product doctrine, the joint

defense privilege, the common interest privilege, the Federal Rules of Civil Procedure, the Local

Rules of the Court, and relevant case law.

               TrialCard will not search for or produce documents and communications

responsive to this Request.


Request No. 26

               From January 1, 2009 through the present, documents sufficient to show the
percentage of Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any
JJHCS Hub Entity, or any other third party authorized to advertise or market CarePath or Janssen
Drugs.

Response to Request No. 26

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

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Request as irrelevant to any claim or defense in this Action to the extent it calls for information

unrelated to SaveOnSP’s misconduct, including information about JJHCS’s advertising or

marketing of CarePath or Janssen Drugs. TrialCard further objects to this Request on the ground

that the phrase “Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any

JJHCS Hub Entity, or any other third party authorized to advertise or market CarePath or Janssen

Drugs” is vague and ambiguous. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. TrialCard further objects to this Request to

the extent it uses the terms “JJHCS Hub Entity” for the reasons stated in TrialCard’s Objections

to Definitions.

                  TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 27

               From January 1, 2015 through the present, all Documents and Communications
relating to Copay Accumulator Services and Copay Maximizer Services and their effect on
JJHCS’s return on investment for copay assistance dollars.

Response to Request No. 27

                  In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as irrelevant to any claim or defense in this Action to the extent it calls for information

about other “Copay Accumulator Services and Copay Maximizer Services” other than

SaveOnSP. TrialCard further objects to this Request on the ground that the phrase “JJHCS’s

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return on investment for copay assistance dollars” is vague and ambiguous. TrialCard further

objects to this Request as overbroad, unduly burdensome, and not proportional to the needs of

the case to the extent it seeks “all” documents and communications regarding a broad subject

matter. TrialCard further objects to this Request as overbroad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks documents and communications

outside of the relevant Time Period.

               TrialCard will not search for or produce documents and communications

responsive to this Request.

Request No. 28

               From January 1, 2015 through the present, all Documents and Communications
relating to Your understanding of the terms “copay accumulator” and “copay maximizer.”

Response to Request No. 28

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as irrelevant to any claim or defense in this Action to the extent it calls for

information unrelated to SaveOnSP’s conduct at issue. TrialCard further objects to this Request

as overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter. TrialCard further

objects to this Request as unduly burdensome to the extent it seeks documents and

communications outside of the relevant Time Period. TrialCard further objects to this Request to

the extent it seeks information that is exempt from discovery and protected from disclosure by a

privilege including, without limitation, the attorney-client privilege, the work-product doctrine,

the joint defense privilege, the common interest privilege, the Federal Rules of Civil Procedure,

the Local Rules of the Court, and relevant case law.

               TrialCard will not search for or produce documents and communications


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responsive to this Request.


Request No. 29

                All Documents and Communications concerning non-medical switching by
participants of plans that implement SaveOnSP’s services, a Copay Accumulator Service, or a
Copay Maximizer Service.

Response to Request No. 29

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further

objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks “all” documents and communications regarding a broad subject matter.

               TrialCard will not search for or produce documents or communications

responsive to this Request.


Request No. 30

               Your document retention policies.

Response to Request No. 30

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are not relevant to

the Action. TrialCard further objects to this Request to the extent it seeks information that is

exempt from discovery and protected from disclosure by a privilege including, without

limitation, the attorney-client privilege, the work-product doctrine, the joint defense privilege,




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the common interest privilege, the Federal Rules of Civil Procedure, the Local Rules of the

Court, and relevant case law.

               TrialCard will through JJHCS produce documents responsive to this Request for

the relevant Time Period.


Request No. 31

               Complete data dictionaries for any data that You produce.

Response to Request No. 31

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are not relevant to

the Action. TrialCard further objects to this Request on the ground that “data dictionaries for

any data that You produce” is vague and ambiguous. JJHCS further objects to this Request to

the extent that it purports to require the creation of any document or record in a format not kept

by TrialCard or seeks to impose production obligations that exceed those required by the Rules

of Federal Procedure, the Local Rules of the Court, this Court’s or with any applicable

agreement among the parties.

               TrialCard will not search for or produce documents responsive to this Request.


Request No. 32

              From any time, all Documents and Communications regarding this Action
provided to you by any person or entity other than SaveOnSP, including in response to
subpoenas served in this Action.

Response to Request No. 32

               In addition to the foregoing general objections, TrialCard, as a third party, objects

to this Request as it seeks the production of documents and information that are available from

parties to the Action and, therefore, is unduly burdensome on TrialCard. TrialCard further


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objects to this Request insofar as it seeks the production of documents and communications

outside of TrialCard’s possession, custody, and/or control. TrialCard further objects to this

Request on the ground that the phrase “all Documents and Communications regarding this

Action provided to you by any person or entity other than SaveOnSP” is vague and ambiguous.

TrialCard further objects to this Request as overbroad, unduly burdensome, and not proportional

to the needs of the case to the extent it seeks “all” documents and communications regarding a

broad subject matter. TrialCard further objects to this Request as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks documents and

communications outside of the relevant Time Period. TrialCard further objects to this Request to

the extent it seeks information that is exempt from discovery and protected from disclosure by a

privilege including, without limitation, the attorney-client privilege, the work-product doctrine,

the joint defense privilege, the common interest privilege, the Federal Rules of Civil Procedure,

the Local Rules of Court, and relevant case law.

               TrialCard will not search for or produce documents or communications

responsive to this Request.




       Dated: March 6, 2023


                                              By:     /s/DRAFT

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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 JOHNSON & JOHNSON HEALTH CARE                Civil Action No. 22-2632 (JMV) (CLW)
 SYSTEMS INC.,
                                              DEFENDANT’S FIRST REQUEST FOR
                     Plaintiff,                PRODUCTION OF DOCUMENTS TO
                                                        PLAINTIFF
              v.

 SAVE ON SP, LLC,

                     Defendant.



To:   Jeffrey J. Greenbaum, Esq.
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      Newark, New Jersey 07102
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       Health Care Systems Inc.

       PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure 26 and 34,

Defendant Save On SP, LLC (“SaveOnSP”) requests Plaintiff Johnson & Johnson Health Care

Systems Inc. (“JJHCS”), to produce for inspection and copying the documents listed in these Re-

quests, to the office of the undersigned within 30 days of being served or at a time and place mu-

tually agreed by the parties or ordered by the Court.

       PLEASE TAKE FURTHER NOTICE that this demand for production of documents

shall be deemed continuing in nature so as to require supplemental responses if Plaintiff or Plain-

tiff’s counsel obtain or locate further or additional documents subsequent to the time Plaintiff’s

responses are served.



Dated: November 11, 2022                      By: /s/ Andrew R. Dunlap
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                                          DEFINITIONS

        1.     The singular form of a word includes the plural, and vice versa.

        2.     Any tense of a verb includes all tenses.

        3.     Any natural person includes that person’s agents, assigns, attorneys, employees,

representatives, and successors.

        4.     Any entity other than a natural person includes (a) that entity’s present and former

agents, affiliates (foreign or domestic), assigns, attorneys, consultants, directors, divisions, em-

ployees, officers, parents, predecessors, representatives, servants, subsidiaries, and successors;

(b) any person or entity, directly or indirectly, wholly or in part, associated with, controlled by, or

owned by that entity; (c) and any other person or entity acting or purporting to act on behalf of

(a) or (b).

        5.     “Action” means this litigation styled as “Johnson & Johnson Health Care Systems

Inc. v. Save On SP, LLC” currently pending in the United States District Court for the District of

New Jersey, No. 22-2632 (JMV) (CLW).

        6.     “Affordable Care Act” means the Patient Protection and Affordable Care Act, Pub.

L. 148, 124 Stat. 119.

        7.     “All,” “any,” and “each” mean any and all.

        8.     “And” and “or” are construed both conjunctively and disjunctively.

        9.     “CarePath” means the Janssen copay assistance program marketed under the name

CarePath that provides financial support services for patients using specialty drugs researched,

developed, and marketed by the pharmaceutical companies of Johnson & Johnson, including

Janssen (as defined herein).




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        10.    “CarePath Care Coordinator” means any person or entity encompassed by that term

as used on CarePath’s “Contact Us” webpage, 1 as well as any person responsible for communi-

cating with patients who contact CarePath via an advertised help number (e.g., 877-CarePath).

        11.    “Communication” means the transmittal of information in the form of facts, ideas,

inquiries, or otherwise.

        12.    “Complaint” means JJHCS’s May 4, 2022 Complaint [ECF No. 1] or any subse-

quently amended Complaint in this Action.

        13.    “Copay Accumulator Service” means (a) any service provided by Pharmacy Bene-

fit Managers or insurance companies, or any third party providing services to the same, to manage

the cost of specialty drugs by preventing manufacturer copay assistance from counting towards a

patient’s deductible and out-of-pocket maximum and under which members remain responsible

for all or most of their plans’ copays, co-insurance requirements, and deductibles once copay as-

sistance has been exhausted; and (b) any definition JJHCS ascribes to the term “copay accumula-

tor.”

        14.    “Copay Assistance” means any type of patient support that allows a drug manufac-

turer to pay all or some of a patient’s prescription drug cost for that manufacturer’s drug.

        15.    “Copay Maximizer Service” means (a) any service provided by Pharmacy Benefit

Managers or insurance companies, or any third party providing services to the same, to manage

the cost of specialty drugs by preventing manufacturer copay assistance from counting towards a

patient’s deductible and out-of-pocket maximum and under which members do not remain respon-

sible for all or most of their plans’ copays, co-insurance requirements, and deductibles once copay




1
 See Contact Us, https://www.janssencarepath.com/patient/contact-us (last visited October 25,
2022).
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assistance has been exhausted; and (b) any definition JJHCS ascribes to the term “copay maxi-

mizer.”

          16.   “Document” means “document” and “electronically stored information” as defined

in the Federal Rules of Civil Procedure. A draft or non-identical copy is a separate document within

the meaning of this term.

          17.   “ESI” means “electronically stored information” as defined in the Federal Rules of

Civil Procedure.

          18.   “Essential Health Benefit” means, in the context of prescription drug benefits at

issue in this case, (a) a prescription drug benefit that satisfies the requirement for a plan to provide

essential prescription drug benefits under the Affordable Care Act or that is treated as such by a

plan; 2 and (b) any definition JJHCS ascribes to the term “essential health benefit” as used in the

Complaint.

          19.   “Identify” means (a) with respect to persons, to give, to the extent known, the per-

son’s full name, present or last known address, and when referring to a natural person, additionally,

the present or last known place of employment; (b) with respect to documents, either (i) to give,

to the extent known, the (A) type of document; (B) general subject matter; (C) date of the docu-

ment; and (D) author(s), addressee(s) and recipient(s); or (ii) to produce the documents, together

with sufficient identifying information sufficient to satisfy Federal Rule of Civil Procedure 33(d).

          20.   “Including” means including but not limited to.

          21.   “Janssen” means Janssen Biotech, Inc., Janssen Pharmaceuticals, Inc., Janssen

Products, LP, and Actelion Pharmaceuticals U.S., Inc., as well as any and all predecessors and

successors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents,



2
    45 C.F.R. §§ 156.122, 156.115.
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representatives, directors, officers, employees, committees, attorneys, accountants, and all persons

or entities acting or purporting to act on behalf or under the control of Janssen Biotech, Inc.,

Janssen Pharmaceuticals, Inc., Janssen Products, LP, or Actelion Pharmaceuticals U.S., Inc.

        22.     “Janssen Drug” means any Specialty Drug manufactured or sold by Janssen from

any time for which patients may receive copay assistance, including BALVERSA, DARZALEX,

DARZALEX FASPRO, ERLEADA, IMBRUVICA, OPSUMIT, REMICADE, RYBREVANT,

SIMPONI, STELARA, TRACLEER, TREMFYA, UPTRAVI, and ZYTIGA, as well as any other

specialty drugs that JJHCS asserts are at issue in this Action.

        23.     “JJHCS’s Employee Health Plans” means any health plan offered by JJHCS or

Janssen to its employees.

        24.     “JJHCS” means Johnson & Johnson Health Care Systems Inc. and any and all pre-

decessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or depart-

ments, agents, representatives, directors, officers, employees, committees, attorneys, accountants,

and all persons or entities acting or purporting to act on behalf or under the control of Johnson &

Johnson Health Care Systems Inc., including Centocor, Inc., Ortho Biotech Products LP, McNeil

Pharmaceutical, Ortho-McNeil Pharmaceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals,

Inc., Scios Inc., Janssen Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development,

LLC, Janssen Pharmaceuticals, Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc.,

Janssen BioPharma LLC, and Janssen Research & Development LLC.

        25.     “JJHCS Access Group” means the team operating within and for JJHCS under this

or a substantially similar name (i.e., Access Group, Access Team, or Access Division).




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         26.    “JJHCS Health Economics Group” means the team operating within and for JJHCS

under this or a substantially similar name (i.e., Health Economics Group, Health Economics Team,

or Health Economics Division).

         27.    “JJHCS Hub Entity” means any entity retained or utilized by JJHCS to administer,

in whole or in part, CarePath (including Lash Group and TrialCard), and any and all predecessors

and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments,

agents, representatives, directors, officers, employees, committees, attorneys, accountants, and all

persons or entities acting or purporting to act on behalf of such an entity.

         28.    “JJHCS Outcome Group” means the team operating within and for JJHCS under

this or a substantially similar name (i.e., Outcome Group, Outcome Team, or Outcome Division).

         29.    “Lash Group” means The Lash Group, Inc. and any and all predecessors and suc-

cessors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, rep-

resentatives, directors, officers, employees, committees, attorneys, accountants, and all persons or

entities acting or purporting to act on behalf or under the control of The Lash Group, Inc.

         30.    “Non-Essential Health Benefits” means, in the context of prescription drug benefits

at issue in this case, (a) any prescription drug benefit covered by a plan in excess of those necessary

for a plan to satisfy the requirements for providing essential prescription drug health benefits under

the Affordable Care Act 3 and designated by the plan as a non-essential health benefit; and (b) any

definition JJHCS ascribes to the term “non-essential health benefits” as used in the Complaint.

         31.    “Parties” means “SaveOnSP” and “JJHCS.”

         32.    “Patient” means a natural person prescribed or eligible to be prescribed any Janssen

Drug, whether or not they use CarePath or are a participant in a health plan advised by SaveOnSP.



3
    See 45 C.F.R. §§ 156.122, 156.115.
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        33.     “Person” means a natural person or legal entity including any business or govern-

mental entity or association.

        34.     “Regarding” means (directly or indirectly, partially or wholly) about, alluding to,

assessing, bearing upon, commenting upon, comprising, concerning, confirming, connected to,

considering, containing, contradicting, dealing with, discussing, embodying, evaluating, evidenc-

ing, identifying, in connection with, indicating, in respect of, involving, memorializing, mention-

ing, noting, pertaining to, probative of, proving, recording, referring to, reflecting, relating to, re-

porting on, reviewing, setting forth, showing, stating, suggesting, summarizing, supporting, touch-

ing upon a subject, or having been created, generated, or maintained in connection with or as a

result of that subject.

        35.     “Request” means any of these Requests for Production.

        36.     “SaveOnSP” means Save On SP, LLC, and any and all predecessors and successors

in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, represent-

atives, directors, officers, employees, committees, attorneys, accountants, and all persons or enti-

ties acting or purporting to act on behalf or under the control of Save On SP, LLC.

        37.     “SaveOnSP IPBC Video” means the IPBC and SaveOnSP training video created

by Express Scripts as defined in Complaint ¶ 9.

        38.     “Specialty Drug” means any specialty pharmaceutical, medication, biologic, or

other therapy treated as a pharmaceutical for purposes of health plan benefit coverage.

        39.     “Stelara” means the Janssen Drug sold under that name.

        40.     “Tremfya” means the Janssen Drug sold under that name.




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       41.     “TrialCard” means TrialCard Inc. and any and all predecessors and successors in

interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, representa-

tives, directors, officers, employees, committees, attorneys, accountants, and all persons or entities

acting or purporting to act on behalf or under the control of TrialCard Inc.

       42.     “You” and “Your” means JJHCS.

                                         INSTRUCTIONS

       1.      These Requests seek production of material in Your possession, custody, or control.

Fed. R. Civ. P. 34(a)(1).

       2.      These Requests seek production of nonprivileged material. Fed. R. Civ. P. 26(b)(1).

       3.      These Requests seek production of material that is proportional to the needs of this

case. Fed. R. Civ. P. 26(b)(1).

       4.      For each Request, either state that you will produce the requested material or state

with specificity the grounds for objecting to the Request, including the reasons. Fed. R. Civ. P.

34(b)(2)(C).

       5.      If you object to all or part of a Request, state whether you are withholding any

responsive material based on that objection. Fed. R. Civ. P. 34(b)(2)(C).

       6.      If you object to part of a Request, specify the part and state that you will produce

documents responsive to the rest. Fed. R. Civ. P. 34(b)(2)(C).

       7.      If you withhold responsive information by claiming that the information is privi-

leged or subject to protection as trial-preparation material, expressly make the claim and describe

the nature of the information privileged or protected in a manner that, without revealing infor-

mation itself privileged or protected, will enable SaveOnSP to assess the claim, Fed. R. Civ. P.

26(b)(5)(A)(ii), including by indicating whether any document exists regarding the information



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requested and stating, to the extent the privilege is being asserted in connection with a claim or

defense governed by state law, the state privilege rule being invoked, Local Rule 34.1.

       8.      If a document responsive to a Request was once in your possession, custody, or

control and has since been lost or destroyed, provide (a) a detailed description of the document;

(b) the name of the author; (c) the names of all persons to whom the document was sent; (d) the

date on which the document was prepared or initially received; (e) the date on which the document

was lost or destroyed; and (f) if the document was destroyed, the manner of its destruction, the

reason for its destruction, the name of the person who requested or authorized its destruction, and

the name of the person who destroyed it.

       9.      Produce documents as they are kept in the usual course of business. Fed. R. Civ.

P. 34(b)(E)(i). For each document, identify the file or location from which it was taken and the

name, affiliation, and position of the producing custodian or non-custodial source.

       10.     Produce electronically stored information in the form and manner required by any

agreed-upon or court-ordered protocols. In the absence of any such protocol at the time of produc-

tion, consult SaveOnSP for further instruction.

       11.     Produce each document in its entirety, without abbreviation or redaction, including

all attachments or materials attached thereto.

       12.     Produce all versions of each document that are not identical to the original docu-

ment (including all drafts) whether due to handwritten notations, revisions, enclosures, attach-

ments, underlining, highlighting, or otherwise.

       13.     These Requests are deemed continuing. If after responding to any Request you learn

that your response is in some material respect incomplete or incorrect, supplement or correct your

response in a timely manner. Fed. R. Civ. P. 26(e)(1)(A).



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                                         TIME PERIOD

       Unless otherwise specified, these Requests cover from and including January 1, 2017,

through the present.

                                           REQUESTS

       1.      From January 1, 2009 through the present, Documents sufficient to show JJHCS’s

organizational structure, including organizational charts.

       2.      From January 1, 2009 through the present, Documents sufficient to show Janssen’s

organizational structure, including organizational charts.

       3.      From January 1, 2009 through the present, Documents sufficient to show the or-

ganizational structure of each JJHCS Hub Entity.

       4.      From January 1, 2009 through the present, Documents sufficient to show the or-

ganizational structure of any group or division within JJHCS, Janssen, or any JJHCS Hub Entity

involved in developing, managing, marketing, or administering CarePath or any other copay as-

sistance program offered for Janssen Drugs, and to identify their employees.

       5.      From January 1, 2009 through the present, Documents sufficient to show the or-

ganizational structure of JJHCS’s Health Economics, Access, and Outcome Groups and to identify

employees working in those groups.

       6.      From January 1, 2009 through the present, Documents sufficient to show the or-

ganizational structure of the drug product team for each Janssen Drug, and to identify employees

working on those teams.

       7.      From January 1, 2009 through the present, documents sufficient to identify all nat-

ural persons with decisionmaking authority over the sale or marketing of Janssen Drugs.

       8.      All Documents and Communications with or regarding SaveOnSP.



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       9.     All Communications by JJHCS or Janssen with any Patient regarding SaveOnSP,

including any Documents regarding those Communications.

       10.    All Documents and Communications regarding any presentation, document, or in-

formation regarding SaveOnSP referenced in the Complaint, including the “SaveOnSP IPBC

Video” and the materials referenced in Complaint ¶¶ 82-88.

       11.    From January 1, 2009 through the present, all Documents and Communications

regarding the development, management, and marketing of CarePath or any other copay assistance

program offered for Janssen Drugs, including Documents and Communications regarding JJHCS’s

allegations in Complaint ¶¶ 6-7, 36-49.

       12.    From January 1, 2009 through the present, all Documents and Communications

regarding CarePath’s terms and conditions, including Documents and Communications regarding

(a) JJHCS’s allegations in Complaint ¶¶ 3, 8, 18-26, 102-103, 108; (b) all CarePath terms and

conditions for each Janssen Drug; (c) JJHCS’s decision to revise any of its CarePath terms and

conditions for any Janssen Drug; and (d) JJHCS’s understanding of the term “offer” or “health

plan” as used in CarePath’s terms and conditions.

       13.    From January 1, 2009 through the present, all Documents and Communications

regarding CarePath’s requirement that Patients enrolled in CarePath make any payments towards

Janssen Drugs, including Documents and Communications regarding JJHCS’s basis for setting the

amounts of those payments and JJHCS’s allegations in Complaint ¶¶ 48-49, 70, 89.

       14.    From January 1, 2015 through the present, all Documents and Communications

regarding JJHCS’s or any JJHCS Hub Entity’s understanding of commercial health plans’ ability

to designate specialty drugs as Essential Health Benefits or Non-Essential Health Benefits under




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the Affordable Care Act and its regulations, including Documents and Communications regarding

JJHCS’s allegations in Complaint ¶¶ 9-10, 43, 53-59, 71, 79.

       15.     All Documents and Communications regarding SaveOnSP’s communications with

Patients regarding CarePath, including Documents and Communications regarding JJHCS’s alle-

gations in Complaint ¶¶ 60-67, 109.

       16.     All Documents and Communications regarding SaveOnSP’s provision of services

to qualified high deductible or health savings account plans, including Documents and Communi-

cations regarding JJHCS’s allegations in Complaint ¶ 72.

       17.     All Documents and Communications regarding JJHCS’s payment of copay assis-

tance funds to or on behalf of Patients enrolled in qualified high deductible or health savings ac-

count plans.

       18.     All Documents and Communications regarding any allegedly misleading or con-

fusing communications between SaveOnSP and Patients, including Documents and Communica-

tions regarding JJHCS’s allegations in Complaint ¶¶ 13, 75-77, 85-88.

       19.     All Documents and Communications regarding any alleged stress or confusion

caused by SaveOnSP to any member of the public, including Documents and Communications

regarding JJHCS’s allegations in Complaint ¶ 114.

       20.     All Documents and Communications regarding any publicly distributed material

(including, for example, articles, op-eds, white papers, and online postings) regarding SaveOnSP,

Copay Accumulator Services, or Copay Maximizer Services, including Documents and Commu-

nications regarding JJHCS’s, Janssen’s, or any JJHCS Hub Entity’s direct or indirect involvement

with such material and JJHCS’s, Janssen’s, or any JJHCS Hub Entity’s direct or indirect funding

of the authors, publishers, or distributors of such material.



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         21.   All Documents and Communications regarding any advocacy to or communication

with any governmental or regulatory body regarding SaveOnSP, Copay Accumulator Services, or

Copay Maximizer Services.

         22.   All Documents and Communications regarding any alleged harm caused by Save-

OnSP to any Patient by allegedly making their healthcare more expensive, including Documents

and Communications regarding JJHCS’s allegations in Complaint ¶ 114.

         23.   All Documents and Communications regarding how SaveOnSP directly or indi-

rectly affects or threatens the financial viability of CarePath, including Documents and Commu-

nications regarding JJHCS’s allegations in Complaint ¶ 114.

         24.   All Documents and Communications regarding how SaveOnSP directly or indi-

rectly affects or threatens the financial viability of any Copay Assistance Program other than Care-

Path, including Documents and Communications regarding JJHCS’s allegations in Complaint

¶ 114.

         25.   All Documents and Communications regarding any alleged harm caused by Save-

OnSP to JJHCS, including Documents and Communications regarding JJHCS’s allegations in

Complaint ¶ 110, 115.

         26.   All Documents and Communications regarding JJHCS’s, Janssen’s, or any JJHCS

Hub Entity’s payment of any Patient’s costs, including those that accumulate towards the Patient’s

deductible or out-of-pocket maximum.

         27.   All Documents and Communications regarding the “internal JJHCS data” dis-

cussed in Complaint ¶¶ 92-101, including the complete databases from which that data was drawn.

         28.   From January 1, 2009 through the present, for each Janssen Drug for each year,

Documents sufficient to show:



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             a.     all Patients receiving the Janssen Drug;

             b.     the number of fills of the Janssen Drug received by each such Patient;

             c.     the dosage of the Janssen Drug received by each such Patient for each fill;

             d.     the projected number of Patients, average number of fills, and average

                    dosage for the Janssen Drug;

             e.     the cost to manufacture the Janssen Drug;

             f.     the sales and marketing budget for the Janssen Drug;

             g.     the price of the Janssen Drug;

             h.     the revenue received by JJHCS from the Janssen Drug;

             i.     all Patients enrolled in the CarePath program for the Janssen Drug;

             j.     the dates on which each Patient was enrolled in CarePath;

             k.     the amounts of copay assistance funds that JJHCS offered to each Patient

                    enrolled in CarePath;

             l.     the Janssen Drugs for which each Patient enrolled in CarePath received

                    copay assistance;

             m.     all copay assistance payments that JJHCS made to or on behalf each Pa-

                    tient enrolled in CarePath; and

      29.    From January 1, 2009 through the present, for each Janssen Drug for each year, all

Documents and Communications regarding:

             a.     JJHCS’s determination of the amounts of copay assistance funds that

                    JJHCS offered to Patients enrolled in CarePath, including the determina-

                    tion of the maximum program benefit per calendar year for the Janssen

                    Drug;



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                b.     JJHCS’s budget for CarePath, including the sales and marketing budget;

                c.     JJHCS’s actual and projected annual costs for CarePath;

                d.     JJHCS’s use of or accounting for unused CarePath funds;

                e.     the impact of the Affordable Care Act on JJHCS’s CarePath budget or

                       funding, including the impact of laws and regulations regarding out-of-

                       pocket maximums;

                f.     JJHCS’s and Janssen’s revenue and revenue projections from fills by Pa-

                       tients enrolled in CarePath;

                g.     the impact of CarePath on Janssen’s sales of any Janssen Drug;

                h.     the impact of CarePath on JJHCS’s or Janssen’s gross to net calculations;

                i.     JJHCS’s or Janssen’s actual and projected return on investment for Care-

                       Path; and

                j.     any analysis of the adherence rates of Patients enrolled in CarePath to

                       Janssen Drugs, including such Patients enrolled in plans advised by Save-

                       OnSP.

       30.      From January 1, 2009 through the present, for each year for each Janssen Drug, all

Documents and Communications regarding the basis for Janssen’s decision to raise or lower the

price of the Janssen Drug, including labor or manufacturing costs or the increase in efficacy of the

Janssen Drug.

       31.      All Documents and Communications regarding JJHCS’s attempts to limit or elim-

inate the amount of CarePath copay assistance funds available to Patients using Stelara or Tremfya

based on whether the Patients’ plans allegedly reduce or eliminate Patients’ out-of-pocket costs,

including Documents and Communications regarding JJHCS’s attempts to limit or eliminate the



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availability of CarePath copay assistance funds available to Patients enrolled in health plans ad-

vised by SaveOnSP.

         32.   All Documents and Communications regarding any offer by JJHCS to provide to

any Patient any CarePath funds greater than the amounts that JJHCS generally offers to CarePath

Patients or to waive any limitation on or elimination of the amount of CarePath copay assistance

funds available to a Patient.

         33.   All Documents and Communications regarding JJHCS’s attempts to identify health

plans advised by SaveOnSP or Patients enrolled in such plans.

         34.   From any time, all Documents and Communications regarding JJHCS’s or

Janssen’s negotiations or agreements regarding the potential use of SaveOnSP’s services, or the

services of any Copay Maximizer Service or Copay Accumulator Service, for JJHCS’s Employee

Health Plans, including JJHCS’s abandonment of those negotiations or agreements.

         35.   Documents sufficient to identify all JJHCS Hub Entities and CarePath Care Coor-

dinators.

         36.   From January 1, 2009 through the present, Documents sufficient to show the eco-

nomic terms of JJHCS’s retention of or agreements with any JJHCS Hub Entity or CarePath Care

Coordinator regarding CarePath, including any assessment of the fair market value of those ser-

vices.

         37.   From January 1, 2009 through the present, documents sufficient to show the per-

centage of Patients who enroll in CarePath after being contacted by JJHCS, Janssen, any JJHCS

Hub Entity, or any other third party authorized to advertise or market CarePath or Janssen Drugs.




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       38.    From January 1, 2009 through the present, all Documents and Communications

received by JJHCS from any JJHCS Hub Entity or sent by JJHCS to any JJHCS Hub Entity re-

garding SaveOnSP or CarePath.

       39.    All Documents and Communications received by JJHCS from any CarePath Care

Coordinator regarding SaveOnSP.

       40.    All Communications by any JJHCS Hub Entity or CarePath Care Coordinator with

any Patient regarding SaveOnSP, including any Documents regarding those Communications and

talk tracks or scripts prepared for use during those Communications.

       41.    From January 1, 2015 through the present, all Documents and Communications

relating to Copay Accumulator Services and Copay Maximizer Services and their effect on

JJHCS’s return on investment for copay assistance dollars.

       42.    From January 1, 2015 through the present, all Documents and Communications

relating to JJHCS’s or any JJHCS Hub Entity’s understanding of the terms “copay accumulator”

and “copay maximizer.”

       43.    All Documents and Communications concerning non-medical switching by partic-

ipants of plans that implement SaveOnSP’s services, a Copay Accumulator Service, or a Copay

Maximizer Service.

       44.    To the extent not requested above, Documents and Communications of any JJHCS

Hub Entity or CarePath Care Coordinator regarding the topics of all Requests listed above.

       45.    JJHCS’s, Janssen’s, any JJHCS Hub Entity’s, and any CarePath Care Coordinator’s

document retention policies.

       46.    Complete data dictionaries for any data that You produce.




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       47.     From any time, all Documents and Communications regarding this Action provided

to you by any person or entity other than SaveOnSP, including in response to subpoenas served in

this Action.

       48.     To the extent not requested above, from any time, all Documents and Communica-

tions upon which you may rely in this Action.




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June 7, 2023                                                                           Katherine Brisson
                                                                                       (212) 336-2552


Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (ES) (CLW)

Dear Emma:

               We write in response to your May 31, 2023 letter regarding the subpoena issued to
TrialCard, Inc. (“TrialCard”) and TrialCard’s April 24, 2023 document production.

I.       Requests for Which TrialCard Agreed to Produce Documents

               RFP No. 3: TrialCard confirms that it has filtered its case and task notes by the
Janssen drugs at issue in this litigation: Balversa, Darzalex, Darzalex Faspro, Erleada,
Imbruvica, Opsumit, Prezcobix, Remicade, Rybrevant, Simponi, Stelara, Symtuza, Tracleer,
Tremfya, Uptravi, Ventavis, and Zytiga.1 The case and task notes that TrialCard anticipates
producing will include patients who receive Janssen CarePath copay assistance for at least one
Janssen drug at issue in this litigation, regardless of whether that is the only Janssen drug for
which they receive copay assistance. TrialCard anticipates producing over 19,000 call notes
based on the application of the previously agreed-upon twelve search terms.

                Despite TrialCard’s extensive efforts to identify and produce responsive
documents, SaveOnSP now proposes that TrialCard supplement its already broad search
parameters to include two additional terms: “out-of-pocket” and “OOP.” TrialCard declines to do
so. These terms are overinclusive, and their application would present a substantial burden, which
is particularly pronounced for a third-party like TrialCard. Nearly every call with TrialCard
relating to the CarePath program likely involves some mention or reference to the terms “out-of-
pocket” or “OOP.” Indeed, providing financial assistance to enable patients to meet their out-of-
pocket obligations is a primary service that the CarePath program provides. SaveOnSP is not



1
 As we have noted several times, e.g., Ltr. from H. Sandick (for JJCHS) to A. Dunlap dated Apr. 11,
2023, Valchlor is not a Janssen drug.



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June 7, 2023
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entitled to every call concerning out-of-pocket costs without some reasonable subject matter
limitation, which is precisely what TrialCard’s existing search terms already establish.

               SaveOnSP also asks TrialCard to confirm that it “has investigated whether it
possesses documents responses to RFP No. 3 beyond the above-described patient calls and the
results of that investigation.” TrialCard has conducted a reasonable investigation and has
determined that it possesses no additional responsive materials beyond what it understands has
been or will be produced through JJHCS.

II.    TrialCard’s Investigation and Responses Regarding Other RFPs

               RFP Nos. 5, 6, 8, 10–17, 20–22, 24–25, and 32: Following a reasonable
investigation, we confirm that TrialCard does not have any documents responsive to these RFPs
other than what it has already agreed to produce. If TrialCard becomes aware of any responsive
documents in its possession that are not also in the possession of JJHCS, it will notify SaveOnSP.

               RFP Nos. 7, 9, and 29: These requests each seek documents that improperly go
beyond TrialCard’s implementation of the Janssen CarePath program. In particular, RFP No. 7
seeks documents concerning TrialCard’s “understanding” of commercial insurers’ designation of
specialty drugs; RFP No. 9 seeks TrialCard’s documents concerning SaveOnSP’s provision of
services to qualified high deductible or health savings account plans; and RFP No. 29 seeks
TrialCard’s documents concerning the non-medical switching of patients who are subject to
SaveOnSP’s services or other accumulators or maximizers besides SaveOnSP. None of these
requests have anything to do with TrialCard’s provision of services to JJHCS. TrialCard’s
understanding of the health insurance market and its participants in the abstract is irrelevant to its
actual implementation of the Janssen CarePath program and, thus, is immaterial to the claims at
issue. Accordingly, TrialCard will limit its responses to these requests as previously described in
its May 12 letter.

                 However, as also previously noted in our May 12 letter, TrialCard has published
various written materials encompassing the subject of copay accumulator and maximizer programs
generally, some of which may touch on the requests at issue. Without conceding the
responsiveness or relevance of these documents, we note that they are publicly available at
https://corp.trialcard.com/resources/.

                RFP Nos. 13–15, 17, 20, and 22: As we explained in our May 12 letter, TrialCard’s
contributions to any analyses responsive to these requests would have been provided at the request
of, or in consultation with, JJHCS. Accordingly, TrialCard would have furnished any such
deliverables to JJHCS, which, in turn, would be captured by JJHCS’s document productions (since
SaveOnSP has served virtually identical requests on JJHCS).

             TrialCard understands that, to date, JJHCS has produced more than 4,000
communications between JJHCS and TrialCard and related documents. This includes work orders
for the Cost Adjustment Program (“CAP”) referenced in your May 31 letter, e.g.,
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JJHCS_00001497, JJHCS_00037297; the CAP project requirements and business rules that
JJHCS provided to TrialCard, e.g., JJHCS_00077384, JJHCS_00077393; and over 1,000
documents and communications regarding the implementation of CAP. These materials are more
than sufficient for SaveOnSP to understand the scope and nature of the work that TrialCard
performed at JJHCS’s direction.

                SaveOnSP nevertheless seeks discovery into TrialCard’s documents generated
outside of its relationship with JJHCS or not furnished to JJHCS. Such documents are entirely
irrelevant to the claims and defenses at issues, and as a third-party, TrialCard need not produce
such materials. Accordingly, TrialCard will not produce documents in response to these requests.

                RFP No. 26: Following a reasonable investigation, TrialCard does not possess any
data, analyses, or other information about patient enrollment in CarePath responsive to this RFP.

III.   TrialCard’s April 24, 2023 Production

              RFP Nos. 1–2:        TrialCard will produce additional organizational charts in a
forthcoming production.

                RFP No. 3: TrialCard has produced all responsive patient letters to SaveOnSP in
its April 24 production. It has no additional materials to produce in response to RFP No. 3.

               RFP No. 18(i)–(m): TrialCard anticipates producing additional medical benefit
claims data responsive to this request in a forthcoming production.

               RFP No. 30: In its April 24 production, TrialCard produced its only Company-
wide document retention policy, which was published in 2023. See TRIALCARD_00000125. It
has no additional materials to produce in response to RFP No. 30.

               Identification of Custodians: TrialCard has conducted a reasonable investigation
to respond to SaveOnSP’s document requests and has produced documents from a variety of non-
custodial repositories. TrialCard will not further identify the specific non-custodial source for each
document it has produced.

                                                          Very truly yours,




                                                          /s/Katherine Brisson
                                                          Katherine Brisson
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                   Exhibit 12
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December 6, 2023                                                                       Sara Arrow
                                                                                       (212) 336-2031


By Email

Hannah Miles, Esq.
Selendy Gay Elsberg, PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632-ES-CLW

Dear Hannah:

                We write on behalf of TrialCard in response to your November 30 letter regarding
the applicable time period for TrialCard’s document productions in response to the subpoena dated
February 17, 2023.

                You claim that, during a meet and confer on April 25, 2023, we “agreed that
TrialCard’s productions would generally conform to the Court’s orders as to JJHCS, including
adjusting the time period for TrialCard’s productions in line with JJHCS’s.” Suffice it to say, we
disagree with your characterization of TrialCard’s assertions during the April 25 meet and confer.
At no point during the meet and confer did TrialCard and SaveOnSP contemplate or discuss a
complete update of all discovery responses through November 7, 2023, much less agree to
undertake the same.

               In any event, the Court’s November 7, 2023 Order does not impose obligations on
TrialCard as a third party, nor are we aware of any other third party (including your business
partners, Express Scripts Inc. or Accredo Health Group, Inc.) undertaking a comparable production
update pursuant to that Order. As a result, we decline your invitation to update our discovery
responses, including productions, through November 7, 2023.

                                                                    Very truly yours,



                                                                    /s/ Sara A. Arrow
                                                                    Sara A. Arrow




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December 22, 2023                                                                      Sara A. Arrow
                                                                                       (212) 336-2031




By Email

Elizabeth Snow, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (ES) (CLW)

Dear Elizabeth:

              On behalf of TrialCard, we write in response to your December 14, 2023 letter
concerning the relevant time period for JJHCS’s productions in response to the February 17, 2023
subpoena (the “Subpoena”) served on TrialCard.

                As you know, TrialCard, a non-party, and SaveOnSP have been engaged for several
months in extensive negotiations related to the scope of TrialCard’s response to the Subpoena.
The Subpoena sought the production of documents for the period from January 1, 2017 through
the date of the subpoena. TrialCard timely raised relevance, breadth, and burden objections,
agreeing to produce documents only for the period January 1, 2017 to July 1, 2022. See TrialCard
Responses and Objections dated March 6, 2023.1 Following negotiation, TrialCard subsequently
agreed to expand the Relevant Time Period to cover April 1, 2016 through July 1, 2022. See May
12, 2023 Ltr. from G. Carotenuto to A. Dunlap.

               Throughout the course of our negotiations, TrialCard consistently reiterated that it
would only produce documents from this time period. See, e.g., July 13, 2023 Ltr. from K. Brisson
to E. Holland (identifying April 1, 2016 to July 1, 2022 as the Relevant Time Period for custodial
productions); Sept. 8, 2023 Ltr. from K. Brisson to E. Holland (reiterating the Relevant Time
Period). SaveOnSP raised no objections whatsoever and accepted this as the Relevant Time Period


1
 You assert in the December 14 letter that TrialCard has articulated no relevance or burden objections to
extending the applicable time period. Not so. Referencing our original Responses and Objections, we
expressly preserved such objections during the December 12, 2023 meet and confer, and we maintain those
objections for the reasons stated during our conferral and in this letter.



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Elizabeth Snow, Esq.
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at least twice. See May 31, 2023 Ltr. from E. Holland to G. Carotenuto at 1 (referring to April 1,
2016 to July 1, 2022 as the “Relevant Time Period”); July 26, 2023 Ltr. from E. Holland to K.
Brisson at 7 n.1 (proposing search terms for the “Relevant Time Period” defined as April 1, 2016
to July 1, 2022).

              More than six months after TrialCard first identified the Relevant Time Period and
several months after SaveOnSP accepted it, SaveOnSP now is attempting to rewrite the above
history and demands that TrialCard supplement its productions through November 7, 2023.
SaveOnSP’s request is improper for several reasons, including the following:

          First, the Subpoena was issued on February 17, 2023. TrialCard seeks to extend the
           scope of the subpoena at least nine months beyond the service date. This is plainly
           improper and contrary to the Federal Rules of Civil Procedure. Neither Rule 45 nor
           any other authority supports the notion that a subpoena may seek the production of
           documents that were not created until after the subpoena was propounded.

          Second, as we have explained at length, nothing in the Court’s November 7, 2023 Order
           directs TrialCard, as a non-party, to update its discovery responses. That Order only
           directs “both parties” to “supplement their discovery responses in accordance with the
           Federal Rules of Civil Procedure”—which, as noted, above, do not impose on
           TrialCard, a non-party, an obligation to supplement. See Johnson & Johnson
           Healthcare Sys., Inc. v. Save On SP, LLC, ECF No. 173 (“ECF No. 173”). Nor are we
           aware of any other third party (including your business partners, Express Scripts Inc.
           or Accredo Health Group, Inc.) who have made a comparable production pursuant to
           the November 7 Order.

          Third, citing to an April 7 letter, you claim that TrialCard purportedly confirmed that
           it would comply with any court order applicable to RFP Nos. 1, 2, 5–6, 18, 19, and 25–
           28, which contain requests similar to those in scope and substance as several requests
           directed to JJHCS. This ignores and mischaracterizes the relevant context surrounding
           the April 7 letter. As you know, RFP Nos. 1, 2, 5–6, 18, and 19 sought documents for
           the period January 1, 2009 to the present, and RFP Nos. 25–28 sought documents for
           the period January 1, 2015 to the present. The parties—JJHCS and SaveOnSP—have
           long disputed the proprietary of requiring collections beginning as early as 2009 or
           2015, as applicable, and have engaged in extended motion practice related to those
           parallel requests served on JJHCS. To date, the Court has not endorsed SaveOnSP’s
           requests for discovery prior to April 1, 2016 for any of the comparable RFPs as they
           relate to JJHCS. Nothing within Judge Waldor’s November 7 Order addresses the
           earlier time period; to the contrary, Judge Waldor made clear that several of
           SaveOnSP’s requests seeking pre-2016 documents should be narrowed, both as to time
           period and substance. See e.g., ECF No. 173 at 1 (requiring SaveOnSP to “narrow” the
           scope of its requests for information relating to CarePath Terms and Conditions and
           financial information—two categories of information that overlap with several of the
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Elizabeth Snow, Esq.
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           Requests for Production referenced in TrialCard’s April 7 letter).2 Thus, contrary to
           your assertion, TrialCard’s representations in its April 7 letter do not alter its consistent
           position that the relevant time period is April 1, 2016 to July 1, 2022—a period that
           SaveOnSP has repeatedly accepted over months of negotiation.

                For these and all of the other reasons we provided during our meet and confer,
TrialCard will not update its response to the Subpoena beyond July 1, 2022. TrialCard reserves
all rights, and we remain available to meet and confer.

                                                           Very truly yours,


                                                           /s/ Sara A. Arrow
                                                           Sara A. Arrow




2
 For example, RFP No. 5 seeks documents concerning CarePath Terms and Conditions. SaveOnSP’s RFP
No. 27 seeks documents concerning JJHCS’s purported return on investment for copay assistance dollars.
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                   Exhibit 14
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Attorneys for PlaintiffJohnson & Johnson Health Care
Systems Inc.

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  JOHNSON & JOHNSON HEALTH CARE                   Civil Action No. 22-2632 (JMV) (CLW)
  SYSTEMS INC.,
                                                   PLAINTIFF JOHNSON & JOHNSON
                        Plaintiff,                  HEALTH CARE SYSTEMS INC.'S
                                                   RESPONSES AND OBJECTIONS TO
                V.                                  DEFENDANT SAVE ON SP, LLC'S
                                                   FIRST SET OF INTERROGATORIES
  SA VE ON SP, LLC,

                        Defendant.
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                                    GENERAL OBJECTIONS

       Johnson and Johnson Health Care Systems, Inc. ("JJHCS") incorporates each of the

General Objections below into its specific objections to each Interrogatory, whether or not each

such General Objection is expressly referred to in JJHCS's objections to a specific Interrogatory.

JJHCS's investigation of facts related to this Action is ongoing. It reserves the right to supplement,

amend, modify, or correct its responses under Rule 26(e) should it discover additional information

or grounds for objections at any time prior to the conclusion of this Action. The following

responses and objections are based upon information known at this time.

        1.     JJHCS objects to the Interrogatories to the extent that they seek material or

information protected from disclosure by a privilege including, without limitation, the attorney-

client privilege, the work-product doctrine, the joint defense privilege, the common interest

privilege, the First Amendment privilege, or any privilege recognized by the Federal Rules of

Civil Procedure, the Local Rules of the Court, and/or relevant case law.

       2.      JJHCS objects to the Interrogatories to the extent that they seek information that

is not relevant to a claim or defense or to the subject matter of this litigation. Any response JJHCS

makes to any Interrogatory shall not be deemed an admission that the response, information,

document, or thing produced is relevant to a claim or defense or to the subject matter of this

litigation, is reasonably calculated to lead to the discovery of admissible evidence, is material, or

is admissible as evidence.

       3.      JJHCS objects to the Interrogatories to the extent that they are vague and/or

ambiguous.

       4.      JJHCS objects to the Interrogatories to the extent that they require interpretation

or legal analysis by JJHCS in providing a response. JJHCS responds to the Interrogatories as it

interprets and understands each Interrogatory as set forth. If SaveOnSP subsequently asserts an
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interpretation of any Interrogatory that differs from JJHCS's understanding of that Interrogatory,

JJHCS reserves the right to modify or supplement its objections and responses.

        5.     JJHCS objects to the Interrogatories to the extent that they are duplicative of

document requests, other interrogatories, and/or other discovery requests.

        6.     JJHCS objects to the Interrogatories to the extent that they are argumentative, lack

foundation, or incorporate assertions that are disputed, erroneous, or irrelevant to the Action.

JJHCS further objects to the Interrogatories to the extent that they assume facts that do not exist

or the occurrence of events that did not take place.

        7.     JJHCS objects to the Interrogatories to the extent that they seek information

relating to any business affairs other than those that are the subject of the Action.

        8.     JJHCS objects to the Interrogatories to the extent that they seek information that

is not in JJHCS's possession, custody, or control.

                               OBJECTIONS TO DEFINITIONS

        1.        JJHCS objects to the definition of the term "Janssen" to the extent the term is

used to seek information in the possession of entities other than JJHCS. JJHCS further objects

to the definition as overbroad, unduly burdensome, and not proportional to the needs of the case

to the extent it purports to include "any and all predecessors and successors in interest, assignees,

parents, subsidiaries, affiliates, divisions or departments, agents, representatives, directors,

officers, employees, committees, attorneys, accountants and all persons or entities acting or

purporting to act on behalf' of those entities.

       2.      JJHCS objects to the definition of the term "Janssen Drug" as irrelevant to the

extent it purports to include drugs that are not covered by CarePath. JJHCS further objects to the

definition as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it includes "any Specialty Drug manufactured or sold by Janssen from any time."
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       3.       JJHCS objects to the definition of the term "JJHCS" to the extent it purports to

include attorneys, accountants, or others who may be outside of JJHCS's control. JJHCS further

objects to the definition as overbroad, unduly burdensome, and not proportional to the needs of

the case to extent it purports to include "any and all predecessors and successors in interest,

assignees, parents, subsidiaries, affiliates, .. . agents, [or] representatives" or purports to include

entities and persons acting or purporting to act on behalf of or under the control of entities other

than Johnson & Johnson Healthcare Systems, Inc.

       4.       JJHCS objects to the definition of the term "JJHCS Hub Entity" as vague and as

irrelevant to the extent it purports to include entities other than those within JJHCS responsible

for administering CarePath from January 1, 2017 to the present. JJHCS further objects to the

definition as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it includes "any and all predecessors and successors in interest, assignees, parents,

subsidiaries, affiliates, divisions or departments, agents, representatives, directors, officers,

employees, committees, attorneys, accountants and all persons or entities acting or purporting to

act on behalf' of those entities. JJHCS further objects on the ground that the phrase "administer,

in whole or in part, CarePath" is vague and ambiguous. JJHCS further objects to the extent the

term is used to seek information in the possession of entities other than JJHCS.

       5.       JJHCS objects to the definition of the term "Lash Group" as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it includes "any and all

predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or

departments, agents, representatives, directors, officers, employees, committees, attorneys,

accountants and all persons or entities acting or purporting to act on behalf or under the control




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of The Lash Group, Inc." JJHCS further objects to the extent the tennis used to seek infonnation

in the possession of entities other than JJHCS.

       6.      JJHCS objects to the definition of the term "TrialCard" as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it includes "any and all

predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or

departments, agents, representatives, directors, officers, employees, committees, attorneys,

accountants and all persons or entities acting or purporting to act on behalf or under the control

of Trial Card Inc." JJHCS further objects to the extent the term is used to seek infonnation in the

possession of entities other than JJHCS.

                           OBJECTIONS TO THE TIME PERIOD

        1.     JJHCS objects to SaveOnSP's Interrogatories as overbroad, unduly burdensome,

and not relevant to the subject matter of this Action to the extent they call for documents from

before January 1, 2017. Unless otherwise noted, JJHCS will only provide infonnation from

January 1, 2017 through July 1, 2022 (the "Time Period").

                           RESPONSES TO INTERROGATORIES

Interrogatory No. 1

        Identify each person who participated in or had responsibility for communications with
patients or health plans, including any communications between CarePath Care Coordinators or
JJHCS Hub Entities and patients, from January 1, 2009 through the present.

Response:




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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 2

        Identify each person who participated in or had responsibility for the marketing of CarePath
or other communications with the public regarding CarePath, including those mentioning Copay
Accumulator Services or Copay Maximizer Services, from January 1, 2009 through the present.

Response:




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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 3

       Identify each person who participated in or had responsibility for drafting or revising
CarePath's terms and conditions for each Janssen Drug, from January 1, 2009 through the present.

Response:
Case 2:22-cv-02632-CCC-CLW   Document 360-4   Filed 08/27/24   Page 467 of 683
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                                  11
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                                         PageID: 31819




       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 4

        Identify each person who participated in or had responsibility for analyzing price, revenue,
cost, or other financial data for Janssen Drugs, as well as financial data for CarePath and other
Copay Assistance Programs for Janssen Drugs, from January 1, 2009 through the present.

Response:




                         .



                                                12
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                                   13
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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 5

        Identify each person who participated in or had responsibility for JJHCS 's attempts to
identify health plans advised by SaveOnSP or patients enrolled in such plans.

Response:




                                              14
Case 2:22-cv-02632-CCC-CLW              Document 360-4        Filed 08/27/24      Page 471 of 683
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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 6

        Identify each person who participated in or had responsibility for JJHCS's attempts to limit
or eliminate the amount of CarePath copay assistance funds available to patients enrolled in health
plans advised by SaveOnSP, including JJHCS's attempts to limit or eliminate the amount of
CarePath copay assistance funds available to patients using Stelara or Tremfya.

Response:




                                                15
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                                   16
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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.

Interrogatory No. 7

      Identify each person who participated in or had responsibility for JJHCS's or any JJHCS
Hub Entity's understanding of the terms "copay accumulator" and "copay maximizer."

Response:




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       JJHCS designates its response to this Interrogatory as Confidential under the Discovery

Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.



Dated: January 17, 2023
                                           SILLS CUMM IS & GROSS P.C.
                                           One Riverfront Plaza
                                           Newark, New Jersey 07102
                                           (973) 643-7000

                                           By:    ls/Jeffrey J. Greenbaum
                                                  JEFFREY J. GREENBAUM
                                                  KATHERINE M. LIEB


                                           PATTERSON BELKNAP WEBB & TYLER LLP
                                           Adeel A. Mangi
                                           Harry Sandick (admitted pro hac vice)
                                           George LoBiondo
                                           1133 Avenue of the Americas
                                           New York, New York 10036
                                           (212) 336-2000

                                          Attorneys for Plaintiff
                                          Johnson & Johnson Health Care Systems Inc.




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                                        CERTIFICATION

    1. I am Senior Director of Supplier Management & Operations for the Patient Engagement &

Customer Solutions group within JJHCS. I am authorized by JJHCS to execute these Responses

to Interrogatories on its behalf.

   2. I have read the attached Responses to SaveOnSP's First Set of Interrogatories.

    3. The Responses are based upon my personal knowledge, upon information supplied to me

by others, and upon JJHCS's documents, books, and records.

   4. As to Responses based upon my personal knowledge, they are true to the best of my

knowledge. As to Responses based upon information supplied to me by others and upon JJHCS's

documents, books, and records, I believe those answers to be true.

       I certify that the foregoing is true and correct.



Dated: January 17, 2022
Piscataway, NJ




                                                  19
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                   Exhibit 15
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                                                                                                        www.pbwt.com




January 19, 2024                                                                       Sara Arrow
                                                                                       (212) 336-2031


By Email

Hannah Miles, Esq.
Selendy Gay Elsberg, PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632-JKS-CLW

Dear Hannah:

               We write on behalf of TrialCard in response to your January 18, 2024 letter
regarding TrialCard’s production of benefits investigations.

                You assert in your January 18 letter that TrialCard has not produced the benefits
investigations that it agreed to produce. That is incorrect. As part of its January 12, 2024
production, TrialCard produced TRIALCARD_00008931, which contains, among other things,
the record of 3,908 benefits investigations as they are maintained by TrialCard in the normal course
of business. In particular, benefits investigations that TrialCard conducts are maintained on a
SalesForce application, and TRIALCARD_00008931 contains an export of the relevant data fields
associated with those benefits investigations.

                                                                    Very truly yours,


                                                                    /s/ Sara A. Arrow
                                                                    Sara A. Arrow




Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000   F 212.336.2222

14811374
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                   Exhibit 16
Case 2:22-cv-02632-CCC-CLW                    Document 360-4             Filed 08/27/24           Page 479 of 683
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                                                                                                        www.pbwt.com




March 12, 2024                                                                         Sara A. Arrow
                                                                                       (212) 336-2031


By Email

Hannah Miles, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      TrialCard’s Production of Benefits Investigations
                           Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Hannah:

               On behalf of TrialCard, we write in response to your February 13, 2024 letter
regarding TrialCard’s production of benefits investigations.

              You object to TrialCard’s production of benefits investigations on the basis that
TRIALCARD_00008931 is a “summary of the results of a benefits investigation, [which] is not
the same as the final Benefits Investigations that you agreed to produce.”1 This is inaccurate.
TRIALCARD_00008931 reflects



           See Jan. 19, 2024 Ltr. from S. Arrow to H. Miles; see also Oct. 20, 2023 Ltr. from S.
Arrow to E. Holland at 1. It is not a “summary” at all—it contains


1
  SaveOnSP relatedly asserts that “[p]roducing TRIALCARD_00008931 does not fulfill [JJHCS’s]
representation to the Court” to produce relevant benefits investigations. As both TrialCard and JJHCS have
made clear, TrialCard agreed to produce the relevant benefits investigations “pursuant to the third-party
subpoena served on TrialCard by SaveOnSP.” See Oct. 23, 2023 Ltr. from H. Sandick (on behalf of JJHCS)
to A. Dunlap; see also Oct. 20, 2023 Ltr. from S. Arrow to E. Holland at 1 (describing scope of TrialCard’s
production in response to the subpoena served on it). Regardless, even if TrialCard were producing such
documents at JJHCS’s request or on its behalf, that would not impact the sufficiency of production for the
reasons identified herein. Finally, as you know, we have repeatedly asked you not to blur the lines between
our firm’s two clients, JJHCS and TrialCard, which are separate entities. As a result, to the extent you have
further questions related to JJHCS’s representations to the Court, we once again ask you to direct them to
JJHCS in separate correspondence.



Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000   F 212.336.2222
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                                           PageID: 31831
Hannah Miles, Esq.
March 12, 2024
Page 2



                See Jan. 19, 2024 Ltr. from S. Arrow to H. Miles. Documents are to be produced
in the manner in which they are kept, which is what TrialCard has done here.

               You next request that TrialCard re-produce the benefits investigation spreadsheet
with additional categories of information, namely:


                    See Feb. 13, 2024 Ltr. from S. Arrow to H. Miles at 2. TrialCard confirms
that it will re-produce the benefits investigation spreadsheet with the additional requested
categories of information, to the extent such information is available in the normal course of
business.2

                Finally, you note that TRIALCARD_00008931 omits the results of a specific
benefits investigation identified in a de-identified document produced by JJHCS. See
JJHCS_00003356. This was inadvertent. We have investigated the issue and understand that
certain benefits investigations conducted for the period January 2022 to June 2022 were entered
into the SalesForce application using a manual process. Following investigation, we have taken
reasonable steps to confirm that our search parameters are designed to capture such manually
entered benefits investigations, to the extent they are not already captured in
TRIALCARD_00008931. TrialCard will re-produce TRIALCARD_00008931 to include an entry
for the benefits investigation reflected in JJHCS_00003356, along with any additional relevant
benefits investigations that TrialCard locates after reasonable investigation that were inadvertently
omitted from TRIALCARD_00008931. TrialCard expects to re-produce the benefits investigation
spreadsheet on or around March 29, 2024.

                                                             Very truly yours,




                                                             /s/ Sara A. Arrow
                                                             Sara A. Arrow




2
    Certain requested information may not be available in all circumstances—for example,
                                                                                                    To the
extent such additional data fields exist for any given benefit investigation, TrialCard will produce those
fields.
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                   Exhibit 17
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   Selendy Gay PLLC                  PageID: 31833
   1290 Avenue of the Americas
   New York NY 10104
   212.390.9000


   Hannah R. Miles
   Associate
   212.390.9055
   hmiles@selendygay.com




   February 13, 2024



   Via E-mail

   Sara A. Arrow
   Patterson Belknap Webb & Taylor LLP
   1133 Avenue of the Americas
   New York, NY 10036
   sarrow@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-JKS-CLW)

   Dear Sara,

          We write to you as counsel for TrialCard, Inc. (“TrialCard”) and Johnson &
   Johnson Health Care Systems, Inc. (with its affiliates, “J&J”), in response to your
   January 19, 2024 letter regarding TrialCard’s production of benefits investiga-
   tions.

          You assert that TRIALCARD_00008931, an excel file produced on January
   12, 2024, fulfills your promise to produce final Benefits Investigations that identify
   or attempt to identify whether a patient is on a maximizer plan, an accumulator
   plan, or a plan advised by SaveOn. But a summary of the results of a benefits in-
   vestigation is not the same as the final Benefits Investigations that you agreed to
   produce. See Oct. 30, 2023 Tr. at 62:9-13. You identified what a Benefits Investi-
   gation is to the Court: “[T]he first exhibit [in SaveOn’s handout], this document is
   what he just took you through, this is a benefits investigation.” Id. at 79:13–15 (ref-
   erencing JJCHS_00003355, a redacted Benefits Investigation). And you stated
   that you were “voluntarily going to give [SaveOn] all of these, all the way through
   to the present already.” Id. at 79:17–19; see also Jan. 24, 2024 Tr. at 21:10–17
   ("[W]e have already agreed to produce[,] … either directly through us or by asking
   our vendor, a company called TrialCard, to produce what are known as benefits
   investigations. And those are the enforcement documents. We’re in the process of
   making those productions for the relevant time period right now.”). Producing
   TRIALCARD_00008931 does not fulfill your representation to the Court.
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                                   PageID: 31834
   Sara A. Arrow
   February 13, 2024



            TRIALCARD_00008931 also omits key data.




                                                                             TRIAL-
   CARD_00008931 also does not appear to include information from the Benefits
   Investigation that you previously produced at JJHCS_00003356 (based on a com-
   parison of the relevant CarePath Patient ID), indicating that the excel is incom-
   plete.

         By February 16, 2024, please confirm that you will produce the complete set
   of Benefits Investigations and state the date by which you will complete that pro-
   duction.

   Sincerely,

   Hannah Miles

   Hannah R. Miles
   Associate




                                           2
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                   Exhibit 18
         Case 2:22-cv-02632-CCC-CLW                             Document 360-4                 Filed 08/27/24              Page 485 of 683
                                                                 PageID: 31836
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of NewofJersey
                                                                               __________
       Johnson & Johnson Health Care Systems Inc.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 22-2632 (JMV) (CLW)
                       Save On SP, LLC                                        )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                             TrialCard Inc.
                                               2250 Perimeter Park Dr., #300, Morrisville, NC 27560
                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached requests for production.



  Place: Weno Process c/o Marcus Lawing                                                 Date and Time:
           4711 Hope Valley Road, Ste. 4F-604                                                                03/07/2023 5:00 pm
           Durham, NC 27707

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        02/17/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                               /s/ E. Evans Wohlforth, Jr.
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Defendant
Save On SP, LLC                                                          , who issues or requests this subpoena, are:
E. Evans Wohlforth, Jr., Gibbons P.C., One Gateway Center, Newark, NY 07102-5310

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
         Case 2:22-cv-02632-CCC-CLW                             Document 360-4                 Filed 08/27/24              Page 486 of 683
                                                                 PageID: 31837
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 22-2632 (JMV) (CLW)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0       .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                   PageID: 31839



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E. Evans Wohlforth, Jr.
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New York, NY 10017-4132
212-451-2954
ewohlforth@rc.com

Attorneys for Defendant Save On SP, LLC


                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



 JOHNSON & JOHNSON HEALTH CARE                Civil Action No. 22-2632 (ES) (CLW)
 SYSTEMS INC.,
                                               NOTICE OF SUBPOENA FOR THE
                     Plaintiff,                PRODUCTION OF DOCUMENTS

              v.

 SAVE ON SP, LLC,

                     Defendant.




      PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure 26,

34, and 45 Defendant Save On SP, LLC (“SaveOnSP”) requests TrialCard Inc. (“Trial-

Card”), to produce for inspection and copying the documents listed in these Requests, to
Case 2:22-cv-02632-CCC-CLW          Document 360-4      Filed 08/27/24   Page 489 of 683
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the office of the undersigned on December 15, 2023 or at a time and place mutually agreed

by the parties or ordered by the Court.

       PLEASE TAKE FURTHER NOTICE that this demand for production of docu-

ments shall be deemed continuing in nature to require supplemental responses if Plaintiff

or Plaintiff’s counsel obtain or locate further or additional documents subsequent to the

time Plaintiff’s responses are served.



Dated: December 1, 2023                   By: /s/
                                              E. Evans Wohlforth, Jr.
                                              ROBINSON & COLE LLP
                                              666 Third Avenue, 20th floor
                                              New York, NY 10017-4132
                                              212-451-2954
                                              ewohlforth@rc.com

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                                                mnelson@selendygay.com

                                                Attorneys for Defendant Save On SP, LLC




                                            2
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                                      DEFINITIONS

       1.     The singular form of a word includes the plural, and vice versa.

       2.     Any tense of a verb includes all tenses.

       3.     Any natural person includes that person’s agents, assigns, attorneys, em-

ployees, representatives, and successors.

       4.     Any entity other than a natural person includes (a) that entity’s present and

former agents, affiliates (foreign or domestic), assigns, attorneys, consultants, directors,

divisions, employees, officers, parents, predecessors, representatives, servants, subsidi-

aries, and successors; (b) any person or entity, directly or indirectly, wholly or in part,

associated with, controlled by, or owned by that entity; (c) and any other person or entity

acting or purporting to act on behalf of (a) or (b).

       5.     “Action” means this litigation styled as “Johnson & Johnson Health Care

Systems Inc. v. Save On SP, LLC” currently pending in the United States District Court

for the District of New Jersey, No. 22-2632 (ES) (CLW).

       6.     “Affordable Care Act” means the Patient Protection and Affordable Care

Act, Pub. L. 148, 124 Stat. 119.

       7.     “All,” “any,” and “each” mean any and all.

       8.     “And” and “or” are construed both conjunctively and disjunctively.

       9.     “Benefits Investigation” means any process by which TrialCard, or any en-

tity acting on its behalf, receives information regarding the pharmacy benefits provided

by a health plan, including information regarding prior authorization costs, Essential

Health Benefits status, patient eligibility, and related information.

       10.    “CarePath” means the Janssen copay assistance program marketed under

the name CarePath that provides financial support services for patients using specialty
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drugs researched, developed, and marketed by the pharmaceutical companies of Johnson

& Johnson, including Janssen (as defined herein).

        11.     “CarePath Care Coordinator” means any person or entity encompassed by

that term as used on CarePath’s “Contact Us” webpage, 1 as well as any person responsible

for communicating with patients who contact CarePath via an advertised help number

(e.g., 877-CarePath).

        12.     “Communication” means the transmittal of information in the form of facts,

ideas, inquiries, or otherwise.

        13.     “Complaint” means JJHCS’s May 4, 2022 Complaint [ECF No. 1] or any

subsequently amended Complaint in this Action.

        14.     “Copay Accumulator Service” means (a) any service provided by Pharmacy

Benefit Mangers or insurance companies, or any third party providing services to the

same, to manage the cost of specialty drugs by preventing manufacturer copay assistance

from counting towards a patient’s deductible and out-of-pocket maximum and under

which members remain responsible for all or most of their plans’ copays, co-insurance

requirements, and deductibles once copay assistance has been exhausted; and (b) any

definition JJHCS ascribes to the term “copay accumulator.”

        15.     “Copay Assistance” means any type of patient support that allows a drug

manufacturer to pay all or some of a patient’s prescription drug cost for that manufac-

turer’s drug.




1 1 See Contact Us, https://www.janssencarepath.com/patient/contact-us (last visited November 20, 2023).




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        16.     “Copay Maximizer Service” means (a) any service provided by Pharmacy

Benefit Managers or insurance companies, or any third party providing services to the

same, to manage the cost of specialty drugs by preventing manufacturer copay assistance

from counting towards a patient’s deductible and out-of-pocket maximum and under

which members do not remain responsible for all or most of their plans’ copays, co-insur-

ance requirements, and deductibles once copay assistance has been exhausted; and (b)

any definition JJHCS ascribes to the term “copay maximizer.”

        17.     “Document” means “document” and “electronically stored information” as

defined in the Federal Rules of Civil Procedure. A draft or non-identical copy is a separate

document within the meaning of this term.

        18.     “Essential Health Benefit: means, in the context of prescription drug bene-

fits at issue in this case, (a) a prescription drug benefit that satisfies the requirement for

a plan to provide essential prescription drug benefits under the Affordable Care Act or

that is treated as such by a plan; 2 and (b) any definition JJHCS ascribes to the term “es-

sential health benefit” as used in the Complaint.

        19.     “Identify” means (a) with respect to persons, to give, to the extent known,

the person’s full name, present or last known address, and when referring to a natural

person, additionally, the present or last known place of employment; (b) with respect to

documents, either (i) to give, to the extent known, the (A) type of document; (B) general

subject matter; (C) date of the document; and (D) author(s), addressee(s) and recipi-

ent(s); or (ii) to produce the documents, together with sufficient identifying information

sufficient to satisfy Federal Rule of Civil Procedure 33(d).



2 45 C.F.R. §§ 156.122, 156.115

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       20.    “Including” means including but not limited to.

       21.    “Janssen” means Janssen Biotech, Inc., Janssen Pharmaceuticals, Inc.,

Janssen Products, LP, and Actelion Pharmaceuticals U.S., Inc., as well as any and all pre-

decessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions

or departments, agents, representatives, directors, officers, employees, committees, at-

torneys, accountants, and all persons or entities acting or purporting to act on behalf or

under the control of Janssen Biotech, Inc., Janssen Pharmaceuticals, Inc., Janssen Prod-

ucts, LP, or Actelion Pharmaceuticals U.S., Inc.

       22.    “Janssen Drug” means any Specialty Drug manufactured or sold by Janssen

from any time for which patients may receive copay assistance, including BALVERSA,

DARZELEX, DARZELEX FASPRO, ERLEADA, IMBRUVICA, OPSUMIT, PREZCOBIX,

REMICADE, RYBREVANT, SIMPONI, STELARA, SYMTUZA, TRACLEER, TREMFYA,

UPTRAVI, VENTAVIS, ZYTIGA, as well as any other specialty drugs that JJHCS asserts

are at issue in this Action.

       23.    “JJHCS” means Johnson & Johnson Health Care Systems Inc. and any and

all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, di-

visions or departments, agents, representatives, directors, officers, employees, commit-

tees, attorneys, accountants, and all persons or entities acting or purporting to act on be-

half or under the control of Johnson & Johnson Health Care Systems Inc., including

Centocor, Inc., Ortho Biotech Products LP, McNeil Pharmaceutical, Ortho-McNeil Phar-

maceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Scios Inc., Janssen Bio-

tech, Inc., Janssen Oncology, Inc., Janssen Research & Development, LLC, Janssen Phar-

maceuticals, Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc., Janssen Bi-

oPharma LLC, and Janssen Research & Development LLC.
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          24.     “JJHCS Hub Entity” means any entity retained or utilized by JJHCS to ad-

minister, in whole or in part, CarePath (including Lash Group and TrialCard), and any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, commit-

tees, attorneys, accountants, and all persons or entities acting or purporting to act on be-

half of such an entity.

          25.     “Lash Group” means The Lash Group, Inc. and any and all predecessors and

successors in interest, assignees, parents, subsidiaries, affiliates, divisions or depart-

ments, agents, representatives, directors, officers, employees, committees, attorneys, ac-

countants, and all persons or entities acting or purporting to act on behalf or under the

control of The Lash Group, Inc.

          26.     “Non-Essential Health Benefits” means, in the context of prescription drug

benefits at issue in this case, (a) any prescription drug benefit covered by a plan in excess

of those necessary for a plan to satisfy the requirements for providing essential prescrip-

tion drug health benefits under the Affordable Care Act 3 and designated by the plan as a

non-essential health benefit; and (b) any definition JJHCS ascribes to the term “non-es-

sential health benefits” as used in the Complaint.

          27.     “Patient” means a natural person prescribed or eligible to be prescribed any

Janssen Drug, whether or not they use CarePath or are a participant in a health plan ad-

vised by SaveOnSP.

          28.     “Person” means a natural person or legal entity including any business or

governmental entity or association.



3   See 45 C.F.R. §§ 156.122, 15.115
                                                7
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       29.    “Regarding” means (directly or indirectly, partially or wholly) about, allud-

ing to, assessing, bearing upon, commenting upon, comprising, concerning, confirming,

connected to, considering, containing, contradicting, dealing with, discussing, embody-

ing, evaluating, evidencing, identifying, in connection with, indicating, in respect of, in-

volving, memorializing, mentioning, noting, pertaining to, probative of, proving, record-

ing, referring to, reflecting, relating to, reporting on, reviewing, setting forth, showing,

stating, suggesting, summarizing, supporting, touching upon a subject, or having been

created, generated, or maintained in connection with or as a result of that subject.

       30.    “Request” means any of these Requests for Production.

       31.    “SaveOnSP” means Save On SP, LLC, and any and all predecessors and suc-

cessors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments,

agents, representatives, directors, officers, employees, committees, attorneys, account-

ants, and all persons or entities acting or purporting to act on behalf or under the control

of Save On SP, LLC.

       32.    “Specialty Drug” means any specialty pharmaceutical, medication, biologic,

or other therapy treated as a pharmaceutical for purposes of health plan benefit coverage.

       33.    “Stelara” means the Janssen Drugs sold under that name.

       34.    “Tremfya” means the Janssen Drug sold under that name.

       35.    “TrialCard” means TrialCard Inc. and any and all predecessors and succes-

sors in interest, assignees, parents, subsidiaries, affiliates, divisions or departments,

agents, representatives, directors, officers, employees, committees, attorneys, account-

ants, and all persons or entities acting or purporting to act on behalf or under the control

of TrialCard Inc.


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       36.    “TrialCard’s Employee Health Plans” means any health plans offered by

TrialCard to its employees.

       37.    “You” and “Your” means TrialCard.

                                     INSTRUCTIONS

       1.     These Requests seek production of material in Your possession, custody, or

control. Fed. R. Civ. P. 45(a)(1)(A)(iii).

       2.     These Requests seek production of nonprivileged material. Fed. R. Civ. P.

26(b)(1).

       3.     These Requests seek production of material that is proportional to the needs

of this case. Fed. R. Civ. P. 26(b)(1).

       4.     For each Request, either state that you will produce the requested material

or state with specificity the grounds for objecting to the Request, including the reasons.

Fed. R. Civ. P. 45(d)(2)(B).

       5.     An objection must be served before the earlier of the time specified for com-

pliance or 14 days after the subpoena is served. Fed. R. Civ. P. 45(d)(2)(B).

       6.     If you object to all or part of a Request, state whether you are withholding

any responsive material based on that objection.

       7.     If you object to part of a Request, specify the part and state that you will

produce documents responsive to the rest.

       8.     If you withhold responsive information by claiming that the information is

privileged or subject to protection as trial-preparation material, expressly make the claim

and describe the nature of the information privileged or protected in a manner that, with-

out revealing information itself privileged or protected, will enable SaveOnSP to assess

the claim, Fed. R. Civ. P. 45(e)(2)(A), including by indicating whether any document
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exists regarding the information re- quested and stating, to the extent the privilege is be-

ing asserted in connection with a claim or defense governed by state law, the state privi-

lege rule being invoked, Local Rule 34.1.

       9.     If a document responsive to a Request was once in your possession, custody,

or control and has since been lost or destroyed, provide (a) a detailed description of the

document; (b) the name of the author; (c) the names of all persons to whom the document

was sent; (d) the date on which the document was prepared or initially received; (e) the

date on which the document was lost or destroyed; and (f) if the document was destroyed,

the manner of its destruction, the reason for its destruction, the name of the person who

requested or authorized its destruction, and the name of the person who destroyed it.

       10.    Produce documents as they are kept in the usual course of business or in a

form specified in this subpoena. Fed. R. Civ. P. 45(e)(1)(b). For each document, identify

the file or location from which it was taken and the name, affiliation, and position of the

producing custodian or non-custodial source.

       11.    Produce electronically stored information in the form and manner required

by any agreed-upon or court-ordered protocols. In the absence of any such protocol at the

time of production, consult SaveOnSP for further instruction.

       12.    Produce each document in its entirety, without abbreviation or redaction,

including all attachments or materials attached thereto.

       13.    Produce all versions of each document that are not identical to the original

document (including all drafts) whether due to handwritten notations, revisions, enclo-

sures, attachments, underlining, highlighting, or otherwise.




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       14.    These Requests are deemed continuing. If after responding to any Request

you learn that your response is in some material respect incomplete or incorrect, supple-

ment or correct your response in a timely manner.

                                     TIME PERIOD

       Unless otherwise specified, these Requests cover from and including April 1, 2016,

through the present.

                                          REQUESTS

       1.     Documents sufficient to show the identity of all drug makers for which

TrialCard performs Benefits Investigations.

       2.     Documents sufficient to show the identity of all drug makers for which

TrialCard has performed investigations, including but not limited to Benefits Investiga-

tions, that identify or attempt to identify if patients are members of plans advised by Save-

OnSP, any Copay Accumulator Service, and/or any Copay Maximizer Service.

       3.     Documents sufficient to show the methods by which TrialCard identifies or

attempts to identify if patients are members of plans advised by SaveOnSP, any Copay

Accumulator Service, and/or any Copay Maximizer Service.

       4.     All Documents and Communications between TrialCard and JJHCS regard-

ing identification or attempts to identify patients who are members of plans advised by

SaveOnSP, any Copay Accumulator Service, and/or any Copay Maximizer Service, includ-

ing without limitation proposals to perform such work.

       5.     All Communications with patients receiving Stelara or Tremfya, including

without limitation recordings of calls.

       6.     Documents sufficient to show the methods by which TrialCard responded

to Benefits Investigations that revealed or suggested that a patient was a member of a plan
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advised by SaveOnSP, any Copay Accumulator Service, and/or any Copay Maximizer Ser-

vice, including without limitation regarding the criteria by which TrialCard determined

to send the letter previously produced at TRIALCARD_00000074—77.

       7.     All Communications between TrialCard and SaveOnSP, including without

limitation recordings of calls.

       8.     All Documents and Communications regarding the creation or attempted

creation of a response to SaveOnSP, Copay Accumulator Services, and/or Copay Maxi-

mizer Services, including without limitation the creation or attempted creation of a



                                                                                   , see,

e.g., TRIALCARD_00001815

                                                 );   TRIALCARD_00002256;       TRIAL-

CARD_00002725, as well as Documents and Communications regarding the sale or at-

tempted sale of such a program to drug makers.




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                                                                                                        www.pbwt.com




March 1, 2024                                                                          Sara Arrow
                                                                                       (212) 336-2031


By Email

Hannah Miles, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      TrialCard’s December 1, 2023 Subpoena
                           Johnson & Johnson Health Care Services, Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632 (JKS) (CLW)
Dear Hannah:

                On behalf of TrialCard, we write in response to SaveOnSP’s February 16, 2024
letter regarding the December 1, 2023 Subpoena issued to TrialCard.

                     I.    General Objections

                Time Period. SaveOnSP continues to insist that TrialCard produce documents
beyond July 1, 2022, the parties’ agreed-upon cut-off date for discovery. However, nothing in
Judge Waldor’s November 7, 2023 Order directs third parties, such as TrialCard, to update its
discovery responses. That Order only directs “both parties” to “supplement their discovery
responses in accordance with the Federal Rules of Civil Procedure.” See Johnson & Johnson
Health Care Sys., Inc. v. Save On SP, LLC, ECF No. 173. This does not obligate TrialCard to
update its discovery responses, as TrialCard is not a party to the underlying litigation. It certainly
does not provide any basis for TrialCard to produce documents beyond the cutoff date for party
discovery (November 7, 2023), as SaveOnSP now insists.

                SaveOnSP also states that “TrialCard has not raised any valid burden objection” to
extending the time period beyond July 1, 2022. That is not accurate. In its Responses and
Objections to the December 1, 2023 Subpoena, TrialCard did so, objecting to SaveOnSP’s
Requests as “overbroad, unduly burdensome, and not relevant to the subject matter of this Action
to the extent they call for documents from before April 1, 2016 or after July 1, 2022” (emphasis
supplied). Furthermore, TrialCard reiterated its burden objection during the January 12, 2024 meet
and confer. For the avoidance of doubt, TrialCard asserts relevance, breadth, and burden
objections to SaveOnSP’s demand that TrialCard produce documents beyond July 1, 2022.




Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000   F 212.336.2222
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               SaveOnSP next suggests that TrialCard should be required to produce documents
beyond July 1, 2022 because it “is central to the litigation.” However, TrialCard is a third party,
and is far more removed from the SaveOnSP scheme at issue than SaveOnSP’s own business
partners, ESI and Accredo—yet SaveOnSP apparently does not believe that ESI and Accredo
should update their productions. See Jan. 11, 2024 Email from H. Miles to S. Arrow. TrialCard’s
role in administering the CarePath program, at the direction of JJCHS, does not impose on it unique
obligations that are different than those applicable to other third parties.

             Nevertheless, in the interest of compromise, TrialCard has agreed to produce,
through November 7, 2023, thousands of benefits investigations

                                                                See TRIALCARD_00008931. In
addition, TrialCard agrees to “refresh” certain CarePath claims data through November 7, 2023.
We are currently investigating the full scope of this data “refresh” and will revert when we have
additional information.

              General References to Accumulators and Maximizers. SaveOnSP also seeks
documents that relate generally to copay accumulators and maximizers without any reference to
SaveOnSP. SaveOnSP has failed to justify its insistence that TrialCard must produce documents
that do not mention SaveOnSP, and TrialCard declines to engage in an overbroad, unduly
burdensome review of them.1

                 II.   TrialCard’s Ability to Identify Patients

                Request Nos. 1 and 2. Requests Nos. 1 and 2 seek documents sufficient to show
the identity of all drug makers for which TrialCard performed investigations, including benefits
investigations, that identify or attempt to identify if a patient is on a health plan affiliated with a
copay maximizer, accumulator, or SaveOnSP. SaveOnSP’s reference to general investigations
(beyond benefits investigations) is vague and ambiguous. In any event, TrialCard’s purported
actions with respect to clients other than JJHCS are irrelevant to the underlying litigation, which
only concerns the administration of CarePath, and not copay assistance programs offered by other
pharmaceutical manufacturers. SaveOnSP has failed to articulate the relevance of documents
sought by this request, and has similarly failed to explain how TrialCard’s work performed for


1
  As you know, Judge Waldor’s November 7, 2023 Order imposed a limitation that documents
related to JJHCS’s CAP Program must also mention SaveOnSP. See Dkt. No. 173 at 2–3
(“Plaintiff shall run custodial document searches fashioning a search designed to capture
documents wherein the terms ‘CAP A’, ‘CAP M’, or ‘adjustment program,’ (or reasonable
variations of those terms) are found in the same documents as the term ‘SaveOn’ (or reasonable
variations / abbreviations).” (emphasis supplied)). While this Order is only applicable to party
discovery, it suggests that expanding third party discovery to documents that do not mention or
refer to SaveOnSP is improper and disproportionate to the needs of the case.
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clients other than SaveOnSP has any relevance whatsoever to JJHCS or CarePath. TrialCard will
not search for or produce documents responsive to Requests 1 or 2.

                Request No. 3. Request No. 3 seeks documents sufficient to show the methods by
which TrialCard identifies or attempts to identify if patients are members of health plans affiliated
with copay accumulators, maximizers, or SaveOnSP. As you know, TrialCard produced thousands
of benefits investigations on January 12, 2024. See TRIALCARD_00008931. As we have
discussed, TrialCard is also in the process of identifying whether additional data fields exist for
these benefits investigations.

               SaveOnSP nevertheless asserts that the benefits investigations do not satisfy this
Request because “this request seeks ‘methods,’ plural.” Feb. 16, 2024 Ltr. from H. Miles to S.
Arrow at 3. SaveOnSP identifies two documents wherein TrialCard employees discuss potential
methods for identifying patients on a copay accumulator, maximizer, or SaveOnSP and claims that
it “needs to know if those, or other methods, were ever used to identify or attempt to identify if
patients are members of plans advised by SaveOn, accumulators, or maximizers.” However, as
SaveOnSP acknowledges, the documents that SaveOnSP cites reflect
                                                                                          See id.;
TRIALCARD_00003417. As we have explained, to the extent such
                    they are only relevant to the extent they were provided to JJHCS. Accordingly,
such documents are more properly obtained through party discovery.

               Accordingly, we decline to review documents to identify general identification
“methods” of SaveOnSP patients that TrialCard may have considered. To the extent SaveOnSP
seeks to propose a more narrowly tailored request concerning other methods of identification that
TrialCard may have developed with respect to CarePath, we remain open to considering such a
request.

               Request No. 4. Request No. 4 seeks documents and communications between
TrialCard and JJHCS regarding the identification or attempted identification of patients who are
members of plans affiliated with copay accumulators, maximizers, or SaveOnSP. As we have
explained repeatedly, documents and communications between TrialCard and JJHCS are more
appropriately sought through party discovery. TrialCard makes no representations as to the
contents of JJHCS’s productions, and further takes no position as to whether these documents
would be relevant.

               III.    TrialCard’s Responses to Patients Once Identified

               Request No. 6. Request No. 6 seeks documents sufficient to show the methods by
which TrialCard responded to benefits investigations that revealed or suggested that a patient was
a member of a health plan that was affiliated with a copay accumulator, maximizer, or SaveOnSP.
SaveOnSP asserts that TrialCard has not satisfied this Request. This is incorrect. TrialCard has
produced multiple letter templates that it has sent to patients in connection with the benefits
investigation process, including following identification of a patient as affiliated with a copay
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March 1, 2024
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accumulator, maximizer, or SaveOnSP. TrialCard has further satisfied this Request by providing
the CarePath IDs of the patient recipients of these letters and the dates on which those letters were
sent. See TRIALCARD_00008931 (“Tasks”). Because Request No. 6 seeks “documents
sufficient to show,” these documents satisfy this request.

               Request No. 8. Request No. 8 seeks documents and communications regarding
TrialCard’s creation or attempted creation of a response to SaveOnSP and/or copay accumulators
or maximizers. This overbroad request seeks documents and communications that are irrelevant
to any claim or defense in the underlying litigation. SaveOnSP is not entitled to go on a fishing
expedition of all efforts TrialCard contemplated or took with respect to copay maximizers,
accumulators, or even SaveOnSP. TrialCard is a vendor for JJHCS, and only the work that
TrialCard work performed for JJHCS is relevant to this litigation. Further, documents regarding
what responses or solutions TrialCard purportedly offered to JJHCS, to the extent they exist, are
more appropriately sought through party discovery.

                Further, SaveOnSP has not shown how any responses or solutions that TrialCard
may have contemplated or developed for copay assistance programs other than CarePath have any
applicability to CarePath. Once again, we remain open to considering a request that concerns
TrialCard’s responses to SaveOnSP with respect to JJHCS and the CarePath Program, but absent
such a request, we decline to produce documents in response to this Request.

               IV.     Communications Between TrialCard and SaveOnSP

               Request No. 7 seeks all communications between TrialCard and SaveOnSP. To the
extent these communications occurred, SaveOnSP can search its own records to locate them.
SaveOnSP has not explained why it needs a third party to search for and produce documents that
should be within its own files. Accordingly, TrialCard declines to undertake the undue burden of
searching for and producing communications sought by Request No. 7.

                                      *       *      *       *

              Finally, for avoidance of doubt, TrialCard does not agree that the parties are at
impasse with respect to the December 1, 2023 Subpoena. We reserve all rights and are available
to meet and confer.

                                                          Very truly yours,




                                                          /s/ Sara A. Arrow
                                                          Sara A. Arrow
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                   Exhibit 20
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Attorneys for TrialCard Inc.


                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




  JOHNSON & JOHNSON HEALTH CARE                 Civil Action No. 22-2632 (ES) (CLW)
  SYSTEMS INC.,
                                                  NON-PARTY TRIALCARD INC.’S
                        Plaintiff,               RESPONSES AND OBJECTIONS TO
                                                 DEFENDANT’S SECOND REQUEST
                 v.                             FOR PRODUCTION OF DOCUMENTS

  SAVE ON SP, LLC,

                        Defendant.
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                                   GENERAL OBJECTIONS

       TrialCard Incorporated (“TrialCard”) incorporates each of the General Objections below

into its specific objections to each Request, whether or not each such General Objection is

expressly referred to in TrialCard objections to a specific Request.

       TrialCard reserves the right to supplement, amend, modify, or correct its responses under

Rule 26(e) should it discover additional information or grounds for objections at any time prior to

the conclusion of this Action. The following responses and objections are based upon information

known at this time.

       1.      TrialCard is not a party to the above-captioned litigation pending in the District of

New Jersey (the “Action”) and objects to the Subpoena’s imposition of significant burden on it

because the vast majority of Requests in the Subpoena can be satisfied by obtaining documents

directly from Johnson & Johnson Health Care Systems, Inc. (“JJHCS”), a party to the Action.

TrialCard notes that several of the requests in the Subpoena are nearly identical to document

requests made by SaveOnSP to JJHCS in the Action. TrialCard objects to producing any

documents unless and until SaveOnSP can demonstrate that it has not been able to obtain these

documents in party discovery.

       2.      TrialCard objects to the Requests to the extent that they seek documents or

information protected from disclosure by a privilege including, without limitation, the attorney-

client privilege, the work-product doctrine, the joint defense privilege, the common interest

privilege, the First Amendment privilege, the Federal Rules of Civil Procedure, the Local Rules

of the Court, and relevant case law. The inadvertent production by TrialCard of information,

documents, materials, or things covered by any privilege or doctrine shall not constitute a waiver

of any applicable privilege or doctrine, including but not limited to, objections on the basis of
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competency, confidentiality, relevancy, materiality, work-product, privilege, and/or admissibility

as evidence, as such objections may apply at trial or otherwise in this Action.

       3.      TrialCard objects to the Requests to the extent that they seek documents or

information that are not relevant to a claim or defense or to the subject matter of this litigation.

Any response TrialCard makes to any Request shall not be deemed an admission that the

response, information, document, or thing produced is relevant to a claim or defense or to the

subject matter of this litigation, is reasonably calculated to lead to the discovery of admissible

evidence, is material, or is admissible as evidence.

       4.      TrialCard objects to the Requests to the extent that they impose obligations

beyond or inconsistent with those imposed by the Federal Rules of Civil Procedure, the Local

Rules of the Court, the Court’s orders, the discovery schedule entered in this Action, or any other

applicable rule, order, or source of law.

       5.      TrialCard objects to the Requests to the extent that they seek the production of

documents or things that are equally available to or already in SaveOnSP’s possession, custody,

or control. To the extent that TrialCard agrees in these responses to produce certain documents,

information, or things, these responses shall not be construed as conceding that the documents,

information, or things exist and/or are in the possession, custody, or control of TrialCard. Instead,

it means that TrialCard will perform a reasonable search for documents in its possession and

produce such documents, information, or things to the extent any responsive documents,

information, or things exist and are not otherwise protected from disclosure.

       6.      TrialCard objects to the Requests to the extent that they seek information that is

obtainable from sources other than TrialCard in a manner that is more convenient, less

burdensome, or less expensive.



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       7.      TrialCard objects to the Requests to the extent that they seek production of

documents, records, tangible things, or other materials to the extent that such disclosure would

violate a confidentiality agreement, court order, or applicable law.

       8.      TrialCard objects to the Requests to the extent that they are vague and/or

ambiguous.

       9.      TrialCard objects to the Requests to the extent that they require interpretation by

it in providing a response. TrialCard responds to the Requests as it interprets and understands

each Request as set forth. If SaveOnSP subsequently asserts an interpretation of any Request that

differs from TrialCard’s understanding of that Request, TrialCard reserves the right to modify or

supplement its objections and responses.

       10.     TrialCard objects to the Requests to the extent that they are duplicative of other

document requests, interrogatories, and/or other discovery requests, including the requests

contained within the subpoena served on TrialCard dated February 17, 2023 (the “February 2023

Subpoena”).

       11.     TrialCard objects to the Requests to the extent that they are argumentative, lack

foundation, or incorporate assertions that are disputed, erroneous, or irrelevant to the Action.

TrialCard further objects to the Requests to the extent that they assume facts that do not exist or

the occurrence of events that did not take place.

       12.     TrialCard objects to the Requests to the extent that they seek documents and

information relating to any business affairs other than those that are the subject of the Action.

       13.     TrialCard objects to the Requests as overbroad and unduly burdensome to the

extent they purport to require production of “all” or “any” documents where a subset of

documents would be sufficient to provide the relevant information.



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        14.      TrialCard objects to the Requests to the extent that they seek the production of

documents that are not in TrialCard’s possession, custody, or control.

                                OBJECTIONS TO DEFINITIONS

        1.         TrialCard objects to the definition of the term “Benefits Investigation” as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

purports to include “any means by which TrialCard, or any entity acting on its behalf, receives

information regarding the pharmacy benefits provided by a health plan, including information

regarding prior authorization costs, Essential Health Benefits status, patient eligibility, and related

information” or purports to include entities and persons acting or purporting to act on behalf of

or under the control of TrialCard.

        2.         TrialCard objects to the definition of the term “Janssen” as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it purports to include “any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, committees,

attorneys, accountants, and all persons or entities acting or purporting to act on behalf” of those

entities.

        3.         TrialCard objects to the definition of the term “JJHCS” as overbroad, unduly

burdensome, and not proportional to the needs of the case to extent it purports to include “any

and    all    predecessors   and   successors    in       interest,   assignees,   parents,   subsidiaries,

affiliates, . . . agents, [or] representatives” or purports to include entities and persons acting or

purporting to act on behalf of or under the control of entities other than Johnson & Johnson

Healthcare Systems, Inc., including Centocor, Inc., Ortho Biotech Products LP, McNeil

Pharmaceutical, Ortho-McNeil Pharmaceutical, Inc., Ortho-McNeil-Janssen Pharmaceuticals,

Inc., Scios Inc., Janssen Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development,
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LLC, Janssen Pharmaceuticals, Inc., Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc.,

Janssen BioPharma LLC, and Janssen Research & Development LLC.

       4.        TrialCard objects to the definition of the term “JJHCS Hub Entity” as vague and

as irrelevant to the extent it purports to include entities other than those responsible for

administering CarePath during the Relevant Time Period. TrialCard further objects to the

definition as overbroad, unduly burdensome, and not proportional to the needs of the case to the

extent it includes “any and all predecessors and successors in interest, assignees, parents,

subsidiaries, affiliates, divisions or departments, agents, representatives, directors, officers,

employees, committees, attorneys, accountants and all persons or entities acting or purporting to

act on behalf” of those entities. TrialCard further objects to the extent the term is used to seek

documents and communications concerning entities other than JJHCS.

       5.        TrialCard objects to the definition of the term “Lash Group” as overbroad,

unduly burdensome, and not proportional to the needs of the case to the extent it includes “any

and all predecessors and successors in interest, assignees, parents, subsidiaries, affiliates,

divisions or departments, agents, representatives, directors, officers, employees, committees,

attorneys, accountants and all persons or entities acting or purporting to act on behalf or under

the control of The Lash Group, Inc.”

       6.        TrialCard objects to the definition of the term “TrialCard” as overbroad, unduly

burdensome, and not proportional to the needs of the case to the extent it includes “any and all

predecessors and successors in interest, assignees, parents, subsidiaries, affiliates, divisions or

departments, agents, representatives, directors, officers, employees, committees, attorneys,

accountants and all persons or entities acting or purporting to act on behalf or under the control




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of TrialCard Inc.” TrialCard further objects to the extent the term is used to seek documents and

communications in the possession of entities other than TrialCard.

                             OBJECTIONS TO INSTRUCTIONS

           1.    TrialCard objects to the Instructions to the extent that they impose requirements

on TrialCard beyond those required by the Federal Rules of Civil Procedure.

           2.    TrialCard objects to Instruction No. 14 to the extent that SaveOnSP attempts to

impose requirements on TrialCard beyond those required by the Federal Rules of Civil Procedure

or ordered by the Court. Rule 34, which contains a duty to supplement responses, does not apply

to requests for production directed to a non-party, and Rule 45 contains no duty to supplement.

          OBJECTIONS TO THE TIME PERIOD FOR SPECIFIC REQUESTS

           1.     TrialCard objects to SaveOnSP’s Requests as overbroad, unduly burdensome,

and not relevant to the subject matter of this Action to the extent they call for documents from

before April 1, 2016 or after July 1, 2022. Except where expressly noted, TrialCard will only

produce documents for the period April 1, 2016 to July 1, 2022 (the “Relevant Time Period”).

                        SPECIFIC RESPONSES AND OBJECTIONS

Request No. 1

       Documents sufficient to show the identity of all drug makers for which TrialCard

performed Benefits Investigations.

Response to Request No. 1

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad and irrelevant to any claim or defense in this Action. TrialCard further

objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by any privilege. TrialCard further objects to this Request to the extent

it uses the terms “Benefits Investigations” and “TrialCard” for the reasons stated in TrialCard’s

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Objections to Definitions. TrialCard further objects to this Request on the grounds that the term

“drug makers” is undefined. TrialCard further objects to this Request because it would require the

disclosure of confidential business information, including information about other TrialCard

clients, that has no relevance to this Action and is subject to confidentiality agreements between

TrialCard and its other clients.

       TrialCard will not search for or produce documents in response to this Request.

Request No. 2

       Documents sufficient to show the identity of all drug makers for which TrialCard has

performed investigations, including but not limited to Benefits Investigations, that identify or

attempt to identify if patients are members of plans advised by SaveOnSP, any Copay Accumulator

Service, and/or any Copay Maximizer Service.

Response to Request No. 2

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad and irrelevant to any claim or defense in this Action, insofar as it seeks

documents related to efforts to identify or attempt to identify patients unaffiliated with SaveOnSP.

TrialCard further objects to this Request to the extent it seeks information that is exempt from

discovery and protected from disclosure by any privilege. TrialCard further objects to this Request

to the extent it uses the terms “Benefits Investigations” and “TrialCard” for the reasons stated in

TrialCard’s Objections to Definitions. TrialCard further objects to this Request on grounds that

the terms “investigations” and “drug makers” are undefined and/or vague and ambiguous.

TrialCard further objects to this Request because it would require the disclosure of confidential

business information, including information about other TrialCard clients, that has no relevance to

this Action and is subject to confidentiality agreements between TrialCard and its other clients.



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       TrialCard will not search for or produce documents responsive to this Request.

Request No. 3

       Documents sufficient to show the methods by which TrialCard identifies or attempts to

identify if patients are members of plans advised by SaveOnSP, any Copay Accumulator Service,

and/or any Copay Maximizer Service.

Response to Request No. 3

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks information about services that TrialCard

provides to clients other than JJHCS and in relation to patients unaffiliated with SaveOnSP.

TrialCard further objects to this Request to the extent it seeks information that is exempt from

discovery and protected from disclosure by any privilege. TrialCard further objects to this Request

to the extent it seeks the production of documents and information that are available from parties

to the Action and, therefore, is unduly burdensome to TrialCard. TrialCard further objects to this

Request to the extent it uses the term “TrialCard” for the reasons stated in TrialCard’s Objections

to Definitions.

       Subject to the foregoing objections and without prejudice to those objections, to the extent

that documents responsive to this Request are also arguably responsive to existing Requests for

Production Numbers 20 and 22 in the February 2023 Subpoena, TrialCard has already agreed to

produce certain documents subject to TrialCard’s prior objections. Specifically, to the extent such

documents have not already been produced by JJHCS, TrialCard has agreed to produce (1) non-

privileged documents from certain agreed-upon TrialCard custodians that are responsive to

Requests for Production Numbers 20 and 22 for the Relevant Time Period; and (2) Benefits



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Investigations performed for JJHCS that sought to determine whether Stelara or Tremfya patients

were in a SaveOnSP-advised plan, a maximizer plan, or an accumulator plan, to the extent such

non-privileged documents exist for the period January 1, 2022 to November 7, 2023. TrialCard

will not otherwise search for or produce documents or communications responsive to this Request.

Request No. 4

       All Documents and Communications between TrialCard and JJHCS regarding

identification or attempts to identify patients who are members of plans advised by SaveOnSP,

any Copay Accumulator Service, and/or any Copay Maximizer Service, including without

limitation proposals to perform such work.

Response to Request No. 4

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks documents unrelated to SaveOnSP.

TrialCard further objects to this Request to the extent it seeks the production of documents and

communications that are available from parties to the Action and, therefore, is unduly burdensome

to TrialCard. TrialCard further objects to this Request to the extent it seeks “all” documents and

communications regarding a broad subject matter. TrialCard further objects to this Request to the

extent it seeks information that is exempt from discovery and protected from disclosure by any

privilege. TrialCard further objects to this Request to the extent it uses the terms “TrialCard” and

“JJHCS” for the reasons stated in TrialCard’s Objections to Definitions.

       Subject to the foregoing objections and without prejudice to those objections, to the extent

that documents responsive to this Request are also arguably responsive to existing Requests for

Production Numbers 20 and 22 in the February 2023 Subpoena, TrialCard has already agreed to



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produce certain documents subject to TrialCard’s prior objections. Specifically, to the extent such

documents have not already been produced by JJHCS, TrialCard has agreed to produce (1) certain

non-privileged documents from certain agreed-upon TrialCard custodians that are responsive to

Requests for Production Numbers 20 and 22 for the Relevant Time Period; and (2) Benefits

Investigations performed for JJHCS that sought to determine whether Stelara or Tremfya patients

were in a SaveOnSP-advised plan, a maximizer plan, or an accumulator plan, to the extent such

non-privileged documents exist for the period January 1, 2022 to November 7, 2023. TrialCard

will not otherwise search for or produce documents responsive to this Request.

Request No. 5

       All Communications with patients receiving Stelara and Tremfya, including without

limitation recordings of calls.

Response to Request No. 5

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks communications unrelated to the CarePath

program (and the “withMe” programs) and/or with patients unaffiliated with SaveOnSP. TrialCard

further objects to this Request as overbroad, unduly burdensome, and not proportional to the needs

of the case to the extent it seeks “all” communications regarding a broad subject matter. TrialCard

further objects to this Request to the extent that it seeks the production of communications that are

available from parties to the Action (specifically, SaveOnSP) and, therefore, is unduly burdensome

to TrialCard.

       Subject to the foregoing objections and without prejudice to those objections, to the extent

that documents responsive to this Request are also arguably responsive to existing Request for



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Production Number 3 in the February 2023 Subpoena, TrialCard has already agreed to produce

certain documents subject to TrialCard’s prior objections.       Specifically, to the extent such

documents have not already been produced by JJHCS, TrialCard has agreed to produce (1) case

and task notes reflecting communications between TrialCard and patients taking at least one

Janssen Drug for the Relevant Time Period; and (2) for the period January 1, 2022 to November

7, 2023, certain documents sufficient to show written communications to patients receiving Stelara

or Tremfya to the extent such communications concern whether those patients were in a

SaveOnSP-advised plan, a maximizer plan, or an accumulator plan. TrialCard will not otherwise

search for or produce communications responsive to this Request.

Request No. 6

       Documents sufficient to show the methods by which TrialCard responded to Benefits

Investigations that revealed or suggested that a patient was a member of a plan advised by

SaveOnSP, any Copay Accumulator Service, and/or any Copay Maximizer Service, including

without limitation regarding the criteria by which TrialCard determined to send the letter

previously produced at TRIALCARD_00000074–77.

Response to Request No. 6

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks documents unrelated to SaveOnSP.

TrialCard further objects to this Request to the extent it seeks the production of documents and

information that are available from parties to the Action and, therefore, is unduly burdensome to

TrialCard. TrialCard further objects to this Request on the ground that the phrase “methods by

which TrialCard responded to Benefits Investigations” is vague and ambiguous. TrialCard further



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objects to this Request to the extent it seeks information that is exempt from discovery and

protected from disclosure by any privilege. TrialCard further objects to this Request to the extent

it uses the terms “Benefits Investigations” and “TrialCard” for the reasons stated in TrialCard’s

Objections to Definitions.

       Subject to the foregoing objections and without prejudice to those objections, to the extent

that documents responsive to this Request are also arguably responsive to existing Requests for

Production Numbers 20 and 22 in the February 2023 Subpoena, TrialCard has already agreed to

produce certain documents subject to TrialCard’s prior objections. Specifically, to the extent such

documents have not already been produced by JJHCS, TrialCard has agreed to produce (1) certain

non-privileged documents from certain agreed-upon TrialCard custodians that are responsive to

Requests for Production Numbers 20 and 22 for the Relevant Time Period; and (2) for the period

January 1, 2022 to November 7, 2023, certain documents sufficient to show written

communications to patients receiving Stelara or Tremfya to the extent such communications

concern whether those patients were in a SaveOnSP-advised plan, a maximizer plan, or an

accumulator plan. TrialCard will not further search for or produce documents in response to this

Request.

Request No. 7

       All Communications between TrialCard and SaveOnSP, including without limitation

recordings of calls.

Response to Request No. 7

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks communications unrelated to any Janssen



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Drug or to the CarePath (and the “withMe” programs). TrialCard further objects to the extent this

Request seeks the production of documents and communications that are available from parties to

the Action, in particular from SaveOnSP. TrialCard further objects to this Request to the extent it

seeks documents and communications in the possession of entities other than TrialCard or outside

of TrialCard’s possession, custody, and/or control. TrialCard further objects to this Request as

overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it seeks

“all” communications regarding a broad subject matter. TrialCard further objects to this Request

to the extent it uses the term “TrialCard” for the reasons stated in TrialCard’s Objections to

Definitions.

       TrialCard further objects to this Request as unduly burdensome because it requires

TrialCard to identify recordings of calls without the benefit of identifying information—

specifically, all names and phone numbers used by SaveOnSP employees who communicated with

TrialCard and its affiliates—that SaveOnSP has not provided. TrialCard further objects to this

Request as duplicative of Request No. 5 to the extent communications between TrialCard and

SaveOnSP included patients.

       Subject to the foregoing objections, TrialCard will produce certain responsive call

recordings as requested by JJHCS. TrialCard will not otherwise search for or produce documents

or communications responsive to this Request.

Request No. 8

       All Documents and Communications regarding the creation or attempted creation of a

response to SaveOnSP, Copay Accumulator Services, and/or Copay Maximizer Services,

including without limitation the creation or attempted creation of a




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                                                      , see, e.g., TRIALCARD_00001815 (



TRIALCARD_00002256; TRIALCARD_00002725, as well as Documents and Communications

regarding the sale or attempted sale of such a program to drug makers.

Response to Request No. 8

       In addition to the foregoing general objections, TrialCard, as a third party, objects to this

Request as overbroad, unduly burdensome, not proportional to the needs of the case, and irrelevant

to any claim or defense in this Action, insofar as it seeks information about services that TrialCard

provides to clients other than JJHCS and/or in relation to patients unaffiliated with SaveOnSP.

TrialCard further objects to this Request as it seeks the production of documents and information

that are available to parties to the Action and, therefore, is unduly burdensome to TrialCard.

TrialCard further objects to this Request to the extent it seeks information that is exempt from

discovery and protected from disclosure by any privilege. TrialCard further objects to this Request

as overbroad, unduly burdensome, and not proportional to the needs of the case to the extent it

seeks “all” documents and communications regarding a broad subject matter.

       TrialCard will not search for or produce documents responsive to this Request.

Dated: December 15, 2023


                                              By:     /s/ Harry Sandick

                                              Adeel A. Mangi
                                              Harry Sandick (admitted pro hac vice)
                                              George LoBiondo
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                   Exhibit 21
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December 22, 2023                                                                      Sara Arrow
                                                                                       (212) 336-2031


By Email

Hannah Miles, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Health Care Systems Inc. v. SaveOnSP, LLC,
                           Case No. 2:22-cv-02632-ES-CLW

Dear Hannah:

                  We write on behalf of TrialCard in response to your December 8, 2023 letter.1

                 As you know, TrialCard maintains that custodial collections are disproportionate to
its status as a non-party, burdensome, and unnecessary. See, e.g., July 6, 2023 Ltr. from K. Brisson
to E. Holland; Aug. 3, 2023 Ltr. from K. Brisson to E. Holland. Despite this, and in the interest
of compromise, TrialCard has undertaken such collections for four custodians: Holly Weischedel,
Sini Abraham, Rick Fry, and Paul Esterline. These custodial collections are in addition to
TrialCard’s extensive non-custodial productions. Yet SaveOnSP now again demands that
TrialCard supplement its custodial productions, this time to include seven more document
custodians. Of the seven, TrialCard has previously declined to add six of them. See Aug. 3, 2023
Ltr. from K. Brisson to E. Holland.

              Jason Zemcik: SaveOnSP asserts that JJHCS “asked Zemcik for guidance” or
otherwise communicated with him regarding TrialCard deliverables.
                                                                                       See,
e.g.,   JJHCS_00026255;     JJHCS_00005528;        JJHCS_00008107;        JJHCS_00001745;
JJHCS_00007308. Further, several of the documents SaveOnSP cites do not even mention JJHCS
or    CarePath.       See,   e.g.,    TRIALCARD_00001804;         TRIALCARD_00001815;
TRIALCARD_00001884;             TRIALCARD_00003340;               TRIALCARD_00001951;


1
  SaveOnSP’s December 8 letter quotes several documents that JJHCS or TrialCard marked as Attorney’s
Eyes Only (“AEO”) pursuant to the Protective Order, but the letter was designated as Confidential. We
assume this was an oversight, and that SaveOnSP will treat the AEO portions of the letter as such. If this
is not so, please inform us in writing by January 3, 2024.



Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000   F 212.336.2222
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Hannah Miles, Esq.
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TRIALCARD_00002804; TRIALCARD_00002931. Please explain why, in your view, abstract
analyses unrelated to CarePath justify intrusive and voluminous discovery of Mr. Zemcik’s
custodial files. Relatedly, we note that to the extent Mr. Zemcik’s custodial files contain relevant
documents, they would be cumulative of those that TrialCard and JJHCS have produced from other
agreed-upon custodians, including TrialCard custodians Fry (see, e.g., TRIALCARD_00001804,
TRIALCARD_00001884) and Weischedel (see, e.g., JJHCS_00008107) and JJHCS custodians
John King (see, e.g., JJHCS_00026255) and Bill Robinson (see, e.g., JJHCS_00005528).

               Rick Ford:     SaveOnSP asserts that Mr. Ford provided
                                   . However, as SaveOnSP acknowledges,
                               See JJHCS_00035931. Furthermore, as with Mr. Zemcik, several
of the documents SaveOnSP cites do not even mention JJHCS or CarePath. See, e.g.,
TRIALCARD_00001951;                 TRIALCARD_00001811;                 TRIALCARD_00001966;
TRIALCARD_00000348;                 TRIALCARD_00001881;                 TRIALCARD_00000356;
TRIALCARD_00000362;                 TRIALCARD_00000389;                 TRIALCARD_00006722;
TRIALCARD_00002552; TRIALCARD_00002430. Again, please explain why, in your view,
abstract analyses unrelated to CarePath justify intrusive and voluminous discovery of Mr. Ford’s
custodial files—especially since, to the extent Mr. Ford’s files contain relevant documents, they
would be cumulative of those TrialCard and JJHCS have produced from other agreed-upon
custodians, including TrialCard custodian Fry (see, e.g., TRIALCARD_00001951,
TRIALCARD_00001811, TRIALCARD_00000389) and JJHCS custodians Robinson and King
(see, e.g., JJHCS_00035931).

                 April Harrison: SaveOnSP asserts that Ms. Harrison was involved in implementing
JJHCS’s CAP Program. Yet, as SaveOnSP acknowledges,
                                                                                            See,
e.g., TRIALCARD_00002368. To the extent Ms. Harrison performed work for JJHCS in relation
to its CAP program, documents related to that work are in JJHCS’s possession. Additionally, to
the extent Ms. Harrison’s custodial files contain relevant documents, they would be captured by
other existing TrialCard custodians, including Abraham, who is in Ms. Harrison’s reporting line.
SaveOnSP also asserts that Ms. Harrison purportedly assisted JJHCS in “efforts to modify copay
assistance programs in responses to changes in the Best Price Rule.” Yet, SaveOnSP has not
articulated the purported relevance of such contemplated changes to the claims and defenses in
this litigation; please provide this explanation.

             Tommy Gooch: SaveOnSP asserts that Mr. Gooch sent and received information
from JJHCS and attended meetings with JJHCS employees.

See, e.g., JJHCS_00005784, JJHCS_00008104. Indeed, one document that SaveOnSP cites makes
clear that
                   TRIALCARD_00005044. Finally, to the extent Mr. Gooch’s custodial files
contain relevant documents, they would be cumulative of those that TrialCard and JJHCS have
produced from other agreed-upon custodians, including JJHCS custodian Robinson (see, e.g.,
JJHCS_00008104) and TrialCard custodians Weischedel and Esterline (see, e.g.,
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JJHCS_00008104; TRIALCARD_00007157). In light of this additional information, if you still
believe that cumulative discovery from Mr. Ford is necessary, please explain why.

               Lynsi Newton: SaveOnSP asserts that Ms. Newton was responsible for TrialCard’s
outreach regarding efforts to modify copay assistance programs in response to changes to the Best
Price Rule. As noted above, SaveOnSP has not articulated the relevance of documents relating to
the Best Price Rule; again, please explain the purported relevance. Further,

                                                                                               See
JJHCS_00004607 (including            TrialCard      custodian     Weischedel);     JJHCS_00004608;
JJHCS_00004611. Similarly,

                                         . See TRIALCARD_00008354; TRIALCARD_00008594.
SaveOnSP’s citation to TRIALCARD_00008594 is particularly unavailing given the references
therein to                                                                                 . Finally, to
the extent Ms. Newton’s custodial files contain relevant documents, they would be captured by
other existing TrialCard custodians, including Weischedel and Abraham, to whom Ms. Newton
reported. In light of this additional information, if you still believe that cumulative discovery from
Ms. Newton is necessary, please explain why.

              Amber Maldonado: SaveOnSP asserts that Ms. Maldonado “played a key role in
detecting and mitigating the alleged effects of maximizers and accumulators.” In fact, one of the
documents SaveOnSP cites in support, JJHCS_00005061,

                                                             . Further,

                                               See, e.g., JJHCS_00006991. Finally, to the extent
Ms. Maldonado’s custodial files contain relevant documents, they would be cumulative of those
that TrialCard has produced from other agreed-upon custodians, including all existing TrialCard
custodians. See, e.g., TRIALCARD_00006499 (including all four TrialCard custodians);
TRIALCARD_00006511 (including Weischedel and Esterline). In light of this additional
information, if you still believe that cumulative discovery from Ms. Maldonado is necessary,
please explain why.

                Cosimo Cambi: SaveOnSP asserts that Mr. Cambi was the “
                   ” However, both TRIALCARD_00000334 and TRIALCARD_00002656
indicate that
                                                                 Again, TrialCard is a vendor. Its
understanding of the health insurance market and its opinions about its participants in the abstract
is irrelevant to any actual work it performed implementing the CarePath program. It cannot justify
voluminous custodial discovery of the type SaveOnSP proposes. Finally,

                            . See TRIALCARD_00003079. In light of this additional information,
if you still believe that cumulative discovery from Mr. Cambi is necessary, please explain why.
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                                  *       *         *      *

             We are available to meet and confer.

                                                        Very truly yours,


                                                        /s/ Sara A. Arrow
                                                        Sara A. Arrow
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   March 8, 2024



   Via E-mail

   Sara A. Arrow
   Patterson Belknap Webb & Tyler LLP
   1133 Avenue of the Americas
   New York, NY 10036
   sarrow@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-JKS-CLW)

   Dear Sara,

           We write regarding SaveOn’s second subpoena, to TrialCard, dated Decem-
   ber 1, 2023, and to follow up on the parties’ meet-and-confer on March 7, 2024.

   I.       Time Period

          SaveOn’s subpoena—issued December 1, 2023—seeks documents through
   “the present,” but TrialCard has generally refused to produce documents past July
   1, 2022. We discussed SaveOn’s position that TrialCard should produce documents
   through the present for all requests. TrialCard has provided no reasoned basis to
   explain the July 1, 2022 date—particularly for these requests which were served
   almost 18 months after that date.

           In your March 1, 2024 letter and during the meet and confer, you pointed
   to the Benefits Investigations spreadsheet, where you have agreed to produce rec-
   ords through November 7, 2023, as an instance where you agreed to go beyond
   TrialCard’s obligations “in the interest of compromise.” But, as we stated, Trial-
   Card is producing those records on behalf of J&J, which has been ordered by the
   Court to produce responsive documents through November 7, 2023. See Jan. 24,
   2024 Tr. at 21:10–17 (“[W]e [J&J] have already agreed to produce[,] … either di-
   rectly through us or by asking our vendor, a company called TrialCard, to produce
   what are known as benefits investigations. And those are the enforcement docu-
   ments. We’re in the process of making those productions for the relevant time pe-
   riod right now.”); see also Oct. 30, 2023 Tr., at 62:8–13 (“[W]e [J&J] will also give
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   March 8, 2024



   them through a production from TrialCard, which is our vendor, who we also rep-
   resent and is subject to a subpoena, we’ll give them benefits investigations that find
   any patient in a maximizer or accumulator through to the present. Through to the
   present.”).

          In addition, TrialCard represented that it intends to produce certain up-
   dated or refreshed CarePath claims data through November 7, 2023. You indicated
   that you were still exploring the scope of the refresh. Please let us know when we
   can expect that updated data, and whether you are producing claims data on behalf
   of TrialCard or J&J.

   II.     TrialCard’s Ability to Identify Patients

          Next, we discussed SaveOn’s Requests 1, 2, 3, and 4, which seek documents
   related to TrialCard’s ability to identify patients on accumulators, maximizers, or
   health plans advised by SaveOn. You continued to state that the information that
   we request in these RFPs is not relevant.

          For Request 3, which requests “[d]ocuments sufficient to show the methods
   by which TrialCard identifies or attempts to identify if patients are members of
   plans advised by SaveOnSP, any Copay Accumulator Service, and/or any Copay
   Maximizer Service,” you pointed to the Benefits Investigations spreadsheet that
   you previously produced. But you were not able to represent that Benefits Investi-
   gations are the only method that TrialCard uses to identify or attempt to identify
   such patients, and refused to search for additional documents responsive to this
   request. As we explained, it is not our burden to tell you exactly what methods we
   are looking for—only TrialCard has that information.

           How TrialCard could identify patients on SaveOn-advised plans is highly
   relevant to our failure-to-mitigate defense. You responded that the only methods
   to identify patients that may be relevant are those that were squarely presented to
   J&J and thus that we could get anything we needed from party discovery. That
   misunderstands our failure-to-mitigate affirmative defense. “To prove a failure to
   mitigate, one must show: (1) what reasonable actions the plaintiff ought to have
   taken, (2) that those actions would have reduced the damages, and (3) the amount
   by which the damages would have been reduced.” Prusky v. ReliaSatar Life Ins.,
   532 F.3d 252, 258–59 (3d Cir. 2008) (quotation marks omitted). “Damages that
   could have been ‘avoided with reasonable effort without undue risk, expense, bur-
   den, or humiliation will be considered … as not chargeable against the defendant.’”
   Id. at 259 (quoting Williston on Contracts, § 64:27, at 195). “Reasonableness is to
   be determined from all the facts and circumstances of each case, and must be
   judged in the light of one viewing the situation at the time the problem was pre-
   sented.” Id.; see also Grubbs v. Knoll, 376 N.J. Super. 420, 437 (N.J. App. 2005)
   (“Injured parties have a duty to take reasonable steps to mitigate damages … The
   reasonableness of the plaintiff’s actions is measured by a subjective standard.”). If
   TrialCard, J&J’s vendor, used other methods to identify patients on SaveOn-ad-
   vised plans, maximizers, and accumulators, those methods are relevant to our


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   failure-to-mitigate defense as “reasonable actions the plaintiff ought to have
   taken,” whether or not there is direct evidence that the option was put in front of
   J&J.

           The parties are at impasse on this issue.

   III.    TrialCard’s Responses to Identifying Patients

          Requests 6 and 8 seek documents related to TrialCard’s responses to accu-
   mulators, maximizers, and plans advised by SaveOn. For Request 6, which asks for
   “[d]ocuments sufficient to show the methods by which TrialCard responded to
   Benefits Investigations that revealed or suggested that a patient was a member of
   a plan advised by SaveOnSP, any Copay Accumulator service, and/or any Copay
   Maximizer,” you pointed to the form letters that TrialCard sent to Stelara and
   Tremfya patients after the patients were identified through Benefits Investigations.
   We asked if sending those letters (and the actions described in the letters) are the
   only methods or actions taken to respond to such Benefits Investigations. You did
   not confirm that, nor did you agree to produce documents reflecting other meth-
   ods. You stated that we should seek this material from J&J because, as a vendor,
   TrialCard acted only according to J&J’s direction in operating the CarePath pro-
   gram. As we stated, we are entitled to investigate both what J&J directed (through
   party discovery), and what TrialCard actually did (through third-party discovery).
   The parties are at impasse on this issue.

           Request 8 seeks documents and communications regarding the creation or
   attempted creation of
            You again stated that TrialCard’s responses or solutions are only relevant
   to the extent that they were proposed or presented to J&J. For the reasons ex-
   plained above, if TrialCard had developed responses or solutions that other drugs
   manufacturers were using or considered using to mitigate alleged losses relating
   to similar copay assistance program, that is relevant to our failure to mitigate de-
   fense, regardless of whether the option was directly pitched to J&J. TrialCard’s ca-
   pabilities are relevant. You suggested that we propose search terms for this re-
   quest. Please see Appendix A. Please tell us by March 15, 2024 if you agree to run
   these search terms.

   IV.     Communications with Stelara and Tremfya Patients

           In response to Request 5, which seeks all communications with patients re-
   ceiving Stelara and Tremfya, including recordings of calls, you pointed to your pre-
   vious productions of “(1) case and task notes reflecting communications between
   TrialCard and patients taking at least one Janssen drug [to January 1, 2022]; and
   (2) for the period January 1, 2022 to November 7, 2023, certain documents suffi-
   cient to show written communications to patients receiving Stelara and Tremfya to
   the extent such communications concern whether those patients were in a Save-
   OnSP-advised plan, a maximizer plan, or an accumulator plan.” TrialCard’s R&Os,
   at 12 (Dec. 15, 2023). You clarified that, based on your reasonable investigation,



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   the letters that TrialCard produced were the only communications sent to Stelara
   and Tremfya patients regarding whether those patients were in a SaveOn-advised
   plan, a maximizer or an accumulator.

           We asked you to please update the case and task notes to the present. You
   stated that you would take the request back but were open to such a refresh, if we
   agreed that doing so would resolve this Request. When you produced the original
   set of case and task notes, you explained that you “filtered these notes for the
   Janssen Drugs at issue in this litigation and [then] further search[ed] these notes
   for responsive material” using search terms. See May 12, 2023 Ltr. from G. Carot-
   enuto to A. Dunlap, at 2. You then “invite[d] [SaveOn] to use these records to iden-
   tify a reasonable number of calls for which you would like TrialCard to attempt to
   produce the associated audio recording and/or transcript, where available.” Id. If
   you refresh the call and task notes, subject to the same procedures in the May 12,
   2023 letter, and agree that SaveOn reserves its rights to request call recordings and
   transcripts in the future, that would indeed resolve this Request.

   V.      Communications Between TrialCard and SaveOn

           Finally, we discussed Request 7, which asks for “[a]ll communications be-
   tween TrialCard and SaveOnSP, including without limitation recordings of calls.”
   You asked whether SaveOn itself has these call records, such that any request for
   TrialCard to produce them would be duplicative. To the extent that SaveOn em-
   ployees contacted the CarePath call center run by TrialCard on behalf of J&J, those
   outbound calls may not have been recorded by SaveOn. That is why we have re-
   quested these call records from TrialCard, which we believe records incoming calls
   to its call center as a regular practice.

          In addition, we discussed the 16 call records that TrialCard produced on
   January 12, 2024, marked as TRIALCARD_00008915-8930. We explained that
   we believe that these were the “certain responsive call recordings as requested by
   JJHCS” that TrialCard agreed to produce in its R&Os in response to Request 7. We
   explained that it was our understanding that J&J possessed and used these call
   recordings long before they were produced by TrialCard to SaveOn on January 12,
   2024. We asked how it was that J&J had come to possess these call recordings, and
   what the nature of the request was that J&J made to TrialCard that led to it pro-
   ducing the call recordings to us. You stated that you were not prepared to answer
   those questions but that you would look into it. We then asked whether it is Trial-
   Card’s general practice to share recordings of calls with or regarding CarePath pa-
   tients with J&J, whether those calls were shared as part of this litigation, or
   whether these 16 calls were specifically identified and shared.

          Please tell us (1) how J&J came to possess the call recordings before they
   were produced in this litigation by TrialCard, (2) what the nature of J&J’s request
   to TrialCard was that led it to produce the call recordings to SaveOn, and (3)
   whether it is TrialCard’s general practice to share recordings of calls with or



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   regarding CarePath patients with J&J, whether those calls were shared as part of
   this litigation, or whether these 16 calls were specifically identified and shared.

           We request a response by March 15, 2024.

   Sincerely,

   /s/ Hannah Miles

   Hannah R. Miles
   Associate




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   Sara A. Arrow
   March 8, 2024



                                      Appendix A

           •   Proposed Custodians: Holly Weischedel, Sini Abraham, Paul Esterline,
               Rick Fry, Jason Zemcik, Rick Ford, April Harrison, Tommy Gooch, Lynsi
               Newton, Amber Maldonado, Cosimo Cambi.

           •   Search term:

                   (SaveOnSP OR SaveOn OR “Save On SP” OR “Save On” OR SOSP)
                   OR (accumulate* OR maximiz*) OR (“Essential Health Benefit*” OR
                   NEHB OR EHB OR (variable /5 copay)) /20 (solution* OR response*
                   OR shield* OR circumvent* OR prevent* OR avoid*)




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   July 5, 2023



   Via E-mail

   Katherine Brisson
   Patterson Belknap Webb & Tyler LLP
   1133 Avenue of the Americas
   New York, NY 10036
   kbrisson@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-ES-CLW)

   Dear Katherine,

          We write in response to your June 30, 2023 letter regarding the subpoena
   Save On SP, LLC (“SaveOnSP”) issued to TrialCard, Inc. (“TrialCard”) in the above-
   captioned matter.

          First, you confirm that TrialCard has not searched any of its custodial doc-
   uments in response to any of the document requests contained in SaveOnSP’s sub-
   poena. You assert that, after a reasonable investigation, you concluded that Trial-
   Card did not need to search its custodial documents. We disagree that TrialCard’s
   investigation was reasonable or that it was not required to search its custodial doc-
   uments in the first instance.

          Second, you assert that SaveOnSP refused to identify any specific gaps in
   TrialCard’s production or to identify any specific requests that merit custodial pro-
   duction. We disagree that it is SaveOnSP’s burden to do so. It is TrialCard’s obli-
   gation in the first instance to conduct a reasonable search and identify custodians
   with documents responsive to SaveOnSP’s requests, which TrialCard has not done.

           Third, you say that you will let us know “as soon as possible” “whether there
   is anything more to be done to satisfy the concerns raised in your letter.” We have
   been discussing these issues for weeks, and TrialCard has repeatedly stated that it
   believes that it does not need to search for custodial documents in the first instance
   (that is, unless SaveOnSP identifies specific requests that it believes require custo-
   dial production). We thus understand the parties to be at impasse on this point.
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   Katherine Brisson
   July 5, 2023



   We have also asked you twice whether TrialCard consents to proceeding before
   Magistrate Judge Waldor, and you have failed to respond twice. We thus under-
   stand that TrialCard does not consent. If TrialCard now agrees to search custodial
   documents in the first instance or if it consents to proceed before Magistrate Judge
   Waldor, please let us know promptly.

          Fourth, you mischaracterize our discussion regarding JJHCS’s subpoenas
   to Express Scripts Inc. (“ESI”) and Accredo HealthGroup, Inc. (“Accredo”). Among
   other things, you assert that SaveOnSP takes the position that third parties must
   always produce custodial documents in response to subpoenas. In fact, we take the
   position that TrialCard must produce custodial documents in response to Save-
   OnSP’s subpoena.

           Finally, you refuse to identify who is paying TrialCard’s fees and costs re-
   lating to its response to SaveOnSP’s subpoena, calling our request that it do so “re-
   markable.” We asked this question only after you asserted during our meet-and-
   confer that conducting a custodial search would be burdensome, as whether Trial-
   Card is bearing its fees and costs is relevant to its burden. Please either identify
   who is paying TrialCard’s fees and costs or state that TrialCard does not assert a
   burden objection in responding to SaveOnSP’s subpoena.

   Best,

   /s/ Emma Holland

   Emma C. Holland
   Associate




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June 16, 2023                                                                          Katherine Brisson
                                                                                       (212) 336-2552


VIA EMAIL

Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104


                  Re:      Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC
                           No. 2:22-cv-02632 (ES) (CLW)

Dear Emma:

              On behalf of TrialCard, we write in response to your June 14, 2023 letter
concerning TrialCard’s productions in the above-captioned matter.

    I.       Non-Custodial Documents

                In your May 31, 2023 letter, SaveOnSP requested that TrialCard identify the
individual custodian or the specific noncustodial source for each document it has produced. In
response to that request, TrialCard explained that it would not identify the specific sources for
noncustodial documents—an approach entirely consistent with the parties’ practices in this
litigation. See Ltr. from K. Brisson to E. Holland dated June 7, 2023. Indeed, SaveOnSP has not
identified the specific sources for any non-custodial document it has produced in this litigation.
SaveOnSP can hardly place demands on a third party for format requirements that it has not even
complied with itself in party discovery.

                The documents that TrialCard has produced in this matter consist of, among other
things: (1) organizational charts, (2) CarePath claims and enrollment data, (3) template letters and
related communications to patients; (4) patient call notes; and (5) a document retention policy. To
identify and collect such documents, we worked closely with our client to identify responsive
materials and the repositories in which they are maintained. For example, we worked with the
Chief Compliance Officer and General Counsel to identify organizational charts and the document
retention policy. Similarly, we worked with Quality Assurance and Quality Control personnel to
source call data from a dedicated database and with appropriate client service representatives to
retrieve enrollment and claims data from a centralized location. We can discern no basis for
SaveOnSP’s request for additional information about the specific sources for these documents.
Nevertheless, we are willing to consider a reasoned request for additional source information on a
case-by-case basis.




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Emma Holland, Esq.
June 16, 2023
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   II.     Custodial Documents

               TrialCard has engaged in substantial efforts to identify and produce documents
responsive to the SaveOnSP’s subpoena, including producing over 19,000 call notes and over 100
responsive non-custodial documents. See, e.g., Ltr. from K. Brisson to E. Holland dated June 7,
2023. JJHCS has also produced a substantial number of documents, including more than 4,000
communications (and related materials) between JJHCS and TrialCard, that are responsive to
SaveOnSP’s subpoena to TrialCard. As we have repeatedly explained, TrialCard, as a third party,
need not produce documents duplicative of those JJHCS has produced—a position SaveOnSP has
fully embraced in ongoing third-party motion practice.

                Indeed, as you know, JJHCS served third party subpoenas on SaveOnSP’s business
partners, Express Scripts Inc. (“ESI”) and Accredo Health Group, Inc. (“Accredo”). In stark
contrast to TrialCard, neither ESI nor Accredo have produced any documents in response to those
subpoenas, arguing in part that third parties need not duplicate party productions. SaveOnSP has
even gone out of its way to support ESI and Accredo’s efforts to resist discovery, including by
submitting its own affidavits detailing the number of documents SaveOnSP has produced in this
litigation. See Dunlap Aff., Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
No. 4:23-mc-527-SEP (E.D. Mo.), D.E. 13-10 (declaration from SaveOnSP’s lead trial counsel in
support of ESI’s Opposition to JJHCS’s Motion to Compel); Dunlap Aff., Johnson & Johnson
Health Care Systems, Inc. v. Save On SP, LLC, No. 2:23-mc-00019-JTF-tmp (W.D. Tenn.), D.E.
19 (same in support of Accredo). SaveOnSP nevertheless expects TrialCard to bear far more
burdensome discovery than its own business partners are willing to undertake.

                Despite TrialCard’s considerable efforts to comply with the subpoena (and
SaveOnSP’s business partners’ complete failure to do the same), SaveOnSP now apparently
wishes to move to compel additional custodial documents from TrialCard. Any such motion would
be grossly unripe and meritless. SaveOnSP has not identified any gaps in TrialCard’s productions,
nor has it identified specific documents that it seeks from any specific custodian. While TrialCard
is willing to consider targeted custodial collections, it cannot do so entirely in the abstract and
without any direction whatsoever as to which of SaveOnSP’s thirty-two document requests
purportedly warrants a custodian.

               TrialCard has carefully reviewed the subpoena, delineated its objections and scope
of production, and produced responsive documents. If SaveOnSP believes some particular
document request still requires a supplemental TrialCard custodial production despite the party
and non-party productions to date, please identify those requests, why they purportedly require
custodial production, and which custodians you seek. We will then consider any such request.

   III.    Request for Consent to File Joint Letter

                Finally, SaveOnSP has asked for TrialCard’s consent to submit a joint letter on
these issues before Magistrate Judge Waldor in the District of New Jersey. As you are well aware,
TrialCard, which is headquartered in North Carolina, is a nonparty in this case. While TrialCard
is willing to consider a request to proceed before Judge Waldor rather than in North Carolina, it
cannot do so without additional information concerning the scope of a dispute, once ripe, and the
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Emma Holland, Esq.
June 16, 2023
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specific relief SaveOnSP intends to seek. This is particularly so given your acknowledgement in
the June 14 letter that you are still reviewing our May 31 letter.

                                                      Very truly yours,

                                                      /s/ Katherine Brisson
                                                      Katherine Brisson
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                   Exhibit 25
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   December 27, 2023



   Via E-mail

   Sara Arrow
   Patterson Belknap Webb & Tyler LLP
   133 Avenue of the Americas
   New York, NY 10036
   Sarrow@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-ES-CLW)

   Dear Sara,

         We write in response to your December 22, 2023 letter concerning the sub-
   poena issued to TrialCard, Inc. (“TrialCard”) by Save On SP, LLC (“SaveOn”) on
   February 18, 2023 (the “Subpoena”), and to follow up on the parties’ December 12,
   2023 meet and confer.

          We stated in our December 14, 2023 letter that, following the parties’ meet
   and confer, the parties are at impasse on the question of whether TrialCard will
   produce documents through November 7, 2023, the date ordered by the Court for
   a refreshed party production. TrialCard’s responses do not change this conclusion.

           First, the May 31, 2023 letter that TrialCard cites to purportedly show that
   SaveOn “accepted [April 1, 2016 to July 1, 2022] as the Relevant Time,” offers no
   support for its assertion that SaveOn agreed to a July 1, 2002 cutoff for TrialCard’s
   production. The quoted language merely summarized TrialCard’s position: “You
   replied that TrialCard will produce documents responsive to this request from
   April 1, 2016 through July 1, 2022 (the ‘Relevant Time Period’).” See May 31, 2023
   Ltr. from E. Holland to G. Carotenuto at 1. Similarly, the July 26, 2023 letter simply
   proposed supplemental search terms to add to the search that TrialCard had
   agreed to conduct, reserving all rights. See July 26, 2023 Ltr. from E. Holland to
   K. Brisson at 7 n.1.

          Second, while TrialCard asserts that it is improper to extend the scope of
   the subpoena beyond the date of service, federal courts have ordered third parties
Case 2:22-cv-02632-CCC-CLW        Document 360-4       Filed 08/27/24   Page 542 of 683
                                   PageID: 31893
   Sara A. Arrow
   December 27, 2023



   to produce documents created after the return date or service date of subpoenas.
   See, e.g., Chevron Corp. v. Salazar, 275 F.R.D. 437, 449 (S.D.N.Y. 2011); United
   States v. Int’l Bus. Machines Corp., 83 F.R.D. 92, 96 (S.D.N.Y. 1979); Addison v.
   Monarch & Assocs., Inc., No. 14-CV-00358 (GW) (JEM), 2016 WL 11530426, at *1
   (C.D. Cal. Dec. 12, 2016). Even were it otherwise, SaveOn could simply serve an
   updated subpoena covering the updated timeframe; TrialCard’s position serves
   only to delay production of clearly relevant documents.

          Third, while TrialCard points out that the Court’s November 7, 2023 Order
   did not direct it to update its discovery responses, that issue was not before the
   Court. Now that the parties have been ordered to refresh their productions through
   November 7, 2023, the question is whether TrialCard—J&J’s main vendor for
   CarePath—should produce documents from the same time period, and it should.
   TrialCard asserts that no other third party has updated its production through No-
   vember 7; in fact, Archbow has agreed to do so, and TrialCard should as well.

          In sum, the parties did not agree that TrialCard’s production would not ex-
   tend past July 1, 2022. TrialCard has not articulated a relevance or burden objec-
   tion. The parties are thus at impasse on this issue. SaveOn requests that TrialCard
   consents to submit this dispute to Special Master Freda L. Wolfson.

           We request a response by January 3, 2023.

   Best,


   Elizabeth H. Snow
   Associate




                                           2
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                   Exhibit 26
Case 2:22-cv-02632-CCC-CLW         Document 360-4      Filed 08/27/24    Page 544 of 683
   Selendy Gay PLLC                 PageID: 31895
   1290 Avenue of the Americas
   New York NY 10104
   212.390.9000


   Hannah R. Miles
   Associate
   212.390.9055
   hmiles@selendygay.com




   March 4, 2024



   Via E-mail

   Sara A. Arrow
   Patterson Belknap Webb & Tyler LLP
   133 Avenue of the Americas
   New York, NY 10036
   sarrow@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-JKS-CLW)

   Dear Sara,

          We write to you in your capacity as counsel for J&J to request J&J’s consent
   under paragraph 4 of the Discovery Confidentiality Order entered in this case, Dkt.
   No. 62 (Nov. 22, 2022), to include some of J&J’s produced documents in this case
   designated as confidential or attorneys’ eyes only, listed in the attached Appendix,
   in a forthcoming filing in a proceeding seeking enforcement of the subpoena that
   SaveOn has served on TrialCard. Consistent with Local Rule 79.2 of the United
   States District Court for the Eastern District of North Carolina, we intend to seek
   leave to file the documents under seal.

            Please let us know by March 8, 2024 whether you consent.

   Sincerely,

   /s/ Hannah Miles

   Hannah R. Miles
   Associate
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                                     PageID: 31896
   Sara A. Arrow
   March 4, 2024



                                        Appendix

           •   JJHCS_00001745

           •   JJHCS_00002336

           •   JJHCS_00004607

           •   JJHCS_00004608

           •   JJHCS_00004611

           •   JJHCS_00005528

           •   JJHCS_00006991

           •   JJHCS_00007308

           •   JJHCS_00008107

           •   JJHCS_00026255

           •   JJHCS_00026339

           •   JJHCS_00035931

           •   JJHCS_00152075

           •   JJHCS_00156688

           •   JJHCS_00150660

           •   JJHCS_00150666

           •   JJHCS_00150687

           •   JJHCS_00151235

           •   JJHCS_00152075

           •   Pl.’s Responses, Interrog. Nos. 1, 5, 6, (January 17, 2023)




                                              2
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                              PageID: 31897




                   Exhibit 27
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                                                   PageID: 31898



From:                              Sternberg, Jeremy M (BOS - X71476) <Jeremy.Sternberg@hklaw.com>
Sent:                              Friday, April 7, 2023 9:00 AM
To:                                Carotenuto, George (Departed User); Rajkumar, Krithika (BOS - X75857); Sandick, Harry
                                   (x2723)
Cc:                                ~jgreenbaum@sillscummis.com
Subject:                           RE: Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC | ESI Subpoena



ICaution: External Email!I

George,
Thank you for your letter. Express Scripts and Accredo have considered your proposal and decline to consent to having
any motion practice on the subpoenas directed to them in the above-referenced case heard in the District of New
Jersey. When you make your filings in the appropriate district called for by Fed. R. Civ. P. 45, please serve the papers on
us.
Regards,
Jeremy

Jeremy Sternberg | Holland & Knight
Partner
Holland & Knight LLP
10 St. James Avenue, 11th Floor | Boston, Massachusetts 02116
Phone 617.854.1476 | Fax 617.523.6850
jeremy.sternberg@hklaw.com | www.hklaw.com




From: Carotenuto, George (x2547) <gcarotenuto@pbwt.com>
Sent: Thursday, March 30, 2023 6:21 PM
To: Rajkumar, Krithika (BOS - X75857) <Krithika.Rajkumar@hklaw.com>; Sternberg, Jeremy M (BOS - X71476)
<Jeremy.Sternberg@hklaw.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>
Cc: Jeffrey Greenbaum <JGREENBAUM@sillscummis.com>
Subject: RE: Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC | ESI Subpoena

[External email]
Counsel,

Please see the attached correspondence.

Best,
George



From: Rajkumar, Krithika (BOS - X75857) <Krithika.Rajkumar@hklaw.com>
Sent: Friday, March 24, 2023 10:45 PM
To: Carotenuto, George (x2547) <gcarotenuto@pbwt.com>; Sternberg, Jeremy M (BOS - X71476)
                                                             1
           Case 2:22-cv-02632-CCC-CLW               Document 360-4     Filed 08/27/24       Page 548 of 683
                                                     PageID: 31899
<Jeremy.Sternberg@hklaw.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>
Cc: Jeffrey Greenbaum <JGREENBAUM@sillscummis.com>
Subject: RE: Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC | ESI Subpoena



ICaution: External Email!I

Counsel,

Apologies for the evening interruption. Please see the attached correspondence.

Thank you,

Krithika

Krithika Rajkumar | Holland & Knight
Associate
Holland & Knight LLP
10 St. James Avenue, 11th Floor | Boston, Massachusetts 02116
Phone 617.573.5857 | Fax 617.523.6850
krithika.rajkumar@hklaw.com | www.hklaw.com
________________________________________________
Add to address book | View professional biography




From: Carotenuto, George (x2547) <gcarotenuto@pbwt.com>
Sent: Friday, March 17, 2023 4:40 PM
To: Sternberg, Jeremy M (BOS - X71476) <Jeremy.Sternberg@hklaw.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>
Cc: Rajkumar, Krithika (BOS - X75857) <Krithika.Rajkumar@hklaw.com>; Jeffrey Greenbaum
<JGREENBAUM@sillscummis.com>
Subject: RE: Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC | ESI Subpoena

[External email]
Counsel,

Please see the attached correspondence.

Best,
George

George Carotenuto
He | Him | His
Associate
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas | New York, NY 10036
T: 212.336.2547
gcarotenuto@pbwt.com | www.pbwt.com
                                                           2
       Case 2:22-cv-02632-CCC-CLW                 Document 360-4          Filed 08/27/24       Page 549 of 683
                                                   PageID: 31900



From: Sternberg, Jeremy M (BOS - X71476) <Jeremy.Sternberg@hklaw.com>
Sent: Sunday, March 12, 2023 4:22 PM
To: Sandick, Harry (x2723) <hsandick@pbwt.com>; Carotenuto, George (x2547) <gcarotenuto@pbwt.com>
Cc: Rajkumar, Krithika (BOS - X75857) <Krithika.Rajkumar@hklaw.com>; Jeffrey Greenbaum
<JGREENBAUM@sillscummis.com>
Subject: RE: Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC | ESI Subpoena



ICaution: External Email!I

Harry,
I appreciate your courtesy with respect to the scheduling issue I had last week.

Since our last call we have learned a few things that likely alter the course we were discussing and that you reference
below:

1. it has come to our attention that SaveOn has a number of documents that you were positing as possibly unique to
Express Scripts (and we understand SaveOn is making a substantial production to you this coming week)
2. the burden to Express Scripts of searching for certain documents that you posit as unique to Express Scripts is high
(and in our view outweighed at present by: (a) the likelihood that SaveOn’s imminent production will contain many of
them); and (2) the efficiencies to be gained by J&J’s review of that production to determine what is actually not included
that ESI might reasonably have and then seeking that focused set of documents from ESI)
3. our understanding that generally (and in this district), third party discovery ought not burden third parties with
duplication of what can be achieved by party discovery and that it should generally be sequenced (in the way we
originally suggested) to seek that which was not achieved in party discovery in a focused manner
4. it is our sense that the current discovery deadline in your case will not hold and that whatever new deadline you
obtain will sensibly accommodate the sequenced approach we are suggesting; to be clear ESI is amenable to producing
relevant (and we may well have a quite different view of relevance than you do) focused documents that cannot be
obtained from party discovery

Regards,
Jeremy

Jeremy Sternberg | Holland & Knight
Partner
Holland & Knight LLP
10 St. James Avenue, 11th Floor | Boston, Massachusetts 02116
Phone 617.854.1476 | Fax 617.523.6850
jeremy.sternberg@hklaw.com | www.hklaw.com




From: Sandick, Harry (x2723) <hsandick@pbwt.com>
Sent: Thursday, March 9, 2023 10:43 AM
                                                             3
         Case 2:22-cv-02632-CCC-CLW                        Document 360-4              Filed 08/27/24           Page 550 of 683
                                                            PageID: 31901
To: Sternberg, Jeremy M (BOS - X71476) <Jeremy.Sternberg@hklaw.com>; Carotenuto, George (x2547)
<gcarotenuto@pbwt.com>
Cc: Rajkumar, Krithika (BOS - X75857) <Krithika.Rajkumar@hklaw.com>; Jeffrey Greenbaum
<JGREENBAUM@sillscummis.com>
Subject: RE: Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC | ESI Subpoena

[External email]
Jeremy,

Thanks for letting us know about your scheduling conflict. We should reschedule the call as soon as you are
available. Regardless of when we meet and confer again, we would like to review, as soon as possible, a list of the
categories of documents for which ESI is willing to make a parallel production in this matter. Please let us know when you
can provide that information so that we can avoid or minimize the need for motion practice on this subpoena.

Thanks again.

Best regards,

Harry

Harry Sandick
Patterson Belknap Webb & Tyler LLP

-----Original Appointment-----
From: Sternberg, Jeremy M (BOS - X71476) <Jeremy.Sternberg@hklaw.com>
Sent: Wednesday, March 8, 2023 9:22 PM
To: Carotenuto, George (x2547)
Cc: Rajkumar, Krithika (BOS - X75857); Sandick, Harry (x2723); Jeffrey Greenbaum
Subject: Declined: Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC | ESI Subpoena
When: Thursday, March 9, 2023 11:30 AM-12:00 PM (UTC-05:00) Eastern Time (US & Canada).
Where: 888-788-0099,,2123362723



ICaution: External Email!I

Dear All,
I have had something emergent come up for tomorrow and will not be able to make this scheduled call. I will be in
touch later tomorrow with a new proposed time.
Jeremy



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addressed. If you believe you received this e-mail in error, please notify the sender immediately, delete the e-mail from your computer and
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unless it contains a specific statement to that effect and do not disclose anything to H&K in reply that you expect it to hold in confidence. If
you properly received this e-mail as a client, co-counsel or retained expert of H&K, you should maintain its contents in confidence in order to
preserve the attorney-client or work product privilege that may be available to protect confidentiality.




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such person), you may not copy or deliver this message to anyone. In such case, you
should destroy this message and kindly notify the sender by reply email. Please advise
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                                                 PageID: 31902
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kind.




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the addressee indicated in this message (or responsible for delivery of the message to
such person), you may not copy or deliver this message to anyone. In such case, you
should destroy this message and kindly notify the sender by reply email. Please advise
immediately if you or your employer do not consent to receiving email messages of this
kind.




Privileged/Confidential Information may be contained in this message. If you are not
the addressee indicated in this message (or responsible for delivery of the message to
such person), you may not copy or deliver this message to anyone. In such case, you
should destroy this message and kindly notify the sender by reply email. Please advise
immediately if you or your employer do not consent to receiving email messages of this
kind.




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                   Exhibit 28
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                                                                                                        www.pbwt.com




April 12, 2024                                                                         Saniya Suri
                                                                                       (212) 336-2226


VIA EMAIL

Hannah R. Miles, Esq.
Selendy Gay, PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Possession, Custody, and Control of TrialCard’s Documents
                           Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
                           2:23-cv-02632 (JKS) (CLW)
Dear Hannah:

             We write in response to SaveOnSP’s March 13, 2024 letter regarding whether
JJHCS has possession, custody, or control of documents held by TrialCard, Inc. (“TrialCard”).

               In your letter, you claim that JJHCS has the legal right to obtain upon demand, and
thus controls, all “documents in TrialCard’s possession relating to TrialCard’s services for
[JJHCS].” Mar. 13, 2024 Ltr. from H. Miles to S. Arrow at 3.


                                                                       See, e.g.,
JJHCS_00011325, JJHCS_00011339 JJHCS_00011346, JJHCS_00011352, JJHCS_00011354,
JJHCS_00011355, JJHCS_00011357, JJHCS_00011358, JJHCS_00011319, JJHCS_00011320,
JJHCS_00025068, JJHCS_00025072.

               Based on our reasonable investigation, we understand that the Amended and
Restated Master Services Agreement dated November 30, 2023 (the “2024 MSA”) is the current
operative agreement between JJHCS and TrialCard, and that it went into effect on January 1, 2024.
JJHCS has attached the relevant agreement to this letter as Exhibit A and intends to produce it to
SaveOnSP on or before May 10, 2024.

               In any event, we do not agree that, as a categorical matter, JJHCS has control over
all of TrialCard’s documents relating to its services for JJHCS. Rather, under the 2024 MSA,

                                                                          . See 2024 MSA § 17.1. There may




Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000   F 212.336.2222
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                                      PageID: 31905
Hannah R. Miles, Esq.
April 12, 2024
Page 2


well be other types of documents relating to TrialCard’s services for JJHCS that are not covered
by § 17.1.1

               Absent from your letter is an explanation of what categories of documents
SaveOnSP seeks to obtain from TrialCard. As you acknowledge, TrialCard has been cooperative
and produced documents in response to SaveOnSP’s third-party subpoena and at the request of
JJHCS. Given that JJHCS has no categorical right to TrialCard’s files, please let us know with
specificity what additional categories of documents SaveOnSP seeks so that JJHCS can assess
whether those documents fall within the ambit of the relevant MSA.

                 Once SaveOnSP clarifies which documents it seeks, JJHCS will determine whether
it agrees that those documents are subject to the relevant MSA and confer further with TrialCard
concerning this subject.

                                                       Very truly yours,

                                                       /s/ Saniya Suri
                                                       Saniya Suri




1
 For the avoidance of doubt, JJHCS does not have possession or custody of these documents. See
Fed. R. Civ. P. 34(a).



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                   Exhibit 29
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                                                                                                           www.pbwt.com




July 19, 2023                                                                          Katherine Brisson
                                                                                       (212) 336-2552


Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (ES) (CLW)

Dear Emma:

               On behalf of TrialCard, we write further to our letter of July 13, 2023 to provide
additional information concerning the search terms we intend to use to identify responsive
materials from the TrialCard custodians identified in our prior correspondence.

                  We intend to use the following search terms:

                       SaveOnSP OR SaveOn OR “Save On SP” OR “Save On” OR SOSP

                       (“Johnson & Johnson” OR “Johnson and Johnson” OR J&J OR JnJ OR JJHCS
                        OR Janssen) AND (SaveOnSP OR SaveOn OR “Save On SP” OR “Save On”
                        OR SOSP OR “org* chart” OR “retention policy”)

                       (CarePath OR “Care Path”) AND (SaveOnSP OR SaveOn OR “Save On SP”
                        OR “Save On” OR SOSP OR “org* chart” OR “retention policy”)

                       (Accumulator OR Maximizer) AND (SaveOnSP OR SaveOn OR “Save On SP”
                        OR “Save On” OR SOSP OR “org* chart” OR “retention policy”)

                                                                    Very truly yours,




                                                                    /s/ Katherine Brisson
                                                                    Katherine Brisson




Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000      F 212.336.2222
Case 2:22-cv-02632-CCC-CLW   Document 360-4   Filed 08/27/24   Page 557 of 683
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            EXHIBIT 30
  CONFIDENTIAL – FILED UNDER SEAL
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                   Exhibit 31
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                                   PageID: 31910
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York NY 10104
212.390.9000


Andrew R. Dunlap
Partner
212.390.9005
adunlap@selendygay.com


March 29, 2023



Via E-mail

Harry Sandick
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
hsandick@pbwt.com

Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC
         (Case No. 2:22-cv-02632-JMV-CLW)

Dear Harry,

       We write in response to your March 9, 2023 letter regarding SaveOnSP’s organi-
zational charts, proposed custodians, and proposed collection and search protocol, and to
your March 22, 2023 letter regarding potential additional search terms.

I.       Organization Charts

        You say that JJHCS was unable to read several of the organization charts in our
February 22, 2023 production. We produced the documents as they were collected and in
accordance with the November 22, 2022 ESI Protocol; we are working to see if it is pos-
sible to re-image them. We will produce any re-imaged documents as soon as we are able.

       You note that we have not produced organization charts covering the period of
January 1, 2017 to January 29, 2018. Our searches have not identified any organization
charts for this period; if we identify any such charts, we will produce them.

II.      Custodians

       You ask if we have conducted a reasonable investigation of whether SaveOnSP’s
custodian Danielle Wagner would have been included on relevant communications re-
ceived by Ted Mighells and Sarah Segerson, both of whom JJHCS requested as additional
custodians. We have. Based on that investigation, it is unlikely that Mighells received
unique relevant communications not also received by Wagner. There is some chance that
Segerson received unique relevant communications; we will add her as a custodian.
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      You ask that we add three more custodians (Gary Meyn, Jennifer Menz, and Ma-
riah DuRant) in addition to the four we agreed to add in our March 3, 2023 letter (Nicole
Haas, Sarah Kancar, Brianna Reed, Laura McClung).

       We will not add Gary Meyn as a custodian. Meyn stopped working for SaveOnSP
on March 1, 2021. After a reasonable investigation, we do not believe that SaveOnSP re-
tained Meyn’s files.

      We will also not add Jennifer Menz or Mariah DuRant as custodians. After a rea-
sonable investigation, we believe they are unlikely to possess unique relevant documents.

III.   Search Methodology

      You ask if we will add four search terms proposed by JJHCS in its February 17,
2023 letter that we accepted in our March 3, 2023 letter (but inadvertently reproduced
with minor variations) exactly as requested by JJHCS. We confirm we will run these
searches exactly as requested by JJHCS, as follows:

   •   ((essential or “non-essential” or nonessential) W/10 (benefit*)) or EHB* OR
       NEHB*

   •   “non-med* switch*” OR “nonmed* switch*” OR ((patient OR non-med* OR non-
       med*) W/15 switch*) OR ((patient* OR chang* OR mov* OR switch*) W/30 (new
       W/5 (drug* OR med* OR brand*)))

   •   “open enrollment” OR ((summar* OR term) W/30 (program* OR plan* OR bene-
       fit* OR coverage* OR coinsurance OR deductible OR OOP OR “out-of-pocket”))

   •   “Intergovernmental Personnel Benefit Cooperative” OR IPBC OR (Rachel W/2
       Harmon) OR rharmon@express-scripts.com OR ((presentation OR training OR
       video) W/5 (ESI OR “Express Scripts”))

       You ask us to use seven additional or modified search terms (two requested in your
February 17, 2023 letter and five in your March 9, 2023 letter). We will add the following
terms:

   •   ((“transfer*” OR reject* OR POS OR “point of sale” OR step edit*) W/15 pharm*)
       OR “Error Code 73” OR ((drug* OR med* OR fill*) W/15 (cover*))

   •   (adher* OR complian* OR comply* OR discontinue*) W/10 (trend* OR rate* or
       stat*)

   •   Accredo W/15 (transfer* OR assistance OR "savings card" OR "copay card" OR "co-
       pay card" OR enroll* OR accumulat* OR maximiz*)

   •   https://www.saveonsp.com* OR www.saveonsp.com* OR “reduce this exorbitant
       cost” OR “we offer an innovative specialty solution” OR “is committed to making


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       expensive medications more affordable for companies” OR “modifying their plan
       design" OR "how will our plan see savings generated”

       We will not add the remaining terms, which generate an unduly burdensome num-
ber of additional unique documents:



       Search Proposed by JJHCS                        Unique Additional
                                                          Documents

  ((infla* OR incr* OR 1,250 OR 1250
  OR 1,666 OR 1666 OR 2,000 OR                                22,634
  2000 OR 5000 OR 5,000 OR 30%)
  W/30 (copay* OR co-pay* OR
  coins* OR co-ins* OR “out of
  pocket” OR OOP OR bucket*)) OR
  “ingredient cost”

  (ESI OR “Express Scripts” OR                                221,797
  Evernorth) W/15 (fee* OR ((master
  W/2 agreement) OR assistance OR
  “copay card” OR “co-pay card” OR
  “savings card” OR enroll* OR
  accumulat* OR maximiz* OR
  @express-scripts.com))
  exhaust* OR ‘us* up” OR drain* OR                           43,425
  complain* OR “r*n out” W/15 co-pay
  OR copay* OR support* OR cover*

       You ask (in your March 22, 2023 letter) if we intend to add any search terms or
custodians following the parties’ resolution of several outstanding RFP disputes. We will
not add additional custodians. We will add the following search terms, which are names
of Janssen drugs not yet represented in our search terms:

   •   Prezcobix

   •   Symtuza

   •   Valchlor

       A full list of agreed custodians and search terms is attached as Appendix 1. These
search parameters are more than sufficient to identify documents potentially responsive
to JJHCS’s requests. All told, using these parameters produces a total of almost 600,000
unique custodial documents for review.




                                           3
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IV.   Non-Custodial Sources

     You ask us to confirm that we will produce custodial documents in response to
JJHCS’s RFP No. 31. We will.

V.    Call Center Recordings and Transcripts

      You ask about our collection and production of call center records.

     As background, following a reasonable investigation, we have determined that
SaveOnSP




                                                         . It would thus take SaveOnSP’s
systems, running 24 hours a day, well over a year to export all audio recordings and tran-
scripts, which would be unduly burdensome and vastly disproportionate. (We continue
to investigate ways to expedite the export process.)

       We intend to proceed as follows. We will search Salesforce records using the names
of members of SaveOnSP-advised plans who use a Janssen drug. We will produce the
relevant portions of the Salesforce records for those plan members. We invite you to use
these records to identify a reasonable number of calls for which you would like us to at-
tempt to identify and produce the associated audio recording and/or transcript. We will
attempt to identify those recordings or transcripts using the dates and times recorded in
Salesforce of when those members spoke with SaveOnSP. We will then export from
Chronicall and Calabrio the audio recordings and/or transcripts in those systems that
match those dates and times and review them for production.




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        We reserve all rights and are available to meet and confer.

Best,

/s/ Andrew R. Dunlap

Andrew R. Dunlap
Partner




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                                    Appendix 1


Agreed custodians as of March 29, 2023:

   •   Jody Miller
   •   Claudia Dunbar
   •   Ron Krawczyk
   •   Robert Saeli
   •   Nick Morrissey
   •   Jill Stearns
   •   Florencio Calderon
   •   Jenna Ordonez
   •   Amanda Larsen
   •   Emily Reckinger
   •   Jenna Benkelman
   •   Dave Chelus
   •   Alissa Langley
   •   Melanie Jerred
   •   Danielle Wagner
   •   Michelle Tabone
   •   Michael Heinrichs
   •   Nicole Haas
   •   Sarah Kancar
   •   Laura McClung
   •   Brianna Reed
   •   Sarah Segerson


Agreed search terms as of March 29, 2023:

   •   adherence W/5 trend*
   •   “Affordable Care Act” OR ACA
   •   analy* OR “white paper*” OR “research” OR report* OR publication* OR review*
       OR article* OR study OR studies W/15 “specialty med*” OR “specialty drug*” OR
       biolog* OR infus* or accumul* OR maximizer* OR copay* OR co-pay* OR coins*
       OR co-ins*
   •   BALVERSA OR erdafitinib
   •   benchmark* /10 (plan OR state OR EHB OR essential* OR NEHB or non-
       essential* OR non-essential*)
   •   CarePath OR Carpath OR Carepth
   •   care W/2 path
   •   (chang* or edit*) W/25 website
   •   “DARZALEX FASPRO” OR DARZALEX OR daratumumab OR hyaluronidase*
   •   email W/10 template
                                            6
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   •   ERLEADA OR apalutamide
   •   ESI W/10 fees
   •   ((essential or “non-essential” or nonessential) W/10 (benefit*)) or EHB* OR
       NEHB*
   •   “https://saveonsp.com”
   •   IMBRUVICA OR ibrutinib
   •   (inc* W/10 (save* OR saving*) W/15 manuf* OR assist*
   •   (inclu* OR add* OR remov* OR Structure) W/10 (benefit* OR “drug list*”)
   •   “Intergovernmental Personnel Benefit Cooperative” OR IPBC OR (Rachel W/2
       Harmon) OR rharmon@expressscripts.com OR ((presentation OR training OR
       video) W/5 (ESI OR “Express Scripts”))
   •   its.jnj.com
   •   J&J OR JnJ
   •   Janssen OR Jannsen OR Jansen OR Jannssen
   •   JJHCS OR JHCS OR JJCHS OR JJHS
   •   “Johnson & Johnson” OR “Johnson and Johnson”
   •   “Lash Group”
   •   “non-med* switch*” OR “nonmed* switch*” OR ((patient OR non-med* OR
       nonmed*) W/15 switch*) OR ((patient* OR chang* OR mov* OR switch*) W/30
       (new W/5 (drug* OR med* OR brand*)))
   •   “open enrollment” OR ((summar* OR term) W/30 (program* OR plan* OR
       benefit* OR coverage* OR coinsurance OR deductible OR OOP OR “out-of-
       pocket”))
   •   OPSUMIT OR macitentan
   •   (patient* OR member*) W/5 (adher* OR complian* OR comply* OR dis-
       continu*)
   •   REMICADE OR infliximab
   •   RYBREVANT OR amivantamab*
   •   SIMPONI OR golimumab
   •   STELARA OR ustekinumab
   •   structure* W/4 (benefit* OR “drug list*”)
   •   “Summary of Benefits”
   •   “Summary Plan”
   •   TRACLEER OR bosentan
   •   TREMFYA OR guselkumab
   •   TrialCard OR “Trial Card”
   •   UPTRAVI OR selexipag
   •   Ventavis OR iloprost
   •   ZYTIGA OR abiraterone
   •   ((“transfer*” OR reject* OR POS OR “point of sale” OR step edit*) W/15 pharm*)
       OR “Error Code 73” OR ((drug* OR med* OR fill*) W/15 (cover*))
   •   (adher* OR complian* OR comply* OR discontinue*) W/10 (trend* OR rate* or
       stat*)



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   •   Accredo W/15 (transfer* OR assistance OR "savings card" OR "copay card" OR
       "co-pay card" OR enroll* OR accumulat* OR maximiz*)
   •   https://www.saveonsp.com* OR www.saveonsp.com* OR "reduce this exorbitant
       cost" OR "we offer an innovative specialty solution" OR "is committed to making
       expensive medications more affordable for companies" OR "modifying their plan
       design" OR "how will our plan see savings generated"
   •   Prezcobix
   •   Symtuza
   •   Valchlor




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 From:              Brisson, Katherine (x2552)
 To:                "Hannah Miles"; Arrow, Sara (x2031); Mangi, Adeel A. (x2563); Sandick, Harry (x2723); LoBiondo, George
                    (x2008); Long, Julia (x2878); ~jgreenbaum@sillscummis.com; ~klieb@sillscummis.com; _cg J&J-SaveOn
 Cc:                Philippe Selendy; Andrew Dunlap; Meredith Nelson; Elizabeth Snow; EWohlforth@rc.com
 Bcc:               "_J5400_001748_ JOHNSON _ JOHNSON _ SaveOnSP 00_ Emails _J5400_001748_"
 Subject:           RE: JJHCS v. SaveOnSP (Case No. 2:22-cv-02632-JKS-CLW)
 Date:              Tuesday, April 9, 2024 2:01:54 PM


 Counsel:

 On behalf of TrialCard, we are in receipt of your request that TrialCard identify the recordings
 associated with 1,528 call notes. Given the significant volume of call recordings requested, we are
 continuing to investigate the feasibility of your request.

 Best,
 Katherine



 From: Hannah Miles <hmiles@selendygay.com>
 Sent: Tuesday, March 26, 2024 6:19 PM
 To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Brisson, Katherine (x2552) <kbrisson@pbwt.com>;
 Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>;
 LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
 ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com
 <klieb@sillscummis.com>; _cg J&J-SaveOn <JJSaveOn@pbwt.com>
 Cc: Philippe Selendy <pselendy@selendygay.com>; Andrew Dunlap <adunlap@selendygay.com>;
 Meredith Nelson <mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>;
 EWohlforth@rc.com
 Subject: JJHCS v. SaveOnSP (Case No. 2:22-cv-02632-JKS-CLW)


  Caution: External Email!



 Counsel,

 Please see the attached letter.

 Best,
 Hannah

 Hannah Miles
 Associate [Email]
 Selendy Gay PLLC [Web]
 Pronouns: she, her, hers
 ----------------------------------------------
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 +1 212.390.9055 [O]
 +1 347.731.1404 [M]
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May 7, 2024                                                                            Elisabeth Shane
                                                                                       (212) 336-2659


By Email

Hannah Miles, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      SaveOnSP’s Call Recordings
                           Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Hannah:

             We write in response to your April 26, 2024 letter and further to our prior
correspondence regarding the same.

                 As you know, JJHCS recently requested that SaveOnSP produce recorded calls and
transcripts with patients who spoke to SaveOnSP and were prescribed a Janssen drug. See Apr.
23, 2024 Ltr. from E. Shane to H. Miles. We understand that, although SaveOnSP seeks the
equivalent production from TrialCard (namely, communications with persons likely enrolled in
CarePath relating to SaveOnSP), it objects to JJHCS’s request on the basis of the purported burden.
In light of this objection, please specify, in as much detail as possible, the burden associated with
producing the call recordings and transcripts that JJCHS requested in its April 23 letter. Please
also explain what steps SaveOnSP has taken over the last thirteen months to “investigate ways to
expedite the export” of responsive call recordings and transcripts, including any strategies it has
identified to do so. Mar. 29, 2023 Ltr. from A. Dunlap to H. Sandick at 4. We appreciate that
there can be burdens associated with producing call records on both sides and would like to work
with you to find a mutually acceptable solution.

                To facilitate our discussion, please also let us know if SaveOnSP’s burden concerns
would be alleviated if its production were limited to the following two categories. First, all call
recordings and transcripts associated with calls to TrialCard with or without a patient on the line
regarding a Janssen drug. For the avoidance of doubt, this includes, but is not limited to, recordings
and transcripts of all calls designated as “manufacturer calls” within Column P of the attached
“JJHCS Requested Recordings” spreadsheet. Second, to the extent these recordings and transcripts
are not captured by the prior request, all recordings and transcripts associated with the calls
identified in the attached spreadsheet.



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Hannah Miles, Esq.
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             We look forward to hearing from you and discussing these matters further.

                                                     Very truly yours,


                                                     /s/ Elisabeth Shane
                                                     Elisabeth Shane




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                   Exhibit 34
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March 22, 2024                                                                         Sara A. Arrow
                                                                                       (212) 336-2031


By Email

Hannah Miles, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      December 1, 2023 Subpoena to TrialCard
                           Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Hannah:

               On behalf of TrialCard, we write in response to SaveOnSP’s March 8, 2024 letter
regarding the subpoena dated December 1, 2023 (the “Second Subpoena”).

                     I.    Time Period

                SaveOnSP asserts that TrialCard has provided “no reasoned basis” to justify a July
1, 2022 cutoff date. Not so: we have explained our position on this issue repeatedly in written
correspondence and during meet and confers. See, e.g., Mar. 1, 2024 Ltr. from S. Arrow to H.
Miles; Jan. 12, 2024 Ltr. from S. Arrow to H. Miles; see also Dec. 22, 2023 Ltr. from S. Arrow to
H. Miles. Specifically, as it relates to the February 17, 2023 subpoena (the “First Subpoena”),
SaveOnSP agreed to July 1, 2022 as the cut-off date. See May 31, 2023 Ltr. from E. Holland to
G. Carotenuto at 1 (referring to April 1, 2016 to July 1, 2022 as the “Relevant Time Period”); July
26, 2023 Ltr. from E. Holland to K. Brisson at 7 n.1 (proposing search terms for the “Relevant
Time Period” defined as April 1, 2016 to July 1, 2022).

               Belatedly disappointed with the agreement it struck, SaveOnSP then sought to
circumvent this agreed-upon time period by propounding the Second Subpoena—containing
several requests that overlapped with those in the First Subpoena and imposing a new “refresh”
time period to partially match the “refresh” time period to which the parties are bound. But as
SaveOnSP acknowledges, TrialCard, as a third party, is not bound by Judge Waldor’s November
7, 2023 Order extending party discovery. See Jan. 11, 2024 Email from H. Miles to S. Arrow.
Nor has SaveOnSP explained why TrialCard, as a third party, should be subject to such expansive
discovery far beyond the initial agreed-upon cut-off date. SaveOnSP has already refused to say
whether its own co-conspirators and business partners—Express Scripts, Inc. and Accredo Health



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March 22, 2024
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Group—should be required to update its third-party productions through November 7, 2023. See
id. And perhaps most egregious, SaveOnSP has provided no basis whatsoever for why TrialCard
must produce documents even beyond the cutoff date for party discovery (November 7, 2023), as
SaveOnSP now insists.

                Despite these objections, TrialCard has nevertheless agreed to produce multiple
categories of documents through November 7, 2023 in the interest of compromise. See, e.g., Mar.
1, 2024 Ltr. from S. Arrow to H. Miles at 1–2. For example, TrialCard has agreed to produce the
results of thousands of benefits investigations to comply with the First and Second Subpoenas.
See Mar. 12, 2024 Ltr. from S. Arrow to H. Miles at 1 n.1; Oct. 20, 2023 Ltr. from S. Arrow to E.
Holland at 1. Further, as discussed in greater detail below, TrialCard has agreed to refresh its
production of CarePath enrollment data1 and case and task notes for Stelara and Tremfya patients
through November 7, 2023. These productions, which are voluminous, represent a good-faith
effort to comply with SaveOnSP’s subpoenas in a manner proportional to its role as a third party.

               Finally, if there are specific, targeted categories of documents that you seek through
November 7, 2023, please so advise so that we can evaluate that request. If you present a
reasonable proposal, we are certainly willing to consider it—but we cannot agree to a wholesale
expansion of the discovery cutoff without any justification or reasonable limitation.

                II.    TrialCard’s Ability to Identify Patients

                Request Nos. 1 and 2 seek documents sufficient to show the identities of all drug
makers for which TrialCard performed investigations, including benefits investigations, that
identify or attempt to identify if a patient is on a health plan affiliated with a copay maximizer,
accumulator, or SaveOnSP. As we have explained, any actions that TrialCard may or may not
have taken for clients other than JJHCS are irrelevant. SaveOnSP has not explained how
TrialCard’s work performed for its non-JJHCS clients has any relevance whatsoever to JJHCS or
CarePath. Please so do and we will consider your position.

                 Request No. 3 seeks documents sufficient to show the methods by which TrialCard
identifies or attempts to identify whether patients are members of health plans affiliated with copay
accumulators, maximizers, or SaveOnSP. Despite TrialCard’s production of the results of
thousands of benefits investigations performed for patients taking Stelara or Tremfya, see
TRIALCARD_00008931, SaveOnSP insists that TrialCard has not satisfied Request No. 3. We
disagree.




1
  Specifically, TrialCard agrees to refresh its prior production of CarePath enrollment data for the
time period July 1, 2022 through November 7, 2023. See TRIALCARD_00000001;
TRIALCARD_00000004;                  TRIALCARD_00000005;                 TRIALCARD_00000006;
TRIALCARD_00000007; TRIALCARD_00000008; and TRIALCARD_00000009.
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                                                                       TrialCard’s production of the
results of those benefits investigation therefore satisfies this request.

                SaveOnSP nevertheless asserts that it is entitled to documents concerning some
“methods” that TrialCard hypothetically employed to identify SaveOnSP-affiliated patients
because SaveOnSP has asserted a “failure to mitigate defense.”2 This argument rests on several
unsubstantiated assumptions, including that (1) TrialCard developed other “methods” of
identifying SaveOnSP patients; (2) such methods would be applicable to JJHCS and the CarePath
program; (3) it disclosed those methods to JJHCS; and (4) having learned of those methods, JJHCS
declined to implement them. Each of these assumptions rests on pure speculation. TrialCard,
therefore, declines to go on a fishing expedition to satisfy SaveOnSP’s curiosity into its business
entirely unrelated to JJHCS or CarePath.

                Request No. 4 seeks documents and communications “between TrialCard and
JJHCS” regarding the identification or attempted identification of patients who are members of
plans affiliated with copay accumulators, maximizers, or SaveOnSP. As we explained during the
March 7 meet and confer, such documents—which necessarily would have been provided to
JJHCS—can be obtained through party discovery.

               SaveOnSP nevertheless insisted during the March 7 meet and confer that this
request encompasses internal documents that “reflect” communications between TrialCard and
JJHCS, including notes that TrialCard personnel may have taken during a phone call or meeting.
As we discussed during the meet and confer, however, the plain language of this Request is not so
expansive: it seeks only Communications—i.e., “the transmittal of information”—between JJHCS
and TrialCard. It does not request purely internal documents reflecting the contents of those
transmittals. See Second Subpoena at 4.

                III.    TrialCard’s Responses to Identifying Patients

               Request No. 6 seeks documents sufficient to show the methods by which TrialCard
responded to benefits investigations that revealed or suggested that a patient was a member of a
health plan that was affiliated with a copay accumulator, maximizer, or SaveOnSP. As we have
explained in previous correspondence and during the March 7 meet and confer, TrialCard has
produced multiple letter templates that it sent to SaveOnSP-patients in connection with the benefits
investigation process.       TrialCard also produced a catalogue of these letters.              See
TRIALCARD_0008931 (“Tasks”). Based on our reasonable investigation to date, we are unaware


2
 We note that the caselaw you cite in support of this argument appears inapposite. See Prusky v. Reliastar
Life Ins., 532 F.3d 252, 258–59 (3d Cir. 2008) (discussing the failure to mitigate defense in the context of
a breach of contract claim asserted under Pennsylvania law); Grubbs v. Knoll, 376 N.J. Super. 420, 437
(N.J. App. 2005) (discussing whether a jury instruction on the failure to mitigate defense is appropriate).
Neither case stands for the broad proposition that a third party is obligated to produce any document that
may have some hypothetical bearing on whether the plaintiff could have mitigated its damages.
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of any other systematic “method” that TrialCard undertook to respond to the results of benefits
investigations identifying patients as SaveOnSP-affiliated; to the extent JJHCS undertook such
methods, JJHCS is the proper source for such discovery. We trust that this resolves any dispute
with respect to Request No. 6.

              Request No. 8 seeks documents and communications regarding the creation or
attempted creation of a response or “solution” to copay maximizers, accumulators, or SaveOnSP.
The search term that you have proposed is untethered to the claims at issue in this litigation: it
seeks documents related to any maximizer or accumulator irrespective of whether such documents
concern SaveOnSP. In the event you wish to pursue this request, please provide an appropriately
narrowed term that addresses the relevant issues in this litigation.

                IV.    Communications with Stelara and Tremfya Patients

                Request No. 5 seeks “[a]ll Communications with patients receiving Stelara and
Tremfya, including without limitation recordings of calls.” You have represented that if TrialCard
“refresh[es] the call and task notes, subject to the same procedures in the May 12, 2023 letter, and
agree that SaveOn reserves it rights to request call recordings and transcripts in the future, that
would” resolve any dispute with respect to Request No. 5.

                TrialCard agrees to refresh its production of case and task notes through November
7, 2023 using the same collection methodology we used during the initial collection of case and
task notes, which involved filtering the records for the Janssen Drugs at issue in this litigation and
further searching them for responsive material using the search terms listed the May 12, 2023
letter. See May 12, 2023 Ltr. from G. Carotenuto to A. Dunlap at 2. Additionally, as we did with
the initial production of case and task notes, we invite SaveOnSP to use these records to identify
a reasonable number of calls for which you would like TrialCard to attempt to locate and produce
the associated audio recording and/or transcript, where available. See id.

                 V.    Communications Between TrialCard and SaveOnSP

               Request No. 7 seeks all communications between TrialCard and SaveOnSP. As
we have explained, SaveOnSP can search its own records for communications responsive to this
request, including call recordings. See TrialCard’s Responses and Objections to RFP No. 5
(“TrialCard further objects to the extent this Request seeks the production of documents and
communications that are available from parties to the Action, in particular from SaveOnSP.”); see
also Mar. 1, 2024 Ltr. from S. Arrow to H. Miles at 4.

              In your March 8 letter, you clarified why you believe SaveOnSP would not possess
the documents it seeks with this request. Specifically, you confirmed that certain “outbound calls
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may not have been recorded by SaveOn.”3 Please explain, in as much detail as possible, which
types of calls are recorded and which are not. This will allow TrialCard to evaluate whether there
are certain recordings that only TrialCard maintains that are not in SaveOnSP’s possession. To
the extent you seek production of such recordings, please also provide identifying information that
would allow TrialCard to identify the relevant calls—specifically, all names and phone numbers
used by SaveOnSP employees to communicate with TrialCard. Absent such information,
TrialCard lacks identifying information to isolate responsive recordings without undertaking the
enormous burden of assessing every incoming call that it received.

               You also ask a series of questions regarding the 16 call recordings that TrialCard
produced on January 12, 2024. We confirm that, at JJHCS’s request, TrialCard agreed to produce
these 16 call recordings. Please direct any further questions regarding these call recordings to
JJHCS.

                                                             Very truly yours,




                                                             /s/ Sara A. Arrow
                                                             Sara A. Arrow




3
 Based on our meet and confer and SaveOnSP’s March 8 letter, we understand that SaveOnSP has narrowed
Request No. 7 to seek only this subset of call recordings—i.e., those that SaveOnSP did not record and thus
does not have in its possession. Please promptly clarify if this understanding is incorrect.
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                   Exhibit 35
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February 1, 2024                                                                       Sara A. Arrow
                                                                                       (212) 336-2031


By Email

Elizabeth Snow, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      January 12, 2024 Meet and Confer
                           Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (JKS) (CLW)
Dear Elizabeth:

             We write in response to your January 30, 2024 letter concerning the January 12,
2024 meet and confer between SaveOnSP and TrialCard.

               Your assertion that JJHCS has violated the Discovery Confidentiality Order
(“DCO”) is baseless. JJHCS has not provided Ayesha Zulqarnain’s deposition transcript to
TrialCard, nor has it summarized its contents to TrialCard or otherwise provided to TrialCard
any other materials designated by SaveOnSP as Confidential or Attorney’s Eyes Only (“AEO”)
under the DCO. As we have previously explained, your resort to unfounded accusations is
disappointing and not collegial. See Aug. 16, 2023 Email from G. LoBiondo to E. Snow.

                Your letter also misrepresents the discussion that we had during the January 12
meet and confer. Specifically, Request No. 7 requested all communications between TrialCard
and SaveOnSP, including recordings of calls. While discussing TrialCard’s burden objections to
producing documents in response to that request, we, in our capacity as counsel to TrialCard,
noted that TrialCard could not identify recordings of such calls without the benefit of identifying
information, including the names and phone numbers SaveOnSP has used to communicate with
TrialCard. We invited SaveOnSP to provide this information to TrialCard to assist it in its
efforts to locate responsive documents. We further mentioned in passing that, in our capacity as
counsel for JJHCS, we were aware that SaveOnSP routinely employs deceptive tactics—
including using fake names, fake affiliations, and phone numbers unassociated with
SaveOnSP—to obscure their agents’ affiliation with SaveOnSP to TrialCard call center agents.
We observed that such deception contributes to the burden TrialCard faces in producing the calls
sought by Request No. 7. At no point did we suggest or imply that TrialCard was in possession
of Ms. Zulqarnain’s deposition testimony; quite to the contrary, we recognized during the meet
and confer, as we have throughout this litigation, that JJHCS and TrialCard are separate entities.



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Elizabeth Snow, Esq.
February 1, 2024
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               Finally, in light of the issues raised in the January 30 letter, we note that
SaveOnSP has itself repeatedly attempted to blur the lines between JJHCS and TrialCard. For
example, SaveOnSP has cited JJHCS materials designated as AEO in letters to TrialCard
(including even after we advised you that such an approach raised confidentiality concerns)1 and
by attempting to link issues involving TrialCard to unrelated issues involving JJHCS, see Jan.
19, 2024 Ltr. from H. Sandick to E. Snow. We again caution you against this approach and ask
you to observe the boundaries between JJHCS and TrialCard.

                                                        Very truly yours,
                                                        /s/ Sara A. Arrow
                                                        Sara A. Arrow




1
  For example, your December 8, 2023 letter to TrialCard quoted from documents that JJHCS
had designated as AEO, without recognition of that designation or of TrialCard’s status as a third
party. Instead of jumping to conclusions—as SaveOnSP does in the January 30 letter—we
recognized that this may have been an oversight and asked you to act in accordance with the
DCO going forward. See Dec. 22, 2023 Ltr. from S. Arrow to H. Miles at 1 n.1. In two
subsequent letters to TrialCard, SaveOnSP proceeded to ignore the concern we had raised in the
December 22 letter. See Jan. 5, 2024 Ltr. from H. Miles to K. Brisson (quoting JJHCS’s AEO-
designated documents to TrialCard without noting the confidentiality designation); Jan. 30, 2024
Ltr. from H. Miles to S. Arrow (same).



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                                                                                                        www.pbwt.com




February 16, 2024                                                                      Harry Sandick
                                                                                       (212) 336-2723


By Email

Elizabeth Snow, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Disclosure of Documents to ESI
                           Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632-JKS-CLW
Dear Elizabeth:

             On behalf of TrialCard, we write in response to your February 5, 2024 letter
regarding SaveOnSP’s request to share TRIALCARD_00008931 with ESI’s and Accredo’s
counsel.

                  We do not consent to your request for disclosure.                    TRIALCARD_00008931
contains,
                                                                                           Unlike the
twelve JJHCS documents that you identify in your letter, TRIALCARD_00008931 contains highly
sensitive patient-identifying information that is not necessary or appropriate to disclose simply “to
help ESI identify discovery.” See Feb. 5, 2024 Letter from E. Snow to H. Sandick at 1. By
contrast, the twelve documents that JJHCS produced to ESI were anonymized and did not contain
such information.          TRIALCARD_00008931 also contains
                                                                                                As a
result, we disagree with your assertion that TRIALCARD_00008931 is comparable to the twelve
documents JJHCS previously disclosed to ESI or that the same result is compelled here.

               For similar reasons, we do not understand your suggestion that showing
TRIALCARD_00008931 to ESI’s and Accredo’s counsel is necessary to enable them to identify
and gather relevant documents in response to SaveOnSP’s subpoenas. It strains credulity that
counsel for ESI and Accredo would need internal TrialCard documents to identify its own clients’
relevant external communications. We are confident that counsel can conduct a reasonable
investigation into the contents of its own clients’ files in order to comply with their subpoena
obligations to SaveOnSP.

             Finally, we once again reject your attempt to link JJHCS’s request with
SaveOnSP’s request to disclose a document produced by non-party TrialCard—a separate entity



Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000   F 212.336.2222

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Elizabeth Snow, Esq.
February 16, 2024
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from JJHCS, a party to this litigation. See Jan. 19, 2024 Ltr. from H. Sandick to E. Snow. That
JJHCS and TrialCard share the same counsel or that JJHCS has requested that its vendor,
TrialCard, produce certain documents solely in TrialCard’s possession have no bearing whatsoever
on whether disclosure of SOSP_0054924 and SOSP_0399869 to ESI is warranted. On behalf of
JJHCS, we appreciate that you are “glad” to share SOSP_0054924 and SOSP_0399869 with ESI
for the purposes of “pursuing discovery.” However, we ask that you do so without condition. If
you intend to maintain your refusal to consent to JJHCS’s disclosure of SOSP_0054924 and
SOSP_0399869 to ESI, please provide, by February 23, 2024, a reasoned justification for your
position. In the event you fail to do so, we will consider the parties at impasse on this issue.

                                                       Very truly yours,


                                                       /s/ Harry Sandick
                                                       Harry Sandick




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   Selendy Gay Elsberg PLLC           PageID: 31937
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   New York NY 10104
   212.390.9000


   Emma Holland
   Associate
   212 390 9364
   eholland@selendygay.com




   May 31, 2023



   Via E-mail

   George Carotenuto
   Patterson Belknap Webb & Tyler LLP
   1133 Avenue of the Americas
   New York, NY 10036
   gcarotenuto@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-ES-CLW)

   Dear George,

          We write in response to your May 12, 2023 letter regarding the subpoena
   issued to TrialCard, Inc. (“TrialCard”) in the above-captioned matter and Trial-
   Card’s April 24, 2023 document production. 1

   I.       Requests for which TrialCard Agreed to Produce Documents

            A.       Request No. 1

          In our April 28, 2023 letter we asked for confirmation that TrialCard would
   produce all documents responsive to RFP No. 1. Apr. 28, 2023 Ltr. at 2. You replied
   that TrialCard will produce documents responsive to this request from April 1,
   2016 through July 1, 2022 (the “Relevant Time Period”). May 12, 2023 Ltr. at 1.
   We understand that TrialCard will not withhold responsive documents from this
   production on any basis other than privilege. Please notify us if this is incorrect.




   1 We write to you in your capacity as attorneys for both TrialCard and JJHCS. We

   briefly described documents in JJHCS’s production, though they are protected by
   the Discovery Confidentiality Order (“DCO”) in the above-captioned matter, Dkt.
   62, because, as JJHCS’s counsel, you have reviewed and produced such docu-
   ments.
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   George Carotenuto
   May 31, 2023



           B.          Request No. 3

           RFP No. 3 seeks all documents and communications with or regarding Save
   On SP, LLC (“SaveOnSP”), including those between You and Johnson & Johnson
   Health Care Systems Inc. (“JJHCS”), You and any patients, and You and any other
   Hub Entity. In your May 12 letter, you explain TrialCard’s search methodology for
   some records responsive to RFP No. 3—calls between TrialCard and patients. See
   May 12 Ltr. at 2. You state that, as a first step, TrialCard has filtered case and task
   notes created by TrialCard call agents for patients taking “the Janssen Drugs at
   issue in this litigation,” representing calls with those patients. Id. We understand
   that “the Janssen Drugs at issue in this litigation” includes Balversa, Darzelex, Dar-
   zelex Faspro, Erleada, Imbruvica, Opsumit, Prezcobix, Remicade, Rybrevant, Sim-
   poni, Stelara, Symtuza, Tracleer, Tremfya, Uptravi, Valchlor, Ventavis, and Zytiga.
   Please let us know if this is incorrect. Please also explain TrialCard’s filtering pro-
   cess—including any search terms used—and confirm that your searches will in-
   clude case and task notes related to patients who take both a Janssen drug at issue
   in the litigation and also another drug.

          As a second step, you proposed searching the call agents’ case and task
   notes, filtered for the relevant Janssen drugs with the following terms:

           •      maximiz*
           •      designat*
           •      ESI
           •      Obamacare
           •      ACA
           •      Save*
           •      accumulat*
           •      Accredo
           •      Express Script*
           •      EHB
           •      Affordable Care Act
           •      essential
          We agree that TrialCard should use these search terms to identify respon-
   sive communications with patients. We propose that TrialCard add the terms “out-
   of-pocket” and, its abbreviation “OOP,” which are mentioned frequently in sample
   patient letters regarding SaveOnSP. See, e.g., TRIALCARD_00000113, TRIAL-
   CARD_00000119, TRIALCARD_00000121. For example,




                                               2
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                                                  .” See TRIALCARD_00000119
   at -119 (Stelara); see also TRIALCARD_00000121 at -121 (Tremfya). Other letters


                  See, e.g., TRIALCARD_00000115, TRIALCARD_00000117. Alt-
   hough SaveOnSP does not concede it is an accumulator or a maximizer, TrialCard
   and JJHCS refer to SaveOnSP as such. After receiving these letters, members of
   SaveOn-advised health plans may have called TrialCard call agents with questions
   about out-of-pocket costs or an out-of-pocket requirement, without naming Save-
   OnSP, Express Scripts or Accredo specifically.

          In your April 7, 2023 letter, you wrote that other materials responsive to
   RFP No. 3 “should be pursued through party discovery.” Apr. 7, 2023 Ltr. at 3.
   Additional documents responsive to RFP No. 3 include any other patient commu-
   nications regarding SaveOnSP, communications between TrialCard and JJHCS
   and TrialCard and any other Hub Entity regarding SaveOnSP, and communica-
   tions between TrialCard and SaveOnSP. Please tell us whether TrialCard has in-
   vestigated whether it possesses documents responsive to RFP No. 3 beyond the
   above-described patient calls and the results of that investigation.

   II.     TrialCard’s Investigation Regarding Other RFPs

         During our April 26, 2023 meet and confer, you agreed to investigate
   whether TrialCard has any documents responsive to RFP Nos. 5-17, 20-22, 24-27,
   29, and 32 that are not also in JJHCS’s possession.

           In your May 12, 2023 letter, you state that you do not believe TrialCard has
   any documents responsive to RFP Nos. 8, 10-17, 20, 22, 24-25, 27, and 32 that are
   not also in the possession of JJHCS other than those documents that TrialCard has
   already agreed to produce. We understand this to be a representation that Trial-
   Card does not have any documents responsive to the requests as written, and that
   TrialCard is not excluding documents from these representations on any basis in-
   cluding relevance and burden. Please tell us if this is incorrect. We also understand
   that if TrialCard becomes aware of documents in its possession responsive to these
   requests that JJHCS does not possess, it will promptly notify SaveOnSP. Please tell
   us if this is incorrect.

           Regarding RFP Nos. 5, 6, & 21 you make a similar representation but with
   slightly different language. You state that “[you] do not believe that any documents
   responsive [to] these requests exist at TrialCard that are not also in the possession
   of JJHCS.” May 12, 2023 Ltr. at 3. We understand this to be a representation that
   TrialCard does not have any documents responsive to these requests that JJHCS
   does not also have and that TrialCard is not excluding documents from this repre-
   sentation on any basis including relevance and burden. Please tell us if this is in-
   correct.




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           Regarding RFP Nos. 7, 9, & 29, you state that, though TrialCard has pub-
   lished white papers on accumulator and maximizer programs, “[you] do not be-
   lieve that TrialCard has any documents responsive to these requests that relate to
   TrialCard’s implementation of the CarePath program.” Id. at 3. Those RFPs are not
   limited to documents that relate to TrialCard’s implementation of CarePath. Please
   tell us if TrialCard has documents responsive to RFP Nos. 7, 9, & 29 without any
   qualification or limitation.

          Regarding RFP Nos. 13-15, 17, 20, & 22, you state that “[b]ased on [your]
   investigation, to the extent that TrialCard participated in the analysis of these
   questions, it would have been done at the request of, or in consultation with,
   JJHCS” and conclude that you “do not believe that TrialCard has documents re-
   sponsive to these requests that are not also in the possession of JJHCS.” Id. at 4.
   Your conclusion does not follow from your premise. Vendors who conduct analyses
   for a client often maintain documents related to those analyses that they do not
   share with the client. JJHCS has produced documents showing


   JJHCS_00004621, JJHCS_00037297. These documents reflect


                         See, e.g., JJHCS_00004621 at -622, JJHCS_00003059 at -
   065, -069-72, JJHCS_00000638. This strongly indicates that TrialCard has doc-
   uments responsive to these RFPs that would not be in JJHCS’s possession. Please
   let us know promptly if TrialCard maintains its representation that it has no docu-
   ments responsive to RFP Nos. 13-15, 17, 20, & 22 that are not also in the possession
   of JJHCS. If so, please describe in detail the investigation that you conducted to
   reach that conclusion and also specifically confirm that TrialCard has no docu-
   ments relating to the CAPa or CAPm strategies that are not also in the possession
   of JJHCS.

           Regarding RFP No. 26, you state that “no analysis responsive to this request
   exists at TrialCard” because TrialCard does not affirmatively reach out to patients
   or track what percentage of patients ultimately enroll after being contacted by
   TrialCard. Id. at 4. RFP No. 26 is not limited to data following outreach by Trial-
   Card to patients. It seeks data following any contact regarding CarePath with pa-
   tients by JJHCS, Janssen, any JJHCS Hub Entity, or any other third party author-
   ized to advertise or market CarePath or Janssen Drugs. Please tell us promptly if
   TrialCard has documents responsive to RFP No. 26 without any qualification or
   limitation. Please also let us know if TrialCard has information about enrollment
   after any contact regarding CarePath with the above-mentioned entities.

   III.    Vague and Ambiguous Objections

          In TrialCard’s Responses and Objections (“TrialCard R&Os”) you objected
   to portions of RFP Nos. 4, 8, 9, 15, 16, 18, 19, 21, 26, 27, 31 and 32 as vague and
   ambiguous. During the April 25, 2023 and April 26, 2023 meet and confers, you


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   agreed to tell us how TrialCard interprets any terms in those RFPs that it maintains
   are vague or ambiguous. You explained that you would not provide an explanation
   for any of these RFPs because TrialCard is currently refusing to produce docu-
   ments responsive to these requests. May 12, 2023 Ltr. at 5. We understand that
   TrialCard is not withholding any documents on the basis of its vague and ambigu-
   ous objections. Please notify us if this is incorrect.

   IV.     TrialCard’s April 24, 2023 Production

          TrialCard stated that it will produce documents responsive to RFP Nos. 1-3,
   18(i)-(m), and 30 from the Relevant Time Period. See May 12, 2023 Ltr. at 1, 3; Apr. 7,
   2023 Ltr. at 3. TrialCard has made one production of documents on April 24, 2023.
   We have several questions regarding that production.

          RFP No. 1 and 2 seek documents sufficient to show the organizational struc-
   ture of TrialCard and the organizational structure of any group or division within
   TrialCard involved in developing, managing, marketing, or administering Care-
   Path and to identify their employees, respectively. So far, TrialCard has produced
   only one organizational chart, dated October 20, 2022, which does not indicate
   which groups and individuals are involved in developing, managing, marketing, or
   administering CarePath. See TRIALCARD_00000002. Please produce responsive
   organizational charts from the entire Relevant Time Period or otherwise identify
   the groups and individuals that were involved in CarePath during that time.

          RFP No. 3 seeks all documents and communications with or regarding Save-
   OnSP, including those between You and JJHCS, You and any patients, and You
   and any other Hub Entity. TrialCard has produced several CarePath form letters to
   patients regarding SaveOn, see, e.g., TRIALCARD_00000113, TRIAL-
   CARD_00000119, TRIALCARD_00000121, and has stated its intention to pro-
   duce call logs but has not yet done so, see May 12 Ltr. at 2. Please tell us whether
   TrialCard has completed its production of patient letters responsive to RFP No. 3. 2

           RFP No. 18(i)-(m) seeks documents sufficient to show (i) all Patients en-
   rolled in the CarePath program for the Janssen Drug; (j) the dates on which each
   Patient was enrolled in CarePath; (k) the amounts of copay assistance funds that
   JJHCS offered to each Patient enrolled in CarePath; (l) the Janssen Drugs for
   which each Patient enrolled in CarePath received; and (m) all copay assistance pay-
   ments that JJHCS made to or on behalf each Patient enrolled in CarePath. Trial-
   Card has produced several spreadsheets with
                                                       See TRIALCARD_00000001,
   TRIALCARD_00000139, TRIALCARD_00000140, TRIALCARD_00000141,
   TRIALCARD_00000142, TRIALCARD_00000143, TRIALCARD_00000162,
   TRIALCARD_00000165. Please tell us whether TrialCard has completed its pro-
   duction of documents responsive to RFP No. 18(i)-(m), and if so, whether these
   spreadsheets represent the information sought in RFP No. 18(i)-(m) for all patients

   2 See further discussion of RFP No. 3 supra 2-3.



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   May 31, 2023



   enrolled in CarePath for all Janssen drugs at issue in this litigation during the Rel-
   evant Time Period.

          RFP No. 30 seeks TrialCard’s document retention policies. TrialCard pro-
   duced one retention policy from 2023. See TRIALCARD_00000125. Please pro-
   duce all retention policies in place during the Relevant Time Period.

          Each of the documents TrialCard produced name “Trial Card” as its custo-
   dian. For each produced document, please identify the individual custodian or the
   specific noncustodial source.

                               *             *             *

         We request that TrialCard respond by June 7, 2023. We reserve all rights
   and are available to meet and confer.

   Best,

   /s/ Emma Holland

   Emma C. Holland
   Associate




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   Selendy Gay PLLC                 PageID: 31944
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   212.390.9000


   Elizabeth H. Snow
   Associate
   212.390.9330
   esnow@selendygay.com




   February 16, 2024



   Via E-mail

   Sara A. Arrow
   Patterson Belknap Webb & Tyler LLP
   1133 Avenue of the Americas
   New York, NY 10036

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-JKS-CLW)

   Dear Sara,

          We write in response to your February 1, 2024 letter concerning the January
   12, 2024 meet-and-confer between SaveOn and TrialCard.

           Even in your retelling of the meet-and-confer, you admit that you violated
   the DCO. You acknowledge that, while acting as counsel for TrialCard, you “men-
   tioned in passing that, in our capacity as counsel for JJHCS, we were aware that
   SaveOnSP routinely employs deceptive tactics—including using fake names, fake
   affiliations, and phone numbers unassociated with SaveOnSP—to obscure their
   agents’ affiliations.” Feb. 1, 2024 Ltr. from S. Arrow to E. Snow, at 1. You do not
   dispute that you cited Ayesha Zulquarnain’s deposition, which SaveOn had desig-
   nated as at least Confidential, on behalf of TrialCard to support this assertion. 1
   Even though you deny that you shared Zulqarnain’s deposition testimony with
   TrialCard, this conduct unambiguously violated the DCO, which prohibits you
   from using Confidential information that you acquired through your representa-
   tion of J&J for any purpose other than its prosecution of this action, including on
   behalf of a third party resisting a subpoena. ECF No. 62 (“DCO”), ¶ 4. Your attempt
   to minimize the violation by stating you mentioned the testimony “in passing” does




   1 To be clear, your characterization of Zulqarnain’s testimony is inaccurate: she

   testified only about her own conduct in calls that had nothing to do with the claims
   at issue in this case.
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   Sara A. Arrow
   February 16, 2024



   not work—you cited the testimony to justify TrialCard’s refusal to produce docu-
   ments responsive to SaveOn’s subpoena.

          You point to the fact that SaveOn has “cited JJHCS materials designated as
   AEO in letters to TrialCard.” Id. In our first such letter, we specifically stated we
   did so based on the understanding that you, as counsel to both entities, had access
   to the documents, May 31, 2023 Ltr. from E. Holland to G. Carotenuto, at 1 n.1,
   and in the nine months since you did not object. Our citation of J&J’s information
   to attorneys who had already seen it does not excuse your use of SaveOn’s infor-
   mation on behalf of a purportedly separate client who had not seen it.

           Your characterization of the parties’ correspondence of December 8 and 22,
   2023 is inaccurate. On December 8, 2023, we sent you, as counsel for TrialCard, a
   letter that was inadvertently marked “Confidential” when it referred to materials
   from TrialCard and JJHCS marked “Attorneys Eyes Only.” You stated that you as-
   sumed that this Confidentiality designation “was an oversight, and that SaveOnSP
   will treat the AEO potions of the letter as such.” This exchange has nothing to do
   with your statements during the January 12, 2024 meet-and-confer.

          Finally, we requested in our January 30, 2024 letter that you tell us what
   steps you will take to ensure that similar violations of the DCO do not occur in the
   future. You have not responded to this request. Given your violation of the DCO
   and your failure to provide any assurance against future violations, we ask that
   Patterson agree to fully wall off its attorneys representing J&J in this matter from
   those representing TrialCard on this matter, and ensure that those Patterson at-
   torneys representing TrialCard have no access to Confidential information pro-
   duced by SaveOn to J&J.

            Please respond by February 23, 2024.

   Sincerely,

   Elizabeth Snow

   Elizabeth H. Snow
   Associate




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            EXHIBIT 39
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May 14, 2024

VIA E-Mail

Hon. Freda L. Wolfson, U.S.D.J. (ret.)
Lowenstein Sandler LLP
One Lowenstein Drive
Roseland, New Jersey 07068

                Re:     Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC
                        No. 2:22-cv-02632 (JKS) (CLW)

Dear Judge Wolfson:

        On behalf of Defendant Save On SP, LLC (“SaveOn”), we write in reply to Plaintiff John-

son & Johnson Health Care Systems, Inc.’s (with its affiliates, “J&J”) opposition to SaveOn’s

motion to compel J&J to produce responsive documents in the possession of its vendor TrialCard,

Inc. (“TrialCard”), related to work performed by TrialCard for J&J.

        J&J’s opposition confirms that Your Honor should grant SaveOn’s motion.

        First, SaveOn showed that J&J’s Master Services Agreement (“MSA”) gives it legal con-

trol over TrialCard’s documents relating to TrialCard’s work for J&J. J&J barely addresses the

text of the MSA, and most of its arguments go to its practical ability to access the documents, not

its legal control of those materials.
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       Second, SaveOn showed that J&J has the practical ability to obtain TrialCard’s documents,

as it has done multiple times in this litigation for its own advantage. J&J asks Your Honor to not

apply the “practical ability” test, but that test is an independent basis to determine control, and J&J

does not seriously dispute the facts showing that it has practical control here.

       Third, J&J has no substantive basis to resist production of the documents that SaveOn seeks

in TrialCard’s possession: (1) documents from the “refresh” period of July 1, 2022 to November

7, 2023 of the sort that J&J already agreed to produce from the earlier discovery period; and (2)

additional documents regarding TrialCard’s involvement in the CAP Program, of the sort that

Judge Waldor and Your Honor already compelled J&J to produce. These documents are plainly

relevant and J&J does not show that producing them would be unduly burdensome to J&J.

       Finally, if Your Honor determines that J&J does not control TrialCard’s documents,

SaveOn showed why Your Honor should require Patterson Belknap Webb & Tyler LLP (“Patter-

son”) to impose an ethical wall between its attorneys representing J&J and those representing

TrialCard. J&J’s main objection is that SaveOn does not show that Patterson should be disquali-

fied, but SaveOn does not seek that relief—only an ethical wall to prevent future violations of the

Discovery Confidentiality Order (“DCO”).

                                             Argument

I.     J&J Controls TrialCard’s Documents Regarding TrialCard’s Work for J&J

       A party must produce relevant documents within its “possession, custody, or control.” Fed.

R. Civ. P. 34(a). Control is construed “very broadly” under the federal rules, Haskins v. First Am.

Title Ins. Co., 2012 WL 5183908, at *1 (D.N.J. Oct. 18, 2012); a party has control over documents

if it has (1) “the legal right” to the documents, or (2) the “ability to obtain the documents from

another source upon demand.” Mercy Catholic Med. Ctr. v. Thompson, 380 F.3d 142, 160 (3d Cir.

2004). Under either test, J&J has control over TrialCard’s documents relating to its work for J&J.

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        A.      J&J Has a Legal Right to TrialCard’s Documents

        J&J has control under Rule 34(a) of TrialCard’s documents related to its work for J&J

under the “legal right” test because “a contractual obligation requires a non-party [TrialCard] to

provide requested documents to the litigating party [J&J] upon demand.” Haskins, 2012 WL

5183908, at *1; see also Moretti v. Hertz Corp., 2018 WL 4693473, at *2 (D. Del. Sept. 30, 2018)

(“A contractual right to obtain documents in the possession of a third party can constitute control

for Rule 34 purposes.”) (collecting cases).

        The MSA, under which TrialCard performs its work for J&J, gives J&J



                                 MSA § 17.1. Those documents include




                                                                      Id. The MSA also requires Trial-

Card



       Id. § 8.2. As J&J admits, it has “asked TrialCard to produce itself some subset of documents

in this litigation.” Opp. 12.

        This easily gives J&J legal control over the documents at issue. Mot. 13-15. See Haskins,

2012 WL 5183908 (finding contract “plainly” established litigant’s control over agent’s docu-

ments where it required agent to maintain books and records, gave litigant the right to examine the

books and records, and required agent to cooperate in litigation); Calhoun v. Invention Submission

Corp., 2021 WL 640759, at *2 (W.D. Pa. Jan. 13, 2021) (“The Court concludes that based upon

[litigant’s] right to examine the business records of any [non-party], [litigant] has, or had, sufficient

control of any insurance policies in which it was named, and therefore must undertake efforts to

                                                   3
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obtain copies…”); Hertz Corp., 2018 WL 4693473, at *3 (contractual provisions granting litigant

“the right ‘to inspect’ and ‘to examine’ [third party’s] ‘records’ and ‘any-other information re-

quired by [litigant] with respect to the’ business [third party] engages in with [defendant]” suffi-

cient to establish control).

        In its opposition, J&J fails to show that the plain language of the MSA does not give it

legal control over the requested documents.

        First, J&J asserts that the MSA gives it the right to




                                                     Opp. 10 (citing MSA § 17.1). The MSA does

much more than that.



                                                                      MSA § 17.1—effectively all

documents relating to that work. The MSA also does not limit J&J to reviewing “whether Trial-

Card is performing under the agreement,” Opp. 10—it

                                                                            MSA § 17.1; cf. Hertz

Corp., 2018 WL 4693473, at *3 (rejecting plaintiff’s argument that its access was limited to audit

purposes because contract did not specify that its right to obtain documents was limited to any

“particular purpose[] set forth in the agreements”). The MSA additionally requires TrialCard



                                                       MSA § 8.2; see also id. § 17.2. This estab-




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lishes J&J’s legal control. See Haskins, 2012 WL 5183908, at *4 n.4 (D.N.J. Oct. 18, 2012) (con-

tractual agreements to cooperate in litigation “further demonstrate” control because non-parties

must comply with requests to share documents.)

        Second, J&J asserts that SaveOn fails to show “that JJHCS ordinarily requests internal

TrialCard communications in the normal course of business.” Opp. 12. Even were this true (it is

not, see Part I.B), it would go only to J&J’s practical ability to access the documents, not to its

legal right to do so. The “legal right” test is separate from the “practical ability” test and provides

an independent and sufficient basis for Your Honor to find control. See Mercy Catholic Med. Ctr.,

380 F.3d at 160 (“In the context of Fed. R. Civ. P. 34(a), so long as the party has the legal right or

ability to obtain the documents from another source upon demand, that party is deemed to have

control” (emphasis added)); Invention Submission Corp., 2021 WL 640759, at *2 (“documents are

considered to be under a party’s control when that party has the right, authority, or practical ability

to obtain the documents from a non-party in the action.” (emphasis added)). The legal right test

thus does not look at the “normal course of business,” Opp. 12, so J&J’s argument on this point is

irrelevant. 1




1
  J&J’s assertion that the MSA
          Opp. 3, 13 n.7, is beside the point, as “[t]he rights” SaveOn asks “the Court [to] order[]
[J&J] to exercise arise from contract, not from any purportedly broader princip[al]-agent relation-
ship.” Hertz Corp., 2018 WL 4693473, at *4 (citing McKesson Corp. v. Islamic Republic of Iran,
185 F.R.D. 70, 78 (D.D.C. 1999) (“[W]hile the control required for Rule 34 purposes may be
established by virtue of a principal-agent relationship, a Rule 34 request only requires a showing
of control, not proof of a principal-agent relationship.”)). To the extent Your Honor looks to the
language of the contract, under New York law                                         such “labels are
not dispositive, rather the facts and circumstances of the parties’ relationship determines whether
an agent-principal relationship existed.” N. Shipping Funds I, LLC v. Icon Cap. Corp., 921 F. Supp.
2d 94, 103 (S.D.N.Y. 2013). The MSA also                                                      and so
lacks the “express and unambiguous” language that New York courts generally credit to disclaim
agency. See Supreme Showroom, Inc. v. Branded Apparel Grp. LLC, No. 16 CIV. 5211 (PAE),


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       Third, J&J asserts that HIPAA and the MSA prevent it from

                                                                        . Opp. 12. Even if true (and

it is not), this would not affect whether J&J has control over such information; J&J could still

direct TrialCard to produce that information to SaveOn and restrict PHI access to the parties’ out-

side litigation counsel—as J&J admits that it already has, id., directing TrialCard to produce the

results of various benefits investigations and transaction-level data to SaveOn. See generally An-

drews v. Holloway, 256 F.R.D. 136, 145 n.13 (D.N.J. 2009) (where documents are “in the posses-

sion of others (such as a financial institution, attorney, business associate, spouse …), [defendant]

has the obligation to … authorize Plaintiffs to obtain the documents from such source”).

       J&J’s assertion is incorrect in any event. J&J fails to explain how HIPPA might bar its

vendor from sharing information with J&J that the vendor obtained on J&J’s behalf. While the

MSA states that

                            MSA § 5.3.2—and                                                         ,

id.§ 5.3.3

                                                                                        ); id. § 17.1



                                                                                                ). In




2018 WL 3148357, at *9 (S.D.N.Y. June 27, 2018) (collecting cases). Calling TrialCard an “inde-
pendent contractor” does not disclaim agency, as independent contractors can also be agents. See
CBS Inc. v. Stokeley-Van Camp, Inc., 522 F.2d 369, 375 n.14 (2d Cir. 1975) (“[I]t is only collo-
quially that the terms independent contractor and agent are necessarily distinct.”).

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fact, discovery shows that TrialCard shared PHI with J&J for approximately 15,000 Stelara pa-

tients and approximately 8,000 Tremfya patients. Ex. 56 (JJHCS_00152367). 2 And, of course, any

self-imposed limit on J&J’s ability to view PHI would not affect its control of documents without

PHI.

       Fourth, only one of J&J’s cited cases even applied the legal control test, Inline Connection

Corp. v. AOL Time Warner Inc., 2006 WL 2864586 (D. Del. Oc. 5, 2006) (cited Opp. 10, 13 n.7,

14), and it is easily distinguishable. Opp. 10-12. The contract in Inline required a non-party to

provide information only “where feasible” and did not require it to cooperate with the requesting

party in litigation, Inline Connection Corp., 2006 WL 2864586, at *4; the MSA here, in contrast,



                                                                                         3
                                                                                             In addition,

in Inline the non-party—defendants’ competitor—had previously refused to provide information

defendants requested; there is no concern here that TrialCard—J&J’s vendor—would not provide

information to J&J or produce it at J&J’s direction. Inline, 2006 WL 2864586, at *4. J&J’s other




2
  This spreadsheet was produced natively; PHI is accessible in links in that spreadsheet. Ex. 56
includes a PDF of the original spreadsheet and an excerpt of a linked spreadsheets containing PHI.
SaveOn can provide the native file at Your Honor’s request.
3
  J&J quotes Inline for the proposition that a contract that authorizes a party to access a non-party’s
information, “without more, is insufficient to establish legal control in the Third Circuit.” Opp. 10
(citing Inline, 2006 WL 2864586 at *4). That assertion was dicta, as there was no such right of
access in the contract at issue there. Inline, 2006 WL 2864586 at *3 (“[A] right of access … is
irrelevant to the determination of whether [defendants] presently have or had legal control of the
… information because there is no evidence that such a contractual provision exists”).

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cited cases, Opp. 11, do not apply the legal control test or examine contractual language, and so

are irrelevant. 4

        Finally, J&J asserts that SaveOn refused to confer with it about “about any specific subset

of documents” which “makes it impossible” to determine if the MSA gives J&J control over “some

more limited subset of documents.” Opp. 13-14. In reality, SaveOn negotiated with TrialCard for

months over the documents at issue and TrialCard refused to produce them. See, e.g., Ex. 57

(Dec. 6, 2023 Letter) (TrialCard refusing to refresh its document productions through November

7, 2023); Ex. 58 (Dec. 22, 2023 Letter) (TrialCard refusing to add custodians). J&J’s counsel—

the same counsel representing TrialCard in those negotiations—knows exactly what those docu-

ments are. SaveOn asked J&J if it had control over those documents, Ex. 53, and J&J denied that

it controlled them all, Ex. 5. If J&J believed that it controlled a subset of the documents, J&J should

have identified them during the month it took to reply, but it did not. The parties are squarely at

impasse on whether J&J has legal control over TrialCard’s documents related to TrialCard’s work

for J&J—and it does.

        B.          J&J Has the Practical Ability to Obtain the Requested Documents

        The “practical ability” test provides an independent and sufficient basis under Rule 34(a)

to find that J&J has control over TrialCard’s documents concerning its work for J&J because J&J

has repeatedly shown that it can obtain such documents. “[A] company’s ability to demand and



4
  See Princeton Digital Image Corp. v. Konami Dig. Ent. Inc., 316 F.R.D. 89, 92 (D. Del. 2016)
(finding no practical control where plaintiff argued that defendant has been able to obtain docu-
ments in the past); Maniscalco v. Brother Int’l Corp., 2010 WL 762194, at *11 (D.N.J. Mar. 5,
2010) (finding no practical control where plaintiff had requested documents but there was “not
one instance in which documents of the nature sought were ever supplied” by the defendant); Block
v. Jaguar Land Rover N. Am., 2017 WL 11696617, at *1-2 (D.N.J. Aug. 23, 2017) (finding no
practical control because “Plaintiffs have pointed to no evidence that [defendant] has control over
the specific documents at issue, nor access to them in the ordinary course of business”).


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have access to documents in the normal course of business gives rise to the presumption that such

documents are in the litigating corporation’s control.” Camden Iron & Metal, Inc. v. Marubeni

Am. Corp., 138 F.R.D. 438, 443 (D.N.J. 1991); see also 7 Moore’s Fed. Pr.—Civ. § 34.14 (2024)

(“[C]ontrol by a party over the person or entity in possession of the documents is sufficient to

require that the party produce the documents.”).

           This reason why is simple fairness: “Where the relationship is such that the agent-subsidi-

ary can secure documents of the principal-parent to meet its own business needs and documents

helpful for use in the litigation, the courts will not permit the agent-subsidiary to deny control for

purposes of discovery by an opposing party.” Gerling Int’l Ins. v. Comm’r, 839 F.2d 131, 141 (3d

Cir. 1988); see also Sanofi-Aventis v. Sandoz, Inc., 272 F.R.D. 391, 396 (D.N.J. 2011) (“Sandoz

cannot use its foreign affiliation with Lek as both a sword and a shield. Sandoz has relied on Lek

… [but] now attempts to block discovery of these very activities because it claims this information

is not ‘reasonably available.’ … Sandoz cannot have it both ways. Common sense and traditional

notions of justice demand that Sandoz is required to provide discovery about Lek in this litiga-

tion.”).

           As SaveOn showed, J&J has strategically controlled production of TrialCard’s documents,

readily establishing its practical ability to obtain them. J&J used this power defensively, for exam-

ple by directing TrialCard to make productions that it argued satisfied J&J’s production obliga-

tions. See, e.g., Mot. 6 (TrialCard “already agreed” to produce “through JJHCS” data that SaveOn

sought from J&J); id. at 7 (J&J promised a forthcoming TrialCard production of Benefits Investi-

gations to avoid its own production in response to SaveOn’s request). J&J has wielded this power

offensively, for example by suggesting that TrialCard will produce approximately 1,500 call re-




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cordings identified by SaveOn only if SaveOn produces to J&J approximately 30,000 call record-

ings—which J&J termed an “equivalent production.” See Ex. 59 (Mar. 26, 2024 Letter); Ex. 60

(Apr. 23, 2024 Letter); Ex. 61 (May 7, 2024 Letter). J&J has also used this power to circumvent

the discovery process, obtaining documents from TrialCard that TrialCard did not provide to

SaveOn that J&J then used to surprise a deponent in the litigation. See Mot. 9-10 (TrialCard pro-

duced call recordings “at JJHCS’s request” only after J&J used them at a deposition of SaveOn’s

witness). J&J clearly has “easy and customary access to [TrialCard’s] documents” and can use

them “for its usual business needs,” which include “to provide highly relevant documents in this

litigation.” Camden Iron, 138 F.R.D. at 443-44. J&J’s self-serving direction of TrialCard’s pro-

ductions is precisely the gamesmanship that the practical ability test exists to remedy.

       J&J’s arguments to the contrary are unavailing.

       First, J&J asserts that the Third Circuit does not recognize the practical ability test, citing

two non-binding cases from the District of Delaware 5 and one secondary source. 6 Opp. 14. In re-

ality, the Third Circuit recognizes that test, see Mercy Cath. Med. Ctr. v. Thompson, 380 F.3d 142,




5
  J&J’s cases are also distinguishable. Power Integrations, Inc. v. Fairchild Semiconductor Int’l,
Inc., 233 F.R.D. 143, 145 (D. Del. 2005) noted that “parent corporations have been required to
produce documents held by their subsidiaries” but that “the converse is not true. A subsidiary, by
definition, does not control its parent corporation.” Id. But the court did not apply the “practical
ability” test under Rule 34(a): the case dealt with a plaintiff trying to force a non-party to gather
documents from its parent company, and the court held that Rule 34(a) did not deal with control
between two non-parties. Id. Inline Connections, in turn, relied on Power Integrations. See Inline
Connections Corp. v. AOL Time Warner Inc., 2006 WL 2864586, at *2 (D. Del. Oct. 5, 2006)
(“More importantly, Inline’s assertion that the law of the Third Circuit does not reject the Second
Circuit’s ‘practical ability’ approach is clearly contradicted by Power Integrations, Inc.”).
6
 The secondary source J&J cites, Commentary on Rule 34 and Rule 45 “Possession, Custody, or
Control,” 25 Sedona Conf. J. 1, 28 (2024), affirmatively recognized that some courts in the Third
Circuit apply the practical ability test, citing Barton v. RCI, LLC, 2013 WL 1338235, at *6 (D.N.J.
Apr. 1, 2013) (noting “[i]f the producing party has the legal right or practical ability to obtain the


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160 (3d Cir. 2004) (“In the context of Fed.R.Civ.P. 34(a), so long as the party has the legal right

or ability to obtain the documents from another source upon demand, that party is deemed to have

control”), and the District of New Jersey regularly applies it, see Camden Iron, 138 F.R.D. at 443

(“Control is defined as the legal right, authority or ability to obtain documents upon demand.”);

see also Sanofi-Aventis, 272 F.R.D. at 395 (“Direct, legal control over the related entity is not

required… The availability of information in the possession of a related company turns on the facts

of each case, in particular as they relate [to] the ‘control’ standard of Rule 34(a).”). J&J’s cases

show, at most, that the District of Delaware interpreted Gerling, 839 F.2d 131, more restrictively

than did the District of New Jersey. Compare Power Integrations, 233 F.R.D. at 145 (interpreting

Gerling to say “the separate and distinct corporate identities of a parent and its subsidiary are not

readily disregarded, except in rare circumstances”) with Camden Iron, 138 F.R.D. at 441-42 (in-

terpreting Gerling to provide five grounds to establish control, including “access to documents

when the need arises in the ordinary course of business”). 7

       Second, J&J asserts that courts fail to find practical control where the party and non-party

are not corporate affiliates and that TrialCard is an “independent company.” Opp. 3, 15. But courts

look to whether the relationship between the parties is “akin to a case where an entity has been

found to have control over the records of its parent, subsidiary, or sister corporation.” In re Novo

Nordisk Sec. Litig., 530 F. Supp. 3d 495, 502-03 (D.N.J. 2021) (emphasis added). And the facts




documents, then it is deemed to have ‘control’ … even if the documents are actually in the pos-
session of a non-party” (emphasis added)).
7
  Even were this relevant, it is no longer accurate. The District of Delaware has expanded its use
of the practical ability test in the past twenty years. See Moretti v. Hertz Corp., 2018 WL 4693473
at *5 (D. Del. Sept. 30, 2018) (finding “some support in this District” that courts can inquire into
a party’s practical ability to obtain documents to determine control).


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show that TrialCard is anything but “independent” of J&J. Among other things: (1)

                                                   , MSA § 1.8; (2)

                                                                      , id. § 1.9; (3)

                        , id. § 5.3.1; (4)



       ; Ex. 62 at -992 (JJHCS_00073990); (5)                                                      ,

Ex. 63 (JJHCS_00112408) (

               ); (6)                                                                              ,

Ex. 64 § 1.d (JJHCS_00045387); (7) J&J regularly “facilitates” or directs TrialCard to produce

documents in this litigation, Mot. 15-16; and (8) J&J asserts that TrialCard’s employees are the

“functional equivalent” of J&J’s employees, Ex. 31 at 4. This is more than enough to establish

J&J’s practical ability to obtain the relevant documents from TrialCard. See Sanofi-Aventis, 272

F.R.D. at 395 (finding “evidence of an even closer relationship” than “corporate sisters” sufficient

to find control where non-party’s “website projects itself to the general public as a ‘Sandoz’ com-

pany” and the “corporate logo of Sandoz is prominently displayed in several locations throughout

its homepage”).

       Third, J&J asserts that SaveOn “identifies no types of documents suppressed by TrialCard

at JJHCS’s behest or based on their content.” Opp. 16. SaveOn does identify them: TrialCard

refuses to produce the documents at issue here and there is ample evidence that TrialCard generally

produces or withholds documents at J&J’s behest. For example, TrialCard refused to produce Ben-

efits Investigations, Ex. 65 (Sep. 29, 2023 Letter), until J&J announced at a discovery conference

before Judge Waldor that, as an “additional concession” to avoid being ordered to produce CAP

documents, it would “give [SaveOn] through a production from TrialCard, which is our vendor,



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who we also represent and is subject to a subpoena, we’ll give them benefits investigations.” Oct.

30, 2023 Hr’g Tr. at 62:7-13. 8 TrialCard similarly refused to produce recordings of calls between

it and SaveOn until after it provided 16 recordings to J&J for J&J’s surprise use in a November

10, 2023 deposition of SaveOn’s witness. See Ex 42 at 5 (confirming that TrialCard produced these

16 call recordings on January 12, 2024 “at JJHCS’s request”). J&J also directed TrialCard to pro-

duce patient claims data to fulfill J&J’s obligation to produce such data for relevant Janssen drug.

See Ex. 44 at 24-25; Ex. 54 at 11-12 (promising J&J would produce such data); Ex. 24 at 17-19

(stating TrialCard “has already agreed to produce through JJHCS” relevant claims data). This

strong inference of control is bolstered by J&J’s contractual obligation to

                                      , see MSA § 17.2, as TrialCard has no financial incentive to

withhold documents while J&J has both a financial and strategic incentive for it to do so.

       Fourth, J&J asserts that SaveOn “has long been on notice to (and has not objected to)

TrialCard’s search parameters.” Opp. 16. Not so. After extensive negotiation, SaveOn and Trial-

Card reached impasse regarding TrialCard’s custodians and the time frame of its production.

Ex. 66 (Jan. 12, 2024 Letter); Ex. 6. J&J cites a July 19, 2023 letter from TrialCard identifying

search terms that SaveOn purportedly did not object to, J&J Ex. 29, but it omits a July 26, 2023

letter back from SaveOn in which SaveOn continued to object to TrialCard’s search terms, includ-

ing by asking TrialCard to add four terms (“zero out-of-pocket,” “zero OOP,” “no OOP,” and “no




8
  J&J’s assertion that TrialCard’s production of “over 4,800 benefits investigations” is evidence
that TrialCard produces “documents without regard to whether those documents are helpful or
harmful to JJHCS,” Opp. 16, is completely wrong. TrialCard refused to produce the benefits in-
vestigations until J&J directed it to produce them, and only after J&J determined that doing so
might help it argue against having to produce other documents as well.

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out-of-pocket”) and to identify additional custodians, Ex. 67 (Jul. 26, 2023 Letter), which Trial-

Card refused to do. See Ex. 26 at 2-3.

       Fifth, J&J mischaracterizes SaveOn’s position, saying that SaveOn argues “that Trial-

Card’s purportedly ‘significant role’ in the subject matter in this litigation “independently” confers

on JJHCS control over [TrialCard’s] documents.” Opp. 16 (citing Mot. 16). SaveOn did not say

this. SaveOn said: “The overwhelming evidence that J&J can obtain documents from TrialCard,

which plays a ‘significant role’ in the subject matter in this litigation, is an independently suffi-

cient basis to conclude that J&J has possession, custody or control over TrialCard’s documents

regarding TrialCard’s work for J&J.” Mot 16 (emphasis added). That is, SaveOn described Trial-

Card as “play[ing] a significant role in the subject matter in this litigation”; the independent basis

for Your Honor to grant SaveOn’s motion is “[t]he overwhelming evidence that J&J can obtain

documents from TrialCard.”

       Finally, J&J says that “no authority” holds that its argument that TrialCard employees are

the “functional equivalent” of J&J employees for purposes of privilege means that J&J has control

of TrialCard’s documents. Opp. 17. But whether J&J can in fact control TrialCard’s employees is

a factor in determining if it has the practical ability to obtain TrialCard’s documents. In Sanofi-

Aventis, for example, the court found practical control based in part on the fact that “Sandoz lists

several Lek witnesses as ‘Sandoz employee[s]’ in its privilege log” as evidence for a finding of

control. 272 F.R.D. at 395; J&J has asserted that—as a matter of fact—TrialCard’s employees who

work on J&J matters are the functional equivalent of J&J’s own employees and J&J has claimed

privilege on that basis. This is strong additional evidence that J&J has practical control over Trial-

Card’s documents concerning TrialCard’s work for J&J. See id. at 396 (“Sandoz asserts privilege

over communications held with Lek scientists because they were held with ‘Sandoz employee[s].’



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Yet it now argues that Lek is an entirely distinct legal entity for purposes of Rule 30(b)(6). Sandoz

cannot have it both ways.”). J&J points to a provision in the MSA that states that



Opp. 17 (quoting MSA § 12), but this says nothing about whether TrialCard’s employees will be

the functional equivalent of J&J’s employees.

II.    The Requested Documents are Relevant and Not Burdensome

       Once Your Honor determines that J&J controls TrialCard’s documents, she should then

consider if the documents that SaveOn seeks are relevant and if J&J raises any valid objection of

burden or proportionality. The documents are clearly relevant—they seek information on topics

that the Court and/or Your Honor has already ruled are relevant—and J&J makes no serious argu-

ments that production would be burdensome or disproportionate.

       A.      J&J Must Produce TrialCard’s Documents from the “Refresh” Time Period
               of July 1, 2022 to November 7, 2023

       In response to SaveOn’s subpoena, TrialCard eventually agreed to produce five categories

of documents: (1) documents and communications from four custodians; (2) some records of

phone calls; (3) records of some Benefits Investigations; (4) patient letters; and (5) CarePath en-

rollment and claims data. Opp. 5-6. Although TrialCard had agreed to produce documents to the

same extent as J&J, Mot. 6, it now refuses to produce custodial documents through the Court-

ordered “refresh” period of July 1, 2022 to November 7, 2023, J&J Ex. 35 at 2. TrialCard’s main

objection is that the Court’s “refresh” order did not apply to non-parties, Ex. 68 at 1 (Mar. 22, 2024

Letter), but this objection is moot if Your Honor determines that J&J controls the documents.

       J&J does not contest that these documents, of the same sort that TrialCard already pro-

duced, are relevant. As J&J acknowledged, the four custodians from whom it agreed to produce

documents are “TrialCard employees with key responsibilities for the administration of CarePath.”


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Opp. 5. 9 There is no principled basis to cut off custodial productions from these important indi-

viduals on July 1, 2022, especially when that date only captures a few months of the CAP Pro-

gram—which went into effect in January 2022 and continues through the present. J&J also does

not assert that production would be burdensome or disproportionate. J&J thus has no basis to with-

hold these documents.

       B.      J&J Must Produce TrialCard’s Documents and Communications Related to
               the CAP Program, Benefits Investigations, and Other Efforts to Identify Pa-
               tients on SaveOn-Advised Plans

       The Court held that J&J’s CAP Program and Benefits Investigations into whether patients

taking drugs at issue were on SaveOn-advised plans are relevant, see Apr. 10, 2024 Order at 2

(CAP-related documents are “highly relevant”); Feb. 6, 2024 Order at 24-26 (quoting guidance

from Judge Waldor’s Chambers and ordering search terms that “capture…CAP discussions”), and

the Court and Your Honor have ordered J&J to produce documents on both topics, including or-

dering it to add multiple sets of “CAP custodians” and to use search terms targeted at documents

regarding the CAP Program, see Dkt. 173 at 2; April 10, 2024 Order at 1-3. J&J has no valid

argument that TrialCard’s documents on these same topics are somehow not relevant.

       J&J asserts that TrialCard’s internal communications are irrelevant because “it is JJHCS’s

directions—not [TrialCard’s] internal communications about those directions—that are germane




9
 J&J claims that its four existing custodians are adequate because it “agreed to a custodian for
every interrogatory for which JJHCS identified responsible TrialCard employees.” Opp. 5 n.2. But
J&J identified
               Ex. XX at 5-6 (Jan. 17, 2023 J&J R&Os to SaveOn’s First Interrogatories),

                         id. at 15, and

id. at 16. SaveOn has reserved its rights to seek documents from additional TrialCard custodians.


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to the claims here.” Opp. 18. As J&J previously argued to the Court, however, “[i]nternal commu-

nications are a standard part of discovery—indeed, in many ways, they are the whole point of

discovery.” Dkt. 65 at 16 (Jan. 5, 2023 Joint Letter). TrialCard’s internal communications here

could reflect discussions between it and J&J not captured in written communications between

them, and could help show how TrialCard implemented the CAP Program in practice. See Ex. 69

at 3 (Mar. 8, 2024 Letter). 10

         J&J next asserts that additional TrialCard documents relating to the CAP Program are ir-

relevant or unnecessary because J&J is producing “CAP-related discovery” from its own files.

Opp. 18-19. But there is extensive evidence that TrialCard was deeply involved in creating and

implementing the CAP Program, Mot. 4-5, which easily shows that TrialCard’s employees are

likely to have relevant documents in addition to the documents of J&J’s employees. 11

         J&J also asserts that SaveOn does not need broad discovery into TrialCard’s patient-iden-

tification efforts because



                                 Opp. 19-20 n.11 (emphasis added). But discovery is not limited to

TrialCard’s




10
     In its opening brief, SaveOn cited an email where TrialCard
                                             . Mot. 5. J&J
                                                                                            . Opp.
18 n.9. In fact, SaveOn noted that TrialCard had not produced
                                   , Mot. 5; SaveOn said nothing about                           .
11
  J&J asserts that TrialCard does not “independently craft[] strategies for [J&J] to respond to
[SaveOn’s] misappropriation.” Opp. 3. In so doing, J&J appears to concede that TrialCard crafts
such strategies along with J&J—as the documents that SaveOn cites confirm. Mot. at 3-4

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                           SaveOn is entitled to discover all methods that TrialCard used or con-

sidered using in identifying such patients for J&J, as J&J’s failure to use reasonably available

methods to identify those patients could show that J&J failed to mitigate its purported damages.

       J&J offers no valid burden argument. It asks Your Honor to account for “the existing bur-

dens that TrialCard has already been forced to endure as part of third-party discovery.” Opp. 18;

see also id. at 2 (arguing that “TrialCard should not be forced to endure undue burden”). But Your

Honor will reach questions of burden in this motion only if Your Honor first finds that J&J controls

TrialCard’s documents. In that case, the only relevant burden is the burden on J&J, as the party

from which discovery is sought, not the burden on TrialCard. 12 J&J does not assert, let alone quan-

tify, its burden in producing these documents. It is also not clear how J&J could do so, as Patterson

(either as J&J’s counsel or as TrialCard’s counsel) has refused to identify additional TrialCard

custodians or collect their documents. Ex. 70 at 1 (Mar. 8, 2024 Letter). J&J must produce these

documents.

III.   If J&J Does Not Control TrialCard’s Documents Concerning Its Work for J&J,
       Then Patterson Should Impose an Ethical Wall

       J&J’s lawyers at Patterson have access to SaveOn’s confidential information pursuant to

the DCO in this case. Dkt. 62. Contrary to the terms of the DCO, those same lawyers used

SaveOn’s confidential information on behalf of TrialCard to resist discovery by SaveOn. If Your

Honor finds that J&J does not control TrialCard’s documents related to its work for J&J, Patterson




12
   Even were TrialCard’s burden somehow relevant here, it is not clear that it has endured any
meaningful burden to date. The MSA provides that
                        , MSA § 17.2, and both J&J and Patterson have refused to say that Trial-
Card is paying its own fees and costs in this case, strongly indicating that J&J is paying. Ex. 33 at
2 (Jun. 30, 2023 Ltr.).

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should implement an ethical wall such that its lawyers representing J&J do not represent TrialCard.

J&J’s arguments to the contrary are unavailing.

        First, J&J asserts, without citation, that “[c]ounsel routinely represents both parties and

related third parties in commercial litigation.” Opp. 21. While it is common for a company’s coun-

sel to represent the company’s former employees, it is unusual for them to represent the company’s

vendors. In any event, when a lawyer represents a nonparty in litigation in which she also repre-

sents a party, “there is a risk that a lawyer’s representation of one client might materially limit

[their] ability to fulfill [their] responsibility to the other client.” Mid-State Aftermarket Body Parts,

Inc. v. MQVP, Inc., 2009 WL 1211440, at *4 (E.D. Ark. May 4, 2009). For example, “[i]f a lawyer

for a party interviews a witness, the lawyer is free to tell the client what the witness said, and he

may even be obligated to do so, but if the lawyer represents the witness, the lawyer may be pro-

hibited from telling anyone, including his client who is a party in the case, what the witness said.”

Id.; see also Sapia v. Bd. of Educ. of City of Chicago, 351 F. Supp. 3d 1125, 1131 (N.D. Ill. 2019)

(whether to prohibit simultaneous representation is “decided on facts,” though “[w]hether the prac-

tice in any given case is wise is, however, another matter.”); Adkisson v. Jacobs Eng'g Grp., Inc.,

2016 WL 6534273, at *5 (E.D. Tenn. Nov. 1, 2016) (simultaneous representation “is fraught with

ethical peril” requiring counsel to take “precautions”); ChemFree Corp. v. J. Walter, Inc., 2008

WL 5234252, at *5 (N.D. Ga. June 11, 2008) (counsel could have “avoided any appearance of

unethical conduct” by “refer[ring] the [non-parties] to alternative counsel”). This case presents an

even more intractable problem, as J&J is prohibited by the DCO from consenting to its lawyers

using SaveOn’s confidential information on TrialCard’s behalf, as they did.




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       Second, J&J says that SaveOn does not show that Patterson should be disqualified.

Opp. 21-22 & n.13. This is a strawman. SaveOn does not seek to disqualify Patterson from repre-

senting J&J or TrialCard or both. SaveOn rather asks, in the alternative, that Patterson be required

to “impose an ethical wall between the attorneys representing the entities, ensuring that no attorney

representing TrialCard has (or had) access to SaveOn’s confidential information.” Mot. 18.

SaveOn cited several cases in which courts required ethical walls, Mot. 18-19; while J&J notes

that those cases did not order disqualification, Opp. 22 n.13, it has no answer to their imposition

of ethical walls, the only relief that SaveOn seeks.

       Third, J&J asserts that there is no conflict between it and TrialCard, that Patterson has

“obtained appropriate waivers” from TrialCard, and that Patterson thus is not “torn between its

obligations to” its two clients. Opp. 21-23. This misses the point. SaveOn does not argue that there

is a conflict between J&J and TrialCard; it argues that there is a conflict between Patterson’s obli-

gations to its clients and its obligations to SaveOn—and the Court. Patterson’s obligation to zeal-

ously represent TrialCard conflicts with its obligation under the DCO to not use SaveOn’s confi-

dential information on behalf of any party other than J&J. J&J’s close coordination of legal strat-

egy with TrialCard—to the point of waiving conflicts between them—increases the risk of contin-

ued misuse. If J&J does not control TrialCard’s documents, the best cure is an ethical wall.

       J&J also says that Patterson did not violate the DCO. But J&J admits to all the material

facts: Patterson learned SaveOn’s confidential information in Ayesha Zulqarnian’s deposition as

J&J’s counsel and then used that information as TrialCard’s counsel in resisting production of

documents in a meet-and-confer session with SaveOn. Opp. 23-24. This is a plain violation of the

DCO, which restricts disclosure of designated confidential information to specifically listed per-

sons and entities. J&J’s attempted excuses for this violation fail.



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       First, J&J asserts that Patterson had access to the information and was “permitted to dis-

cuss” it with SaveOn’s counsel by the DCO. Opp. 24. This argument underscores why an ethical

wall is necessary if J&J does not control TrialCard’s documents. Patterson had access to SaveOn’s

confidential information and was permitted to discuss it with SaveOn only on behalf of J&J. J&J’s

continuing failure to distinguish between Patterson’s roles as J&J’s counsel and as TrialCard’s

counsel and J&J’s claim that Patterson was permitted to use SaveOn’s information in this way

shows the continuing risk that Patterson might again use SaveOn’s confidential information on

behalf of TrialCard. 13 J&J’s argument, if accepted, would also create a perverse incentive for par-

ties to have their counsel represent non-parties and use the opposing party’s information on the

non-parties’ behalf to resist producing documents.

       Second, J&J tries to retroactively justify Patterson’s conduct. It says that Patterson simply

told SaveOn’s counsel that it needed SaveOn to provide phone numbers so that TrialCard could

identify calls that it received from those numbers. Opp. 24. In fact, Patterson, as TrialCard’s coun-

sel, said that Zulqarnain’s use of fake names prevented TrialCard from identifying records of calls

that she, and potentially other SaveOn employees, made to TrialCard, Ex. 45 at 1—an assertion it

could not have made without access to Zulqarnain’s deposition. J&J asserts that TrialCard had its

own records of Zulqarnain registering for CarePath and of a caller using different names and affil-

iations when calling from the same cell number. Opp. 24. But TrialCard did not know from its



13
   Contrary to J&J’s claim, its counsel has only very recently requested SaveOn to “respect this
separation.” Opp. 23 n. 14. Indeed, its first such request was in February 2024, as demonstrated
by J&J’s citations. Id. Communications—both before and after February 2024—show that Patter-
son has not respected these separate roles when helpful to J&J. See, e.g., June 27, 2023 Hr’g Tr.
at 90:2-6 (J&J explaining, “we’ve made a document production from” TrialCard to resist discovery
into non-JJHCS entities at J&J); Ex. 61 (May 7, 2024 Letter) (addressing SaveOn’s burden argu-
ment associated with producing recorded calls by referencing SaveOn’s allegedly “equivalent”
request to TrialCard).


                                                 21
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own files that Zulqarnain used multiple names when calling CarePath to obtain information on

terms and conditions; Patterson learned that information exclusively from her deposition, as it

stated in the meet-and-confer sessions with SaveOn’s counsel. Ex. 45 at 1.

       Finally, J&J’s string of technical excuses for why Patterson did not violate the DCO fails.

J&J says that Patterson did not share the deposition transcript with TrialCard (SaveOn did not

allege that it did), Opp. 23—but Patterson used confidential information from the deposition on

TrialCard’s behalf. J&J says that the information was “undisputed,” Opp. 24—but, disputed or

not, the information was confidential, so Patterson could not use it on behalf of TrialCard. J&J says

that Patterson did not “use” the information on TrialCard’s behalf, Opp. 24—but it did, citing that

information as a basis to withhold documents. J&J says that Patterson’s “stray reference” to the

information did not “amount to ‘use,’” Opp. 24 n.15—but citing information on a party’s behalf

is “use” by any reasonable definition.

       The Special Master should grant SaveOn’s motion, recognizing that J&J has control over

TrialCard’s documents regarding its work for J&J for purposes of Rule 34(a). In the alternative,

Your Honor should direct Patterson to implement an ethical wall separating attorneys who repre-

sent J&J from those who represent TrialCard.

                                           Respectfully submitted,


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                   Exhibit 57
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December 6, 2023                                                                       Sara Arrow
                                                                                       (212) 336-2031


By Email

Hannah Miles, Esq.
Selendy Gay Elsberg, PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632-ES-CLW

Dear Hannah:

                We write on behalf of TrialCard in response to your November 30 letter regarding
the applicable time period for TrialCard’s document productions in response to the subpoena dated
February 17, 2023.

                You claim that, during a meet and confer on April 25, 2023, we “agreed that
TrialCard’s productions would generally conform to the Court’s orders as to JJHCS, including
adjusting the time period for TrialCard’s productions in line with JJHCS’s.” Suffice it to say, we
disagree with your characterization of TrialCard’s assertions during the April 25 meet and confer.
At no point during the meet and confer did TrialCard and SaveOnSP contemplate or discuss a
complete update of all discovery responses through November 7, 2023, much less agree to
undertake the same.

               In any event, the Court’s November 7, 2023 Order does not impose obligations on
TrialCard as a third party, nor are we aware of any other third party (including your business
partners, Express Scripts Inc. or Accredo Health Group, Inc.) undertaking a comparable production
update pursuant to that Order. As a result, we decline your invitation to update our discovery
responses, including productions, through November 7, 2023.

                                                                    Very truly yours,



                                                                    /s/ Sara A. Arrow
                                                                    Sara A. Arrow




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December 22, 2023                                                                      Sara Arrow
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By Email

Hannah Miles, Esq.
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1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Health Care Systems Inc. v. SaveOnSP, LLC,
                           Case No. 2:22-cv-02632-ES-CLW

Dear Hannah:

                  We write on behalf of TrialCard in response to your December 8, 2023 letter.1

                 As you know, TrialCard maintains that custodial collections are disproportionate to
its status as a non-party, burdensome, and unnecessary. See, e.g., July 6, 2023 Ltr. from K. Brisson
to E. Holland; Aug. 3, 2023 Ltr. from K. Brisson to E. Holland. Despite this, and in the interest
of compromise, TrialCard has undertaken such collections for four custodians: Holly Weischedel,
Sini Abraham, Rick Fry, and Paul Esterline. These custodial collections are in addition to
TrialCard’s extensive non-custodial productions. Yet SaveOnSP now again demands that
TrialCard supplement its custodial productions, this time to include seven more document
custodians. Of the seven, TrialCard has previously declined to add six of them. See Aug. 3, 2023
Ltr. from K. Brisson to E. Holland.

              Jason Zemcik: SaveOnSP asserts that JJHCS “asked Zemcik for guidance” or
otherwise communicated with him regarding TrialCard deliverables.
                                                                                       See,
e.g.,   JJHCS_00026255;     JJHCS_00005528;        JJHCS_00008107;        JJHCS_00001745;
JJHCS_00007308. Further, several of the documents SaveOnSP cites do not even mention JJHCS
or    CarePath.       See,   e.g.,    TRIALCARD_00001804;         TRIALCARD_00001815;
TRIALCARD_00001884;             TRIALCARD_00003340;               TRIALCARD_00001951;


1
  SaveOnSP’s December 8 letter quotes several documents that JJHCS or TrialCard marked as Attorney’s
Eyes Only (“AEO”) pursuant to the Protective Order, but the letter was designated as Confidential. We
assume this was an oversight, and that SaveOnSP will treat the AEO portions of the letter as such. If this
is not so, please inform us in writing by January 3, 2024.



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TRIALCARD_00002804; TRIALCARD_00002931. Please explain why, in your view, abstract
analyses unrelated to CarePath justify intrusive and voluminous discovery of Mr. Zemcik’s
custodial files. Relatedly, we note that to the extent Mr. Zemcik’s custodial files contain relevant
documents, they would be cumulative of those that TrialCard and JJHCS have produced from other
agreed-upon custodians, including TrialCard custodians Fry (see, e.g., TRIALCARD_00001804,
TRIALCARD_00001884) and Weischedel (see, e.g., JJHCS_00008107) and JJHCS custodians
John King (see, e.g., JJHCS_00026255) and Bill Robinson (see, e.g., JJHCS_00005528).

               Rick Ford:     SaveOnSP asserts that Mr. Ford provided
                                   . However, as SaveOnSP acknowledges,
                               See JJHCS_00035931. Furthermore, as with Mr. Zemcik, several
of the documents SaveOnSP cites do not even mention JJHCS or CarePath. See, e.g.,
TRIALCARD_00001951;                 TRIALCARD_00001811;                 TRIALCARD_00001966;
TRIALCARD_00000348;                 TRIALCARD_00001881;                 TRIALCARD_00000356;
TRIALCARD_00000362;                 TRIALCARD_00000389;                 TRIALCARD_00006722;
TRIALCARD_00002552; TRIALCARD_00002430. Again, please explain why, in your view,
abstract analyses unrelated to CarePath justify intrusive and voluminous discovery of Mr. Ford’s
custodial files—especially since, to the extent Mr. Ford’s files contain relevant documents, they
would be cumulative of those TrialCard and JJHCS have produced from other agreed-upon
custodians, including TrialCard custodian Fry (see, e.g., TRIALCARD_00001951,
TRIALCARD_00001811, TRIALCARD_00000389) and JJHCS custodians Robinson and King
(see, e.g., JJHCS_00035931).

                 April Harrison: SaveOnSP asserts that Ms. Harrison was involved in implementing
JJHCS’s CAP Program. Yet, as SaveOnSP acknowledges,
                                                                                            See,
e.g., TRIALCARD_00002368. To the extent Ms. Harrison performed work for JJHCS in relation
to its CAP program, documents related to that work are in JJHCS’s possession. Additionally, to
the extent Ms. Harrison’s custodial files contain relevant documents, they would be captured by
other existing TrialCard custodians, including Abraham, who is in Ms. Harrison’s reporting line.
SaveOnSP also asserts that Ms. Harrison purportedly assisted JJHCS in “efforts to modify copay
assistance programs in responses to changes in the Best Price Rule.” Yet, SaveOnSP has not
articulated the purported relevance of such contemplated changes to the claims and defenses in
this litigation; please provide this explanation.

             Tommy Gooch: SaveOnSP asserts that Mr. Gooch sent and received information
from JJHCS and attended meetings with JJHCS employees.

See, e.g., JJHCS_00005784, JJHCS_00008104. Indeed, one document that SaveOnSP cites makes
clear that
                   TRIALCARD_00005044. Finally, to the extent Mr. Gooch’s custodial files
contain relevant documents, they would be cumulative of those that TrialCard and JJHCS have
produced from other agreed-upon custodians, including JJHCS custodian Robinson (see, e.g.,
JJHCS_00008104) and TrialCard custodians Weischedel and Esterline (see, e.g.,
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JJHCS_00008104; TRIALCARD_00007157). In light of this additional information, if you still
believe that cumulative discovery from Mr. Ford is necessary, please explain why.

               Lynsi Newton: SaveOnSP asserts that Ms. Newton was responsible for TrialCard’s
outreach regarding efforts to modify copay assistance programs in response to changes to the Best
Price Rule. As noted above, SaveOnSP has not articulated the relevance of documents relating to
the Best Price Rule; again, please explain the purported relevance. Further,

                                                                                               See
JJHCS_00004607 (including            TrialCard      custodian     Weischedel);     JJHCS_00004608;
JJHCS_00004611. Similarly,

                                         . See TRIALCARD_00008354; TRIALCARD_00008594.
SaveOnSP’s citation to TRIALCARD_00008594 is particularly unavailing given the references
therein to                                                                                 . Finally, to
the extent Ms. Newton’s custodial files contain relevant documents, they would be captured by
other existing TrialCard custodians, including Weischedel and Abraham, to whom Ms. Newton
reported. In light of this additional information, if you still believe that cumulative discovery from
Ms. Newton is necessary, please explain why.

              Amber Maldonado: SaveOnSP asserts that Ms. Maldonado “played a key role in
detecting and mitigating the alleged effects of maximizers and accumulators.” In fact, one of the
documents SaveOnSP cites in support, JJHCS_00005061,

                                                             . Further,

                                               See, e.g., JJHCS_00006991. Finally, to the extent
Ms. Maldonado’s custodial files contain relevant documents, they would be cumulative of those
that TrialCard has produced from other agreed-upon custodians, including all existing TrialCard
custodians. See, e.g., TRIALCARD_00006499 (including all four TrialCard custodians);
TRIALCARD_00006511 (including Weischedel and Esterline). In light of this additional
information, if you still believe that cumulative discovery from Ms. Maldonado is necessary,
please explain why.

                Cosimo Cambi: SaveOnSP asserts that Mr. Cambi was the “
                   ” However, both TRIALCARD_00000334 and TRIALCARD_00002656
indicate that
                                                                 Again, TrialCard is a vendor. Its
understanding of the health insurance market and its opinions about its participants in the abstract
is irrelevant to any actual work it performed implementing the CarePath program. It cannot justify
voluminous custodial discovery of the type SaveOnSP proposes. Finally,

                            . See TRIALCARD_00003079. In light of this additional information,
if you still believe that cumulative discovery from Mr. Cambi is necessary, please explain why.
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                                       PageID: 32004
Hannah Miles, Esq.
December 22, 2023
Page 4


                                  *       *         *      *

             We are available to meet and confer.

                                                        Very truly yours,


                                                        /s/ Sara A. Arrow
                                                        Sara A. Arrow
Case 2:22-cv-02632-CCC-CLW   Document 360-4   Filed 08/27/24   Page 654 of 683
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                   Exhibit 59
Case 2:22-cv-02632-CCC-CLW        Document 360-4     Filed 08/27/24    Page 655 of 683
   Selendy Gay PLLC                PageID: 32006
   1290 Avenue of the Americas
   New York NY 10104
   212.390.9000


   Hannah R. Miles
   Associate
   212.390.9055
   hmiles@selendygay.com




   March 26, 2024



   Via E-mail

   Sara A. Arrow
   Patterson Belknap Webb & Tyler LLP
   1133 Avenue of the Americas
   New York, NY 10036
   sarrow@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-JKS-CLW)

   Dear Sara,

          We write to you in your capacity as counsel for TrialCard. Upon review of
   the 19,930 case and task notes that TrialCard produced, we have identified 1,528
   for which we would like TrialCard to produce the associated audio recording
   and/or transcript. See May 12, 2023 Ltr. from G. Carotenuto to A. Dunlap, at 2.
   Those calls are identified in the attached spreadsheet.

         Please let us know by April 1, 2024 when you will be able to make this pro-
   duction.

   Sincerely,

   Hannah Miles

   Hannah R. Miles
   Associate
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                              PageID: 32007




                   Exhibit 60
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                                                                                                         www.pbwt.com




April 23, 2024                                                                         Elisabeth Shane
                                                                                       (212) 336-2659


By Email

Hannah Miles, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      TrialCard Call Recordings
                           Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Hannah:

              We understand that you have sent TrialCard a letter dated March 26, 2024 seeking
the audio recordings and transcripts associated with 1,528 case and task notes produced by
TrialCard. We write in our capacity as counsel for JJHCS to address related issues.

                 Based on our understanding of your request to TrialCard, it appears that SaveOnSP
is seeking the recordings and transcripts associated with case and task notes produced by TrialCard
that hit on the term SaveOnSP or any variation thereof.

               As you will recall, SaveOnSP agreed to produce “recordings of communications
with persons enrolled in health plans advised by SaveOnSP concerning SaveOnSP’s services and
either CarePath or Janssen Drugs, identified during a reasonable search, that are reasonably
accessible.” See SaveOnSP’s Response to JJHCS’s RFP No. 54. These recordings are the
conceptual equivalent of what SaveOnSP now seeks from TrialCard—namely, communications
with persons likely enrolled in CarePath relating to SaveOnSP. Yet, notwithstanding SaveOnSP’s
prior agreement to produce them, SaveOnSP later refused to do so. See Mar. 29, 2023 Ltr. from
A. Dunlap to H. Sandick, at 4.

               In light of SaveOnSP’s March 26 demand for recordings, SaveOnSP’s refusal to
produce its own relevant recordings is untenable. Accordingly, please confirm that SaveOnSP will
produce the recorded calls it has identified with patients who spoke to SaveOnSP and were
prescribed a Janssen drug.




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                              PageID: 32009
Hannah Miles, Esq.
April 23, 2024
Page 2


                                          Very truly yours,


                                          /s/ Elisabeth Shane
                                          Elisabeth Shane
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                              PageID: 32010




                   Exhibit 61
Case 2:22-cv-02632-CCC-CLW                    Document 360-4             Filed 08/27/24           Page 660 of 683
                                               PageID: 32011
                                                                                                         www.pbwt.com




May 7, 2024                                                                            Elisabeth Shane
                                                                                       (212) 336-2659


By Email

Hannah Miles, Esq.
Selendy Gay PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      SaveOnSP’s Call Recordings
                           Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Hannah:

             We write in response to your April 26, 2024 letter and further to our prior
correspondence regarding the same.

                 As you know, JJHCS recently requested that SaveOnSP produce recorded calls and
transcripts with patients who spoke to SaveOnSP and were prescribed a Janssen drug. See Apr.
23, 2024 Ltr. from E. Shane to H. Miles. We understand that, although SaveOnSP seeks the
equivalent production from TrialCard (namely, communications with persons likely enrolled in
CarePath relating to SaveOnSP), it objects to JJHCS’s request on the basis of the purported burden.
In light of this objection, please specify, in as much detail as possible, the burden associated with
producing the call recordings and transcripts that JJCHS requested in its April 23 letter. Please
also explain what steps SaveOnSP has taken over the last thirteen months to “investigate ways to
expedite the export” of responsive call recordings and transcripts, including any strategies it has
identified to do so. Mar. 29, 2023 Ltr. from A. Dunlap to H. Sandick at 4. We appreciate that
there can be burdens associated with producing call records on both sides and would like to work
with you to find a mutually acceptable solution.

                To facilitate our discussion, please also let us know if SaveOnSP’s burden concerns
would be alleviated if its production were limited to the following two categories. First, all call
recordings and transcripts associated with calls to TrialCard with or without a patient on the line
regarding a Janssen drug. For the avoidance of doubt, this includes, but is not limited to, recordings
and transcripts of all calls designated as “manufacturer calls” within Column P of the attached
“JJHCS Requested Recordings” spreadsheet. Second, to the extent these recordings and transcripts
are not captured by the prior request, all recordings and transcripts associated with the calls
identified in the attached spreadsheet.



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Hannah Miles, Esq.
May 7, 2024
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             We look forward to hearing from you and discussing these matters further.

                                                     Very truly yours,


                                                     /s/ Elisabeth Shane
                                                     Elisabeth Shane




15064980
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                              PageID: 32013




           EXHIBITS 62-64
   CONFIDENTIAL – FILED UNDER SEAL
Case 2:22-cv-02632-CCC-CLW   Document 360-4   Filed 08/27/24   Page 663 of 683
                              PageID: 32014




                   Exhibit 65
Case 2:22-cv-02632-CCC-CLW                    Document 360-4             Filed 08/27/24           Page 664 of 683
                                               PageID: 32015
                                                                                                           www.pbwt.com




September 29, 2023                                                                     Katherine Brisson
                                                                                       (212) 336-2552




BY EMAIL

Emma Holland, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                           (Case No. 2:22-cv-02632-ES-CLW)

Dear Emma:

                We write on behalf of TrialCard in response to your September 20, 2023 letter, and
further to our correspondence on the same topic.

                Request Nos. 5, 20, 22, and 27. TrialCard will produce documents that are
responsive to Request Nos. 5, 20, 22, and 27 and that hit on the search terms identified in our
August 24 letter. See Aug. 24, 2023 Ltr. from K. Brisson to E. Holland at 2, n.1. These search
terms were designed to yield documents responsive to these specific Requests. TrialCard will
produce responsive, non-privileged documents that hit on these search terms whether or not they
relate to benefits investigations; however, we otherwise decline to specifically search for, collect,
and produce documents relating to benefits investigations.

                Request No. 3. TrialCard agrees to produce case and task notes that are responsive
to SaveOnSP’s proposed search terms “zero out of pocket,” “zero OOP,” and “zero out-of-pocket.”
We trust that this resolves any remaining dispute on this issue.

                Custodians. As we have explained at length, the four existing TrialCard
custodians—Sini Abraham, Paul Esterline, Rick Fry, and Holly Weischedel—had operational and
strategic responsibilities for the issues about which you have sought document production. During
the relevant time period, Ms. Weischedel held multiple roles at TrialCard, including positions in
Client Services and Strategic Accounts. Ms. Abraham has similarly held roles in Client Services,
Market Access Operations, and Hub Services. Mr. Esterline has held various roles in Analytics
and Strategic Accounts. And Mr. Fry has held roles in both Client Solutions and Client Services.
Again, we encourage you to review the documents TrialCard produces from these four custodians
to make an informed assessment about whether additional custodians are warranted.



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Emma Holland, Esq.
September 29, 2023
Page 2


              You nevertheless assert that additional custodians are required because the existing
custodians “do not appear to be involved in communications with CarePath patients or tracking
CarePath and copay assistance payments.” Sept. 20, 2023 Ltr. from E. Holland to K. Brisson at 2.
This concern does not justify your expansive request. As you know, TrialCard has already
produced over 19,000 call and task notes describing communications with CarePath patients, and
we have agreed to supplement that production as described above. We have similarly produced
CarePath claims and enrollment data. These productions, along with the custodial productions
described above, adequately address the issues you have raised.

                 Further, we decline to provide hit counts for each of the twelve additional
custodians you have proposed. As you know, TrialCard cannot simply run a hit report without
first collecting the custodial files of all of SaveOnSP’s proposed custodians. This step is itself a
burdensome and unnecessary undertaking for the reasons we have explained at length in our prior
correspondence and herein. You also suggest that there is some “magical” number of documents—
which you apparently believe to be greater than 37,000—that a third-party must review to satisfy
its discovery obligations. Suffice it to say, we disagree (as do your business partners at Express
Scripts, Inc. and Accredo Health Group, which have yet to make any custodial productions, aided
in their efforts to avoid discovery by supporting affidavits from SaveOnSP counsel). Finally, we
refer you to our prior correspondence on the issue of fees and costs.

                 Custodial Search Terms. TrialCard declines to add your proposed search terms as
they are irrelevant to the requests for which TrialCard has agreed to produce custodial documents.
As we have explained, TrialCard will not produce documents that generally relate to copay
accumulator and maximizer programs, nor will it produce documents that mention Express Scripts
or Accredo absent reference to SaveOnSP. See July 13, 2023 Ltr. from K. Brisson to E. Holland
at 1 (“TrialCard agrees to search for and produce nonprivileged custodial documents expressly
referencing SaveOnSP in response to Request Nos. 8, 9, 11, 12, 13, 14, and 15.”). Contrary to
your assertion, TrialCard’s discovery obligations do not require it to undertake a large-scale
substantive document review to determine whether a document “capture[s] discussions of
SaveOnSP when it is not expressly mentioned.” Sept. 20, 2023 Ltr. from E. Holland to K. Brisson
at 2. First of all, we do not see how this suggestion is even feasible, as it would require an exercise
in mind-reading to know when someone is secretly referring to SaveOnSP. In any event, this
proposal is disproportionate to TrialCard’s obligations as a third-party, and TrialCard will not
undertake to do so.

                As previously explained, we have produced all retention documents we have been
able to identify based on a reasonable investigation for the applicable timeframe. We have added
“retention policy” out of a good faith effort to satisfy any lingering concerns you may have but
we are unwilling to adopt your proposed stand-alone “Retention Polic*” search term.

               Finally, Request Nos. 18(i)-(m), which seek such information as the dates on which
Patients were enrolled in CarePath, the amounts of co-pay assistance provided to those Patients,
and the Janssen Drugs for which they received assistance, do not require a custodial production.
These documents are centrally stored and those documents have been or will be produced, either
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Emma Holland, Esq.
September 29, 2023
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by TrialCard, JJHCS, or both. As we have stated previously, to the extent the custodial files of
Abraham, Esterline, Fry, and Weischedel include non-privileged documents responsive to Request
Nos. 18(i)-(m), we will produce them. See July 13, 2023 Ltr. from K. Brisson to E. Holland at 1.
We decline, however, to add new custodians or run additional search terms specific to this Request.

                                                         Very truly yours,




                                                         /s/ Katherine Brisson
                                                         Katherine Brisson
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                   Exhibit 66
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January 12, 2024                                                                       Sara A. Arrow
                                                                                       (212) 336-2031


By Email

Elizabeth Snow, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Elizabeth:

              On behalf of TrialCard, we write in response to your December 27, 2023 letter
concerning the February 17, 2023 subpoena (the “Subpoena”) served on TrialCard and our related
email correspondence.

                Suffice it to say, we disagree with the statements in your December 27 letter,
including for the reasons we have explained at length in discovery letters and during the conferral
process. See, e.g., Dec. 6, 2022 Ltr. from S. Arrow to H. Miles; Dec. 22, 2023 Ltr. from S. Arrow
to E. Snow. As we have explained, SaveOnSP’s request to the extend the scope of the Subpoena
at least nine months beyond the service date is improper and contrary to the Federal Rules of Civil
Procedure.

                In the interest of finality, we write to confirm that we are at impasse with respect to
the applicable time period for the Subpoena. TrialCard does not consent to submit this dispute to
Judge Wolfson.

                  TrialCard reserves all rights.

                                                                    Very truly yours,




                                                                    /s/ Sara A. Arrow
                                                                    Sara A. Arrow




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                   Exhibit 67
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   Selendy Gay Elsberg PLLC         PageID: 32021
   1290 Avenue of the Americas
   New York NY 10104
   212.390.9000


   Emma Holland
   Associate
   212 390 9364
   eholland@selendygay.com




   July 26, 2023



   Via E-mail

   Katherine Brisson
   Patterson Belknap Webb & Tyler LLP
   1133 Avenue of the Americas
   New York, NY 10036
   kbrisson@pbwt.com

   Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
            LLC (Case No. 2:22-cv-02632-ES-CLW)

   Dear Katherine,

          We write in response to your July 13, 2023 and July 19, 2023 letter regard-
   ing TrialCard, Inc.’s (“TrialCard”) response to the subpoena served by Save On SP,
   LLC (“SaveOnSP”) and in further response to your June 7, 2023 letter on that sub-
   ject.

           First, in your July 13 letter, you state that TrialCard agrees to produce doc-
   uments from non-custodial sources in response to Request No. 3, but, to the extent
   custodial files include non-privileged documents responsive to those requests, you
   will produce them. This is not sufficient. Request No. 3 seeks documents and com-
   munications “with or regarding SaveOnSP, including those between You and
   JJHCS, You and any patients, and You and any other Hub Entity.” A reasonable
   search for documents responsive to this Request must include a search of custodial
   files that are likely to contain such communications. Please confirm that TrialCard
   will add custodians likely to have documents responsive to this Request and will
   produce such documents. Also in your June 7 letter, regarding Request No. 3, you
   decline to add the search terms “OOP” and “out-of-pocket.” We propose that Trial-
   Card instead use the terms “zero out-of-pocket,” which is mentioned frequently in
   sample patient letters regarding SaveOnSP, see, e.g., TRIALCARD_00000119, and
   the similar terms “zero OOP”, “no OOP”, and “no out-of-pocket.” Please confirm
   that TrialCard will add these four search terms.

        Second, in your June 7 letter, you stated that TrialCard did not have any
   documents responsive to Request Nos. 5, 6, 7, 8, 10–17, 20–22, 24–25, 29, and 32
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   Katherine Brisson
   July 26, 2023



   beyond those that it had agreed to produce at that point. In your July 13 letter, you
   state that TrialCard will now perform a custodial search for documents responsive
   to Request Nos. 8-9 and 11-15, which includes six of those Requests. Please tell us
   if TrialCard will produce documents responsive to Request Nos. 5, 6, 7, 16–17, 20–
   22, 24–25, 29, and 32 beyond those that it has already agreed to produce.

          Third, in your June 7, 2023 letter, you stated that TrialCard would not pro-
   duce documents responsive to Request Nos. 13-15, 17, 20, and 22, stating that
   “TrialCard would have furnished any such deliverables to JJHCS, which in turn
   would be captured by JJHCS’s document production” and documents “not fur-
   nished to JJHCS” are irrelevant. In your July 13 letter, you state that TrialCard will
   now perform a custodial search for documents responsive to Request Nos. 8-9 and
   11-15, which includes three of those Requests. Please tell us if TrialCard will pro-
   duce documents responsive to Request Nos. 17, 20, and 22.

          Regarding Request No. 22 specifically, which seeks all Documents and
   Communications regarding JJHCS’s attempts to identify health plans advised by
   SaveOnSP or Patients enrolled in such plans, JJHCS recently disclosed that Trial-
   Card has responsive material. JJHCS has stated in its Responses and Objections
   to SaveOnSP’s Second Set of Interrogatories, that


                                                                 See JJHCS’s R&Os to
   SaveOnSP’s Second Set of Interrogatories at 4. Those
                                                                          are respon-
   sive to this request and relevant to the claim and defenses at issue. Please tell us
   whether TrialCard will produce them.

          Fourth, you state that TrialCard will perform a custodial search for docu-
   ments responsive to Request Nos. 8, 9, and 11-15 but only those that expressly ref-
   erence SaveOnSP. This is insufficient, as documents regarding SaveOnSP may well
   not reference SaveOnSP expressly. For example, TrialCard should produce docu-
   ments referring to maximizers and Express Scripts,
                      . See, e.g., JJHCS_00081459 (JJHCS email saying that

                                                                                       ),
   JJHCS_00081461 (report attached to JJHCS_00081459 stating that

                                                 ), JJHCS_00008991 (JJHCS email
   referring to                                                  ). Please confirm
   that TrialCard will search for documents relating to SaveOnSP beyond those ex-
   pressly referencing SaveOnSP.

          Fifth, in your July 19, 2023 letter you propose a handful of search terms that
   TrialCard intends to use for its custodial search. You propose the term SaveOnSP
   OR SaveOn OR “Save On SP” OR “Save On” OR SOSP as an independent search
   but use (SaveOnSP OR SaveOn OR “Save On SP” OR “Save On” OR SOSP OR “org*


                                             2
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   Katherine Brisson
   July 26, 2023



   chart” OR “retention policy”) to limit all three other proposed searches. In effect,
   you propose only SaveOnSP OR SaveOn OR “Save On SP” OR “Save On” OR SOSP
   as a search term, plus a few searches for “org* chart” OR “retention policy.” In
   searching for documents responsive to Request Nos. 8, 9, and 11-15, TrialCard
   should search for documents referring to SaveOnSP, without expressly naming it.
   We request that TrialCard supplement its list of proposed search terms with the
   terms on Appendix A. If JJHCS refuses to use any of these terms, please explain
   why. If JJHCS asserts that using any of these terms would be unduly burdensome,
   please provide a hit count of how many unique documents the proposed term gen-
   erates.

           Sixth, in your July 13, 2023 letter, you state that TrialCard does not intend
   to produce any documents that are also in the possession of JJHCS. This is insuf-
   ficient. A non-party may not withhold documents simply because it shared those
   documents with a party to the litigation. See Wyeth v. Abbott Lab’ys, No. 08-230
   (JAP), 2011 WL 2429318, at *8 (D.N.J. June 13, 2011). You also do not confirm
   that JJHCS has produced all relevant documents that are in the possession of both
   JJHCS and Trial Card. Please confirm that TrialCard will not withhold responsive
   documents on the basis that it believes that they are in JJHCS’s possession.

          Seventh, in your July 13, 2023 letter, you propose that Trial Card designate
   only Holly Weischedel and Sini Abraham as custodians. We propose that TrialCard
   also add the following individuals as custodians, as JJHCS’s production shows that
   they have relevant documents. Please confirm that TrialCard will add:

            •    Richard (“Rick”) Ford. Ford is the Vice President of Market Access
                 at TrialCard and
                                                      . See, e.g., JJHCS_00011226
                 (
                                                      ). Ford also explained to other
                 TrialCard vice presidents how

                        Id., JJHCS_00003009.

            •    Jason Zemcik. Zemcik is the Senior Director of Product Management,
                 JJHCS_00001595, and


                                See JJHCS_00003059.
                                                               See JJHCS_00026255.




            •    Rick Fry.



                                             3
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   Katherine Brisson
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            •    Jimmar Wilson.          Wilson     is   a     Training       Manager.   See
                 JJHCS_00058358.




            •    Dorothy Williams. Williams is a Trainer whose work includes Care-
                 Path training. See JJHCS_00126193.




            •    Amber Maldonaldo. Based on email communications Maldonaldo
                 sent to other TrialCard employees and to employees at JJHCS,

                                                                JJHCS_00006991,
                 JJHCS_00005061. Maldonaldo both sent and received information that
                 is directly relevant to JJHCS’s response to SaveOnSP.
                 JJHCS_00006991, JJHCS_00005543.

            •    April Harrison. April Harrison is an Associate Director of Client Ser-
                 vices at TrialCard, JJHCS_00104674, and as such,

                                                                                   See, e.g.,
                 JJHCS_00008733, JJHCS_00008584. Harrison has been


                       See JJHCS_00002344.



            •    Tony McInnis. As the Escalation Manager, McInnis


                         . See JJHCS_00002774. These patient communications would
                 very likely include patient complaints, to the extent there are any, re-
                 garding stress, confusion or other harm. McInnis has received emails
                 that                                          . See JJHCS_0005543.

            •    Tommy Gooch. As TrialCard’s Implementation Project Manager,
                 JJHCS_00001885,

                          See, e.g., JJHCS_00005784, JJHCS_00008104. Gooch also
                 communicated with JJHCS and TrialCard employees regarding


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                                                                                  See
                 JJHCS_00008050, JJHCS_00004076.

            •    Paul Esterline. Esterline received inquiries from JJHCS employees re-
                 garding

                 JJHCS_00007521. Esterline also

                 JJHCS_00008104, and another email and discussion regarding
                              , JJHCS_00005543.

            •     Lynsi Newton. Newton
                                                                            . TRIAL-
                 CARD_00000201.



                                                            See    JJHCS_00004607,
                 JJHCS_00004608, JJHCS_00004611.

            •    Kimberly Spencer. Spencer

                                                  TRIALCARD_00000201.



                                                                             ,
                 JJHCS_00122619, and thus may have information regarding Save-
                 OnSP’s alleged financial harm to JJHCS.

            •    JeLisa Irving. Irving
                                                                                     .
                 TRIALCARD_00000201. Irving is


                 JJHCS_00126221.



            •    Philip Sloate. Sloate
                                                                             . TRIAL-
                 CARD_00000201.



            •    Samone Evans. Evans



                                             5
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   Katherine Brisson
   July 26, 2023



                 TRIALCARD_00000201.


                                                                            see,
                 JJHCS_00104997, JJHCS_00105016, so she is likely to have infor-
                 mation on any complaints about SaveOnSP.

            •    Mariel Chahin. Chahin is an Associate Program Director at TrialCard.
                 JJHCS_00004713. Chahin communicated with JJHCS employees re-
                 lated to

                                                                Id. Chahin was also in-
                 volved in
                          JJHCS_00073983, JJHCS_00082761. Chahin’s records will
                 likely include any comments by patients regarding SaveOnSP or Save-
                 OnSP’s alleged harm to JJHCS.

          Eighth, in your June 7, 2023 letter, you state that TrialCard produced its
   only company-wide document retention policy, which was published in 2023.
   Please either produce retention policy was operative from April 1, 2016 to July 1,
   2022 or state that TrialCard had no such policies prior to 2023.

          Ninth, the organizational chart that TrialCard provided at TRIAL-
   CARD_00000200, is illegible as produced. Please reproduce this document in a
   legible form.

         Finally, please confirm that you will produce data dictionaries for data you
   produce in response to Request No. 31.

          We request a response by August 2, 2023. We reserve all rights and are
   available to meet and confer.

   Best,

   /s/ Emma Holland

   Emma C. Holland
   Associate




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                                         Appendix A

No.        JJHSC’s Proposed           New Search Term                      Basis
             Search Terms 1

1       SaveOnSP OR SaveOn          SaveOnSP OR SaveOn        As explained above, TrialCard
        OR “Save On SP” OR          OR “Save On SP” OR        should produce documents
        “Save On” OR SOSP           “Save On” OR SOSP OR      referring to SaveOnSP without
                                    "Save OnSP" OR Maxim-     referencing it explicitly.
                                    ize* OR (“Express
                                    Scripts” OR ESI) OR Ac-
                                    credo OR CAP*

2       (“Johnson & Johnson”        (“Johnson & Johnson”      Note for all of these searches,
        OR “Johnson and John-       OR “Johnson and John-     the only documents that will
        son” OR J&J OR JnJ OR       son” OR J&J OR JnJ OR     not be captured by the first
        JJHCS                       JJHCS                     search term is documents with
        OR Janssen) AND             OR Janssen) AND (Save-    the terms “org* chart” OR
        (SaveOnSP OR SaveOn         OnSP OR SaveOn OR         “retention policy” which will
        OR “Save On SP” OR          “Save On SP” OR “Save     return documents responsive to
        “Save On”                   On”                       Request Nos. 1, 2, and 30.
        OR SOSP OR “org*            OR SOSP OR “org* chart”   However, in your July 13 letter,
        chart” OR “retention pol-   OR “retention policy”)    you state that TrialCard agreed
        icy”)                                                 to produce documents from
                                                              non-custodial sources in
                                                              response to Request Nos. 1, 2, 3,
3       (CarePath OR “Care          (CarePath OR “Care        18(i)-(m), and 30, but would
        Path”) AND (SaveOnSP        Path”) AND (SaveOnSP      not directly search custodial
        OR SaveOn OR “Save On       OR SaveOn OR “Save On     records for responsive
        SP”                         SP”                       documents.
        OR “Save On” OR SOSP        OR “Save On” OR SOSP
        OR “org* chart” OR “re-     OR “org* chart” OR “re-
        tention policy”)            tention policy”)

4       (Accumulator OR Maxi-       (Accumulator OR Maxi-
        mizer) AND (SaveOnSP        mizer) AND (SaveOnSP
        OR SaveOn OR “Save On       OR SaveOn OR “Save On
        SP”                         SP”
        OR “Save On” OR SOSP        OR “Save On” OR SOSP
        OR “org* chart” OR “re-     OR “org* chart” OR “re-
        tention policy”)            tention policy”)



       1 All proposed search terms cover the period of April 1, 2016 to July 1, 2022

       (the “Relevant Time Period”). Please tell us if you do not agree to search all
       documents during this time period.

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No.        JJHSC’s Proposed        New Search Term                     Basis
             Search Terms 1

5                                “Retention Polic*”       To the extent TrialCard intends
                                                          to search custodial documents
                                                          for retention policies published
                                                          prior to 2023 we do not believe
                                                          that limiting your search to po-
                                                          lices that mention Johnson &
                                                          Johnson, JJHCS, CarePath, Ac-
                                                          cumulators, or Maximizers will
                                                          return retention policies appli-
                                                          cable to all of TrialCard.




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                   Exhibit 68
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                                                                                                            www.pbwt.com




January 26, 2024                                                                       Caroline Zielinski
                                                                                       (212) 336-2206


By Email

Taylor Stone, Esq.
Selendy Gay Elsberg PLLC
1290 Avenue of the Americas
New York, NY 10104

                  Re:      Johnson & Johnson Healthcare Systems, Inc. v. Save On SP, LLC
                           Case No. 2:22-cv-02632 (JKS) (CLW)

Dear Taylor,

               We write in response to your January 2, 2024 letter concerning JJHCS’s privilege
log and further to related correspondence.1

                After reviewing the documents that you identified in your letter, we no longer seek
to fully withhold or maintain all of the redactions in the documents listed in Appendix A to this
letter. Accordingly, JJHCS will produce these documents either in full or with more limited
redactions in a forthcoming production.

               With respect to the documents you identified that are not listed in Appendix A, we
disagree with the assertions raised in your letter. These documents were properly withheld
pursuant to applicable privileges, including the attorney-client and/or the work product privileges.
To address your contentions, JJHCS provides additional information about those documents
below.

               Exhibit 1 Documents. SaveOnSP first asserts that approximately 160 documents
on Exhibit 1 were improperly withheld based on attorney-client privilege “without indicating that
they involve communications with counsel.” Contrary to SaveOnSP’s assertion, JJHCS’s
privilege log indicates that an attorney was the author or recipient of multiple of the identified
documents in this category. See PL000002020 (email in which S. Harris is the author);
PL000002021 (email in which S. Harris is the recipient); and PL000001630 (email in which
C. Bosch is copied). In addition, Exhibit 1 includes draft documents properly withheld pursuant


1
  We have separately addressed SaveOnSP’s request for an updated privilege log and a log of all partially
redacted documents. See Jan. 11, 2024 Ltr. from J. Long to E. Snow.



Patterson Belknap Webb & Tyler LLP   1133 Avenue of the Americas, New York, NY 10036   T 212.336.2000       F 212.336.2222
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to the attorney-client privilege because they include comments from JJHCS’s in-house attorneys
reflecting legal advice related to the operation of JJHCS’s copay assistance programs, including
training modules, work orders, and terms and conditions. See, e.g., PL000000049 (comments from
J. De Camara), PL000002012 (comments from C. Bosch); PL000002762 (comments from M.
Shea). Assertion of the attorney-client privilege in this circumstance is based on well-established
law. See, e.g., In re Johnson & Johnson Talcum Powder Prods. Mtking, Sales Practices, & Prods.
Liability Litig., 2021 WL 3144945, at *6 (D.N.J. July 26, 2021) (sustaining attorney-client
privilege assertions with respect to “draft documents containing [an in-house attorney’s]
comments” as they “reflect [their] legal input and analysis”).

                Moreover, whether an attorney is listed as an author or recipient of a document does
not determine whether a document is properly withheld pursuant to the attorney-client privilege.
The attorney-client privilege extends to communications comprising a discussion of legal analysis
regardless of whether an attorney is included on the communication. See, e.g., Engage Health
Comms., LLC v. Intellisphere, LLC, 2017 WL 10259770, at *3 (D.N.J. Sept. 12, 2017), report &
recommendation adopted 2017 WL 10259774 (Nov. 21, 2017) (explaining that a document comes
within the attorney-client privilege even if it reflects a “communication between two non-
attorneys” as long as it “reflect[s] the [provision of] legal advice”). JJHCS has properly withheld
documents included in Exhibit 1 that reflect legal analysis and incorporate requests for legal advice
pertaining to the design and implementation of JJHCS’s copay assistance programs. See, e.g.,
PL000000256; PL000000226; PL000000244; PL000000246; PL000000227. See also In re
Johnson & Johnson, 2021 WL 3144945, at *10 (explaining that the “absence of an attorney on a
document is not necessarily determinative” as “[c]ommunications remain privileged if they assist
[an] attorney to formulate and render legal advice” (internal quotation marks and citation
omitted)).

               Exhibit 2 Documents. SaveOnSP next argues that JJHCS improperly withheld
information in approximately 90 documents on Exhibit 2, because the documents “do not appear
privileged based on their descriptions.” SaveOnSP provides no legal authority for its suggestion
that the provision of legal advice must be apparent from the document’s description. To the
contrary, the privilege determination depends on an assessment of whether the underlying
document includes disclosures “necessary to obtain informed legal advice.” In re Riddell
Concussion Reduction Litig., 2016 WL 7108455, at *4 (D.N.J. Dec. 5, 2016), on reconsideration
in part, 2017 WL 11633446 (D.N.J. Jan. 5, 2017) (quoting Westinghouse Elec. Corp. v. Republic
of the Philippines, 951 F.2d 1414, 1423-24 (3d Cir. 1991)). As with Exhibit 1, many of the
documents on Exhibit 2 were properly withheld because they convey legal advice from JJHCS’s
in-house attorneys, see, e.g., PL000001075 (reflecting legal advice from J. Williams on draft
presentation); PL000000424 (conveying legal advice from J. De Camara); PL000000097
(reflecting J. De Camara’s legal advice), or reflect requests for legal advice, see, e.g.,
PL000000097 (identifying areas for which legal advice was required); PL000000427 (same);
PL000000414 (same). In addition, as JJHCS’s privilege log indicates, PL000002242 was properly
withheld pursuant to the attorney-client and work product privileges as it reflects an attorney-client
communication relating to litigation strategy.



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                Exhibit 3 Documents. SaveOnSP contests that JJHCS improperly withheld
approximately 130 “calendar invites” included in Exhibit 3. Although neither the attorney-client
nor the work product privilege applies to “the facts underlying any given communication,” a
“communication concerning that fact is entirely different.” La. Mun. Police Employees Retirement
Sys. v. Sealed Air Corp., 253 F.R.D. 300, 305 (D.N.J. 2008); In re Johnson & Johnson, 2021 WL
3144945, at *4. Email communications accompanying the calendar invitations at issue in Exhibit
3 were properly withheld when they reflect discussions with JJHCS’s legal team regarding
strategies for this litigation. See PL000001253 (email communication with S. Harris regarding
strategy for current litigation); PL000001257 (same); PL000002117 (email from S. Harris
explaining purpose of meeting tied to litigation strategy); PL000001913 (same); PL000001919
(same); PL000001920 (same). Likewise, information underlying requests for legal advice, to be
discussed at upcoming meetings with counsel, was also properly withheld. See, e.g., PL000000398
(email reflecting areas for legal input for discussion at meeting with in-house counsel);
PL000001217 (email explaining topics for discussion at upcoming meeting with S. Harris);
PL000000820 (same); PL000000821 (same); PL000001938 (email explaining purpose of call
regarding legal questions for S. Harris). That said, after further review, JJHCS will be producing
certain calendar invitations previously withheld in redacted form.

               Exhibit 4 Documents. SaveOnSP identifies approximately 60 documents on
Exhibit 4 that it contends were improperly withheld pursuant to the work product privilege. As
indicated in JJHCS’s privilege log, however, Exhibit 4 includes documents prepared in
anticipation of JJHCS’s litigation against SaveOnSP. See, e.g., PL000001086 (Oct. 2021 email
communication with S. Harris discussing litigation strategy); PL000001108 (same); PL000001088
(October 2021 email communication between S. Harris and outside counsel discussing litigation
strategy). Furthermore, contrary to SaveOnSP’s description that Exhibit 4 “contains a list of
documents withheld solely on the basis of the work product privilege,” JJHCS’s privilege log
indicates that many documents included in Exhibit 4 were also withheld based on application of
the attorney-client privilege. These documents include communications with JJHCS’s counsel
that reflect requests for legal advice or convey counsel’s legal analysis regarding the
implementation of JJHCS’s patient assistance programs. See, e.g., PL000000224 (email with J.
De Camara requesting legal advice); PL000001045 (email with J. De Camara reflecting legal
analysis).

               Exhibit 5 Documents. SaveOnSP argues that JJHCS has improperly withheld or
redacted approximately 240 documents on Exhibit 5 because the attorney-client privilege was
waived through disclosure of these documents to third parties. As an initial matter, Exhibit 5
contains many emails in which no third parties are included on the latest-in-time communications.
In those instances, JJHCS employees have forwarded a communication with a third party to
JJHCS’s in-house counsel to request their legal analysis. See, e.g., PL000001869 (email
communication with third party forwarded to S. Harris requesting legal analysis); PL000001854
(same). These documents were properly withheld, as the attorney-client privilege extends to
emails which “forward[] [to counsel] prior non-privileged emails” that underlie the request for
legal advice and assist the attorney in providing their analysis. Engage Health, 2017 WL
10259770, at *3 (“[E]ven though one email is not privileged, a subsequent and privileged email


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which forwards that prior non-privileged email, will allow the privilege to attach to the entire email
chain, including the non-privileged prior email messages.” (quoting Rhoads Indus. Inc. v. Building
Materials Corp. of Am., 254 F.R.D. 238, 240 (E.D. Pa. 2008)).

                With respect to documents shared with third parties, the attorney-client privilege is
maintained when an independent consultant acts as the “functional equivalent” of the party’s
employee and the communication with the third party was “kept confidential and made for the
purpose of obtaining or providing legal advice.” In re Johnson & Johnson, 2021 WL 3144945, at
*9 (citing In re Flonase Antitrust Litig., 879 F. Supp. 2d 454, 460 (E.D. Pa. 2012)); see id.
(explaining that communications between Johnson & Johnson and its consultants, “even in the
absence of an attorney . . . may be privileged if they are necessary for the client to obtain[] informed
legal advice”); In re Riddell Concussion Reduction Litig., 2016 WL 7108455, at *6, *8 (applying
functional equivalent doctrine to documents between party and public relations and
communications consultants).

                This legal principle recognizes that “in-house counsel should be able to
communicate freely with consultants about legal issues without being chilled by the prospect that
their communications will be produced to an adversary in discovery.” In re Johnson & Johnson,
2021 WL 3144945, at *9. Documents listed in Exhibit 5 were appropriately withheld pursuant to
this standard because they include confidential communications between JJHCS and third parties
relating to information requested by or provided to JJHCS’s attorneys to assist in their analysis of
legal issues. See, e.g., PL000002658 (email in which third party provides information requested
by JJHCS’s counsel to assist in the provision of legal advice); PL000002370 (same);
PL000002292 (email in which JJHCS’s counsel requests information necessary to provision of
legal advice); see also In re Riddell Concussion Reduction Litig., 2016 WL 7108455, at *9 (holding
that information provided by third party “needed by [party’s] attorneys to render legal advice” is
privileged). Exhibit 5 also includes documents protected by the attorney-client privilege because
they convey the legal analysis of JJHCS’s attorneys. See, e.g., PL000001908 (email conveying
legal advice); PL000001750 (draft document reflecting legal advice); PL000001751 (same). See
also In re Riddell Concussion Reduction Litig., 2016 WL 7108455, at *10 (finding documents
shared with third party were privileged where the “documents indicate[d] actual legal advice was
conveyed” including an “email asking for legal insight” or an “email referring to attorney advice”);
In re Johnson & Johnson, 2021 WL 3144945, at *7 (finding documents shared with third party
privileged where they were reviewed by counsel “with a view towards legal issues”).

                                           *       *       *

               Finally, based on our review of SaveOnSP’s revised privilege log dated October
10, 2023, we have identified several areas of concern, where it appears that SaveOnSP has
inappropriately redacted or withheld certain documents that should have been produced. For
example, the following documents appear on SaveOnSP’s privilege log:

           •   Emails that were sent to or from third parties. See, e.g., SOSP_0817331 (an
               email fully withheld for privilege from an individual with a “RideMetro.Org”


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               domain to Claudia Dunbar, Ron Krawczyk, Jill Stearns, and two individuals at
               Express Scripts Inc. (“ESI”)); SOSP_0827911 (an email redacted for privilege
               including Michael Kirchhoff with an ESI domain); SOSP_0828613 (an email
               redacted for privilege including Aaron Mallin with an ESI domain);

           •   Inconsistent privilege calls. See SOSP_0832627, which is an attachment titled
               “JnJ letter page 2.pdf.” This document was withheld as privileged even though
               “page 1” of this same attachment was produced; and

              We have identified similar issues for the following documents that have not yet
been logged on SaveOnSP’s privilege log:

           •   SOSP_0940021, which is a spreadsheet reflecting notes on SaveOnSP calls with
               external parties, including Allina Health System, International Association of Heat
               and Frost Insulators Local 17 Welfare Fund, SKC, Inc., AmerisourceBergen
               Corporation, and HealthSmart; and

           •   SOSP_1034728, which is text message exchange involving no lawyers that was
               sent to and from a third party.

             Please explain by February 2, 2024 why you have withheld or redacted the specific
documents identified above. In the event you no longer wish to assert privilege over any of the
documents identified herein, please promptly produce them.

                Finally, in response to your SaveOnSP’s January 25, 2024 letter, we can confirm
that JJHCS has included, and will continue to include, all thread participants on emails included
on its privilege logs. Thank you for confirming that SaveOnSP will correct its privilege log to
address this issue and to adopt this practice moving forward. See Jan. 25, 2024 Ltr. from E. Snow
to J. Long. Please confirm that you will provide the corrected version of your privilege log by
February 13, 2024.


                                                        Very truly yours,


                                                        /s/Caroline Zielinski
                                                        Caroline Zielinski




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